          Case 3-24-12061-cjf                     Doc 1     Filed 10/11/24 Entered 10/11/24 11:59:44                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


     Western
 ____________________              Wisconsin
                      District of _________________
                                        (State)

                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                                 EatStreet, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer
      Identification Number (EIN)
                                                  4 5       4 3 8 5 0 9 3
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___




 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  44 E. Mifflin Street
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                                  Suite 400
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Madison                      WI        53703
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Dane
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                       www.eatstreet.com
                                              ____________________________________________________________________________________________________




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Debtor           EatStreet, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name



                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          x None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ 2 ___
                                              7 ___ 2 ___
                                                       3
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          x Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           x The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                          
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor             EatStreet, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        x No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            x No
                                         
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         x No
                                         
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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Debtor           EatStreet, Inc.
            _______________________________________________________                              Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                     x Funds will be available for distribution to unsecured creditors.
                                         
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                                1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              x 5,001-10,000
                                                                                                                          50,001-100,000
     creditors
                                          100-199                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         x $1,000,001-$10 million
                                                                                                                          $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         x $1,000,001-$10 million
                                                                                                                          $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                              petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                             10/11/2024
                                              Executed on _________________
                                                          MM / DD / YYYY


                                             _____________________________________________                 Steve Anastasi
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name

                                                      CEO
                                              Title _________________________________________




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Debtor          EatStreet, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                         _____________________________________________            Date         10/11/2024
                                                                                                               _________________
                                          Signature of attorney for debtor                                     MM   / DD / YYYY



                                            Justin M. Mertz
                                         _________________________________________________________________________________________________
                                         Printed name
                                            Michael Best & Friedrich LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                            790 N. Water Street, Suite 2500
                                         _________________________________________________________________________________________________
                                         Number     Street

                                             Milwaukee
                                         ____________________________________________________             WI           53202
                                                                                                         ____________ ______________________________
                                         City                                                            State        ZIP Code

                                            414.225.4972
                                         ____________________________________                              jmmertz@michaelbest.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                            1056938                                             Wisconsin
                                         ______________________________________________________ ____________
                                         Bar number                                             State




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                                       ACTION BY UNANIMOUS WRITTEN CONSENT
                                            OF THE BOARD OF DIRECTORS
                                                       OF
                                                  EATSTREET, INC.

                    The undersigned, constituting all of the members of the Board of Directors (the “Board”) of
            EATSTREET, INC., a Delaware corporation (the “Company”), pursuant to Section 141(f) of the Delaware
            General Corporation Law, hereby adopt the following resolutions by unanimous written consent effective
            as of October __, 2024:

                     1. BANKRUPTCY PETITION

                    WHEREAS, the Board has reviewed and had the opportunity to ask questions about the materials
            presented by the management and the legal advisors of the Company regarding the liabilities and liquidity of
            the Company, the strategic alternatives available to it and the impact of the foregoing on the Company’s
            businesses;

                    WHEREAS, the Board has had the opportunity to consult with the management and the legal advisors
            of the Company to fully consider each of the strategic alternatives available to the Company; and

                      WHEREAS, the Board deems it to be advisable and in the best interest of the Company, its stockholders,
            its creditors, and other parties in interest, for the Company to file a voluntary petition with the United States
            Bankruptcy Court (the “Bankruptcy Court”) seeking relief under the provisions of Chapter 11 of Title 11 of
            the United States Code.

                    NOW THEREFORE BE IT RESOLVED, that any officer of the Company (each, an “Authorized
            Person”), acting singly or jointly, be, and each hereby is, authorized, empowered, and directed, with full power
            of delegation, to negotiate, execute, deliver, file and perform, in the name of and on behalf of the Company,
            and under its corporate seal or otherwise, all petitions, schedules, motions, lists, applications, pleadings, orders
            and other documents (the “Chapter 11 Filings”) in the Bankruptcy Court (with such changes therein and
            additions thereto as any such Authorized Person may deem necessary, appropriate or advisable, the execution
            and delivery of any of the Chapter 11 Filings by any such Authorized Person with any changes thereto to be
            conclusive evidence that any such Authorized Person deemed such changes to meet such standard); and be it
            further

                    RESOLVED, that each Authorized Person is authorized and directed by the Board to appear in all
            Chapter 11 or related proceedings on behalf of the Company or designate such appropriate persons; and be it
            further

                     RESOLVED, that each Authorized Person, acting singly or jointly, be, and each hereby is, authorized,
            empowered, and directed, with full power of delegation, in the name of and on behalf of the Company, to take
            and perform any and all further acts and deeds that such Authorized Person deems necessary, appropriate, or
            desirable in connection with the Company’s chapter 11 case or the Chapter 11 Filings, including, without
            limitation, (i) the payment of fees, expenses and taxes such Authorized Person deems necessary, appropriate,
            or desirable, and (ii) negotiating, executing, delivering, performing and filing any and all additional documents,
            schedules, statements, lists, papers, agreements, certificates and/or instruments (or any amendments or
            modifications thereto) in connection with, or in furtherance of, the Company’s chapter 11 case with a view to
            the successful prosecution of such chapter 11 case (such acts to be conclusive evidence that such Authorized
            Person deemed the same to meet such standard); and be it further
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                    RESOLVED, that the Company is authorized and directed to employ the law firm of Michael Best &
            Friedrich LLP to represent the Company as its bankruptcy and general counsel, and to employ other attorneys
            and professionals as may be necessary for the Company; and be it further

                     2. GENERAL AUTHORIZING RESOLUTIONS

                    RESOLVED, that the officers of the Company be, and each of them hereby is, authorized and
            directed, for and on behalf of the Company, to take any such further action and execute and deliver any
            such additional documents or consents as any such officer may find necessary or appropriate to carry out
            the purposes of the above resolutions; and be it further

                    RESOLVED, that all prior acts consistent with the purposes of the above resolutions done on behalf
            of the Company by any officer are ratified and approved as the proper acts and deeds of the Company.

                                                 [SIGNATURE PAGE FOLLOWS]




                                                                2.
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                    IN WITNESS WHEREOF, the undersigned have executed this written consent of the
            Board as of the date first set forth above, which written consent may be executed in one or more
            counterparts, including by signature pages provided by electronic transmission, each of which shall
            be deemed an original, all of which shall constitute one and the same instrument. This action shall
            be filed with the minutes of the proceedings of the Board and shall be effective as of the date first
            above written.


                                                                  ___________________________________
                                                                  Steve Anastasi



                                                                  ___________________________________
                                                                  Pieter Welten



                                                                  ___________________________________
                                                                  Greg Robinson




                                  WRITTEN CONSENT OF THE BOARD OF DIRECTORS OF
                                  EATSTREET, INC. APPROVING CHAPTER 11 PETITION
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                                                WRITTEN CONSENT OF
                                           THE PREFERRED STOCKHOLDERS
                                                 OF EATSTREET, INC.

                    THE UNDERSIGNED, constituting the holders of at least a majority of the outstanding
            shares of Series C Preferred Stock, $0.001 par value per share (the “Series C Preferred Stock”),
            Series C-1 Preferred Stock, $0.001 par value per share (the “Series C-1 Preferred Stock”) and
            Series C-3 Preferred Stock, $0.001 par value per share (the “Series C-3 Preferred Stock”) of
            EatStreet, Inc., a Delaware corporation (the “Corporation”), voting together as a single class (said
            holders being referred to in the Corporation’s Amended and Restated Certificate of Incorporation,
            dated February 23, 2022 (the “Certificate of Incorporation”) as the “Required Investors”), do
            hereby consent in writing, in accordance with the Delaware General Corporation Law and the
            Corporation’s Bylaws, to the adoption of the following resolutions with the same force and effect
            as if they had been approved at a duly convened meeting of the stockholders of the Corporation
            and direct that this written consent be filed with the proceedings of the stockholders of the
            Corporation, to be effective as of the earliest date set forth below:

            Bankruptcy Petition

                     WHEREAS, given the Corporation’s current cash position and in furtherance of a continued
            effort to maximize return to its stockholders (the “Stockholders”), the Company’s board of directors
            (the “Board”) has deemed it in the best interests of the Corporation, the Stockholders, the
            Corporation’s creditors, and other interested parties that the Corporation file a voluntary petition (a
            “Chapter 11 Petition”) with the United States Bankruptcy Court pursuant to Chapter 11 of Title 11
            of the United States Code (collectively, the “Bankruptcy Proceedings”); and

                  WHEREAS, the Board has requested that the Required Investors authorize the
            Corporation to enter into the Bankruptcy Proceedings.

                  NOW, THEREFORE BE IT, RESOLVED, that the Corporation entering into the
            Bankruptcy Proceedings be, and it hereby is, approved in all respects; and be it further

                    RESOLVED, that the officers of the Corporation be, and each such officer hereby is,
            authorized, empowered and directed, in the name and on behalf of the Corporation, to execute and
            verify a Chapter 11 Petition and to direct the Corporation’s counsel to file such a Chapter 11
            Petition at such time as the officer executing said Chapter 11 Petition shall determine; and be it
            further

                    RESOLVED, that the officers of the Corporation be, and each such officer hereby is,
            authorized, empowered and directed to execute and file such documents and schedules related to
            the Chapter 11 Petition, in the name and on behalf of the Corporation, including, without
            limitation, affidavits, statements of affairs, schedules of assets and liabilities and any other
            documents or certificates which may be necessary and appropriate in the opinion of the
            Corporation’s counsel; and be it further

                     RESOLVED, that the Corporation retain attorneys and other professionals to advise the
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            Corporation, including, without limitation, the law firm of Michael Best & Friedrich LLP as its
            counsel in the Chapter 11 proceeding, and that the officers of the Corporation be, and each such
            officer hereby is, authorized, empowered and directed to execute the applicable applications to
            appoint counsel and other professionals and to execute any other necessary or related documents
            and to provide and pay retainers to counsel and other appropriate professionals for compensation
            for services; and be it further

                    RESOLVED, that the officers of the Corporation be, and each such officer hereby is,
            authorized, empowered and directed, in the name and on behalf of the Corporation, to make,
            execute and deliver any and all instruments, papers, motions, verified statements, declarations,
            affidavits and documents and to do all other acts that each such officer may deem convenient or
            proper to effectuate the purpose and intent hereof; and be it further

                    RESOLVED, that the officers of the Corporation be, and each such officer hereby is,
            authorized, empowered and directed to take all such further action in the name and on behalf of
            the Corporation, as they in their sole discretion deem necessary, proper or advisable in order to
            carry out the essential intent to accomplish the full purpose of the foregoing resolutions and to
            fully perform the obligations of the Corporation contained in each of the documents delivered
            pursuant thereto.

            General Authorization

                    RESOLVED, that the officers of the Corporation be, and each of them individually hereby
            is, authorized (i) to negotiate, execute and deliver to any person deemed appropriate by any such
            officer or officers, any and all certificates, agreements, instruments, documents, notes or
            undertakings of any kind or nature whatsoever to effect the intent and purposes of the foregoing
            resolutions, such certificates, agreements, instruments, documents, notes or undertakings to be in
            such form and to contain such terms and conditions as may be approved by any such officer or
            officers executing the same, the authorization and approval of the Corporation to be conclusively
            evidenced by any such officer’s or officers’ execution thereof, and (ii) to do and perform or cause
            to be done and performed all acts, deeds and things, in the name and on behalf of the Corporation
            or otherwise as such officer or officers may deem necessary or appropriate to effect the intent and
            purposes of the foregoing resolutions; and be it further

                    RESOLVED, that all actions previously taken by any director, officer, agent or attorney of
            the Corporation relating to the above resolutions and the transactions contemplated in connection
            therewith, are hereby adopted, ratified, confirmed and approved in all respects as the acts and deeds
            of the Corporation.
                                                  [Signature Pages Follow]




                                                             2
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                     IN WITNESS WHEREOF, the undersigned stockholders of the Corporation, hereby voting
            the full number of shares held of record by them in the Corporation, have executed this Action by
            Written Consent and direct that this Action by Written Consent be filed with the minutes of the
            proceedings of the Corporation’s stockholders. This Action by Written Consent may be signed in
            one or more counterparts, , including by signature pages provided by electronic transmission, each
            of which shall be deemed an original, and all of which shall constitute one and the same instrument.

              4490 VENTURES, L.P.

              By: 4490 Ventures GP, L.L.C.
              Its: General Partner



              By:                                              Dated:     10/10/2024
              Name: Gregory T. Robinson
              Title: Managing Member




                                [Signature Page to Written Consent of Preferred Stockholders]
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                     IN WITNESS WHEREOF, the undersigned stockholders of the Corporation, hereby voting
            the full number of shares held of record by them in the Corporation, have executed this Action by
            Written Consent and direct that this Action by Written Consent be filed with the minutes of the
            proceedings of the Corporation’s stockholders. This Action by Written Consent may be signed in
            one or more counterparts, each of which shall be deemed an original, and all of which shall
            constitute one instrument.

              PRIME IV HOLDING 12 B.V.

              By: Prime Venture Partners IV B.V.
              Its: Managing Director

              By: Prime Technology Investment
              Management B.V.
              Its: Managing Director


              By:                                               Dated:      10/10/2024
              Name: Pieter Welten
              Title: Partner




                                      [Signature Page to Written Consent of Stockholders]
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                                                               EatStreet
                                                   Balance Sheet Detail for EatStreet
                                                  For The Month Ended August 31, 2024


                                             Jan 2024      Feb 2024      Mar 2024      Apr 2024      May 2024      Jun 2024      Jul 2024      Aug 2024


ASSETS
Current Assets
 Checking/Savings
  10000 Bank Accounts
   13300 PB Operating Account (0774)           $155,970      $156,014      $125,291      $183,247      $154,662      $176,210       $87,334       $75,941
   13350 PB Disbursement Account (2731)        $671,251      $185,405      $252,660      $630,583      $214,508      $212,720      $506,333      $194,724
   13360 PB Money Market Account (9361)      $1,771,335    $1,974,674    $1,978,448    $1,982,107    $1,735,697    $1,538,858    $1,341,724    $1,244,270
   13380 CIBC Checking (0687)                   $50,217       $50,217       $50,217       $50,217       $50,217       $50,217       $50,217       $50,217
   13390 CIBC Checking (3670)                   $50,217       $50,217       $50,217       $50,217       $50,217       $50,217       $50,217       $50,217
  Total 10000 Bank Accounts                  $2,698,990    $2,416,527    $2,456,832    $2,896,370    $2,205,300    $2,028,221    $2,035,825    $1,615,369
  1072 Bill.com Money Out Clearing                   $0            $0            $0           $27           $27           $27           -$1           -$1
  13500 Restricted Funds
   12000 Undeposited Funds                        -$809         -$809         -$809         -$809         -$809         -$809         -$809         -$809
   13510 Outstanding Checks                       -$369         -$369         -$369         -$369         -$369         -$369         -$369         -$369
   13518 PB Checks Payable                   -$1,795,012   -$1,758,369   -$1,781,395   -$1,779,271   -$1,788,163   -$1,851,992   -$1,831,821   -$1,777,502
   13550 Letter of Credit Collateral Funds   $1,000,000    $1,000,000    $1,000,000    $1,000,000    $1,000,000    $1,000,000    $1,000,000    $1,000,000
  Total 13500 Restricted Funds                -$796,189     -$759,547     -$782,572     -$780,449     -$789,340     -$853,170     -$832,999     -$778,679
 Total Checking/Savings                      $1,902,801    $1,656,981    $1,674,260    $2,115,948    $1,415,987    $1,175,078    $1,202,825      $836,689


 Accounts Receivable
  26500 Accounts Receivable
   26100 Paypal Weekly Receivable               $20,890       $26,621       $35,205       $18,496       $28,097       $37,277       $23,708       $33,100
   26200 Yelp Weekly Receivable                  $1,991          $442          $598          $656          $951        $1,370        $1,218        $1,379
   26300 Braintree Sales Receivable            $278,126      $336,242      $607,907      $578,980      $311,853      $596,260      $238,096      $369,327
   26400 Cash Orders Receivable                  $7,370        $6,908        $8,048        $6,288        $7,993        $2,114       $10,458        $3,308
   26600 Campus Card Receivable                  $5,531        $7,975        $4,261        $8,585        $1,304        $1,568        $1,276        $5,952
  Total 26500 Accounts Receivable              $313,909      $378,187      $656,018      $613,005      $350,198      $638,589      $274,755      $413,066
 Total Accounts Receivable                     $313,909      $378,187      $656,018      $613,005      $350,198      $638,589      $274,755      $413,066


 Other Current Assets
  11950 Emburse Funds                            $1,135          $909          $705          $500          $296           $92            $0            $0
  11951 Stripe Funds                                 $0            $0            $0          $300        $5,350        $5,984          $624        $1,052
  12050 Due from Restaurants                    -$8,303       -$8,303       -$8,303       -$8,303       -$8,303       -$8,303       -$8,303       -$8,303
  12055 Due from HungerHub                      $12,231       $12,231       $12,231       $12,231       $12,231       $12,231       $12,231       $12,231
  14000 Prepaid Expenses                       $228,323      $169,991      $247,033      $211,802      $188,441      $280,705      $209,343      $243,922
  15300 Tablets                                  $1,450          $688        $1,659          $658        $1,477          $738          $407          $520
  15400 Domain Names                             $5,687        $5,340        $5,538        $5,152        $5,062        $5,073        $4,799        $5,282
  18000 Supplies
   18300 Promotional Materials                       $0            $0            $0            $0            $0            $0            $0            $0
  Total 18000 Supplies                               $0            $0            $0            $0            $0            $0            $0            $0
 Total Other Current Assets                    $240,523      $180,856      $258,863      $222,340      $204,555      $296,521      $219,103      $254,705


Total Current Assets                         $2,457,233    $2,216,024    $2,589,141    $2,951,293    $1,970,740    $2,110,189    $1,696,683    $1,504,460


Fixed Assets
 15000 Furniture and Equipment
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   15100 Accumulated Depreciation              -$17,051      -$17,051      -$17,051      -$17,051      -$17,051      -$17,051      -$17,051      -$17,051
   15000 Furniture and Equipment - Other        $17,051       $17,051       $17,051       $17,051       $17,051       $17,051       $17,051       $17,051
  Total 15000 Furniture and Equipment                $0            $0            $0            $0            $0            $0            $0            $0
  15200 Computer Equipment
   15250 Accumulated Depreciation             -$203,414     -$206,861     -$207,856     -$211,303     -$214,750     -$218,273     -$220,010     -$223,121
   15200 Computer Equipment - Other            $251,396      $251,396      $248,944      $248,944      $248,944      $252,584      $250,899      $250,899
  Total 15200 Computer Equipment                $47,982       $44,535       $41,088       $37,641       $34,194       $34,311       $30,889       $27,778
  16500 Intangible Assets
   16550 Accumulated Amortization              -$49,383      -$49,566      -$49,750      -$49,933      -$50,116      -$50,300      -$50,483      -$50,666
   16500 Intangible Assets - Other              $69,000       $69,000       $69,000       $69,000       $69,000       $69,000       $69,000       $69,000
  Total 16500 Intangible Assets                 $19,617       $19,434       $19,250       $19,067       $18,884       $18,700       $18,517       $18,334
  16600 Acquired Intangible Assets
   16650 Accumulated Amortization              -$26,519      -$53,039      -$79,558     -$106,078     -$132,597            $0            $0            $0
  Total 16600 Acquired Intangible Assets       -$26,519      -$53,039      -$79,558     -$106,078     -$132,597            $0            $0            $0
  17300 Partner Acquisition Costs
   17350 Accumulated Amortization            -$1,839,729   -$1,839,729   -$1,839,729   -$1,839,729   -$1,839,729   -$1,839,729   -$1,839,729   -$1,839,729
   17300 Partner Acquisition Costs - Other   $1,934,180    $1,934,180    $1,934,180    $1,934,180    $1,934,180    $1,934,180    $1,934,180    $1,934,180
  Total 17300 Partner Acquisition Costs         $94,450       $94,450       $94,450       $94,450       $94,450       $94,450       $94,450       $94,450
 Total Fixed Assets                            $135,529      $105,380       $75,230       $45,080       $14,931      $147,462      $143,857      $140,562


 Other Assets
  17100 Security Deposits                            $0            $0            $0            $0            $0            $0            $0        $2,113
  17500 Deferred Tax Asset
   Valuation Allowance                       -$9,122,100   -$9,122,100   -$9,122,100   -$9,122,100   -$9,122,100   -$9,122,100   -$9,122,100   -$9,122,100
   17500 Deferred Tax Asset - Other          $9,122,100    $9,122,100    $9,122,100    $9,122,100    $9,122,100    $9,122,100    $9,122,100    $9,122,100
  Total 17500 Deferred Tax Asset                     $0            $0            $0            $0            $0            $0            $0            $0
 Total Other Assets                                  $0            $0            $0            $0            $0            $0            $0        $2,113


TOTAL ASSETS                                 $2,592,762    $2,321,404    $2,664,371    $2,996,373    $1,985,671    $2,257,650    $1,840,540    $1,647,135


LIABILITIES & EQUITY
 Liabilities
  Current Liabilities
   Accounts Payable
    25000 Accounts Payable                     $845,805      $873,415    $1,020,204    $1,411,464      $788,678      $879,551      $715,931      $777,672
   Total Accounts Payable                      $845,805      $873,415    $1,020,204    $1,411,464      $788,678      $879,551      $715,931      $777,672


   Credit Cards
    25100 Credit Card                           $34,124       $72,174       $76,367       $65,826       $55,166      $106,985       $61,271       $48,236
   Total Credit Cards                           $34,124       $72,174       $76,367       $65,826       $55,166      $106,985       $61,271       $48,236


   Other Current Liabilities
    23001 Due to EatStreet                      $12,231       $12,231       $12,231       $12,231       $12,231       $12,231       $12,231       $12,231
    24000 Payroll Liabilities                   $60,722       $69,423      $107,879      $115,983      $140,398      $161,167       $47,283       $71,641
    24080 Accrued Vacation Liability           $143,178      $143,178      $127,665      $127,665      $127,665       $74,850       $46,553       $37,125
    25010 Accrued Liabilities                  $107,243       $94,961       $86,580       $85,717       $80,563       $80,563       $82,709       $96,518
    25020 Sales Tax Payable                    $432,899      $426,663      $452,913      $430,318      $395,474      $379,432      $357,674      $347,672
    70000 Due to Restaurants                 $1,301,332      $922,231    $1,132,654    $1,123,603      $796,985      $903,858      $948,016      $686,856
   Total Other Current Liabilities           $2,057,605    $1,668,688    $1,919,922    $1,895,517    $1,553,317    $1,612,101    $1,494,466    $1,252,043
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  Total Current Liabilities                   $2,937,535    $2,614,277    $3,016,493    $3,372,807    $2,397,161    $2,598,637    $2,271,668    $2,077,951


  Long Term Liabilities
   75200 Deferred Payroll Taxes               $2,146,012    $2,146,012    $2,146,012    $2,121,012    $2,224,399    $2,252,457    $2,254,404    $2,256,385
  Total Long Term Liabilities                 $2,146,012    $2,146,012    $2,146,012    $2,121,012    $2,224,399    $2,252,457    $2,254,404    $2,256,385


 Total Liabilities                            $5,083,547    $4,760,289    $5,162,505    $5,493,819    $4,621,559    $4,851,094    $4,526,073    $4,334,336


 Equity
  30000 Opening Balance Equity                   -$3,510       -$3,510       -$3,510       -$3,510       -$3,510       -$3,510       -$3,510       -$3,510
  30100 Hunger Hub Equity                             $0            $0            $0            $0            $0            $0            $0            $0
  30300 Series A Investment
   30350 Stock Issuance Costs                   -$33,569      -$33,569      -$33,569      -$33,569      -$33,569      -$33,569      -$33,569      -$33,569
   30300 Series A Investment - Other          $2,429,552    $2,429,552    $2,429,552    $2,429,552    $2,429,552    $2,429,552    $2,429,552    $2,429,552
  Total 30300 Series A Investment             $2,395,983    $2,395,983    $2,395,983    $2,395,983    $2,395,983    $2,395,983    $2,395,983    $2,395,983
  30400 Series B Investment
   30410 Series B-1 Investment                $3,399,620    $3,399,620    $3,399,620    $3,399,620    $3,399,620    $3,399,620    $3,399,620    $3,399,620
   30420 Stock Issuance Costs                    -$6,290       -$6,290       -$6,290       -$6,290       -$6,290       -$6,290       -$6,290       -$6,290
   30400 Series B Investment - Other          $5,000,380    $5,000,380    $5,000,380    $5,000,380    $5,000,380    $5,000,380    $5,000,380    $5,000,380
  Total 30400 Series B Investment             $8,393,710    $8,393,710    $8,393,710    $8,393,710    $8,393,710    $8,393,710    $8,393,710    $8,393,710
  30500 Other Paid in Capital                   $708,795      $708,795      $708,795      $708,795      $708,795      $708,795      $708,795      $708,795
  30600 Series C Investment
   30605 Series C-1 Investment               $20,972,653 $20,972,653 $20,972,653 $20,972,653 $20,972,653 $20,972,653 $20,972,653 $20,972,653
   30606 Series C-2 Investment                $2,999,779    $2,999,779    $2,999,779    $2,999,779    $2,999,779    $2,999,779    $2,999,779    $2,999,779
   30608 Series C-3 Investment                $4,375,114    $4,375,114    $4,375,114    $4,375,114    $4,375,114    $4,375,114    $4,375,114    $4,375,114
   30610 Stock Issuance Costs                  -$184,761     -$184,761     -$184,761     -$184,761     -$184,761     -$184,761     -$184,761     -$184,761
   30600 Series C Investment - Other         $15,001,844 $15,001,844 $15,001,844 $15,001,844 $15,001,844 $15,001,844 $15,001,844 $15,001,844
  Total 30600 Series C Investment            $43,164,629 $43,164,629 $43,164,629 $43,164,629 $43,164,629 $43,164,629 $43,164,629 $43,164,629
  31000 APIC - Options & Warrants
   31010 APIC - Purchasing Equity                    -$2           -$2           -$2           -$2           -$2           -$2           -$2           -$2
   31050 APIC - Resticted Stock                 $141,471      $141,471      $141,471      $141,471      $141,471      $141,471      $141,471      $141,471
   31000 APIC - Options & Warrants - Other    $1,248,701    $1,248,701    $1,248,701    $1,248,701    $1,248,701    $1,248,701    $1,248,701    $1,248,701
  Total 31000 APIC - Options & Warrants       $1,390,170    $1,390,170    $1,390,170    $1,390,170    $1,390,170    $1,390,170    $1,390,170    $1,390,170
  32500 Treasury Stock                          -$46,541      -$46,541      -$46,541      -$46,541      -$46,541      -$46,541      -$46,541      -$46,541
  NET INCOME                                     $72,686      $124,586       $65,337       $66,025      -$72,418      -$29,972     -$122,061     -$123,730
  Retained Earnings                          -$58,566,708 -$58,566,708 -$58,566,708 -$58,566,708 -$58,566,708 -$58,566,708 -$58,566,708 -$58,566,708
 Total Equity                                 -$2,490,785   -$2,438,885   -$2,498,134   -$2,497,446   -$2,635,889   -$2,593,444   -$2,685,533   -$2,687,201


TOTAL LIABILITIES & EQUITY                    $2,592,762    $2,321,404    $2,664,371    $2,996,373    $1,985,671    $2,257,650    $1,840,540    $1,647,135
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                                      EatStreet
                        Statement of Cash Flows for EatStreet
                            Month and Fiscal Year Ending:
                                      8/31/2024

                                                                      Jan 01, 2024-Aug
                                                         Aug 2024
                                                                          31, 2024


     OPERATING ACTIVITIES
      Net Income                                            -$1,668           -$123,730
      Adjustments to reconcile Net Income to net cash
                 provided by operations:
       11950 Emburse Funds                                       $0              $1,405
       11951 Stripe Funds                                     -$427             -$1,052
       14000 Prepaid Expenses                              -$34,579             $32,637
       15300 Tablets                                          -$113              $2,380
       15400 Domain Names                                     -$483                $760
       16650 Accumulated Amortization                            $0                  $0
       24000 Payroll Liabilities                            $24,358           -$107,795
       24080 Accrued Vacation Liability                     -$9,428           -$106,053
       25000 Accounts Payable                               $61,741           -$320,689
       25010 Accrued Liabilities                            $13,809             -$2,089
       25020 Sales Tax Payable                             -$10,002            -$84,954
       25100 Credit Card                                   -$13,036             $34,793
       26100 Paypal Weekly Receivable                       -$9,393              $8,207
       26200 Yelp Weekly Receivable                           -$161              $2,309
       26300 Braintree Sales Receivable                   -$131,230            $298,304
       26400 Cash Orders Receivable                          $7,150              $7,116
       26600 Campus Card Receivable                         -$4,676             -$5,035
       70000 Due to Restaurants                           -$261,159           -$420,521
      Total Adjustments to reconcile Net Income to net
              cash provided by operations:                -$367,630           -$660,276
     Net cash provided by Operating Activities            -$369,298           -$784,005

     INVESTING ACTIVITIES
       15250 Accumulated Depreciation                        $3,111            $17,311
       15200 Computer Equipment - Other                          $0             $6,340
       16550 Accumulated Amortization                          $183             $1,467
       17100 Security Deposits                              -$2,113            -$2,113
     Net cash provided by Investing Activities               $1,181            $23,004

     FINANCING ACTIVITIES
       30610 Stock Issuance Costs                               $0                 -$2
       75200 Deferred Payroll Taxes                         $1,981            $110,373
     Net cash provided by Financing Activities              $1,981            $110,371

    Net cash increase for period                          -$366,136           -$650,631

    Cash at beginning of period                          $1,202,825          $1,487,320
   Cash at end of period                                   $836,689            $836,689
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                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WISCONSIN


In re:
                                                       Case No.
EATSTREET, INC.,
                                                       Chapter 11 Proceedings
                   Debtor.


                  DEBTOR’S STATEMENT OF OPERATIONS
______________________________________________________________________________

         EatStreet, Inc. (the “Debtor” or “EatStreet”), as a Subchapter V Chapter 11 debtor-

in-possession, submits the following Statement of Operations pursuant to 11 U.S.C. §§

1187(a) and 1116(1) of the United States Bankruptcy Code.

         The Debtor was first formed in the State of Wisconsin on January 1, 2012, and

subsequently converted into a corporation incorporated in the State of Delaware on

November 13, 2015. EatStreet is the largest independent online and mobile food ordering

delivery service in the United States, based in Madison, Wisconsin. The company

provides online food ordering and contracted food delivery services to general

consumers. The Debtor has a large number of stockholders, as further described on the

List of Security Holders. The Debtor is governed by a Board of Directors, which consists

of Steve Anastasi, Gregory Robinson, and Pieter Welten.

         The Debtor has approximately 16 employees at the corporate level. The drivers

that support the food delivery service are independent, third-party vendors (e.g.,

UberEats, DoorDash). EatStreet hosts its own mobile Application and digital platform,

through which consumers can sign up for an account, supply payment details, and order
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food from over 7,000 restaurants across the entire country. EatStreet partners with

restaurants and lists participating locations on its platform, which can be easily browsed

and selected by EatStreet’s 80,000+ active diners. In return for connecting the diners to

the restaurants, EatStreet then charges the restaurant a commission off the order price.

        The start of EatStreet’s financial challenges began during the Covid fallout. Larger

competitors like UberEats and DoorDash, given their market size and budget, severely

outspent EatStreet and thwarted its ability to grow and thrive in a competitive market.

        During the pandemic, EatStreet went to great efforts to maintain its employees (at

the time, drivers were direct employees of the business). This was a significant cost to

the business, which was supposed to be partially reimbursed through the Employee

Retention Tax Credit, as part of the CARES Act. EatStreet was denied reimbursement

from the IRS for a significant period of time; this strained the company’s finances

severely, and resulted in EatStreet defaulting on debt owed to its senior secured lender.

Ultimately, in the spring of 2023 the IRS paid 75% of EatStreet’s claim, but all available

proceeds went to pay off EatStreet’s senior loan, which at that time was in default and

accruing significant interest (36%)1 and penalties.2 EatStreet continues to wrestle with the

IRS on certain payroll taxes that the IRS asserts are owed by the Debtor. Although over

$2 million is claimed by the IRS, the Debtor disputes the total, continues to be in

negotiations with the IRS, but such unknown and undetermined debts continue to linger


1 The loan was originally $7.5 million, which ballooned to $10.7 million as a result of the ERTC

reimbursement delays.
2 As of the filing of its Petition, the Debtor no longer has any secured debt. Accordingly, no “cash collateral”

issues exist. Further, the Debtor has sufficient cash reserves and operational cash flow that should carry it
through these proceedings without the need for DIP financing.

                                                       2
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without resolution, despite EatStreet’s multiple follow-ups with the IRS.

      The Debtor has been focused on cost-cutting measures and improvement of

operations. In particular, beginning in July of 2024 through last month, EatStreet laid off

13 full-time employees (appx. 45% of its workforce). EatStreet also extended a pay freeze

(which has been in place since October of 2022) for all senior-level employees.

Additionally, EatStreet has reduced its technology spend through broad cuts across many

vendor services.

      Recently, the Debtor has also suffered various financial and operational

challenges. First, on March 26, 2024, Google changed its ranking algorithm which

resulted in a significant loss of orders flowing through to EatStreet. And on September

5, 2024, Google implemented a new food ordering user experience, which resulted in a

further reduction of orders through EatStreet’s platform. These setbacks are apparent in

EatStreet’s drastic decrease in Google order revenue:




      Second, EatStreet anticipated a return of cash from its workers’ compensation

insurer of approximately $1 million from cash reserves which served as collateral for the

policy. This month, however, EatStreet was informed that the insurance company has

completed its assessment and will only be returning $400,000 to the Debtor (this payment

is anticipated any day now), but will hold the remaining funds as collateral for its

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continued risk under the policy.3

        Third, EatStreet has ongoing delays and unknowns regarding various tax claims

asserted by Illinois and Massachusetts. The Debtor maintains that it has paid certain state

sales taxes to its restaurant clients, but these states continue to seek payment of such

funds directly from EatStreet. Negotiations with these states remain ongoing, continue to

be remain contingent, unliquidated, disputed claims, and need resolution.

        Lastly, due to the revenue declines, increased competition, and unknown tax

matters all discussed above, EatStreet has been unable to garner investor support for

additional capital needed for marketing, operations, and growth. Prior to filing this Case,

EatStreet has also attempted to sell its business operations to third parties. In February of

2024, EatStreet contracted with DelMorgan Group, LLC, a third-party investment

banking firm to market and sell the business. So far, there has been no actionable interest

in light of the Debtor’s unknown liabilities in general.

        In sum, EatStreet is currently in a financial “run off,” and without immediate

action and some semblance of certainty through a claims resolution process, would

otherwise expect to run out of cash in the coming months. The Debtor believes its

“unknowns” and disputes can be most efficiently resolved through the bankruptcy

code’s claims resolution process, and ultimately a plan of reorganization.

        Accordingly, EatStreet’s Board of Directors and Stockholders made the decision to

file this case and seek protection under Subchapter V of Chapter 11 to restructure its



3 This policy has since termed, and the Debtor has sufficient, pre-paid insurance coverage in place as of

the Petition Date with a different insurance company.

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debts, have certainty on what debts may be allowed, and ultimately emerge with a fresh

start to continue its business as a going concern. The Debtor is confident that a financial

restructuring will allow it to retain its remaining employees, customers, and partner

restaurants by implementing a new growth plan after a successful emergence from

bankruptcy.

        Under penalty of perjury, I swear that the above statements are true and accurate to the
best of my knowledge, information, and belief.

       Dated: October 11, 2024.
                                                   s/ Steve Anastasi
                                                   Steve Anastasi
                                                   CEO & Authorized Person




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EatStreet, Inc.
1574 W Broadway st Ste 200 #PMB1005
Madison, WI 53713
Attention: Steve Anastasi

Dear Steve:

Enclosed are the following corporate returns prepared on behalf of EatStreet, Inc. for the year ended December
31, 2022:

        2022 U.S. CORPORATION INCOME TAX RETURN

        2022 ARIZONA CORPORATION INCOME TAX RETURN

        2022 CALIFORNIA CORPORATION INCOME TAX RETURN

        2022 COLORADO CORPORATION INCOME TAX RETURN

        2022 CONNECTICUT CORPORATION INCOME TAX RETURN

        2022 DELAWARE CORPORATION INCOME TAX RETURN

        2022 ILLINOIS CORPORATION INCOME TAX RETURN

        2022 INDIANA CORPORATION INCOME TAX RETURN

        2022 IOWA CORPORATION INCOME TAX RETURN

        2022 KANSAS CORPORATION INCOME TAX RETURN

        2022 KENTUCKY CORPORATION INCOME TAX AND LLET RETURN

        2022 MASSACHUSETTS CORPORATION INCOME TAX RETURN

        2022 MISSOURI CORPORATION INCOME TAX RETURN

        2022 NEW JERSEY CORPORATION INCOME TAX RETURN

        2022 NEW YORK CORPORATION INCOME TAX RETURN

        2022 NORTH CAROLINA CORPORATION INCOME TAX RETURN

        2022 OREGON CORPORATION INCOME TAX RETURN

        2022 PENNSYLVANIA CORPORATION INCOME TAX RETURN

        2023 TEXAS FRANCHISE TAX REPORT

        2022 VIRGINIA CORPORATION INCOME TAX RETURN
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        2022 WISCONSIN CORPORATION INCOME TAX RETURN

        2022 MICHIGAN CORPORATION INCOME TAX RETURN



These return(s) were prepared from information provided by you. Therefore, we recommend you review the
returns. Each original return should be dated, signed and filed in accordance with the filing instructions.

Your responsibility for retention of your own tax records varies, depending upon the type of return or other
information involved. We suggest that you maintain indefinitely copies of tax returns and tax records to support
your cost basis in assets and other tax needs.

We sincerely appreciate the opportunity to serve you. Please contact our office if you have any questions
concerning the tax return.

Sincerely,



Daniel T. O'Connor, CPA
Baker Tilly US, LLP
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                     2022 TAX RETURN FILING INSTRUCTIONS
                                U.S. CORPORATION INCOME TAX RETURN

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:


                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:

                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $                   0
                Less: payments and credits          $                   0
                Plus: interest and penalties        $                   0
                No payment required                 $

Overpayment:
                Not applicable

Make Check Payable To:

                Not Applicable

Mail Tax Return and Check (if applicable) To:

                Department of the Treasury
                Internal Revenue Service Center
                Ogden, UT 84201-0012

Return Must be Mailed on or Before:

                Please sign and mail as soon as possible.

Special Instructions:
                Case 3-24-12061-cjf                      Doc 1       Filed 10/11/24 Entered 10/11/24 11:59:44                                                Desc Main
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   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.




                                FOR YOUR RECORDS
                     Name                                                                                                                                 Identifying number


   Print             EATSTREET, INC.                                                                                                                         **-***5093
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
                     1574 W BROADWAY ST STE 200 #PMB1005


                                   DO NOT FILE
   Type
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     MADISON, WI                   53713
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  12
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |




                                FOR YOUR RECORDS
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.




                                   DO NOT FILE
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year 2022 , or tax year beginning                                                          , and ending
     b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                                  0.

   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)




   219741 04-01-22


13111109 144198 89475                                                                 2022.05000 EATSTREET, INC.                                                               89475__1
                                                                            Case 3-24-12061-cjf                                   Doc 1
                                                                                                                                      Filed 10/11/24 Entered 10/11/24 11:59:44                                                          Desc Main
                                                                                                                              U.S. Corporation Income
                                                                                                                                    Document               Tax
                                                                                                                                                  Page 26 of 326Return
                                                                       1120
                                                                                                                                                                                                                                                     OMB No. 1545-0123

   Form                                                                                     For calendar year 2022 or tax year beginning                                             , ending

   Department of the Treasury
   Internal Revenue Service
                                                                                                                           EXTENSION GRANTED TO 10/16/23
                                                                                                                                Go to www.irs.gov/Form1120 for instructions and the latest information.                                               2022
   A Check if:                                                                                                     Name                                                                                                               B Employer identification number
  1a Consolidated return
     (attach Form 851) ......                                                                                              EATSTREET, INC.                                                                                              **-***5093
   b Life/nonlife consoli-                                                                         TYPE                                                                                                                               C Date incorporated
     dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
  2 Personal holding co.                                                                           OR
     (attach Sch. PH) ........
                                                                                                   PRINT
                                                                                                                           1574 W BROADWAY ST STE 200 #PMB1005                                                                          01/01/2012
  3 Personal service corp.                                                                                                                                                                                                            D Total assets (see instructions)
     (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
  4 Schedule M-3
     attached ...................                                                         X                                MADISON, WI                      53713                      $     4,487,013.
                                                                                               E Check if: (1)       Initial return (2) Final return (3)   Name change  (4) X Address change
                                                                        1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                           1a     29,257,032.
                                                                          b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~                            1b           422,735.
                                                                          c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             1c      28,834,297.
                                                                        2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                2          607,145.
                                                                        3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            3       28,227,152.
                                                                        4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
        Income




                                                                                                                                                                                                                                  4
                                                                        5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~   SEE STATEMENT 1                                                                            5                     15,864.
                                                                        6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                        7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                        8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8
                                                                        9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9          -1,247,141.
                                                                                                                              SEE STATEMENT 2
                                                                       10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 10             753,000.
                                                                       11 Total income. Add lines 3 through 10                                                                                11          27,748,875.
                                                                       12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         12             895,543.
                                                                                                                                                                                                                                             12,399,234.
        Deductions (See instructions for limitations on deductions.)




                                                                       13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                       14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14              16,823.
                                                                       15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15
                                                                       16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16               372,244.
                                                                                                                       SEE STATEMENT 3
                                                                       17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17             2,277,826.
                                                                       18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18
                                                                       19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    19
                                                                       20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20                  141,471.
                                                                       21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                       22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22             2,309,205.
                                                                       23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23               296,795.
                                                                       24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24             1,336,864.
                                                                       25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                       26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                     SEE STATEMENT 4                                          26          12,834,669.
                                                                       27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            27          32,880,674.
                                                                       28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28          -5,131,799.
                                                                                                                              STATEMENT 5
                                                                       29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                          29a                               0.
                                                                          b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~                                              29b
                                                                         c Add lines 29a and 29b                                                                                     29c
                                                                       30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30          -5,131,799.
   Tax, Refundable Credits,




                                                                       31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                   0.
                                                                       32 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     32
        and Payments




                                                                       33 Total payments and credits (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                33
                                                                       34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~~                                                             34
                                                                       35 Amount owed. If line 33 is smaller than the total of lines 31 and 34, enter amount owed ~~~~~~~~~~~~~~                                                 35                                  0.
                                                                       36 Overpayment. If line 33 is larger than the total of lines 31 and 34, enter amount overpaid ~~~~~~~~~~~~~                                               36
                                                                       37 Enter amount from line 36 you want: Credited to 2023 estimated tax                                                             Refunded                37
                                                                               Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                               correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
   Sign                                                                                                                                                                                                                                       May the IRS discuss this
                                                                                                                                                                                                                                              return with the preparer
                                                                                                                                                                                                                                              shown below?
   Here                                                                                                                                                                      CEO                                                                  X Yes
                                                                                  Signature of officer                                               Date                                                                                                             No
                                                                                                                                                                             Title
                                                                              Print/Type preparer's name                                              Preparer's signature                          Date                  Check               PTIN
   Paid     DANIEL T. O'CONNOR, CPA            DANIEL T. O'CONNOR 11/09/23            P00543528                                                                                                                           if self-
                                                                                                                                                                                                                          employed

   Preparer Firm's name    BAKER TILLY US, LLP                             Firm's EIN **-***9910
   Use Only Firm's address PO BOX 7398                                     Phone no.
                           MADISON, WI 53707-7398                                 608.249.6622
   211601
   12-15-22                                                                 LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                        Form 1120 (2022)
                                                                                                                                                                1
13111109 144198 89475                                                                                                                                        2022.05000 EATSTREET, INC.                                                                       89475__1
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              EATSTREET, INC.
   Form 1120 (2022)                                                                                                                **-***5093 Page 2
     Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                   (c) Special deductions
                          (see instructions)                                                                              (b) %
                                                                                                        inclusions                             (a) x (b)
    1 Dividends from less-than-20%-owned domestic corporations (other than
      debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
    2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
      stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                             See
                                                                                                                        Instructions
    3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


    4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


    5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7


    6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


    7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs           ~~~~~~                               65


    8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                             See
                                                                                                                        Instructions
    9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
   10 Dividends from domestic corporations received by a small business investment
        company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


   11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


   12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
   13 Foreign-source portion of dividends received from a specified 10%-owned foreign
        corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
   14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
      (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~


   15 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
        the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
        (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
      b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
        5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      c Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17
        (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


   17 Global Intangible Low-Taxed Income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


   18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


   19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


   20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


   22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
   23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
        page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                             Form 1120 (2022)


   211611
   12-15-22
                                                                                     2
13111109 144198 89475                                                             2022.05000 EATSTREET, INC.                                           89475__1
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   Form 1120 (2022)       EATSTREET, INC.                                                                                **-***5093 Page 3
     Schedule J            Tax Computation and Payment (see instructions)
   Part I - Tax Computation
    1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~
     2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 2                    0.
     3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       3
     4       Add lines 2 and 3                                        4                    0.
     5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                             5a
      b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                            5b
      c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                           5c
         d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                  5d
         e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
     6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            6
     7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 7                    0.
     8       Personal holding company tax (attach Schedule PH (Form 1120))                 8
     9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                       9a
      b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                   9b
         c Interest due under the look-back method-completed long-term contracts
           (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     9c
         d Interest due under the look-back method-income forecast method (attach Form 8866) ~   9d
         e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~        9e
         f   Interest/tax due under Section 453A(c) and/or Section 453(l) ~~~~~~~~~~~~
                                                                        9f
     g Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~ 9g
   10 Total. Add lines 9a through 9g ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10
   11        Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31           11                   0.
   Part II - Reserved For Future Use
    12 Reserved for future use                                           12
   Part III - Payments and Refundable Credits
    13 2021 overpayment credited to 2022 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     13
   14        2022 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                14
   15        2022 refund applied for on Form 4466   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            15   (                  )
   16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                16
   17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  17
   18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                18
   19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           19
   20         Refundable credits from:
         a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          20a
         b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
         c Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  20c
         d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~ 20d
   21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           21
   22        Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    22
   23        Total payments and credits. Add lines 19 and 21. Enter here and on page 1, line 33    23
                                                                                                                              Form 1120 (2022)




   211621
   12-15-22
                                                                                3
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                               89475__1
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   Form 1120 (2022)     EATSTREET, INC.                                                                                                             **-***5093 Page 4
       Schedule K         Other Information (see instructions)
   1     Check accounting method: a   Cash     b X Accrual                          c         Other (specify)                                                       Yes         No
   2     See the instructions and enter the:
       a Business activity code no. 722300
       b Business activity        INTERNET                   SALES
       c Product or service       SERVICE
   3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
         If "Yes," enter name and EIN of the parent corporation


   4     At the end of the tax year:
       a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
         organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
         corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X
       b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
         classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                              X
    5 At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
         foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
         If "Yes," complete (i) through (iv) below.
                                                                                             (ii) Employer                                                    (iv) Percentage
                                   (i) Name of Corporation                              Identification Number                    (iii) Country of            Owned in Voting
                                                                                                                                 Incorporation
                                                                                                  (if any)                                                          Stock




       b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
         (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~       X
         If "Yes," complete (i) through (iv) below.
                                                                                             (ii) Employer                       (iii) Country of                (iv) Maximum
                                       (i) Name of Entity                               Identification Number                                                Percentage Owned in
                                                                                                  (if any)                       Organization
                                                                                                                                                             Profit, Loss, or Capital


   HUNGERHUB, LLC                                                                  **-***0988 UNITED STATES                                                  100.00%




    6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
      excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
         If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
         If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
    7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
      classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~                            X
         For rules of attribution, see section 318. If "Yes," enter:
         (a) Percentage owned                               and (b) Owner's country
         (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
         Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached
    8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~
      If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
    9 Enter the amount of tax-exempt interest received or accrued during the tax year $
   10 Enter the number of shareholders at the end of the tax year (if 100 or fewer)
   11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~
         If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
         or the election will not be valid.
   12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
      page 1, line 29a.)                                                       $       40,277,519.
                                                                                                                                                         Form 1120 (2022)
   211632
   12-15-22
                                                                                      4
13111109 144198 89475                                                              2022.05000 EATSTREET, INC.                                                        89475__1
              Case 3-24-12061-cjf                     Doc 1       Filed 10/11/24 Entered 10/11/24 11:59:44                                      Desc Main
                                                                 Document     Page 30 of 326
   Form 1120 (2022)     EATSTREET, INC.                                                                                                        **-***5093 Page 5
     Schedule K          Other Information (continued from page 4)
   13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the              Yes   No
      tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         X
        If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
        distributions and the book value of property distributions (other than cash) made during the tax year    $
   14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions         ~~~~~~~~~~~~~~~                   X
      If "Yes," complete and attach Schedule UTP.
   15a Did the corporation make any payments in 2022 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 X
     b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             X
   16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
      own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
   17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
      of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                X
   18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
      market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
   19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
      under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                                   X
   20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
   21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
        267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           X
        If "Yes," enter the total amount of the disallowed deductions $
   22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
      and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    X
        If "Yes," complete and attach Form 8991.
   23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
      during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
   24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          X
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
       current tax year are more than $27 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," complete and attach Form 8990.
   25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      X
      If "Yes," enter amount from Form 8996, line 15  $
   26 Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
      indirectly by the corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
        50% (for example, the shareholders held more than 50% of the stock of the foreign corporation)? If "Yes," list the ownership
        percentage by vote and by value. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           X
        Percentage: By Vote                                                 By Value
                                                                                                                                                     Form 1120 (2022)




   211633
   12-15-22
                                                                                      5
13111109 144198 89475                                                              2022.05000 EATSTREET, INC.                                               89475__1
                  Case 3-24-12061-cjf                          Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
   Form 1120 (2022)        EATSTREET, INC.                             Document     Page 31 of 326              **-***5093                                                        Page 6

     Schedule L               Balance Sheets per Books                            Beginning of tax year                                            End of tax year

                           Assets                                           (a)                                 (b)                        (c)                            (d)
     1 Cash ~~~~~~~~~~~~~~~~~                                                                          7,221,830.                                                       549,906.
     2a Trade notes and accounts receivable ~~~                       1,814,007.                                                        1,157,082.
      b Less allowance for bad debts ~~~~~~                      (                          )          1,814,007. (                                       )          1,157,082.
     3 Inventories ~~~~~~~~~~~~~~                                                                         60,427.                                                            0.
     4 U.S. government obligations ~~~~~~
     5 Tax-exempt securities ~~~~~~~~~
                                         STMT 6
     6 Other current assets (att. stmt.) ~~~~~~~                                                       1,336,418.                                                       715,548.
     7 Loans to shareholders ~~~~~~~~~
    8 Mortgage and real estate loans ~~~~~
    9 Other investments (att. stmt.) ~~~~~~~~
   10a Buildings and other depreciable assets ~~                      3,424,296.                                                          355,657.
     b Less accumulated depreciation ~~~~~                       (    2,332,109.)                      1,092,187. (                       253,876.)                     101,781.
   11a Depletable assets ~~~~~~~~~~~
     b Less accumulated depletion ~~~~~~                         (                          )                                   (                         )
   12 Land (net of any amortization) ~~~~~~
   13a Intangible assets (amortizable only) ~~~                       4,923,771.                                                        4,923,771.
     b Less accumulated amortization ~~~~~                       (    2,621,865.)                     2,301,906. (                      2,961,075.)                  1,962,696.
                                   STMT 7
   14 Other assets (att. stmt.) ~~~~~~~~                                                                 65,679.                                                             0.
   15 Total assets                                                                      13,892,454.                                                     4,487,013.
      Liabilities and Shareholders' Equity
   16 Accounts payable ~~~~~~~~~~~                                                                     4,934,063.                                                    3,264,720.
   17    Mortgages, notes, bonds payable in less than 1 year                                           2,000,000.                                                    2,000,000.
   18 Other current liabilities (att. stmt.) STMT 8
                                              ~~~~~~                                                   4,394,168.                                                    8,145,365.
   19 Loans   from   shareholders        ~~~~~~~~                                                                                                                       19,582.
   20    Mortgages, notes, bonds payable in 1 year or more                                             7,000,000.                                                    4,637,912.
                                        STMT 9
   21 Other liabilities (att. stmt.) ~~~~~~~~                                                            137,507.                                                       43,709.
   22 Capital stock:   a  Preferred  stock ~~~~~                             5,253.                                                         5,253.
                            b Common stock ~~~~~                             1,052.                       6,305.                            1,052.                      6,305.
   23 Additional paid-in capital ~~~~~~~~                                                            51,687,721.                                                   55,900,492.
   24
         Retained earnings -
                                      STMT 10
                                     ~~~~~~~
         Appropriated (attach statement)                                                                      0.                                                       99,959.
   25 Retained    earnings  - Unappropriated ~~~                                                    -56,220,769.                                                  -69,631,031.
      Adjustments to shareholders'
   26 equity (attach statement) ~~~~~~~~~~
   27 Less cost of treasury stock ~~~~~~~                                       46,541.)        (                                                             (              0.)
   28 Total liabilities and shareholders' equity                         13,892,454.                                                                               4,487,013.
     Schedule M-1                   Reconciliation of Income (Loss) per Books With Income per Return
                                    Note: The corporation may be required to file Schedule M-3. See instructions.
     1 Net income (loss) per books ~~~~~~~                                                           7 Income recorded on books this year not
     2 Federal income tax per books ~~~~~~~                                                            included on this return (itemize):
     3 Excess of capital losses over capital gains ~~                                                     Tax-exempt interest       $
     4   Income subject to tax not recorded on books this year

         (itemize):
                                                                                                     8 Deductions on this return not charged
     5 Expenses recorded on books this year not                                                        against book income this year (itemize):
       deducted on this return (itemize):                                                                 a Depreciation ~~ $
                                                                                                            Charitable
       a Depreciation~~ $                                                                                 b contributions ~~~ $
              Charitable
         b contributions ~~ $
           Travel and
         c entertainment ~ $
                                                                                                     9 Add lines 7 and 8 ~~~~~~~~~~~~~
     6 Add lines 1 through 5                                                             10 Income (page 1, line 28) - line 6 less line 9 
     Schedule M-2             Analysis of Unappropriated Retained Earnings per Books (Schedule L, Line 25)
     1   Balance at beginning of year ~~~~~~~    -56,220,769. 5 Distributions: a Cash ~~~~~~~~~~
     2   Net income (loss) per books ~~~~~~~     -13,410,262.                    b Stock ~~~~~~~~~~
     3 Other increases (itemize):                                                                                      c Property ~~~~~~~~
                                                                                                     6 Other decreases (itemize) :


                                                                                                     7 Add lines 5 and 6 ~~~~~~~~~~~~~
     4 Add lines 1, 2, and 3                              -69,631,031. 8 Balance at end of year (line 4 less line 7)                                -69,631,031.
                                                                                                                                                                     Form 1120 (2022)
   211631
   12-15-22
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13111109 144198 89475                                                                   2022.05000 EATSTREET, INC.                                                              89475__1
                  Case 3-24-12061-cjf                 Doc 1     Filed 10/11/24 Entered 10/11/24 11:59:44                            Desc Main
                                                               Document     Page 32 of 326
   Form          1125-A                                            Cost of Goods Sold
   (Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
   Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
   Internal Revenue Service
   Name                                                                                                                             Employer Identification number

            EATSTREET, INC.                                                                                                            **-***5093
   1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1               60,427.
   2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2              546,718.
   3     Cost of labor     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3
   4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
   5     Other costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5
   6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                    607,145.
   7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7
   8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
         appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                    607,145.
   9 a Check all methods used for valuing closing inventory:
         (i)      X Cost
         (ii)        Lower of cost or market
         (iii)       Other (Specify method used and attach explanation) |


       b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
       e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
       f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
         If "Yes," attach explanation.


   For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




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13111109 144198 89475                                                       2022.05000 EATSTREET, INC.                                                    89475__1
                 Case 3-24-12061-cjf                       Doc 1      Filed 10/11/24 Entered 10/11/24 11:59:44                                         Desc Main
                                                                     Document     Page 33 of 326
   SCHEDULE M-3
   (Form 1120)
                                        Net Income (Loss) Reconciliation for Corporations
   (Rev. December 2019)                      With Total Assets of $10 Million or More                                                                         OMB No. 1545-0123

   Department of the Treasury                                             | Attach to Form 1120 or 1120-C.
   Internal Revenue Service                             | Go to www.irs.gov/Form1120 for instructions and the latest information.
   Name of corporation (common parent, if consolidated return)                                                                                    Employer identification number


         EATSTREET, INC.                                                                                                                               **-***5093
     Check applicable box(es): (1) X Non-consolidated return                                       (2)        Consolidated return (Form 1120 only)
                                      (3)       Mixed 1120/L/PC group                              (4)        Dormant subsidiaries schedule attached

     Part I             Financial Information and Net Income (Loss) Reconciliation (see instructions)
     1 a Did the corporation file SEC Form 10-K for its income statement period ending with or within this tax year?
               Yes. Skip lines 1b and 1c and complete lines 2a through 11 with respect to that SEC Form 10-K.
            X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
         b Did the corporation prepare a certified audited non-tax-basis income statement for that period?
            X Yes. Skip line 1c and complete lines 2a through 11 with respect to that income statement.
                 No. Go to line 1c.
         c Did the corporation prepare a non-tax-basis income statement for that period?
                 Yes. Complete lines 2a through 11 with respect to that income statement.
               No. Skip lines 2a through 3c and enter the corporation's net income (loss) per its books and records on line 4a.
     2 a Enter the income statement period: Beginning 01/01/2022                         Ending 12/31/2022
       b Has the corporation's income statement been restated for the income statement period on line 2a?
                 Yes. (If "Yes," attach an explanation and the amount of each item restated.)
            X No.
         c Has the corporation's income statement been restated for any of the five income statement periods immediately preceding the period on line 2a?
                Yes. (If "Yes," attach an explanation and the amount of each item restated.)
            X No.
     3 a Is any of the corporation's voting common stock publicly traded?
                 Yes.
            X No. If "No," go to line 4a.
         b Enter the symbol of the corporation's primary U.S. publicly traded voting common stock        ~~~~~~~~~
         c Enter the nine-digit CUSIP number of the corporation's primary publicly traded voting
           common stock ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


     4 a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 ~~~~~~~~~~~~                         4a        -13,410,262.
       b Indicate accounting standard used for line 4a (see instructions): (1)    GAAP (2)              IFRS
           (3)       Statutory (4)          Tax-basis     (5)      Other (specify)
     5 a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            5a    (                          )
       b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~                           5b
     6 a Net income from nonincludible U.S. entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             6a    (                          )
       b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                             6b
     7 a Net income (loss) of other includible foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~                                7a
       b Net income (loss) of other includible U.S. disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~                                 7b
      c Net income (loss) of other includible entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            7c
     8 Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach stmt.) ~~~~~~~                   8
     9     Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~                                    9
   10 a Intercompany dividend adjustments to reconcile to line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                      10a
      b Other statutory accounting adjustments to reconcile to line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~                                  10b
     c Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                           10c
   11 Net income (loss) per income statement of includible corporations. Combine lines 4 through 10 ~~~~~~~~~~~~                                 11        -13,410,262.
       Note: Part I, line 11, must equal Part II, line 30, column (a), or Schedule M-1, line 1 (see instructions).
   12 Enter the total amount (not just the corporation's share) of the assets and liabilities of all entities included or removed on the following lines.
                                                                                Total Assets                     Total Liabilities
    a Included on Part I, line 4 ~~~~~~~~~~~~ |                                  4,487,013.                     18,111,288.
    b Removed on Part I, line 5 ~~~~~~~~~~~ |
    c Removed on Part I, line 6 ~~~~~~~~~~~ |
    d Included on Part I, line 7  |
   LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                         Schedule M-3 (Form 1120) (Rev. 12-2019)
   213321 04-01-22
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13111109 144198 89475                                                                2022.05000 EATSTREET, INC.                                                        89475__1
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   Schedule M-3 (Form 1120) (Rev. 12-2019)                                                                                                                                             Page 2

   Name of corporation (common parent, if consolidated return)                                                                                     Employer identification number
          EATSTREET, INC.                                                                                                                                **-***5093
   Check applicable box(es):      (1)          Consolidated group   (2)         Parent corp     (3)     Consolidated eliminations   (4)   Subsidiary corp   (5)         Mixed 1120/L/PC group
   Check if a sub-consolidated:         (6)         1120 group        (7)         1120 eliminations
   Name of subsidiary (if consolidated return)                                                                                                     Employer identification number


     Part II           Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                       Taxable Income per Return (see instructions)
                      Income (Loss) Items                                                     (a)                       (b)                     (c)                          (d)
                                                                                    Income (Loss) per                Temporary              Permanent                  Income (Loss) per
           (Attach statements for lines 1 through 12)                               Income Statement                 Difference             Difference                    Tax Return
        Income (loss) from equity method foreign
     1 corporations ~~~~~~~~~~~~~~~~~~~
     2 Gross foreign dividends not previously taxed ~~~~~~~
     3 Subpart F, QEF, and similar inc inclusions ~~~~~~~~
     4 Gross-up for foreign taxes deemed paid ~~~~~~~~
     5 Gross foreign distributions previously taxed ~~~~~~~
       Income (loss) from equity method U.S.
     6 corporations ~~~~~~~~~~~~~~~~~~~
        U.S. dividends not eliminated in tax
     7 consolidation     ~~~~~~~~~~~~~~~~~~
     8 Minority interest for includible corporations ~~~~~~~
     9 Income (loss) from U.S. partnerships ~~~~~~~~~~
   10 Income (loss) from foreign partnerships ~~~~~~~~~
   11 Income (loss) from other pass-through entities ~~~~~~
   12 Items relating to reportable
      transactions ~~~~~~~~~~~~~~~~~~
   13 Interest income (see instructions) ~~~~~~~~~                                        15,864.                                                                           15,864.
   14 Total accrual to cash adjustment ~~~~~~~~~
   15 Hedging transactions ~~~~~~~~~~~~~~
   16 Mark-to-market income (loss) ~~~~~~~~~~
   17 Cost of goods sold (see instructions) ~~~~~~~                         (          607,145.)                                                                  (       607,145.)
   18 Sale versus lease (for sellers and/or lessors) ~~~~~~~
   19 Section 481(a) adjustments ~~~~~~~~~~~
   20 Unearned/deferred revenue ~~~~~~~~~~~
        Income recognition from long-
   21 term contracts ~~~~~~~~~~~~~~~~~~
      Original issue discount and
   22 other imputed interest ~~~~~~~~~~~~~~~
   23a Income statement gain/loss on sale, exchange,
       abandonment, worthlessness, or other disposition of
        assets other than inventory and pass-through entities                       -928,016.                       928,016.
     b Gross capital gains from Schedule D, excluding
       amounts from pass-through entities ~~~~~~~~
     c Gross capital losses from Schedule D, excluding
       amounts from pass-through entities, abandonment
        losses, and worthless stock losses ~~~~~~~~
     d Net gain/loss reported on Form 4797, line 17,
       excluding amounts from pass-through entities,
        abandonment losses, and worthless stock losses ~~                                                    -1,247,141.                                              -1,247,141.
     e Abandonment losses ~~~~~~~~~~~~~~
     f Worthless stock losses (attach stmt.) ~~~~~~~
     g Other gain/loss on disposition of assets other than inventory ~
        Capital loss limitation and
   24 carryforward used ~~~~~~~~~~~~~~~~~
   25 Other income (loss) items with differences (attach stmt.) ~~~~~~~
   26 Total income (loss) items. Combine lines 1 through 25 -1,519,297.                                         -319,125.                              -1,838,422.
   27 Total expense/deduction items (from Part III, line 39) -22,515,657.                                      8,580,171.                     17,417. -13,918,069.
    28 Other items with no differences ~~~~~~~~~~                 STMT 11 10,624,692.                                                                  10,624,692.
   29a Mixed groups, see instructions. All others, combine lines 26 through 28 ~~ -13,410,262.                 8,261,046.                     17,417. -5,131,799.
     b PC insurance subgroup reconciliation totals ~~~~
     c Life insurance subgroup reconciliation totals ~~~~
   30 Reconciliation totals. Combine lines 29a through 29c -13,410,262.                       8,261,046.                                      17,417. -5,131,799.
      Note: Line 30, column (a), must equal Part I, line 11, and column (d) must equal Form 1120, page 1, line 28.
                                                                                                                                              Schedule M-3 (Form 1120) (Rev. 12-2019)
   213322
   04-01-22
                                                                                                       9
13111109 144198 89475                                                                               2022.05000 EATSTREET, INC.                                                     89475__1
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   Schedule M-3 (Form 1120) (Rev. 12-2019)                                                                                                                                       Page 3
   Name of corporation (common parent, if consolidated return)                                                                                  Employer identification number
          EATSTREET, INC.                                                                                                                           **-***5093
   Check applicable box(es):      (1)         Consolidated group     (2)       Parent corp   (3)     Consolidated eliminations   (4)   Subsidiary corp   (5)     Mixed 1120/L/PC group
   Check if a sub-consolidated:         (6)        1120 group           (7)      1120 eliminations
   Name of subsidiary (if consolidated return)                                                                                                  Employer identification number


     Part III         Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With Taxable
                      Income per Return - Expense/Deduction Items (see instructions)
                                                                                        (a)                          (b)                    (c)                       (d)
                                                                                    Expense per                  Temporary              Permanent                Deduction per
                    Expense/Deduction Items
                                                                                 Income Statement                Difference             Difference                Tax Return

     1 U.S. current income tax expense ~~~~~~~~~
     2 U.S. deferred income tax expense ~~~~~~~~~
     3 State and local current income tax expense ~~~~~                                  45,895.                                                                     45,895.
     4 State and local deferred income tax expense ~~~~
     5 Foreign current income tax expense (other than
       foreign withholding taxes) ~~~~~~~~~~~~
     6 Foreign deferred income tax expense ~~~~~~~
     7 Foreign withholding taxes ~~~~~~~~~~~~
     8 Interest expense (see instructions) ~~~~~~~~                              2,819,995. -2,819,995.
     9 Stock option expense ~~~~~~~~~~~~~~
   10 Other equity-based compensation ~~~~~~~~~
                                        STMT 13
   11 Meals and entertainment ~~~~~~~~~~~~                                               40,164.                                         -17,417.                    22,747.
   12 Fines and penalties ~~~~~~~~~~~~~~~
      Judgments, damages, awards,
   13 and similar costs ~~~~~~~~~~~~~~~~~
   14 Parachute payments ~~~~~~~~~~~~~~
      Compensation with section
   15 162(m) limitation ~~~~~~~~~~~~~~~~~
   16 Pension and profit-sharing ~~~~~~~~~~~~                                         296,795.                                                                     296,795.
   17 Other post-retirement benefits ~~~~~~~~~~
   18 Deferred compensation ~~~~~~~~~~~~~
   19 Charitable contribution of cash and tangible
                               STMT 14
        property ~~~~~~~~~~~~~~~~~~~~
   20 Charitable contribution of intangible property ~~~~~~~
      Charitable contribution
   21 limitation/carryforward ~~~~~~~~~~~~~~~
   22 Domestic production activities deduction (see instrs.)
   23 Current year acquisition or reorganization
        investment banking fees ~~~~~~~~~~~~~
   24 Current year acquisition or reorganization legal and
      accounting fees ~~~~~~~~~~~~~~~~
        Current year acquisition/
   25 reorganization other costs ~~~~~~~~~~~~~~
   26 Amortization/impairment of goodwill ~~~~~~~
   27 Amortization of acquisition, reorganization, and
      start-up costs ~~~~~~~~~~~~~~~~~
        Other amortization or         STMT 15
   28 impairment write-offs ~~~~~~~~~~~~~~~~                                          954,945.                 -315,262.                                           639,683.
   29 Reserved ~~~~~~~~~~~~~~~~~~~
   30 Depletion ~~~~~~~~~~~~~~~~~~~
   31 Depreciation ~~~~~~~~~~~~~~~~~~                                                 563,028.                 -421,557.                                           141,471.
   32 Bad debt expense ~~~~~~~~~~~~~~~~
   33 Corporate owned life insurance premiums ~~~~~~~~
        Purchase versus lease
   34 (for purchasers and/or lessees) ~~~~~~~~~~~~
   35 Research and development costs ~~~~~~~~~~~
   36 Section 118 exclusion (att. stmt.) ~~~~~~~~~
      Sec. 162(r) - FDIC premiums paid by certain
   37 large financial institutions (see instructions) ~~~~~~~
        Other expense/deduction items
   38 with differences (attach stmt.)              STMT 16
                                              ~~~~~~~~~~~~                     17,794,835. -5,023,357.                                                         12,771,478.
   39 Total expense/deduction items. Combine lines 1 through
        38. Enter here and on Part II, line 27, reporting positive amounts

        as negative and negative amounts as positive                     22,515,657. -8,580,171.                                   -17,417. 13,918,069.
                                                                                                                                           Schedule M-3 (Form 1120) (Rev. 12-2019)
   213323
   04-01-22
                                                                                                 10
13111109 144198 89475                                                                         2022.05000 EATSTREET, INC.                                                  89475__1
                Case 3-24-12061-cjf                    Doc 1      Filed 10/11/24 Entered 10/11/24 11:59:44                                              Desc Main
                                                                 Document     Page 36 of 326
   Form     1125-E                                             Compensation of Officers
   (Rev. October 2016)                                                                                                                                        OMB No. 1545-0123
                                                 | Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
   Department of the Treasury
   Internal Revenue Service         | Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
   Name                                                                                                                                                 Employer Identification number

          EATSTREET, INC.                                                                                                                                **-***5093
   Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                             (b) Social security       (c) Percent of     Percent of stock owned               (f) Amount of
                                (a) Name of officer                                                   time devoted to
                                                                                  number                 business       (d) Common      (e) Preferred          compensation


   1 MATT         HOWARD                                                 ***-**-6337 100%                                 4.03%             .00%                   369,273.

       STEVE ANASTASI                                                    ***-**-9640 100%                                   .54%            .00%                   317,865.

       MICHELLE DAMA                                                     ***-**-2689 100%                                   .00%            .00%                   208,405.




   2    Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 2                895,543.

   3    Compensation of officers claimed on Form 1125-A or elsewhere on return ~~~~~~~~~~~~~~~~~~~~~~~                                            3


   4    Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
        appropriate line of your tax return                                                              4                895,543.
   For Paperwork Reduction Act Notice, see separate instructions.                                                                                       Form 1125-E (Rev. 10-2016)


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13111109 144198 89475                                                              2022.05000 EATSTREET, INC.                                                              89475__1
                    Case 3-24-12061-cjf                                 Doc 1          Filed 10/11/24 Entered 10/11/24 11:59:44                                                                Desc Main
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               4562                                                         Depreciation and Amortization                                                                                          OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                              (Including Information on Listed Property)
                                                                                                   Attach to your tax return.
                                                                                                                                                                   OTHER
                                                                                                                                                                                                     2022
                                                                                                                                                                                                     Attachment
   Internal Revenue Service                                  Go to www.irs.gov/Form4562 for instructions and the latest information.                                                                 Sequence No. 179
   Name(s) shown on return                                                                                                      Business or activity to which this form relates                   Identifying number



   EATSTREET, INC.                                                                  OTHER DEPRECIATION                               **-***5093
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                            1
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                                      2
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                                       3
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                               4
    5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                            5
    6                                           (a) Description of property                                            (b) Cost (business use only)               (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                                8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9
   10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                                        10
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                         11
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                                 12
   13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                                                                13
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II              Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                    14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  15
   16 Other depreciation (including ACRS)                                                                                                          16
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2022                                                                                    17
   18                                                                                                          
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                        Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                              (b) Month and            (c) Basis for depreciation
                       (a) Classification of property                          year placed            (business/investment use               (d) Recovery     (e) Convention      (f) Method    (g) Depreciation deduction
                                                                                 in service             only - see instructions)                 period


   19a            3-year property
        b         5-year property
        c         7-year property
        d         10-year property
        e         15-year property
        f         20-year property
        g         25-year property                                                                                                            25 yrs.                                S/L
                                                                                      /                                                      27.5 yrs.             MM                S/L
        h         Residential rental property
                                                                                      /                                                      27.5 yrs.             MM                S/L
                                                                                      /                                                       39 yrs.              MM                S/L
        i         Nonresidential real property
                                                                    /                                                 MM         S/L
                                      Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
   20a            Class life                                                                                                                                                         S/L
     b            12-year                                                                                                                     12 yrs.                                S/L
     c            30-year                                                             /                                                       30 yrs.              MM                S/L
     d            40-year                                                             /                                                       40 yrs.              MM                S/L
    Part IV              Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     21
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                                 22
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                                         23
   216251 12-08-22          LHA For Paperwork Reduction Act Notice, see separate12
                                                                                instructions.                                                                                                         Form 4562 (2022)
13111109 144198 89475                                                                                       2022.05000 EATSTREET, INC.                                                                           89475__1
              Case 3-24-12061-cjf                 Doc 1       Filed 10/11/24 Entered 10/11/24 11:59:44                                                   Desc Main
                                                             Document     Page 38 of 326
   Form 4562 (2022)                 EATSTREET, INC.                                                                      **-***5093                                                Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
   24a Do you have evidence to support the business/investment use claimed?               Yes              No 24b If "Yes," is the evidence written?                      Yes        No
                 (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)                              (i)
         Type of property            Date          Business/                             Basis for depreciation
                                                                                                                Recovery     Method/       Depreciation                      Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                         (business/investment
                                                                                                                 period    Convention       deduction                      section 179
                                   service      use percentage                                  use only)
                                                                                                                                                                               cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                      25



                                         ! !
   26 Property used more than 50% in a qualified business use:



                                         ! !
                                                             %



                                         ! !
                                                             %
                                                             %



                                         ! !
   27 Property used 50% or less in a qualified business use:



                                         ! !
                                                             %                                                           S/L -



                                         ! !
                                                             %                                                           S/L -
                                                             %                                                           S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                             29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)               (b)               (c)               (d)                        (e)                     (f)
   30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes         No      Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                 Yes        No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                      (f)
                      Description of costs                Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                               begins                amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2022 tax year:
   R&D EXPENSES                                          070122                    2,699,574.               174                     60M                                269,958.

                                                               ! !
   R&D EXPENSES - OFFSHORE                               070122                      288,907.               174                     180M                                 9,630.
   43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43
   44 Total. Add amounts in column (f). See the instructions for where to report                                             44                     279,588.
   216252 12-08-22                                                                                                                                                     Form 4562 (2022)
                                                                                      13
13111109 144198 89475                                                              2022.05000 EATSTREET, INC.                                                                    89475__1
                    Case 3-24-12061-cjf                            Doc 1            Filed 10/11/24 Entered 10/11/24 11:59:44                                                          Desc Main
                                                                                   Document     Page 39 of 326
              4562                                                     Depreciation and Amortization                                                                                      OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                            Attach to your tax return.
                                                                                                                                                          OTHER
                                                                                                                                                                                            2022
                                                                                                                                                                                            Attachment
   Internal Revenue Service                              Go to www.irs.gov/Form4562 for instructions and the latest information.                                                            Sequence No. 179
   Name(s) shown on return                                                                                             Business or activity to which this form relates                   Identifying number



   EATSTREET, INC.                                                                  OTHER DEPRECIATION                               **-***5093
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,080,000.
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                             2
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                              3         2,700,000.
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                      4
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                         5
    6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
   10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
   13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                                                   13
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
   16 Other depreciation (including ACRS)                                                                                                 16                    5,226.
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2022                                                                           17              128,609.
   18                                                                                                        
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                      Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                           (b) Month and        (c) Basis for depreciation
                      (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method    (g) Depreciation deduction
                                                                              in service         only - see instructions)              period


   19a           3-year property
        b        5-year property                                                                          14,764. 5 YRS                                   HY          200DB                          2,953.
        c        7-year property
        d        10-year property
        e        15-year property
        f        20-year property
        g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                                  /                                                27.5 yrs.              MM                S/L
        h        Residential rental property
                                                                                  /                                                27.5 yrs.              MM                S/L
                                                                                  /                                                 39 yrs.               MM                S/L
        i        Nonresidential real property
                                                                  /                                                 MM         S/L
                                    Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
   20a           Class life                                                                                                                                                 S/L
     b           12-year                                                                                                             12 yrs.                                S/L
     c           30-year                                                          /                                                  30 yrs.              MM                S/L
     d           40-year                                                          /                                                  40 yrs.              MM                S/L
    Part IV             Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21                    4,683.
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22              141,471.
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                            23
   216251 12-08-22         LHA For Paperwork Reduction Act Notice, see separate14
                                                                               instructions.                                                                                                 Form 4562 (2022)
13111109 144198 89475                                                                               2022.05000 EATSTREET, INC.                                                                          89475__1
              Case 3-24-12061-cjf                 Doc 1       Filed 10/11/24 Entered 10/11/24 11:59:44                                                   Desc Main
                                                             Document     Page 40 of 326
   Form 4562 (2022)                 EATSTREET, INC.                                                                      **-***5093                                                Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
   24a Do you have evidence to support the business/investment use claimed?          X Yes                 No 24b If "Yes," is the evidence written? X Yes        No
                 (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)           (i)
         Type of property            Date          Business/                             Basis for depreciation
                                                                                                                Recovery     Method/       Depreciation   Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                         (business/investment
                                                                                                                 period    Convention       deduction   section 179
                                   service      use percentage                                  use only)
                                                                                                                                                            cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                      25



                                         ! !
   26 Property used more than 50% in a qualified business use:



                                         ! !
                                                             %
               SEE STATEMENT 18                                                                                                                     4,683.

                                         ! !
                                                             %
                                                             %



                                         ! !
   27 Property used 50% or less in a qualified business use:



                                         ! !
                                                             %                                                           S/L -



                                         ! !
                                                             %                                                           S/L -
                                                             %                                                           S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28 4,683.
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1       29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)               (b)               (c)               (d)                        (e)                   (f)
   30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle               Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes         No      Yes         No     Yes     No       Yes        No          Yes          No        Yes          No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                               Yes         No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                    (f)
                      Description of costs                Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                               begins                amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2022 tax year:



                                                               ! !
   43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43                   360,095.
   44 Total. Add amounts in column (f). See the instructions for where to report                                             44                   360,095.
   216252 12-08-22                                                                                                                                                 Form 4562 (2022)
                                                                                      15
13111109 144198 89475                                                              2022.05000 EATSTREET, INC.                                                                  89475__1
                                      Case 3-24-12061-cjf         Doc 1       Filed 10/11/24 Entered 10/11/24 11:59:44                                      Desc Main
                                                                             Document     Page 41 of 326
2022 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                                   OTHER
                                                                         C                                                      *
  Asset                                         Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.                  Description           Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                                         v
                                                                                                      Excl                                                 Depreciation   Expense                  Depreciation


      1 R&D EXPENSES                          07/01/22 174        60M        42 2,699,574.                                                2,699,574.                                 269,958.       269,958.

      2 R&D EXPENSES - OFFSHORE      07/01/22 174                 180M       42       288,907.                                               288,907.                                   9,630.         9,630.
        * TOTAL OTHER DEPRECIATION &
        AMORT                                                                     2,988,481.                                              2,988,481.                0.               279,588.       279,588.



          CURRENT YEAR ACTIVITY

             BEGINNING BALANCE                                                                0.                     0.             0.               0.             0.                                      0.

                  ACQUISITIONS                                                    2,988,481.                         0.             0. 2,988,481.                   0.                              279,588.

                  DISPOSITIONS/RETIRED                                                        0.                     0.             0.               0.             0.                                      0.

             ENDING BALANCE                                                       2,988,481.                         0.             0. 2,988,481.                   0.                              279,588.




228111 04-01-22
                                                                                    (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone


                                                                                                     16
                 Case 3-24-12061-cjf                      Doc 1          Filed 10/11/24 Entered 10/11/24 11:59:44                                         Desc Main
                                                                        Document     Page 42 of 326
                                                                                                                                                                    OMB No. 1545-0184
                                                                    Sales of Business Property
   Form       4797                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                                                                                                                     2022
   Department of the Treasury                                                Attach to your tax return.
                                                                                                                                                                    Attachment
   Internal Revenue Service                            Go to www.irs.gov/Form4797 for instructions and the latest information.                                      Sequence No.   27
   Name(s) shown on return                                                                                                              Identifying number


         EATSTREET, INC.                                                                                                                 **-***5093
    1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on Form(s) 1099-B or 1099-S
       (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a
        b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
          MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1b
        c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
          assets                                                                               1c
     Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                     Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                                    (e) Depreciation      (f) Cost or other            (g) Gain or (loss)
    2                                                 (b) Date          (c) Date            (d) Gross                                       basis, plus                 Subtract (f) from
                     (a) Description of                 acquired            sold              sales price
                                                                                                                 allowed or allowable    improvements and            the sum of (d) and (e)
                         property                     (mo., day, yr.)   (mo., day, yr.)                            since acquisition      expense of sale

     DISPOSED ASSETS
                                                     123112123122                          207,667.                    1,010,466.             2,460,414.                -1,242,281.


    3      Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
    4      Section 1231 gain from installment sales from Form 6252, line 26 or 37           ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
    5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
    6      Gain, if any, from line 32, from other than casualty or theft       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
    7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows       ~~~~~~~~~~~~~~~~~                             7     -1242281.
           Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
           line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
           Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
           from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
           1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
           the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below. SEE STATEMENT 19

    8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8
    9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
           line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
           capital gain on the Schedule D filed with your return. See instructions                                                 9

     Part II         Ordinary Gains and Losses (see instructions)
   10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
   DISPOSED ASSETS
                                                     110321103122                                           0.           2,734.                  7,594.                   -4,860.


   11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        11 (     1242281.)
   12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   12
   13      Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        13
   14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           14
   15      Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15
   16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     16
   17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         17     -1247141.
   18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
           a and b below. For individual returns, complete lines a and b below.
        a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
          loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
           as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
        b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
          (Form 1040), Part I, line 4                                                                          18b
    LHA       For Paperwork Reduction Act Notice, see separate instructions.                                                                                          Form 4797 (2022)
   218001
   12-14-22
                                                                                             17
13111109 144198 89475                                                                     2022.05000 EATSTREET, INC.                                                            89475__1
   EATSTREET,  INC.
        Case 3-24-12061-cjf                             Doc 1          Filed 10/11/24 Entered 10/11/24 11:59:44                                   Desc **-***5093
                                                                                                                                                       Main
   Form 4797 (2022)                                                   Document     Page 43 of 326                                                                             Page 2
     Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                                 (b) Date acquired     (c) Date sold
                                                                                                                                                  (mo., day, yr.)      (mo., day, yr.)
    19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
      A
      B
      C
      D
           These columns relate to the properties on
           lines 19A through 19D.                                                  Property A               Property B             Property C                   Property D
    20     Gross sales price (Note: See line 1a before completing.)      20
    21     Cost or other basis plus expense of sale ~~~~~~               21
    22     Depreciation (or depletion) allowed or allowable ~~~          22
    23     Adjusted basis. Subtract line 22 from line 21 ~~~~            23


    24     Total gain. Subtract line 23 from line 20               24
    25     If section 1245 property:
         a Depreciation allowed or allowable from line 22 ~~~           25a
      b Enter the smaller of line 24 or 25a                     25b
    26 If section 1250 property: If straight line depreciation
           was used, enter -0- on line 26g, except for a corporation
           subject to section 291.
         a Additional depreciation after 1975 ~~~~~~~~~                 26a
         b Applicable percentage multiplied by the smaller of
           line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
         c Subtract line 26a from line 24. If residential rental
           property or line 24 isn't more than line 26a, skip lines
           26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
         d Additional depreciation after 1969 and before 1976 ~         26d
         e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
         f Section 291 amount (corporations only) ~~~~~~                26f
         g Add lines 26b, 26e, and 26f                       26g
    27     If section 1252 property: Skip this section if you didn't
           dispose of farmland or if this form is being completed for
           a partnership.
         a Soil, water, and land clearing expenses ~~~~~~               27a
         b Line 27a multiplied by applicable percentage ~~~~            27b
         c Enter the smaller of line 24 or 27b                  27c
    28     If section 1254 property:
         a Intangible drilling and development costs, expenditures
           for development of mines and other natural deposits,
           mining exploration costs, and depletion ~~~~~~               28a
         b Enter the smaller of line 24 or 28a                  28b
    29     If section 1255 property:
         a Applicable percentage of payments excluded from
           income under section 126 ~~~~~~~~~~~~                        29a
     b Enter the smaller of line 24 or 29a   29b
   Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

    30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30


    31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31
    32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
           from other than casualty or theft on Form 4797, line 6                                                 32
     Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                      (see instructions)
                                                                                                                                   (a) Section                  (b) Section
                                                                                                                                       179                       280F(b)(2)
    33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
    34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
    35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
   218002
   12-14-22
                                                                                       18                                                                           Form 4797 (2022)
13111109 144198 89475                                                               2022.05000 EATSTREET, INC.                                                           89475__1
                Case 3-24-12061-cjf                     Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44                      Desc Main
                                                                Document     Page 44 of 326
   Form    8916-A
   (Rev. November 2019)
                                                Supplemental Attachment to Schedule M-3
                                                                                                                                     OMB No. 1545-0123
                                               | Attach to Schedule M-3 for Form 1065, 1120, 1120-L, 1120-PC, or 1120-S.
   Department of the Treasury
   Internal Revenue Service                            | Go to www.irs.gov/Form1120 for the latest information.
   Name of common parent                                                                                                   Employer identification number
           EATSTREET, INC.                                                                                                   **-***5093
   Name of subsidiary                                                                                                      Employer identification number

       Part I     Cost of Goods Sold
                                                                   (a)                     (b)                    (c)                      (d)
                  Cost of Goods Sold Items                     Expense per             Temporary              Permanent               Deduction per
                                                            Income Statement           Difference             Difference               Tax Return


   1     Amounts attributable to cost flow assumptions


   2     Amounts attributable to:


       a Stock option expense ~~~~~~~~~~


       b Other equity-based compensation ~~~~~


       c Meals and entertainment ~~~~~~~~~


       d Parachute payments     ~~~~~~~~~~


       e Compensation with section 162(m) limitation


       f Pension and profit sharing ~~~~~~~~


       g Other post-retirement benefits ~~~~~~


       h Deferred compensation ~~~~~~~~~


       i Reserved ~~~~~~~~~~~~~~~


       j Amortization ~~~~~~~~~~~~~~


       k Depletion ~~~~~~~~~~~~~~~


       l Depreciation ~~~~~~~~~~~~~~


       m Corporate-owned life insurance premiums ~


       n Other section 263A costs ~~~~~~~~


   3     Inventory shrinkage accruals ~~~~~~~


   4     Excess inventory and obsolescence reserves


   5     Lower of cost or market write-downs ~~~


   6     Other items with differences (attach statement)
                 SEE STATEMENT 20
   7     Other items with no differences ~~~~~~                  607,145.                                                                607,145.
   8     Total cost of goods sold. Add lines 1 through
         7 in columns a, b, c, and d. Enter totals on the
         applicable Schedule M-3. See instructions              607,145.                                                                607,145.
   LHA        For Paperwork Reduction Act Notice, see instructions.                                                         Form 8916-A (Rev. 11-2019)


   213315
   04-01-22
                                                                                  19
13111109 144198 89475                                                          2022.05000 EATSTREET, INC.                                       89475__1
               Case 3-24-12061-cjf                      Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44         Desc Main
                                                                Document     Page 45 of 326
                          EATSTREET, INC.
   Form 8916-A (Rev. 11-2019)                                                                                   **-***5093              Page 2

    Part II       Interest Income
                                                                   (a)                    (b)          (c)                    (d)
                    Interest Income Item                    Income (Loss) per         Temporary    Permanent          Income (Loss) per
                                                            Income Statement          Difference   Difference             Tax Return
   1    Tax-exempt interest income


   2    Interest income from hybrid securities


   3    Sale/lease interest income


   4a Intercompany interest income - From outside
      tax affiliated group
   4b Intercompany interest income - From tax
      affiliated group
   5    Other interest income
                                     STMT 21                       15,864.                                                   15,864.
   6    Total interest income. Add lines 1 through 5

        in columns a, b, c, and d. Enter total on

        the applicable Schedule M-3.

        See instructions.                                          15,864.                                                   15,864.
   Part III       Interest Expense
                                                                   (a)                    (b)          (c)                   (d)
                    Interest Expense Item                      Expense per            Temporary    Permanent            Deduction per
                                                            Income Statement          Difference   Difference            Tax Return
   1    Interest expense from hybrid securities


   2    Lease/purchase interest expense


   3a Intercompany interest expense - Paid to
      outside tax affiliated group
   3b Intercompany interest expense - Paid to
      tax affiliated group
   4    Other interest expense
                                     STMT 22                 2,819,995.             -2,819,995.
   5    Total interest expense. Add lines 1 through 4

        in columns a, b, c, and d. Enter total on

        the applicable Schedule M-3.

        See instructions.                                    2,819,995.             -2,819,995.
                                                                                                                Form 8916-A (Rev. 11-2019)




   213316
   04-01-22
                                                                                   20
13111109 144198 89475                                                           2022.05000 EATSTREET, INC.                       89475__1
               Case 3-24-12061-cjf                Doc 1      Filed 10/11/24 Entered 10/11/24 11:59:44                              Desc Main
                                                            Document     Page 46 of 326
                                            Limitation on Business Interest Expense
   Form   8990
   (Rev. December 2022)
                                                      Under Section 163(j)                                                             OMB No. 1545-0123
                                                                       Attach to your tax return.
   Department of the Treasury
   Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
   Taxpayer name(s) shown on tax return                                                                                  Identification number
          EATSTREET, INC.                                                                                                 **-***5093
      A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
                 Name of foreign entity
                 Employer identification number, if any
                 Reference ID number
      B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
      C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
      D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
            to complete                                                            Yes         No
    Part I        Computation of Allowable Business Interest Expense
    Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
    taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

   Section I - Business Interest Expense
      1      Current year business interest expense (not including floor plan
             financing interest expense), before the section 163(j) limitation ~~~~~~~               1      2,819,995.
      2      Disallowed business interest expense carryforwards from prior
             years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
      3      Partner's excess business interest expense treated as paid or
             accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
      4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                               4
      5      Total business interest expense. Add lines 1 through 4                                  5       2,819,995.
   Section II - Adjusted Taxable Income

                                                                          Tentative Taxable Income

      6      Tentative taxable income. See instructions                                        6      -5,147,663.

                                    Additions (adjustments to be made if amounts are taken into account on line 6)

      7      Any item of loss or deduction that is not properly allocable to a trade or
             business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7                        ALL ADJUSTMENTS
      8      Any business interest expense not from a pass-through entity. See instr.        ~       8                         ARE INCLUDED
      9      Amount of any net operating loss deduction under section 172        ~~~~~~              9                          IN LINE 6
    10       Amount of any qualified business income deduction allowed under                                                   SEE FORM 8990
             section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10                           ADJUSTED
    11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11                        TAXABLE INCOME
    12       Amount of any loss or deduction items from a pass-through entity.                                                   WORKPAPER
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
    13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
    14       Total current year partner's excess taxable income (Schedule A, line
             44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
    15       Total current year S corporation shareholder's excess taxable
             income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
    16       Total. Add lines 7 through 15                                             16

                                    Reductions (adjustments to be made if amounts are taken into account on line 6)

    17       Any item of income or gain that is not properly allocable to a trade
             or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
    18       Any business interest income not from a pass-through entity. See instructions          18 (                  )
    19       Amount of any income or gain items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
    20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
    21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (                         )
    22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
   LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)
                                                                                21
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                                          89475__1
              Case 3-24-12061-cjf                Doc 1      Filed 10/11/24 Entered 10/11/24 11:59:44                                   Desc Main
                                                           Document     Page 47 of 326
   Form 8990 (Rev. 12-2022)                                                                                                                              Page 2

   Section III - Business Interest Income
    23      Current year business interest income. See instructions ~~~~~~~~~~                  23
    24      Excess business interest income from pass-through entities (total of
            Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
    25      Total. Add lines 23 and 24                                                    25

   Section IV - Section 163(j) Limitation Calculations

                                                         Limitation on Business Interest Expense

    26      Multiply the adjusted taxable income from line 22 by the applicable
            percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
    27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27
    28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
    29      Total. Add lines 26, 27, and 28                                                 29

                                                           Allowable Business Interest Expense

    30      Total current year business interest expense deduction. See instructions                              30

                                                                         Carryforward

    31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31          2,819,995.
    Part II     Partnership Pass-Through Items
    Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
    and are not carried forward by the partnership. See the instructions for more information.

                                                             Excess Business Interest Expense

    32      Excess business interest expense. Enter amount from line 31                                     32

                                  Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

    33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
    34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
    35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
    36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                             Excess Business Interest Income

    37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       37
    Part III S Corporation Pass-Through Items
    Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
    See the instructions for more information.

                                                                   Excess Taxable Income

    38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
    39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
    40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
    41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                             Excess Business Interest Income

    42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       42
                                                                                                                                    Form 8990 (Rev. 12-2022)




   223212 01-25-23
                                                                             22
13111109 144198 89475                                                     2022.05000 EATSTREET, INC.                                                    89475__1
                           Case 3-24-12061-cjf       Doc 1     Filed 10/11/24 Entered 10/11/24 11:59:44                      Desc Main
                                                             Document      Page 48 of 326
EATSTREET, INC.                                               Business Interest Expense                                                                        **-***5093
                                                                              Prior Disallowed     Business Interest   Business Interest   Limited Business      Disallowed
                                       Description                            Business Interest                                                               Business Interest
                                                                                                       Expense          Expense Ratio      Interest Expense
                                                                                  Expense                                                                         Expense

  MAIN TRADE OR BUSINESS                                                                      0.       2,819,995.           1.000000                            2,819,995.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         0.       2,819,995.           1.000000                    0.      2,819,995.

                                                                                                                                                                   223301 04-01-22


                                                                         23
              Case 3-24-12061-cjf              Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
   EATSTREET, INC.                                     Document     Page 49 of 326              **-***5093

                                              Form 8990 Adjusted Taxable Income

   Total income without interest income and net capital gains/loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          27,733,011.
   Less: Pass-through income without capital gain/losses   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          (                 )
   Add: Pass-through section 1231 loss treated as ordinary loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
         - Non-pass-through net capital gains/losses (limited to 0 if net capital loss is present) ~~~~~~~~~~~~~~~~
         - Reserved for future use   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
         - Other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   Total income without pass-throughs      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     27,733,011.

   Deductions:
   Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 895,543.
   Salaries and wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 12,399,234.
   Repairs     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       16,823.
   Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Rents      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     372,244.
   Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        2,277,826.
   Charitable contributions without pass-throughs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2,309,205.
   Pension, profit-sharing, etc., plans   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       296,795.
   Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              1,336,864.
   Section 199A(g) deduction - 1120-C only ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Other deductions without Section 199A(g)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    12,834,669.
   Depreciation and Depletion not reported elsewhere ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     141,471.
   Less: Pass-through other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     (                 )


   Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  32,880,674.

   Taxable income before special deductions    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    -5,147,663.
   Special deductions without section 250 deduction   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Tentative section 250 deduction for Section 163(j) purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Adjusted taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               -5,147,663.




   226461
   12-12-22
                                                                     24
13111109 144198 89475                                             2022.05000 EATSTREET, INC.                                    89475__1
Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
                              Document     Page 50 of 326
Election Not to Claim the Additional First Year
 Depreciation Allowable Under IRC Sec. 168(k)




EatStreet, Inc.
1574 W Broadway st Ste 200 #PMB1005
Madison, WI 53713


Employer Identification Number:         **-***5093


For the Year Ending December 31, 2022


EatStreet, Inc., hereby elects, pursuant to IRC Sec. 168(k)(7), not
to claim the additional depreciation allowable under IRC Sec. 168(k)
for the following qualifying property placed in service during the
tax year ending December 31, 2022.


All property in the 3 year class.
All property in the 5 year class.
All property in the 7 year class.
All property in the 10 year class.
All property in the 15 year class.
All property in the 20 year class.
All property in the 25 year class.
Computer software as defined by IRC Sec. 167(f)(1)(B).


See attached Form 4562.
Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
                              Document     Page 51 of 326
Section 1.263(a)-1(f) De Minimis Safe Harbor Election




EatStreet, Inc.
1574 W Broadway st Ste 200 #PMB1005
Madison, WI 53713


Employer Identification Number:         **-***5093


For the Year Ending December 31, 2022


EatStreet, Inc. is making the de minimis safe harbor election under
Reg. Sec. 1.263(a)-1(f).
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                     Document     Page 52 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                      INTEREST INCOME                   STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                       US           OTHER
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INTEREST INCOME                                                                   15,864.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 5                                                        15,864.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                        OTHER INCOME                    STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  OTHER INCOME                                                                          753,000.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 10                                                           753,000.
                                                                                  ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                     TAXES AND LICENSES                 STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  PAYROLL TAXES                                                                       2,199,826.
  TAXES AND LICENSES EXPENSE                                                             32,105.
  ARIZONA TAXES - OTHER                                                                       50.
  CALIFORNIA TAXES - OTHER                                                                   800.
  COLORADO TAXES - BASED ON INCOME                                                           701.
  CONNECTICUT TAXES - BASED ON INCOME                                                     1,500.
  DELAWARE TAXES - OTHER                                                                  5,394.
  IOWA TAXES - BASED ON INCOME                                                           19,000.
  KENTUCKY TAXES - OTHER                                                                     300.
  MASSACHUSETTS TAXES - BASED ON INCOME                                                   4,000.
  NEW JERSEY TAXES - OTHER                                                                1,000.
  NEW YORK TAXES - OTHER                                                                  1,500.
  NORTH CAROLINA TAXES - OTHER                                                               200.
  OHIO TAXES - OTHER                                                                         150.
  PENNSYLVANIA TAXES - BASED ON INCOME                                                    6,500.
  TEXAS TAXES - OTHER                                                                     4,000.
  VIRGINIA TAXES - BASED ON INCOME                                                           800.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 17                                                         2,277,826.
                                                                                  ~~~~~~~~~~~~~~




                                                 27                  STATEMENT(S) 1, 2, 3
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                     Document     Page 53 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  AMORTIZATION                                                                          639,683.
  BANK CHARGES                                                                          744,663.
  COMPUTER EXPENSE                                                                    2,594,502.
  CONSULTING EXPENSE                                                                    764,395.
  CREDIT CARD PROCESSING                                                              2,468,550.
  CUSTOMER EXPENSE                                                                       99,838.
  DEFERRED COMPENSATION EXPENSE                                                         562,357.
  DRIVER EXPENSES                                                                        26,380.
  ENTERTAINMENT EXPENSES
  HIRING COSTS                                                                          446,303.
  INSURANCE                                                                           1,377,179.
  LEGAL AND ACCOUNTING                                                                  606,054.
  MEALS                                                                                  15,331.
  MEALS NOT SUBJECT TO LIMITATION                                                         7,416.
  MISCELLANEOUS EXPENSE                                                                 792,528.
  OFFICE PARKING EXPENSE                                                                    488.
  OFFICE SUPPLIES                                                                       236,793.
  PARTNERSHIP FEES                                                                      130,422.
  PAYROLL SERVICE FEES                                                                  332,001.
  PROFESSIONAL FEES                                                                     618,338.
  TRAVEL                                                                                185,139.
  UTILITIES AND TELEPHONE                                                               186,309.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 26                                                        12,834,669.
                                                                                  ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                           NET OPERATING LOSS DEDUCTION            STATEMENT 5
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                    LOSS
                                 PREVIOUSLY         LOSS         AVAILABLE
  TAX YEAR    LOSS SUSTAINED       APPLIED        REMAINING      THIS YEAR
  }}}}}}}}    }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  12/31/12          463,075.         463,075.               0.             0.
  12/31/13        1,598,378.       1,598,378.               0.             0.
  12/31/14        5,290,209.       2,761,775.       2,528,434.     2,528,434.
  12/31/15        6,431,954.                        6,431,954.     6,431,954.
  12/31/16        7,431,694.                        7,431,694.     7,431,694.
  12/31/17       11,012,445.                       11,012,445.    11,012,445.
  12/31/18        6,735,318.                        6,735,318.     6,735,318.
  12/31/19        6,137,674.                        6,137,674.     6,137,674.
                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  NOL AVAILABLE THIS YEAR                          40,277,519.    40,277,519.
                                                ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                 28                      STATEMENT(S) 4, 5
13111109 144198 89475                         2022.05000 EATSTREET, INC.            89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                     Document     Page 54 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                               BEGINNING OF    END OF TAX
  DESCRIPTION                                                    TAX YEAR         YEAR
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  DEPOSITS                                                           10,000.        10,000.
  DOMAIN NAMES                                                       11,520.         9,000.
  EATSTREET BAGS                                                      8,081.              0.
  PREPAID EXPENSES                                                1,306,817.       696,548.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 6                                     1,336,418.       715,548.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                       OTHER ASSETS                    STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                               BEGINNING OF    END OF TAX
  DESCRIPTION                                                    TAX YEAR         YEAR
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  SECURITY DEPOSITS                                                  65,679.              0.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 14                                       65,679.              0.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 8
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                               BEGINNING OF    END OF TAX
  DESCRIPTION                                                    TAX YEAR         YEAR
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED LIABILITIES                                             1,693,392.     2,914,518.
  ACCRUED VACATION PAY                                                    0.       234,411.
  DEFERRED COMPENSATION AGREEMENT                                         0.       577,357.
  DEFERRED FICA PAYROLL TAXES                                     1,630,829.     1,630,829.
  DEFERRED RENT - CURRENT                                           234,229.              0.
  INTEREST PAYABLE                                                   29,063.     2,416,009.
  PAYROLL LIABILITIES                                               806,655.       372,241.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 18                                    4,394,168.     8,145,365.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                 29                  STATEMENT(S) 6, 7, 8
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                     Document     Page 55 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                      OTHER LIABILITIES                STATEMENT 9
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                               BEGINNING OF    END OF TAX
  DESCRIPTION                                                    TAX YEAR         YEAR
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  DEFERRED RENT - LONG TERM                                          79,806.              0.
  OTHER LIABILITIES                                                  43,709.        43,709.
  RELATED PARTY PAYABLES                                             13,992.              0.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 21                                      137,507.        43,709.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L              APPROPRIATED RETAINED EARNINGS           STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                               BEGINNING OF    END OF TAX
  DESCRIPTION                                                    TAX YEAR         YEAR
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TREASURY STOCK                                                          0.        99,959.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 24                                            0.        99,959.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3       OTHER INCOME (LOSS) AND EXPENSE / DEDUCTION   STATEMENT 11
                              ITEMS WITH NO DIFFERENCES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                       INCOME        INCOME
                                                                       (LOSS)        (LOSS)
                                                                     PER INCOME      PER TAX
  DESCRIPTION                                                         STATEMENT      RETURN
  }}}}}}}}}}}                                                        }}}}}}}}}}} }}}}}}}}}}}
  OTHER INCOME (LOSS) - SEE STATEMENT                                29,587,297. 29,587,297.
  OTHER EXPENSE / DEDUCTION - SEE STATEMENT                             -18,962,605.  -18,962,605.
                                                                     }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO SCHEDULE M-3, PART II, LINE 28                            10,624,692. 10,624,692.
                                                                     ~~~~~~~~~~~ ~~~~~~~~~~~




                                                 30                STATEMENT(S) 9, 10, 11
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
          Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                       Document     Page 56 of 326   **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3      OTHER INCOME (LOSS) ITEMS WITH NO DIFFERENCES  STATEMENT 12
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                         INCOME      INCOME
                                                                         (LOSS)      (LOSS)
                                                                       PER INCOME    PER TAX
  DESCRIPTION                                                           STATEMENT    RETURN
  }}}}}}}}}}}                                                          }}}}}}}}}}} }}}}}}}}}}}
  GROSS RECEIPTS OR SALES                                              29,257,032. 29,257,032.
  OTHER INCOME                                                            753,000.    753,000.
  RETURNS AND ALLOWANCES                                                 -422,735.   -422,735.
                                                                       }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO SCHEDULE M-3, PART II, LINE 28                              29,587,297. 29,587,297.
                                                                       ~~~~~~~~~~~ ~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3                 MEALS AND ENTERTAINMENT             STATEMENT 13
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                             EXPENSE                                DEDUCTION
                                           PER INCOME   TEMPORARY       PERMANENT    PER TAX
  DESCRIPTION                               STATEMENT DIFFERENCE       DIFFERENCE    RETURN
  }}}}}}}}}}}                              }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  ENTERTAINMENT EXPENSES                        2,087.                     -2,087.           0.
  MEALS AND ENTERTAINMENT                      38,077.                    -15,330.     22,747.
                                           }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  TOTAL                                        40,164.                    -17,417.     22,747.
                                           ~~~~~~~~~~~ ~~~~~~~~~~~     ~~~~~~~~~~~ ~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3             CHARITABLE CONTRIBUTION OF CASH         STATEMENT 14
                                AND TANGIBLE PROPERTY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                            EXPENSE/                                EXPENSE/
                                            DEDUCTION                               DEDUCTION
                                           PER INCOME   TEMPORARY       PERMANENT    PER TAX
  DESCRIPTION                               STATEMENT DIFFERENCE       DIFFERENCE    RETURN
  }}}}}}}}}}}                              }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  CHARITABLE CONTRIBUTIONS                           0.                         0.           0.
                                           }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  TOTAL                                              0.                         0.           0.
                                           ~~~~~~~~~~~ ~~~~~~~~~~~     ~~~~~~~~~~~ ~~~~~~~~~~~




                                                   31               STATEMENT(S) 12, 13, 14
13111109 144198 89475                           2022.05000 EATSTREET, INC.           89475__1
          Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                       Document     Page 57 of 326   **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3                  OTHER AMORTIZATION OR              STATEMENT 15
                                IMPAIRMENT WRITE-OFFS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                             EXPENSE                                DEDUCTION
                                           PER INCOME   TEMPORARY       PERMANENT    PER TAX
  DESCRIPTION                               STATEMENT DIFFERENCE       DIFFERENCE    RETURN
  }}}}}}}}}}}                              }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  OTHER AMORTIZATION                          675,357.   -315,262.              0.    360,095.
  R&D EXPENSES                                269,958.                          0.    269,958.
  R&D EXPENSES - OFFSHORE                       9,630.                          0.      9,630.
                                           }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  TOTAL                                       954,945.   -315,262.              0.    639,683.
                                           ~~~~~~~~~~~ ~~~~~~~~~~~     ~~~~~~~~~~~ ~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3     OTHER EXPENSE/DEDUCTION ITEMS WITH DIFFERENCES  STATEMENT 16
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                  EXPENSE/                                          EXPENSE/
                                  DEDUCTION                                         DEDUCTION
                                 PER INCOME   TEMPORARY                 PERMANENT    PER TAX
  DESCRIPTION                     STATEMENT DIFFERENCE                 DIFFERENCE    RETURN
  }}}}}}}}}}}                    }}}}}}}}}}} }}}}}}}}}}}               }}}}}}}}}}} }}}}}}}}}}}
  RENTS                             516,371.   -144,127.                        0.    372,244.
  SALARIES AND WAGES             17,278,464. -4,879,230.                        0. 12,399,234.
                                 }}}}}}}}}}} }}}}}}}}}}}               }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO M-3, PART III, LINE 3817,794,835. -5,023,357.                        0. 12,771,478.
                                 ~~~~~~~~~~~ ~~~~~~~~~~~               ~~~~~~~~~~~ ~~~~~~~~~~~




                                                   32                   STATEMENT(S) 15, 16
13111109 144198 89475                           2022.05000 EATSTREET, INC.           89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                     Document     Page 58 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3              OTHER EXPENSE/DEDUCTION ITEMS          STATEMENT 17
                                 WITH NO DIFFERENCES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                      EXPENSE/    EXPENSE/
                                                                      DEDUCTION   DEDUCTION
                                                                     PER INCOME    PER TAX
  DESCRIPTION                                                         STATEMENT    RETURN
  }}}}}}}}}}}                                                        }}}}}}}}}}} }}}}}}}}}}}
  ADVERTISING                                                         2,309,205. 2,309,205.
  BANK CHARGES                                                          744,663.    744,663.
  COMPUTER EXPENSE                                                    2,594,502. 2,594,502.
  CONSULTING EXPENSE                                                    764,395.    764,395.
  CREDIT CARD PROCESSING                                              2,468,550. 2,468,550.
  CUSTOMER EXPENSE                                                       99,838.     99,838.
  DEFERRED COMPENSATION EXPENSE                                         562,357.    562,357.
  DRIVER EXPENSES                                                        26,380.     26,380.
  EMPLOYEE BENEFIT PROGRAMS                                           1,336,864. 1,336,864.
  HIRING COSTS                                                          446,303.    446,303.
  INSURANCE                                                           1,377,179. 1,377,179.
  LEGAL AND ACCOUNTING                                                  606,054.    606,054.
  MISCELLANEOUS EXPENSE                                                 792,528.    792,528.
  OFFICE PARKING EXPENSE                                                    488.        488.
  OFFICE SUPPLIES                                                       236,793.    236,793.
  OFFICERS COMPENSATION                                                 895,543.    895,543.
  PARTNERSHIP FEES                                                      130,422.    130,422.
  PAYROLL SERVICE FEES                                                  332,001.    332,001.
  PAYROLL TAXES                                                       2,199,826. 2,199,826.
  PROFESSIONAL FEES                                                     618,338.    618,338.
  REPAIRS                                                                16,823.     16,823.
  TAXES AND LICENSES EXPENSE                                             32,105.     32,105.
  TRAVEL                                                                185,139.    185,139.
  UTILITIES AND TELEPHONE                                               186,309.    186,309.
                                                                     }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO SCHEDULE M-3, PART II, LINE 28                            18,962,605. 18,962,605.
                                                                     ~~~~~~~~~~~ ~~~~~~~~~~~




                                                 33                               STATEMENT(S) 17
13111109 144198 89475                         2022.05000 EATSTREET, INC.                   89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44    Desc Main
  EATSTREET, INC.                     Document     Page 59 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 4562           LISTED PROPERTY INFORMATION-MORE THAN 50%    STATEMENT 18
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

      (A)       (B)     (C)     (D)      (E)    (F)    (G)       (H)    (I) 179
  DESCRIPTION   DATE   BUS. %   COST    BASIS   LIFE MTH/CV DEDUCTION ELECTED
  }}}}}}}}}}} }}}}}}}} }}}}}} }}}}}}}} }}}}}}}} }}}} }}}}}}}} }}}}}}}}} }}}}}}}}

     (K)       (L)          (M)       (N)   (O)     (P)       (Q)
    TOTAL   BUSINESS     COMMUTING PERSONAL
                                          WAS VEH. > 5% ANOTHER VEH.
    MILES     MILES        MILES     MILESAVAIL.? OWNER? AVAILABLE?
                                            Y N     Y N       Y N
  }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}} }}}}}} }}}}}}}}}}}}
  2014 FORD   02/03/14                          5    200DB-HY
  FUSION                                        YRS               1,875.
  TITANIUM             100.00 33,319. 33,319.

  COMPANY CAR 06/19/20                                     5     200DB-HY
  - 2019                                                   YRS                    2,808.
  VOLKSWAGON
  ATLAS                100.00         29,250.    29,250.

                                                                            }}}}}}}}} }}}}}}}}
  TOTALS TO FORM 4562, PART V, LINE 26                                         4,683.
                                                                            ~~~~~~~~~ ~~~~~~~~




                                                 34                                STATEMENT(S) 18
13111109 144198 89475                         2022.05000 EATSTREET, INC.                    89475__1
        Case 3-24-12061-cjf     Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                       Document     Page 60 of 326                    **-***5093
  }}}}}}}}}}}}}}}                                                                      }}}}}}}}}}

  FORM 4797               SECTION 1231 LOSSES FROM PRIOR YEARS                       STATEMENT 19

                                                                    LOSS
                                                                 PREVIOUSLY             LOSS
                                          LOSS SUSTAINED         RECAPTURED           REMAINING

              TAX   YEAR 2017
              TAX   YEAR 2018                          398                                      398
              TAX   YEAR 2019                          463                                      463
              TAX   YEAR 2020
              TAX   YEAR 2021

   TOTAL REMAINING SECTION 1231 LOSSES FROM PRIOR YEARS                                         861




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A              OTHER ITEMS WITH NO DIFFERENCES         STATEMENT 20
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                       PER INCOME    PER TAX
  DESCRIPTION                                                           STATEMENT    RETURN
  }}}}}}}}}}}                                                          }}}}}}}}}}} }}}}}}}}}}}
  BEGINNING INVENTORY                                                      60,427.     60,427.
  ENDING INVENTORY                                                              0.           0.
  PURCHASES                                                               546,718.    546,718.
                                                                       }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO LINE 7                                                         607,145.    607,145.
                                                                       ~~~~~~~~~~~ ~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A                   OTHER INTEREST INCOME              STATEMENT 21
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                           PER INCOME   TEMPORARY       PERMANENT    PER TAX
  DESCRIPTION                               STATEMENT DIFFERENCE       DIFFERENCE    RETURN
  }}}}}}}}}}}                              }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  INTEREST INCOME                              15,864.          0.              0.     15,864.
                                           }}}}}}}}}}} }}}}}}}}}}}     }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO PART II, LINE 5                     15,864.          0.              0.     15,864.
                                           ~~~~~~~~~~~ ~~~~~~~~~~~     ~~~~~~~~~~~ ~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A                  OTHER INTEREST EXPENSE              STATEMENT 22
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                 PER INCOME   TEMPORARY                 PERMANENT    PER TAX
  DESCRIPTION                     STATEMENT DIFFERENCE                 DIFFERENCE    RETURN
  }}}}}}}}}}}                    }}}}}}}}}}} }}}}}}}}}}}               }}}}}}}}}}} }}}}}}}}}}}
  INTEREST EXPENSE FROM TRADE OR
  BUSINESS                        2,819,995. -2,819,995.                        0.          0.
                                 }}}}}}}}}}} }}}}}}}}}}}               }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO PART III, LINE 4       2,819,995. -2,819,995.                        0.          0.
                                 ~~~~~~~~~~~ ~~~~~~~~~~~               ~~~~~~~~~~~ ~~~~~~~~~~~



                                                   35           STATEMENT(S) 19, 20, 21, 22
13111109 144198 89475                           2022.05000 EATSTREET, INC.           89475__1
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                                      Document     Page 61 of 326




                              Electronic Filing PDF Attachment




                                                 36
13111109 144198 89475                         2022.05000 EATSTREET, INC.                      89475__1
Case 3-24-12061-cjf         Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44                 Desc Main
                                    Document     Page 62 of 326
                                            EatStreet, Inc.
                                          EIN: XX-XXXXXXX
                                             Form 1120
                                   Statement in Lieu of Form 3115
           §174 Specified Research or Experimental Expenditures (Automatic Change # 265)
                     Filed in Accordance with Section 7.02 of Rev. Proc. 2022-14
                                     Tax Year Ended 12/31/2022.



The Applicant proposes to change its method of accounting for specified research or experimental
expenditures (as defined under §174(b)) paid or incurred in taxable year(s) beginning after December 31,
2021 to the required §174 method described in section 7.02(1)(b) of Rev. Proc. 2022-14, as modified by
Rev. Proc. 2022-11. Under this method, specified research or experimental expenditures are charged to a
capital account and amortized ratably over five years (15 years in the case of foreign research described
under §41(d)(4)(f)) beginning with the mid-point of the tax year the specified research or experimental
expenditures are paid or incurred. The change is requested for the tax year ended December 31, 2022,
which is the Applicant’s first tax year beginning after December 31, 2021.

The following information is provided pursuant to section 7.02(4)(a)(ii) of Rev. Proc. 2022-14, as modified
by Rev. Proc. 2022-11:

    A. Applicant name and EIN: EatStreet, Inc (EIN: XX-XXXXXXX)

    B. Year of change: Tax year beginning January 1, 2022 and ended December 31, 2022.

    C. Designated automatic accounting method change number: 265

    D. Description of the type of specified research or experimental expenditures:

        The applicant is proposing to change the treatment of Research and Development expenses
        related to product development, salaries and wages, employer FICA, and legal fees.

        The Applicant is not proposing to change the treatment of acquired, leased or licensed computer
        software or research and experimental expenditures (including software development expenses)
        paid or incurred in tax years prior to January 1, 2022.

    E. Amount of specified research or experimental expenditures paid or incurred during the year of
       change: $2,988,482.

    F. Declaration: the Applicant is changing the method of accounting for specified research or
       experimental expenditures to capitalize such expenditures to a specified research or experimental
       capital account, and amortize such amount over either a 5-year period for domestic research or
       15-year period for foreign research (as applicable) beginning with the mid-point of the taxable
       year in which such expenditures are paid or incurred in accordance with the method permitted
       under §174 for the year of change. Pursuant to §7.02(4)(a)(i) of Rev. Proc. 2022-14, as modified
       by Rev. Proc. 2022-11, the change is made on a cut-off basis (no §481(a) adjustment).
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                           TAX RETURN FILING INSTRUCTIONS
                                               ARIZONA FORM 120

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $                  50
                Less: payments and credits          $                 100
                Plus: other amount                  $                   0
                Plus: interest and penalties        $                   0
                Overpayment                         $                  50

Overpayment:

                Credit to your estimated tax        $                  50
                Other amount                        $                   0
                Refunded to you                     $                   0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Arizona Department of Revenue
               P.O. Box 29079
               Phoenix, AZ 85038-9079


Return Must be Mailed On or Before:
              November 15, 2023

Special Instructions:
                Case 3-24-12061-cjf                      Doc 1
                                                           Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                                                         Document      Page 64 of 326
                Arizona Form                      Application for Automatic Extension of Time to File
           120/165EXT                         Corporation, Partnership, and Exempt Organization Returns      2022
    S Corporations and Partnerships: Use Form 204 to request an extension of time to file a composite return on Form 140NR for




                              FOR YOUR RECORDS
    nonresident individual shareholders or nonresident individual partners.

                           For the    X calendar year 2022 or           fiscal year beginning                             and ending                          .




                                 DO NOT FILE
    Name                                                                                                                     Employer Identification Number (EIN)
       EATSTREET, INC.                                                                                                        **-***5093
    Address - number and street or PO Box                                                                                    Business Telephone Number (with area code)
       44 E. MIFFLIN ST, STE 400                                                                                              612-598-7469
    City, Town or Post Office                                                            State    ZIP Code                    REVENUE USE ONLY. DO NOT MARK IN THIS AREA.
       MADISON                                                                            WI 53703                           88
   A          Check if this is the first tax return filed under this name and EIN.


   B          Check if name and/or address has changed.


   C          Check if EIN has changed. Enter prior EIN:
                                                                                                                             81 PM                          66 RCVD
   Check type of return to be filed:
     X 120                120A               99T              99M              120S         165


    All applications for an extension of time to file must be postmarked on or before the          An Arizona extension for a C corporation cannot be granted for more than
    original due date of the return , unless the original due date falls on Saturday, Sunday,      seven months beyond the original due date of the return. An Arizona extension
                                                                                                   for a partnership or S Corporation cannot be granted for more than six months
    or a legal holiday. In that case, the application must be postmarked on or before the          beyond the original due date of the return. Arizona will accept a valid federal
    business day following such Saturday, Sunday, or legal holiday.                                extension for the same period of time covered by the Arizona extension.


   CHECK ONE BOX                                                                                                         Extension Date                  Taxable Year Ending
       X Form 120, Form 120A, Form 99T, or Form 99M:
           This is a request for an automatic seven-month extension           until                      11/15/2023                        12/31/2022
           Form 120S, or Form 165:
           This is a request for an automatic six-month extension until 
           A federal extension will be used to file this tax return. See instructions if this form is being used to transmit the Arizona extension
           payment.


   EXTENSION PAYMENT COMPUTATION Forms 120, 120A,120S, 99T, or 165 (for partnerships that elected to pay tax at the entity level)
                                                                                                                                                                          50 00


                              FOR YOUR RECORDS
      1 Tax liability for the taxable year: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              1
        2 Less estimated tax payments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   2                    50 00
        3 Balance of Tax: Subtract line 2 from line 1. Enter the difference ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            3                     0 00
        4 Enter amount of extension payment made electronically. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                           4                    50 00
                                                                                                                                                                          50 00


                                 DO NOT FILE
        5 Enter amount of payment enclosed with this extension. See instructions ~~~~~~~~~~~~~ PAYMENT ENCLOSED |                                    5
          ¥ Make check payable to Arizona Department of Revenue and include EIN on payment .
          ¥ Mail application and payment to:
            Arizona Department of Revenue, PO Box 29085, Phoenix, AZ 85038-9085.
          ¥ Mail application without payment to:
            Arizona Department of Revenue, PO Box 29079, Phoenix, AZ 85038-9079.
    The taxpayer will be liable for the extension underpayment penalty if at least 90              ¤42-1125(D). Interest accrues on any additional tax due from
    percent of the tax liability disclosed by the return has not been paid by the                  the original due date of the return until paid.
    original due date of the return. Taxpayers subject to the extension underpayment               Taxpayers that have a tax liability of $500 or more for tax
    penalty are not subject to the late payment penalty prescribed by A.R.S.                       year 2022 must make tax payments by electronic funds transfer.

                   Under penalties of perjury, I declare that I have examined this form, including accompanying schedules and statements, and to the
       Declaration best of my knowledge and belief, it is true, correct, and complete; and that I am authorized to prepare this form.


                                                                                                               04/17/2023 CEO
       Please
                     SIGNATURE OF OFFICER OR AGENT                                                             DATE                       TITLE
       Sign
       Here
                                                                                                               612-598-7469                           **-***9910
                     PRINTED NAME                                                                              BUSINESS PHONE (with area code)        AGENT'S TIN
   ADOR 10340 (22)

   237931 10-21-22


13111109 144198 89475                                                                 2022.05000 EATSTREET, INC.                                                        89475__1
                Case 3-24-12061-cjf                      Doc 1       Filed 10/11/24 Entered 10/11/24 11:59:44                                                Desc Main
                                                                    Document     Page 65 of 326
   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.




                                FOR YOUR RECORDS
                     Name                                                                                                                                 Identifying number


   Print             EATSTREET, INC.                                                                                                                         **-***5093
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
                     1574 W BROADWAY ST STE 200 #PMB1005


                                   DO NOT FILE
   Type
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     MADISON, WI                   53713
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  12
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |




                                FOR YOUR RECORDS
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.




                                   DO NOT FILE
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year 2022 , or tax year beginning                                                          , and ending
     b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                                  0.

   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)




   219741 04-01-22


13111109 144198 89475                                                                 2022.05000 EATSTREET, INC.                                                               89475__1
            Case 3-24-12061-cjf                     Doc 1        Filed 10/11/24 Entered 10/11/24 11:59:44                                        Desc Main
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           Arizona Form
                  120                                 Arizona Corporation Income Tax Return                                                                           2022
                  For the   X calendar year 2022 or            fiscal year beginning                              and ending                                .


Business Telephone Number          Name                                                                                                  Employer Identification Number (EIN)

(with area code)                    EATSTREET, INC.                                                                                      **-***5093
866-654-8777                       Address - number and street or PO Box
Business Activity Code              1574 W BROADWAY ST STE 200 #PMB1005
(from federal Form 1120)           City, Town or Post Office                                                                               State      ZIP Code
      722300                        MADISON                                                                                                WI 53713
 68 Check box if: A         This is a first return B Name change C X Address change                                   Check box if return filed under FEDERAL extension:
A Is FEDERAL return filed on a consolidated basis? ~~~~~~~~~~~~~               Yes                      X No           82      82F
     If "Yes", list EIN of common parent from consolidated return ~~~~~~                                              REVENUE USE ONLY. DO NOT MARK IN THIS AREA.
B ARIZONA filing method: See instructions (check only one):                                                            88
      1 X Separate company          2        Combined (unitary group)             3     Consolidated
C If ARIZONA filing method is consolidated, enter the last day of
  the tax year Forms 122 were filed to make the election ~~~~~~~~
D If ARIZONA filing method is combined or consolidated, see Form 51
  instructions . Is Form 51 included? ~~~~~~~~~~~~~~~~~~~~                                     Yes           No        81 PM                             66 RCVD
E ARIZONA apportionment for Multistate corporations only (check one box):
  1     AIR CARRIER 2 X STANDARD               3      SALES FACTOR ONLY
F           Check if Multistate Service Provider Election and Computation (Arizona Schedule MSP) is included. Indicate the year of the election cycle:
                  Yr 1           Yr 2         Yr 3           Yr 4         Yr 5
G Is this the corporation's final ARIZONA return under this EIN? ~~~~~~~~                        Yes      X No If "Yes", check one: 1         Dissolved         2      Withdrawn
   3        Merged/Reorganized        List EIN of the successor corporation, if any ~~~~
H Marijuana Establishments only:            1         Adult Use only   2          Dual Lic. elected for-profit 3       Dual Lic. did not elect for-profit
    1 Taxable income per included federal return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     1               -5,131,799 00
    2 Additions to taxable income from page 2, Schedule A, line A9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            2               173,972 00
    3 Total taxable income: Add lines 1 and 2. Enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3               -4,957,827 00
    4 Subtractions from taxable income from page 2, Schedule B, line B11 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4               205,926 00
    5 Adjusted income: Subtract Line 4 from line 3. Enter the difference ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       5               -5,163,753 00
      Multistate corporations , go to line 6. 100% Arizona corporations, check box 5a Go to line 13
    6 Arizona adjusted income from line 5. Multistate corporations only ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         6               -5,163,753 00
    7 Nonapportionable or allocable amounts from page 2, Schedule C, line C8. Multistate corporations only ~~~~~~~~~~~                      7                                   00
    8 Adjusted business income: Subtract line 7 from line 6. Enter the difference. Multistate corporations only                  8               -5,163,753 00
 9 Arizona apportionment ratio from Schedule E or Schedule ACA ~~~~~~~~~~~                      9      ¥
                                                                                                           0 0 3 7 3 9
10 Adjusted business income apportioned to Arizona: Line 8 multiplied by line 9. Multistate corporations onl y ~~~~~~~~~~ 10                                -19,307 00
11 Other income allocated to Arizona from page 2, Schedule D, line D6. Multistate corporations only ~~~~~~~~~~~~~~ 11                                                           00
12 Adjusted income attributable to Arizona: Add lines 10 and 11. Multistate corporations only ~~~~~~~~~~~~~~~~~ 12                                          -19,307 00
13 Arizona income before Net Operating Loss (NOL) from line 5 if 100% Arizona, or line 12 if Multistate corporation ~~~~ 13                                 -19,307
                                                                         SEE STATEMENT 1
14 Arizona basis NOL carryover: Include computation schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                14                     0 00
15 Arizona taxable income: Subtract line 14 from line 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 15               -19,307 00
16 Enter tax: Tax is 4.9 percent of line 15 or fifty dollars ($50), whichever is greater ~~~~~~~~~~~~~~~~~~~~                              16                    50 00
17 Tax from recapture of tax credits from Arizona Form 300, Part 2, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                      17                                   00
18 Subtotal: Add lines 16 and 17. Enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    18                           50 00
19 Nonrefundable tax credits claimed on line 20 from Arizona Form 300, Part 2, line 44                                 19                                   00
20 Enter form number for each nonrefundable credit used: 20 1 3              20 2 3        20 3 3  20 4 3

21 Tax liability: Subtract line 19 from line 18. Enter the difference                                         21                           50 00
22 Refundable tax credits: Check box(es) and enter amount:       22 1  308 22 2 349 ~~~~~~~~~~~~~~~~~~~                                    22                                   00
23 Extension payment made with Form 120/165EXT or online: See instructions  23                                                                  50 00
24 Estimated tax payments: 24a                         50 00 Claim of Right: 24b         00 Add 24a and 24b 24c                                                        50 00
25 Total payments: Add lines 22, 23, and 24c. Enter the total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 25                                                                      100 00
26 Balance of tax due: If line 21 is larger than line 25, subtract line 25 from line 21. Enter the difference. Skip line 27 ~~~~~~~ 26                                          00
27 Overpayment of tax: If line 25 is larger than line 21, subtract line 21 from line 25. Enter the difference ~~~~~~~~~~~~ 27                                           50 00
28 Penalty and interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 28                                                                                                     00
29 Estimated tax underpayment penalty. If Form 220/PTE is included, check this box ~~~~~~~~~~~~~~~ 29A                                     29                                   00
30 TOTAL DUE: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 30                                   00
31 OVERPAYMENT: See instructions                                                                  31                           50 00
32 Amount of line 31 to be applied to 2023 estimated tax ~~~~~~~~~~~~~~~~~~ 32 50 00
33 Amount to be refunded: Subtract line 32 from line 31                                                   33                                   00
ADOR 10336 (22)        237201 10-21-22
           Case 3-24-12061-cjf              Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44                                Desc Main
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 Name (as shown on page 1)                                                                                       EIN
  EATSTREET, INC.                                                                                                 **-***5093

SCHEDULE A            Additions to Taxable Income
 A1 Total federal depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              A1       141,471 00
 A2 Taxes based on income paid to any state (INCLUDING ARIZONA), local governments or foreign governments ~~~~~~~       A2        32,501 00
 A3 Interest on obligations of other states, foreign countries, or political subdivisions ~~~~~~~~~~~~~~~~~~~           A3                      00
 A4 Special deductions claimed on federal return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    A4                      00
 A5 Federal net operating loss deduction claimed on federal return ~~~~~~~~~~~~~~~~~~~~~~~~~~~                          A5                      00
 A6 Additions related to Arizona tax credits: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           A6                      00
 A7 Capital loss from exchange of legal tender ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     A7                      00
 A8 Other additions to federal taxable income: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           A8                      00
 A9 Total: Add lines A1 through A8. Enter the total here and on page 1, line 2 ~~~~~~~~~~~~~~~~~~~~~~~                  A9       173,972 00
SCHEDULE B            Subtractions from Taxable Income
 B1 Recalculated Arizona depreciation: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                B1       137,772 00
 B2 Basis adjustment for property sold or otherwise disposed of during the taxable year: See instructions ~~~~~~~~~~    B2                      00
 B3 Dividends received from 50% or more controlled domestic corporations ~~~~~~~~~~~~~~~~~~~~~~~                        B3                      00
 B4 Foreign dividend gross-up ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               B4                      00
 B5 Dividends received from foreign corporations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    B5                      00
 B6 Interest on U.S. obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             B6                      00
 B7 Agricultural crops charitable contribution ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     B7                      00
 B8 Expenses related to certain federal tax credits: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                       B8                      00
 B9 Capital gain from exchange of legal tender ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     B9                      00
B10 Other subtractions from federal taxable income: See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                        B10        68,154 00
B11 Total: Add lines B1 through B10. Enter the total here and on page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~                 B11       205,926 00

SCHEDULE C            Nonapportionable Income and Expenses (Multistate Corporations Only)
C1 Nonbusiness dividends and interest income:
   a Total nonbusiness dividends not deducted in Schedule B ~~~~~~~~~~~~~        C1a           00
    b Interest from nonbusiness sources ~~~~~~~~~~~~~~~~~~~~~~                   C1b           00
    c Total nonbusiness dividends and interest: Add lines C1a and C1b                         C1c                      00
C2 Net royalties from nonbusiness assets: Include schedule.
   a Net royalties from nonbusiness real and tangible personal property ~~~~~~~~~  C2a           00
    b Net royalties from nonbusiness patents and copyrights ~~~~~~~~~~~~~~         C2b           00
    c Total net royalties from nonbusiness assets: Add lines C2a and C2b ~~~~~~~~~~~~~~~~~~~~~~~~                      C2c                      00
C3 Net income or (loss) from rental of nonbusiness assets: Include schedule ~~~~~~~~~~~~~~~~~~~~~~~                    C3                       00
C4 Net capital gain or (loss) from sale or exchange of nonbusiness assets utilized for production of nonbusiness
    income: Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              C4                       00
C5 Other income or (loss): Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      C5                       00
C6 Subtotal: Add lines C1c, C2c, and C3 through C5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  C6                       00
C7 Expenses attributable to income derived from a foreign corporation which is not itself subject to Arizona
   income tax: Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            C7                       00
C8 Total: Subtract line C7 from line C6. Enter the total here and on page 1, line 7 ~~~~~~~~~~~~~~~~~~~~~~             C8                       00


SCHEDULE D            Other Income Allocated to Arizona (Multistate Corporations Only)
D1 Nonbusiness dividends and interest income:
   a Total nonbusiness dividends ~~~~~~~~~~~~~~~~~~~~~~~~~                        D1a         00
   b Interest from nonbusiness sources ~~~~~~~~~~~~~~~~~~~~~~                     D1b         00
   c Total nonbusiness dividends and interest: Add lines D1a and D1b    D1c                                            00
D2 Net royalties from nonbusiness assets: Include schedule.
   a Net royalties from nonbusiness real and tangible personal property ~~~~~~~~~ D2a         00
   b Net royalties from nonbusiness patents and copyrights ~~~~~~~~~~~~~~                            D2b 00
   c Total net royalties from nonbusiness assets: Add lines D2a and D2b ~~~~~~~~~~~~~~~~~~~~~~~~            D2c                                 00
D3 Net income or (loss) from rental of nonbusiness assets: Include schedule ~~~~~~~~~~~~~~~~~~~~~~~         D3                                  00
D4 Net capital gain or (loss) from sale or exchange of nonbusiness assets utilized for production of
    nonbusiness income: Include schedule   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      D4                       00
D5 Other income or (loss) directly allocable to Arizona: Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                    D5                       00
D6 Total: Add lines D1c, D2c, and D3 through D5. Enter the total here and on page 1, line 11 ~~~~~~~~~~~~~~~~~         D6                       00


ADOR 10336 (22)   237202 10-21-22                                AZ Form 120 (2022)                                                      Page 2 of 5
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 Name (as shown on page 1)                                                                                                          EIN
  EATSTREET, INC.                                                                                                                    **-***5093

SCHEDULE E                  Apportionment Formula (Multistate Corporations Only)
IMPORTANT: Qualifying air carriers must use Arizona Schedule ACA. Qualifying                     COLUMN A                       COLUMN B                   COLUMN C
multistate service providers must include Arizona Schedule MSP. If the "SALES                Total Within Arizona            Total Everywhere         Ratio Within Arizona
FACTOR ONLY" box on page 1, line E, is checked, complete only Section E3,                   Round to nearest dollar.       Round to nearest dollar.          A^B
Sales Factor, lines a through f. See instructions.
E1 Property Factor - STANDARD APPORTIONMENT ONLY
   Value of real and tangible personal property (by averaging the value of owned
      property at the beginning and end of the tax period; rented property at
      capitalized value).
 a Owned Property (at original cost):
   1 Inventories ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      2 Depreciable assets (do not include construction in progress) ~~~~~~~                                           0         1,225,937
      3 Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      4 Other assets (describe):
      5 Less: Nonbusiness property (if included in above totals) ~~~~~~~~~
   6 Total of section a (the sum of lines 1 through 4 less line 5) ~~~~~~~~                                                      1,225,937
 b Rented property (capitalize at 8 times net rent paid) ~~~~~~~~~~~~                                                  0         4,130,968
 c Total owned and rented property (Total of section a plus section b) ~~~~~                                           0         5,356,905                  .000000
E2 Payroll Factor - STANDARD APPORTIONMENT ONLY
   Total wages, salaries, commissions and other compensation to employees
      (per federal Form 1120, or payroll reports) ~~~~~~~~~~~~~~~~                                        44,405              23,299,723                    .001906
E3 Sales Factor
 a Sales delivered or shipped to Arizona purchasers ~~~~~~~~~~~~~
 b Sales from services or from designated intangibles for qualifying
   multistate service providers only (see instructions; include Schedule MSP) ~
 c Other gross receipts ~~~~~~~~~~~~~~~~~~~~~~~~~                                                       188,518
 d Total sales and other gross receipts (The sum of lines a through c) ~~~~~                            188,518               28,893,995
 e Weight AZ sales: (STANDARD x 2; SALES FACTOR ONLY x 1)              ~~~~~~~                x2        OR     x1
 f Sales Factor Only (for Column A, multiply line d by line e; for
      Column B, enter the amount from line d; for Column C, divide
      Column A by Column B.) Skip line E4 and line E5
      STANDARD Apportionment, continue to E4.
      SALES FACTOR ONLY Apportionment, enter the amount from
      Column C on page 1, line 9       ~~~~~~~~~~~~~~~~~~~~~~                                           377,036               28,893,995                    .013049
E4 STANDARD Apportionment Total Ratio: Add Column C of lines E1c, E2, and E3f. Enter the total ~~~~~~~~~~~~~~~~~~~                                          .014955
E5 Average Apportionment Ratio for STANDARD Apportionment: Divide line E4, Column C, by four (4). Enter the result
      on page 1, line 9. (If one of the factors is "0" in both Column A and Column B, see instructions.) ~~~~~~~~~~~~~~~~~~~                                .003739



SCHEDULE F                  Schedule of Tax Payments (Include additional sheets if more space is needed.)
                                 (a)                                       (b)                          (c)                      (d)                       (e)
                                                                                                     Payment                 Estimated                  Extension
                     Name of Corporation                                   EIN                         Date                  Payment                    Payment


 F1     EATSTREET, INC.                                         **-***5093                    04/15/23                                       00                     50 00

 F2     EATSTREET, INC.                                         **-***5093                    04/15/22                                   50 00                          00


 F3                                                                                                                                          00                         00


 F4                                                                                                                                          00                         00


 F5                                                                                                                                          00                         00


 F6                                                                                                                                          00                         00


 F7 Total Tax Payments                                                                               50 00                      50 00
ADOR 10336 (22)        237221 10-26-22                                          AZ Form 120 (2022)                                                               Page 3 of 5
             Case 3-24-12061-cjf                     Doc 1        Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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 Name (as shown on page 1)                                                                                                              EIN
 EATSTREET, INC.                                                                                                                         **-***5093
SCHEDULE G Other Information
G1      Date business began in Arizona or date income was first derived from Arizona sources:        01/01/2016

G2      Address at which tax records are located for audit purposes:
        Number and Street: 1574            W BROADWAY ST STE 200 #PMB1005
        City:MADISON                                              State: WI ZIP Code: 53713


G3      The taxpayer designates the individual listed below as the person to contact to schedule an audit of this return and authorizes
        the disclosure of confidential information to this individual. (See instructions.)
        Name: STEVE ANASTASI                                                                                                    Office Phone:        866-654-8777
        Title:    CEO                                                                                                                            (Area Code)


        Email:                                                                                                                  Cell Phone:
                                                                                                                                                 (Area Code)
G4      List prior taxable years ending in MM/DD/YYYY format for which a federal examination has been finalized:


        NOTE: A.R.S. ¤ 43-327 requires the taxpayer, within ninety days after final determination, to report these changes under separate cover to the
        Arizona Department of Revenue or to file amended returns reporting these changes. (See instructions.)


G5      List the taxable years ending in MM/DD/YYYY format for which federal examinations are now in progress and final determination of past
        examinations is still pending:


G6      List the taxable years ending in MM/DD/YYYY format for which federal waivers of the statute of limitations are in effect and dates on which waivers
        expire:
        Taxable Year Ending:                                                                       Waiver Expiration Date:




G7      Indicate tax accounting method:            Cash      X Accrual            Other (Specify method.)
Multistate taxpayers:
G8     Are the nonbusiness items reported on Schedule C, lines C1 through C5, and/or are the apportionment factor amounts reported on Schedule E,
        Column B treated consistently on all state tax returns filed under the Uniform Division of Income for Tax Purposes Act?
          X Yes                No
        If "No", the taxpayer must disclose the nature and extent of the variance upon request by the department.


G9      Has the taxpayer changed the way income is apportioned or allocated to Arizona from prior taxable year returns?
                 Yes       X No
        If "Yes", include explanation.
                  The following declaration must be signed by one of the following officers: president, treasurer, or any other principal officer.

                  Under penalties of perjury, I, the undersigned officer authorized to sign this return, declare that I have examined this return,
 Declaration
                  including the accompanying schedules and statements, and to the best of my knowledge and belief, it is a true, correct and
                  complete return, made in good faith, for the taxable year stated pursuant to the income tax laws of the State of Arizona.

                                                                                                                                      CEO
  Please          OFFICER'S SIGNATURE                                                                        DATE                       TITLE

  Sign
  Here            OFFICER'S PRINTED NAME

                  DANIEL T. O'CONNOR, CPA                                                                    11/09/2023                         **-***9910
                  PAID PREPARER'S SIGNATURE                                                                  DATE                       PAID PREPARER'S TIN

                  DANIEL T. O'CONNOR, CPA
                  PAID PREPARER'S PRINTED NAME


  Paid
  Preparer's      BAKER TILLY US, LLP                                                                                                           **-***9910
                  FIRM'S NAME (OR PAID PREPARER'S NAME, IF SELF-EMPLOYED)                                                                FIRM'S EIN
  Use
  Only            PO BOX 7398                                                                                                                   608.249.6622
                  FIRM'S STREET ADDRESS                                                                                                  FIRM'S TELEPHONE NUMBER

                  MADISON                                                                                                      WI               53707-7398
                  CITY                                                                                           STATE                   ZIP CODE


                                     This form must be e-filed unless the corporation has a waiver or is exempt from e-filing.
                                                                   See instructions for details.
ADOR 10336 (22)          237222 10-21-22                                        AZ Form 120 (2022)                                                                 Page 4 of 5
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   Name (as shown on page 1)                                 Document     Page 70 of 326         EIN
    EATSTREET, INC.                                                                                       **-***5093
   SCHEDULE A Additions to Taxable Income Continued
   A6 Additions related to Arizona tax credits:
      A Pollution Control Credit:
          1 Excess Federal Depreciation or Amortization ~~~~~~~~~~~~~~~~~~~~~~                     A1          00
          2 Excess in Federal Adjusted Basis ~~~~~~~~~~~~~~~~~~~~~~~~~~~                           A2          00
      B Credit for Taxes Paid for Coal Consumed in Generating Electrical Power ~~~~~~~~~~~~        B           00
      C Credit for Employment of TANF Recipients ~~~~~~~~~~~~~~~~~~~~~~~~                          C           00
      D Credit for Donation of School Site ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            D           00
      E Credit for Corporate Contributions to School Tuition Organizations ~~~~~~~~~~~~~~          E           00
      F Credit for Corporate Contributions to School Tuition Organizations for Displaced
        Students or Students with Disabilities ~~~~~~~~~~~~~~~~~~~~~~~~~~                          F           00
      G Total Additions Related to Arizona Tax Credits.
         Enter this amount on page 2, Schedule A, line A6    ~~~~~~~~~~~~~~~~~~~~~                 G           00
   A8 Other additions to federal taxable income:
      A Positive Partnership Income Adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~                           A           00
      B Federal Exploration Expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                B           00
      C Federal Amortization or Depreciation for Facilities and Equipment Amortized
         Under Arizona Law:
          1 Pollution Control Devices ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               C1          00
          2 Child Care Facilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                C2          00
      D Expenses and Interest Relating to Income Not Taxed by Arizona ~~~~~~~~~~~~~~~              D           00
      E Tax-Exempt Insurance Company Loss ~~~~~~~~~~~~~~~~~~~~~~~~~~                               E           00
      F Amounts Repaid in Current Taxable Year ~~~~~~~~~~~~~~~~~~~~~~~~~                           F           00
      G Excess Federal Capital Loss Carryover Under a Claim of Right Restoration ~~~~~~~~~~        G           00
      H Domestic International Sales Corporations ~~~~~~~~~~~~~~~~~~~~~~~~                         H           00
      I Expenditures for the Americans With Disabilities Act ~~~~~~~~~~~~~~~~~~~~                  I           00
      J Treatment of Installment Obligations When Corporate Activities Cease in Arizona ~~~~~~~~   J           00
      K Total Other Additions to Federal Taxable Income.
          Enter this amount on page 2, Schedule A, line A8   ~~~~~~~~~~~~~~~~~~~~~                 K           00
   SCHEDULE B            Subtractions from Taxable Income Continued
   B8 Expenses related to certain federal tax credits:
      A Work Opportunity Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   A           00
      B Empowerment Zone Employment Credit ~~~~~~~~~~~~~~~~~~~~~~~~~                               B           00
      C Credit for Employer-Paid Social Security Taxes on Employee Cash Tips ~~~~~~~~~~~~          C           00
      D Indian Employment Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   D           00
      E Total Expenses Related to Certain Federal Tax Credits.
          Enter this amount on page 2, Schedule B, line B8   ~~~~~~~~~~~~~~~~~~~~~                 E           00
   B10 Other subtractions from federal taxable income:
       A Refunds of Taxes Based on Income ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              A           00
      B Negative Partnership Income Adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~                           B           00
      C Expense Recapture, Mine Explorations ~~~~~~~~~~~~~~~~~~~~~~~~~~                            C           00
      D Deferred Exploration Expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                D           00
      E Exploration Expenses: Oil, Gas or Geothermal Resources ~~~~~~~~~~~~~~~~~~                  E           00
      F Arizona Amortization of Facilities and Equipment:
        1 Pollution Control Devices ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 F1          00
        2 Cost of Child Care Facilities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              F2          00
      G Interest on Federal Taxable Arizona Obligations Evidenced by Bonds ~~~~~~~~~~~~~           G           00
      H Expenses and Interest Relating to Tax-Exempt Income ~~~~~~~~~~~~~~~~~~~                    H           00
      I   Tax-Exempt Insurance Company Income ~~~~~~~~~~~~~~~~~~~~~~~~~                            I           00
      J Claim of Right Adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  J           00
      K Dividends from Domestic International Sales Corporation (DISC) ~~~~~~~~~~~~~~~             K           00
      L Income from Disaster Relief Efforts ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            L           00
      M Expenditures for the Americans with Disabilities Act ~~~~~~~~~~~~~~~~~~~~                  M           00
      N Contributions in Aid of Construction (see instructions) ~~~~~~~~~~~~~~~~~~~                N           00
      O Marijuana Establishments only (see instructions)
        1 Federal Disallowed Expenses, or ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              O1          00
          2 Federal Taxable Income Attributable to NMMD Operations ~~~~~~~~~~~~~~~~                O2          00
       P Total Other Subtractions from Federal Taxable Income.
          Enter this amount on page 2, Schedule B, line B10                   P    68,154 00   STMT 2
   ADOR 10336 (22)     237224 10-21-22                               AZ Form 5
                                                                             120 (2022)                                     Page 5 of 5
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                     89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44    Desc Main
  EATSTREET, INC.                     Document     Page 71 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  AZ 120          ARIZONA BASIS NET OPERATING LOSS CARRYFORWARD    STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                LOSS
                                                             PREVIOUSLY               LOSS
                     TAX YEAR         LOSS SUSTAINED           APPLIED              REMAINING
                     }}}}}}}}         }}}}}}}}}}}}}}       }}}}}}}}}}}}}}         }}}}}}}}}}}}}}
                     12/31/16               128,546.              33,588.                94,958.
                     12/31/17               143,544.                    0.              143,544.
                     12/31/18                94,044.                    0.               94,044.
                     12/31/19                36,854.                    0.               36,854.
                                                                                  }}}}}}}}}}}}}}
  NET OPERATING LOSS CARRYFORWARD AVAILABLE                                             369,400.
                                                                                  ~~~~~~~~~~~~~~
  CURRENT TAXABLE INCOME (FORM 120)                              -19,307.
                                                           }}}}}}}}}}}}}}
  CURRENT YEAR LIMITATION (NOT LESS THAN ZERO)                         0.
                                                           }}}}}}}}}}}}}}

  NET OPERATING LOSS CURRENTLY APPLIED (FORM 120)                                             0.
                                                                                  ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  AZ 120                  OTHER SUBTRACTIONS ALLOWABLE             STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  DISPOSAL OF FIXED ASSETS                                                               68,154.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 120                                                                      68,154.
                                                                                  ~~~~~~~~~~~~~~




                                                 6                       STATEMENT(S) 1, 2
13111109 144198 89475                         2022.05000 EATSTREET, INC.            89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                               CALIFORNIA FORM 100

                                        FOR THE YEAR ENDING
                                                 December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                             $                        800
                Less: payments and credits            $                      1,600
                Plus: other amount                    $                          0
                Plus: interest and penalties          $                          0
                Overpayment                           $                        800

Overpayment:

                Credit to your estimated tax          $                        800
                Other amount                          $                          0
                Refunded to you                       $                          0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               This return has been prepared for electronic filing. If you wish to have it transmitted to the
               FTB, please sign, date and return Form 8453-C to our office. We will then submit the
               return to the FTB. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:
              Return Form 8453-C to us by November 15, 2023.

Special Instructions:
                        Case 3-24-12061-cjf                   Doc 1      Filed 10/11/24 Entered 10/11/24 11:59:44                                           Desc Main
                                                                        Document     Page 73 of 326
TAXABLE YEAR                       California Corporation                                                                                                             FORM
     2022                          Franchise or Income Tax Return                                                                                                    100


               8152871       EATS   **-***5093   000000000000                                                          22
               TYB  01-01-2022  TYE   12-31-2022
               EATSTREET INC

               1574 W BROADWAY ST STE 200 PMB
               MADISON            WI 53713




Schedule Q Questions (continued on Side 2)

 A                   FINAL RETURN?           ¥         Dissolved            Surrendered (withdrawn)      Merged/Reorganized             IRC Section 338 sale        QSub election
                                                                                                                             Enter date (mm/dd/yyyy) ¥


 B 1. Is income included in a combined report of a unitary group? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            ¥     Yes   X No

                      If "Yes," indicate:        Wholly within CA (R&TC 25101.15)
                                                 Within and outside of CA
               2. Is there a change in the members listed in Schedule R-7 from the prior year? ~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥     Yes       No


               3. Enter the number of members (including parent or key corporation) listed in the Schedule R-7, Part I, Section A,
                  subject to income or franchise tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              ¥


               4. Is form FTB 3544 attached to the return?      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      ¥     Yes   X No

C 1. During this taxable year, did another person or legal entity acquire control or majority ownership (more than a 50% interest) of this
     corporation or any of its subsidiaries that owned California real property (i.e., land, buildings), leased such property for a term of 35
                     years or more, or leased such property from a government agency for any term? ~~~~~~~~~~~~~~~~~~~~~~~~                                   ¥     Yes   X No
          2. During this taxable year, did this corporation or any of its subsidiaries acquire control or majority ownership (more than a 50% interest)
             in another legal entity that owned California real property (i.e., land, buildings), leased such property for a term of 35 years or more, or
                     leased such property from a government agency for any term? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥     Yes   X No
          3. During this taxable year, has more than 50% of the voting stock of this corporation cumulatively transferred in one or more transactions
             after an interest in California real property (i.e., land, buildings) was transferred to it that was excluded from property tax reassessment
                     under R&TC Section 62 (a)(2) and it was not reported on a previous year's tax return? ~~~~~~~~~~~~~~~~~~~~~~                             ¥     Yes   X No
                     (Yes requires filing of statement, penalties may apply - see instructions.)
                       1 Net income (loss) before state adjustments. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~                                ¥     1      -5,131,799 00
                      2 Amount deducted for foreign or domestic tax based on income or profits from Schedule A ~~~~~~~~~~~~                    ¥     2          32,501 00
 State Adjustments




                      3 Amount deducted for tax under the provisions of the Corporation Tax Law from Schedule A ~~~~~~~~~~~                    ¥     3                         00
                      4 Interest on government obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥     4                         00
                      5 Net California capital gain from Side 6, Schedule D, line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                ¥     5                         00
                      6 Depreciation and amortization in excess of amount allowed under California law. Attach form FTB 3885 ~~~~~~ ¥                6             3,699 00
                      7 Net income from corporations not included in federal consolidated return. See instructions ~~~~~~~~~~~~ ¥                    7                         00
                                                                                 SEE STATEMENT 1
                      8 Other additions. Attach schedule(s) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               ¥     8           3,708 00
                      9 Total. Add line 1 through line 8                                                 ¥     9      -5,091,891 00


                           239781 01-03-23                             022                3601224                                                  Form 100 2022 Side 1
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                             10 Intercompany dividend elimination. Attach Schedule H (100) ~~~~~~~~~               ¥   10                     00
 State Adjustments (con't)




                             11 Dividends received deduction. Attach Schedule H (100) ~~~~~~~~~~~                  ¥   11                     00
                             12 Additional depreciation allowed under CA law. Attach form FTB 3885 ~~~~~ ¥             12                   0 00
                             13 Capital gain from federal Form 1120, line 8 ~~~~~~~~~~~~~~~~~ ¥                        13                     00
                                                                         SEE STATEMENT 3
                             14 Charitable Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~                                 ¥   14                     00
                                                                         SEE STATEMENT 2
                             15 Other deductions. Attach schedule(s) ~~~~~~~~~~~~~~~~~~~                           ¥   15       5,597,043 00
                             16 Total. Add line 10 through line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥   16    5,597,043 00
                             17 Net income (loss) after state adjustments. Subtract line 16 from Side 1, line 9                 ¥ 17 -10,688,934 00
                                                                                                                                                          -303,427 00
 CA Net Income




                             18 Net income (loss) for state purposes. Complete Sch. R if apportioning or allocating income. See instructions  ¥ 18
                             19 Net operating loss (NOL) deduction. See instructions ~~~~~~~~~~~~ ¥                    19                     00
                             20 EZ, TTA, or LAMBRA NOL carryover deduction. See instructions ~~~~~~~ ¥                 20              00
                             21 Disaster loss deduction. See instructions ~~~~~~~~~~~~~~~~~ ¥ 21                                       00
                             22 Net income for tax purposes. Combine line 19 through line 21. Then, subtract from line 18  ¥           22         -303,427 00
                             23 Tax.      8.8400 % x line 22 (at least minimum franchise tax, if applicable). See instructions  ¥ 23                       800 00
                             24 Credit name                                              code ¥           amount | 24                         00
                             25 Credit name                                              code ¥           amount | 25                         00
 Taxes




                             26 To claim more than two credits, see instructions    ~~~~~~~~~~~~~~                 ¥   26                     00
                             27 Add line 24 through line 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥   27                      00
                             28 Balance. Subtract line 27 from line 23 (at least minimum franchise tax, if applicable) ~~~~~~~~~~~~~~~         ¥   28                  800 00
                             29 Alternative minimum tax. Attach Schedule P (100). See instructions ~~~~~~~~~~~~~~~~~~~~~~ ¥                        29                      00
                             30 Total tax. Add line 28 and line 29  ¥                                         30                  800 00
                             31 Overpayment from prior year allowed as a credit ~~~~~~~~~~~~~~ ¥ 31                   800 00
 Payments




                             32 2022 Estimated tax payments. See instructions ~~~~~~~~~~~~~~                       ¥   32                     00
                             33 2022 Withholding (Form 592-B and/or 593). See instructions ~~~~~~~~~               ¥   33                     00
                             34 Amount paid with extension of time to file tax return ~~~~~~~~~~~~~ ¥ 34 800 00
                             35 Total payments. Add line 31 through line 34  ¥                                     35            1,600 00
                             36 Use tax. This is not a total line. See instructions ~~~~~~~~~~~~~~ c 36                            00
                             37 Payments balance. If line 35 is more than line 36, subtract line 36 from line 35 ~~~~~~~~~~~~~~~~~ c               37            1,600 00
                             38 Use tax balance. If line 36 is more than line 35, subtract line 35 from line 36 ~~~~~~~~~~~~~~~~~~             c   38                      00
                             39 Franchise or income tax due. If line 30 is more than line 37, subtract line 37 from line 30 ~~~~~~~~~~~~       c   39                      00
 Refund or Amount Due




                             40 Overpayment. If line 37 is more than line 30, subtract line 30 from line 37 ~~~~~~~~~~~~~~~~~~~                c   40                  800 00
                             41 Amount of line 40 to be credited to 2023 estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             c   41                  800 00
                             42 Refund. Subtract line 41 from line 40 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      c   42                    0 00
                                See instructions to have the refund directly deposited.
                                                                                     Checking
                                                                                     Savings
                                42a. ¥ Routing number              42b. ¥ Type 42c. ¥ Account number
                             43 a Penalties and interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             c 43a                       00
                                b¥          Check if estimate penalty computed using Exception B or C on form FTB 5806. See instructions.
                             44 Total amount due. Add line 38, line 39, line 41, and line 43a. Then, subtract line 40 from the result  j
                                                                                                                                               ¥   44                      00
Schedule Q Questions (continued from Side 1)
D If the corporation filed on a water's-edge basis pursuant to R&TC Sections 25110 and 25113 in previous years, enter the
  date the water's-edge election ended ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                (mm/dd/yyyy) ¥


E Was the corporation's income included in a consolidated federal return?                         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           ¥      Yes    X No

F Principal business activity code. ( Do not leave blank): ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         ¥    722300
  Business activity INTERNET SALES
                  Product or service SERVICE




                                                                                                                              Schedule Q Questions (continued on Side 3)


                               239782
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G Date incorporated (mm/dd/yyyy):            01/01/2012                                                Where:        ¥ State WI Country UNITED                       STATES

H Date business began in California or date income was first derived from California sources                     ~~~~~~~~~~~~~~                          (mm/dd/yyyy) ¥ 03/15/2016


I   First return?   ~~~~~~~~                 ¥          Yes       X No If "Yes" and this corporation is a successor to a previously existing business, check the appropriate box.

                                       ¥ (1)            Sole proprietorship         (2)         Partnership      (3)       Joint venture   (4)       Corporation     (5)       Other
                                                                                                   (Attach statement showing name, address, and FEIN/SSN/ITIN of previous business.)
J "Doing business as" name. See instructions: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          ¥



K At any time during the taxable year, was more than 50% of the voting stock:
  1. Of the corporation owned by any single interest? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                ¥        Yes X No
    2. Of another corporation owned by this corporation? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              ¥        Yes X No
    3. Of this and one or more other corporations owned or controlled, directly or indirectly, by the same interests? ~~~~~~~~~~~~~                                          ¥        Yes X No
       If 1 or 3 is "Yes," enter the country of the ultimate parent ~~~~~~~~~~~~~                                ¥
       If 1, 2, or 3 is "Yes," furnish a statement of ownership indicating pertinent names, addresses, and percentages of stock owned.
       If the owner(s) is an individual, provide the SSN/ITIN and see FTB 1131 EN-SP, for more information.
L Has the corporation included a reportable transaction or listed transaction within this return? (See instructions for definitions) ~~~~~~~ ¥                                        Yes   X No
  If "Yes," complete and attach federal Form 8886 for each transaction.
M Is this corporation apportioning or allocating income to California using Schedule R? ~~~~~~~~~~~~~~~~~~~~~~~~~                                                            ¥      X Yes     No
N How many affiliates in the combined report are claiming immunity from taxation in California under Public Law 86-272? ¥                                                                     0
O Corporation headquarters are: ~~~~~~~~ ¥ (1)        Within California                 (2) X Outside of California, within the U.S. (3)    Outside of the U.S.
P Location of principal accounting records: 1574 W BROADWAY ST                         STE 200 #PMB1005, MADISON, WI 53713
Q Accounting method: ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ (1)                                                         Cash (2) X Accrual (3)         Other
R Does this corporation or any of its subsidiaries have a Deferred Intercompany Stock Account (DISA)? ~~~~~~~~~~~~~~~~~ ¥                       Yes X No
    If "Yes," enter the total balance of all DISAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        ¥    $
S Is this corporation or any of its subsidiaries a RIC? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             ¥        Yes X No
T Is this corporation treated as a REMIC for California purposes? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         ¥        Yes X No
U 1. Is this corporation a REIT for California purposes? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              ¥        Yes X No
  2. If question U1 is "Yes," does the entity own any qualified REIT
       subsidiaries that are incorporated or qualified with the California
       Secretary of State? If yes, see instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               ¥        Yes X No
V Is this corporation an LLC or limited partnership electing to be taxed as a corporation for federal purposes? ~~~~~~~~~~~~~~~                                              ¥        Yes X No
  If "Yes", enter the effective date of the election (mm/dd/yyyy) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
W Is this corporation to be treated as a credit union? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              ¥        Yes X No
X Is the corporation under audit by the IRS or has it been audited by the IRS in a prior year? ~~~~~~~~~~~~~~~~~~~~~~~                                                       ¥        Yes X No
Y Have all required information returns (e.g. federal Forms 1099, 5471, 5472, 8300, 8865, etc.) been filed with the Franchise Tax Board?  X N/A                                       Yes     No
Z Does the taxpayer (or any corporation of the taxpayer's combined group, if applicable) own 80% or more of the stock of an insurance company? j
                                                                                                                                               ¥                                      Yes X No
AA Did the corporation file the federal Schedule UTP (Form 1120)? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         ¥        Yes X No
BB Does any member of the combined report own an SMLLC or generate/claim credits that are attributable to an SMLLC? ~~~~~~~~~                                                ¥        Yes X No
CC 1. Has this business entity previously filed an unclaimed property Holder Remit Report with the State Controller's Office?                                                ¥        Yes X No
   2. If "Yes," when was the last report filed? (mm/dd/yyyy) ¥                           3. Amount last remitted n $

          Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
          belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.



                       =
Sign      Signature                                                                                               Title                      Date                   ¥ Telephone
Here      of officer                                                CEO                                                                                              866-654-8777
          Officer's email address (optional) STEVE.ANASTASI@EATSTREET.COM

                       = DANIEL T. O'CONNOR, CPA
          Preparer's                                                                                      Date                       Check if self-                 ¥ PTIN
Paid
          signature                                                                                        11/09/23                  employed |                          P00543528

                        = PO BOX 7398
Pre-      Firm's name      BAKER TILLY US, LLP                                                                                                                      ¥ Firm's FEIN
parer's   (or yours, if
          self-employed)
                                                                                                                                                                         **-***9910
Use
Only      and address             MADISON, WI 53707-7398                                                                                                            ¥ Telephone
                                                                                                                608.249.6622
          May the FTB discuss this return with the preparer shown above? See instructions  ¥ X Yes   No

                                                                                                                                              239791
          For Privacy Notice, get FTB 1131 EN-SP.                    022                   3603224                                            01-03-23              Form 100 2022 Side 3
EATSTREET  INC
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             Schedule A         Taxes Deducted. Use additional sheet(s) if necessary.
                                    (a)                                             (b)                                     (c)                            (d)
                                Nature of tax                                 Taxing authority                        Total amount                 Nondeductible amount
               SEE STATEMENT 4                                                                                                                                            00
                                                                                                                                                                          00
Total. Enter total of column (c) on Schedule F, line 17, and total of column (d) on Side 1, line 2 or line 3.
       If the corporation uses California computation method to compute the net income, see instructions.         j
                                                                                                                  ¥   2,277,826 j
                                                                                                                                ¥                        32,501 00
Schedule F                 Computation of Net Income. See instructions.
              1 a) Gross receipts or gross sales j
                                                 ¥        29,257,032
                b) Less returns and allowance j  ¥           422,735 c) Balance ~~~~~~~~~~~~~~~~~~ ¥ 1c                                           28,834,297 00
              2 Cost of goods sold. Attach federal Form 1125-A (California Schedule V) ~~~~~~~~~~~~~~~~~~~~~                         ¥        2      607,145 00
              3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥        3   28,227,152 00
              4 Total dividends. Attach federal Schedule C (California Schedule H (100)) ~~~~~~~~~~~~~~~~~~~~~                       ¥        4                           00
              5 a) Interest on obligations of the United States and U.S. instrumentalities ~~~~~~~~~~~~~~~~~~~~~                     ¥       5a                           00
Income




                                                                        SEE STATEMENT 6
                b) Other interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥       5b          15,864 00
              6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          ¥        6                           00
              7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       ¥        7                           00
              8 Capital gain net income. Attach federal Schedule D (California Schedule D) ~~~~~~~~~~~~~~~~~~~~                      ¥        8                           00
              9 Ordinary gain (loss). Attach federal Form 4797 (California Schedule D-1) ~~~~~~~~~~~~~~~~~~~~~         -1,247,141 00 ¥        9
             10 Other income (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 10SEE STATEMENT 7             753,000 00
             11 Total income. Add line 3 through line 10  ¥ 11                       27,748,875 00
             12 Compensation of officers. Attach federal Form 1125-E or equivalent schedule ~~~ ¥ 12    895,543 00 STMT 5
             13 Salaries and wages (not deducted elsewhere) ~~~~~~~~~~~~~~~~~ ¥ 13                   12,399,234 00
             14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~ j 14                          ¥        16,823 00
             15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥    15                        00
             16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          ¥    16          372,244 00
             17 Taxes (California Schedule A). See instructions ~~~~~~~~~~~~~~~~                  ¥    17        2,277,826 00
             18 Interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~                              ¥    18                        00
Deductions




             19 Charitable Contributions. Attach schedule  ¥                         19                        00
             20 Depreciation. Attach fed Form 4562 & FTB 3885 j
                                                              ¥ 20  141,471 00
             21 Less depreciation claimed elsewhere on return j 21a
                                                              ¥             00 ¥                       21b         141,471 00
             22 Depletion. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                              ¥    22                        00
             23 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       j
                                                                                                  ¥    23        2,309,205 00
             24 Pension, profit-sharing plans, etc. ~~~~~~~~~~~~~~~~~~~~~                         j
                                                                                                  ¥    24          296,795 00
             25 Employee benefit plans ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 j
                                                                                                  ¥    25        1,336,864 00
             26 a) Total travel and entertainment j
                                                  ¥ 217,887
                b) Deductible amounts ~~~~~~~~~~~~~~~~~~~~~~~~~~                                  ¥    26b         200,470 00
                                                        SEE STATEMENT 8
             27 Other deductions. Attach schedule ~~~~~~~~~~~~~~~~~~~~~                             ¥ 27        12,634,199 00
             28 Specific deduction for organizations under R&TC Section 23701r or 23701t. See instr ¥ 28 00
             29 Total deductions. Add line 12 through line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                             29   32,880,674 00
             30 Net income before state adjustments. Subtract line 29 from line 11. Enter here and on Side 1, line 1        ¥       30   -5,131,799 00

Schedule J          Add-On Taxes and Recapture of Tax Credits. See instructions.
  1 LIFO recapture due to S corporation election, IRC Sec. 1363(d) deferral: $                            ~~~~~~~ ¥                      1                                00
  2 Interest computed under the look-back method for completed long-term contracts (Attach form FTB 3834) ~~~~~~~ ¥                      2                                00
  3 Interest on tax attributable to installment: a Sales of certain timeshares and residential lots ~~~~~~~~~~~~~                ¥       3a                               00
                                                 b Method for nondealer installment obligations ~~~~~~~~~~~~~~                   ¥       3b                               00
  4 IRC Section 197(f)(9)(B)(ii) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                       4                                00
  5 Credit recapture name:                                                     ~ ¥                                                       5                                00
  6 Combine line 1 through line 5, revise Side 2, line 39 or line 40, whichever applies, by this amount. Write
    "Schedule J" to the left of line 39 or line 40 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥       6                                00




                   Side 4 Form 100 2022                          022               3604224
                   239792 01-03-23
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Schedule V          Cost of Goods Sold
 1 Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         j
                                                                                                                                    ¥     1               60,427 00
 2 Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     j
                                                                                                                                    ¥     2              546,718 00
 3 Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  ¥     3                         00
 4 a Additional IRC Section 263A costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥    4a                         00
   b Other costs. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                            4b                         00
 5 Total. Add line 1 through line 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            5              607,145 00
 6 Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                        ¥                       6                         00
 7 Cost of goods sold. Subtract line 6 from line 5. Enter here and on Side 4, Schedule F, line 2 ~~~~~~~~~~~~~~~~                         7              607,145 00
    Method of inventory valuation |                    COST
    Was there any change in determining quantities, costs of valuations between opening and closing inventory? If "Yes," attach an explanation.           Yes    X No
    Enter California seller's permit number, if any |
    Check if the LIFO inventory method was adopted this taxable year for any goods. If checked, attach federal Form 970    ~~~~~~~~~~~~~~~~~~
    If the LIFO inventory method was used for this taxable year, enter the amount of closing inventory under LIFO   ~~~~~~~~~~
    Do the rules of IRC Section 263A (with respect to property produced or acquired for resale) apply to the corporation? ~~~~~~~~~~                      Yes    X No

The corporation may not be required to complete Schedules L, M-1, and M-2. See Schedule M-1 instructions for reporting requirements.
Schedule L  Balance Sheet                                           Beginning of taxable year                                      End of taxable year
Assets                                                            (a)                         (b)                            (c)                           (d)
 1 Cash ~~~~~~~~~~~~~~~~~~                                                        j
                                                                                  ¥       7,221,830                                               ¥        549,906
 2 a Trade notes and accounts receivable ~~                j
                                                           ¥    1,814,007                                       ¥         1,157,082
   b Less allowance for bad debts ~~~~~~                   j
                                                           ¥(                   )j
                                                                                 ¥        1,814,007 ¥ (                                       )¥         1,157,082
 3 Inventories ~~~~~~~~~~~~~~~                                                    j
                                                                                  ¥          60,427                                               ¥
 4 Federal and state government obligations ~~                                    j
                                                                                  ¥                                                               ¥
 5 Other current assets. Attach sch(s)STMT
                                        ~~~~~9                                            1,336,418                                                        715,548
 6 Loans to stockholders/officers. Att sch ~~~                                    j
                                                                                  ¥                                                               ¥
 7 Mortgage and real estate loans ~~~~~~                                          j
                                                                                  ¥                                                               ¥
 8 Other investments. Attach sch(s) ~~~~~~                                        j
                                                                                  ¥                                                               ¥
 9 a Buildings and other fixed depreciable assets          j
                                                           ¥    3,424,296                                       ¥            355,657
   b Less accumulated depreciation ~~~~~                   j
                                                           ¥(   2,332,109) j
                                                                           ¥              1,092,187 ¥ (                      253,876) ¥                    101,781
10 a Depletable assets ~~~~~~~~~~~
   b Less accumulated depletion ~~~~~~                     (                    )j
                                                                                 ¥                              (                             )
11 Land (net of any amortization) ~~~~~~~                                        j
                                                                                 ¥                                                                ¥
                                         j¥
12 a Intangible assets (amortizable only) ~~~                   4,923,771                           ¥                     4,923,771
   b Less accumulated amortization ~~~~~ j¥(                    2,621,865) j
                                                                           ¥              2,301,906 j
                                                                                                    ¥(                    2,961,075) j
                                                                                                                                     ¥                   1,962,696
                                  STMT
13 Other assets. Attach sch(s) ~~~~~~~~10                                  j
                                                                           ¥                65,679                                                ¥
 14 Total assets ~~~~~~~~~~~~~~                                            j
                                                                           ¥            13,892,454                                                ¥      4,487,013
Liabilities and Stockholders' Equity
15 Accounts payable ~~~~~~~~~~~~                                                  j
                                                                                  ¥       4,934,063                                               ¥      3,264,720
16 Mortgages, notes, bonds payable in less than 1 year ~                          j
                                                                                  ¥       2,000,000                                               ¥      2,000,000
17 Other current liabilities. Att. sch(s)STMT 11
                                          ~~~~~                                   j
                                                                                  ¥       4,394,168                                                      8,145,365
18 Loans from stockholders. Att. sch(s) ~~~~                                      j
                                                                                  ¥                                                               ¥         19,582
19 Mortgages, notes, bonds payable in 1 year or more ~                            j
                                                                                  ¥       7,000,000                                               ¥      4,637,912
                                          STMT 12
20 Other liabilities. Attach sch(s) ~~~~~~~                                       j
                                                                                  ¥         137,507                                               ¥         43,709
21 Capital stock: a Preferred stock ~~~~~ j            ¥             5,253               ¥                                         5,253
                     b Common stock ~~~~~ j            ¥             1,052 j
                                                                           ¥       6,305 ¥                                         1,052 ¥                6,305
22 Paid-in or capital surplus. Attach reconciliation                       j
                                                                           ¥  51,687,721                                                          ¥  55,900,492
23 Retained earnings - Appropriated. Att. sch. ~                STMT 13    j
                                                                           ¥                                                                      j
                                                                                                                                                  ¥      99,959
24 Retained earnings - Unappropriated ~~~~                                 ¥ -56,220,769
                                                                           j                                                                      j
                                                                                                                                                  ¥ -69,631,031
25 Adjustments to shareholders' equity. Att. sch.
26 Less cost of treasury stock ~~~~~~~~                                            (        46,541)                                               (                     )
27 Total liabilities and stockholders' equity                                         13,892,454                                                       4,487,013




            239793 01-03-23                                     022          3605224                                                    Form 100 2022 Side 5
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EATSTREET INC                                                        Document     Page 78 of 326                                                       **-***5093


Schedule M-1                 Reconciliation of Income (Loss) per Books With Income (Loss) per Return.
                             If the corporation completed federal Sch M-3 (Form 1120/1120F), see instructions.
1 Net income per books ~~~~~~~~~~~                            ¥   -13,410,262 7 Income recorded on books this year not included
2 Federal income tax ~~~~~~~~~~~~                             ¥                            in this return (itemize)
3 Excess of capital losses over capital gains ~~ ¥                                         a Tax-exempt interest j
                                                                                                                 ¥ $
4 Taxable income not recorded on books this year (itemize)                                 b Other ~~~~~ $                    319,125                 STMT 15
                                                              ¥                            c Total. Add line 7a and line 7b   ~~~~~~ ¥                     319,125
5 Expenses recorded on books this year not                                               8 Deductions in this return not charged against
  deducted in this return (itemize)                                                        book income this year (itemize)
  a Depreciation ~ $                      421,557                                          a Depreciation      $
  b State taxes ~~ $                                                                       b State tax refunds $
     Travel and
  c entertainment j
                  ¥ $                   17,417                                             c Other ~~~ $
  d Other ~~~~ $                     8,158,614                    STMT 14
                                                                                           d Total. Add line 8a through line 8c   ~~~~ ¥
  e Total. Add line 5a through line 5d ~~~~~ ¥                        8,597,588 9 Total. Add line 7c and line 8d ~~~~~~~~ j           ¥                   319,125
6 Total. Add line 1 through line 5e                           -4,812,674 10 Net income per return. Subtract line 9 from line 6                  -5,131,799

Schedule M-2                 Analysis of Unappropriated Retained Earnings per Books (Side 5, Schedule L, line 24)
1 Balance at beginning of year ~~~~~~~~                       ¥   -56,220,769 5 Distributions: a Cash ~~~~~~~~~~~ ¥
2 Net income per books ~~~~~~~~~~~                            ¥   -13,410,262                  b Stock ~~~~~~~~~~ ¥
3 Other increases (itemize)                                                                                 c Property ~~~~~~~~~                ¥
                                                                                         6 Other decreases (itemize)
                                                                                                                                                ¥
                                                              ¥                          7 Total. Add line 5 and line 6 ~~~~~~~~~~
4 Total. Add line 1 through line 3                        -69,631,031            8 Balance at end of year. Subtract line 7 from line 4 j
                                                                                                                                               ¥      -69,631,031

Schedule D             California Capital Gains and Losses
Part I    Short-Term Capital Gains and Losses - Assets Held One Year or Less. Use additional sheet(s) if necessary.
                             (a)                       (b)              (c)                   (d)                           (e)                              (f)
              Kind of property and description    Date acquired      Date sold                                      Cost or other basis                  Gain (loss)
               (Example, 100 shares of Z Co.)     (mm/dd/yyyy)     (mm/dd/yyyy)       Gross sales price            plus expense of sale                  (d) less (e)

 1                                                                                                                                                                      00
                                                                                                                                                                        00
 2 Short-term capital gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~                          j
                                                                                                                                    ¥      2                            00
 3 Unused capital loss carryover from 2021 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      j
                                                                                                                                    ¥      3                            00
 4 Net short-term capital gain (loss). Combine line 1 through line 3                                       ¥      4                            00
Part II   Long-Term Capital Gains and Losses - Assets Held More Than One Year. Use additional sheet(s) if necessary.
 5                                                                                                                                                                      00
                                                                                                                                                                        00
 6 Enter gain from Schedule D-1, line 9 and/or any capital gain distributions ~~~~~~~~~~~~~~~~~~~~~~                                j
                                                                                                                                    ¥      6                            00
 7 Long-term capital gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~                           j
                                                                                                                                    ¥      7                            00
 8 Net long-term capital gain (loss). Combine line 5 through line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                           8                            00
 9 Enter excess of net short-term capital gain (line 4) over net long-term capital loss (line 8) ~~~~~~~~~~~~~~~                           9                            00
10 Net capital gain. Enter excess of net long-term capital gain (line 8) over net short-term capital loss (line 4) ~~~~~~~~                10                           00
11 Total lines 9 and 10. Enter here and on Form 100, Side 1, line 5. If losses exceed gains, carry forward losses to 2023               11                           00




             Side 6 Form 100 2022                                 022             3606224                                           239794 01-03-23
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                        Sales of Business Property
                                                                                                                                                                                   239241 12-06-22
 TAXABLE YEAR                                                                                                                                                              CALIFORNIA SCHEDULE

                  (Also Involuntary Conversions and Recapture Amounts Under IRC Sections 179
     2022         and 280F(b)(2))                                                                                                                                                 D-1
Complete and attach this schedule to your tax return only if your California gains or losses are different from your federal gains or losses.
Name(s) as shown on tax return                                                                                          SSN, ITIN, CA SOS file no., California Corp. no., or FEIN



EATSTREET INC                                                                                                                                            **-***5093
Part I Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other Than Casualty and Theft - Property Held
       More Than 1 Year. Use federal Form 4684, Casualties and Thefts, to report involuntary conversions from casualty and theft.
 1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on federal Form 1099-B, Proceeds from
    Broker and Barter Exchange Transactions, or federal Form 1099-S, Proceeds from Real Estate Transactions (or a
     substitute statement), that you are including on line 2 or line 10, column (d), or line 23 ~~~~~~~~~~~~~~~ j
                                                                                                                ¥                                             1a
  b Enter the total amount of gain that you are including on lines 2, 10, and 27 due to the partial dispositions of MACRS assets. See instructions      j
                                                                                                                                                        ¥     1b
  c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS assets. See instructions         j
                                                                                                                                                        ¥     1c
 2
          (a)                         (b)                             (c)                          (d)                (e) Depreciation                     (f)                     (g)
     Description of              Date acquired                     Date sold                   Gross sales               allowed or               Cost or other basis,        Gain or (Loss)
        property                   (mm/dd/yyyy)                  (mm/dd/yyyy)                     price                   allowable             plus improvements and        Subtract (f) from
                                                                                                                      since acquisition             expense of sale       the sum of (d) and (e)

j
¥          j
           ¥                                             j
                                                         ¥                              j
                                                                                        ¥        j
                                                                                                 ¥              j¥             j
                                                                                                                               ¥
j
¥          j
           ¥                                             j
                                                         ¥                              j
                                                                                        ¥        j
                                                                                                 ¥              j¥             j
                                                                                                                               ¥
¥ STATEMENTj
j          ¥ 17                                          j
                                                         ¥                     207,667 jj
                                                                                        ¥        ¥ 1010466 j     ¥ 2,460,414 j ¥                                            -1,242,281
 3 Gain, if any, from federal Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       j
                                                                                                                           ¥ 3
 4 IRC Section 1231 gain from installment sales from form FTB 3805E, line 26 or line 37 ~~~~~~~~~~~~~~~~~ j                ¥ 4
 5 IRC Section 1231 gain or (loss) from like-kind exchanges from federal Form 8824 (completed using California amounts) ~~ j
                                                                                                                           ¥ 5
 6 Gain, if any, from line 35, from other than casualty and theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                           ¥ 6
 7 Combine line 2 through line 6. Enter gain or (loss) here and on the appropriate line as follows: ~~~~~~~~~~~~~ j        ¥ 7                                              -1,242,281
     IRC Section 179 Assets: For reporting the sale or disposition of assets for which an IRC Section 179 expense deduction
     was claimed in a prior year, see instr. Partnerships or LLCs (classified as partnerships): Enter the gain or (loss) on
     Schedule K (565 or 568), line 10. Skip lines 8, 9, 11, and 12 below. S corporations: If line 7 is zero or a loss, enter the
     amount on line 11 below and skip line 8 and line 9. If line 7 is a gain, continue to line 8. All others: If line 7 is zero or a
     loss, enter the amount on line 11 below and skip line 8 and line 9. If line 7 is a gain and you did not have any prior year
     IRC Section 1231 losses, or they were recaptured in an earlier year, enter the gain as follows: Forms 540 and 540NR
     filers, enter the gain on Schedule D (540 or 540NR), line 1, and skip lines 8, 9, and 12 below; Forms 100 and 100W filers,
     enter the gain on Form 100 or 100W, Side 6, Schedule D, Part II, line 6, and skip lines 8, 9, and 12 below.
                                                                                                             STMT 16 j
 8 Nonrecaptured net IRC Section 1231 losses from prior years. Enter as a positive number. See instructions ~~~~~~~~ ¥                                             8                        861
 9 Subtract line 8 from line 7. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                        j                                             9                          0
     S corporations: If line 9 is more than zero, enter this amount on Schedule D (100S), Section B, Part II, line 5 and enter
     the amount, if any, from line 8 on line 12 below. If line 9 is zero, enter the amount from line 7 on line 12 below. All others:
     If line 9 is more than zero, enter the amount from line 8 on line 12 below, and enter the amount from line 9 as follows:
     Forms 540 and 540NR filers, enter as a capital gain on Schedule D (540 or 540NR), line 1; Forms 100 and 100W filers,
     enter the gain on Form 100 or 100W, Side 6, Schedule D, Part II, line 6. If line 9 is zero, enter the amount from line 7 on
     line 12 below. See instructions.
Part II Section A - Ordinary Gains and Losses
10 Ordinary gains and losses not included on line 11 through line 16 (include property held 1 year or less):
j
¥                      j
                       ¥                       j
                                               ¥                        j¥                     j¥                           j
                                                                                                                            ¥       j
                                                                                                                                    ¥
j
¥          j
           ¥                                             j
                                                         ¥                              j
                                                                                        ¥                           j
                                                                                                                    ¥       j
                                                                                                                            ¥       j
                                                                                                                                    ¥
¥ STATEMENTj
j          ¥ 18                                          j
                                                         ¥                              j
                                                                                        ¥                           j
                                                                                                                    ¥ 7,594 j
                                                                                                                            ¥ 2,734 j
                                                                                                                                    ¥                                              -4,860
11 Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              j
                                                                                                                       ¥ 11 (                                                   1,242,281)
12 Gain, if any, from line 7, or amount from line 8, if applicable. See instructions ~~~~~~~~~~~~~~~~~~~~~ j           ¥ 12
13 Gain, if any, from line 34 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                           ¥ 13
14 Net gain or (loss) from federal Form 4684, line 31 and line 38a (completed using California amounts) ~~~~~~~~~~ ¥ 14j
15 Ordinary gain from installment sales from form FTB 3805E, line 25 or line 36. See instructions ~~~~~~~~~~~~~ j      ¥ 15
                                                                                                                       j
16 Ordinary gain or (loss) from like-kind exchanges from federal Form 8824 (completed using California amounts) ~~~~~~ ¥ 16
17 Combine line 10 through line 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                          ¥ 17                                                 -1,247,141
18 For all except individual tax returns, enter the amount from line 17 on the appropriate line of your tax return and skip line a
   and line b below. For individual tax returns, complete line a and line b below; see instructions.
        a If the loss on line 11 includes a loss from federal Form 4684, Section B, Part II, column (b)(ii) of line 30 or line 35,
          enter that part of the loss here. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ j                                     ¥ 18a
        b Redetermine the gain or (loss) on line 17, excluding the loss, if any, on line 18a. Enter here and on line 20 ~~~~~ ¥ 18bj

           For Privacy Notice, get FTB 1131 EN-SP.                     022                   7811224                                                        Schedule D-1 2022    Side 1
EATSTREET  INC
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Part II     Section B - Adjusting California Ordinary Gain or Loss For individual tax returns (Forms 540 and 540NR) only.
19 Enter ordinary federal gain or (loss) from federal Schedule 1 (Form 1040), line 4 ~~~~~~~~~~~~~~~~~~ j                 ¥                                           19
20 Enter ordinary California gain or (loss) from line 18b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                j                                           20
21 Ordinary gain or loss adjustment: Compare line 19 and line 20. See instructions.
     a    If line 19 is more than line 20, enter the difference here and on Sch. CA (540), Part I or Sch. CA (540NR), Part II, Section B, line 4, col. B   ~~ j
                                                                                                                                                              ¥ 21a
     b    If line 20 is more than line 19, enter the difference here and on Sch. CA (540), Part I or Sch. CA (540NR), Part II, Section B, line 4, col. C      j
                                                                                                                                                            ¥ 21b
Part III          Gain from Disposition of Property Under IRC Sections 1245, 1250, 1252, 1254, and 1255                                                        Date acquired                  Date sold
                                                                                                                                                               (mm/dd/yyyy)                 (mm/dd/yyyy)
Description of IRC Sections 1245, 1250, 1252, 1254, and 1255 property.
22 A j ¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     Bj¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
       j
     C ¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     Dj¥                                                                                                                                                   j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
Relate the properties on lines 22A through 22D to these columns |                                  Property A                      Property B                  Property C                   Property D
23 Gross sales price ~~~~~~~~~~~~~~~~~                                              23    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
24 Cost or other basis plus expense of sale ~~~~~~~                                 24    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
25 Depreciation (or depletion) allowed or allowable ~~~~                            25    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
26 Adjusted basis. Subtract line 25 from line 24 ~~~~~                              26    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
27 Total gain. Subtract line 26 from line 23                                 27    j
                                                                                          ¥                               j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
28 If IRC Section 1245 property:
   a Depreciation allowed or allowable from line 25 ~~~                            28a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
   b Enter the smaller of line 27 or line 28a ~~~~~~                               28b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
29 If IRC Section 1250 property: If straight-line depreciation was used,
     enter -0- on line 29g, except for a corporation subject to IRC Sec. 291:

     a Additional depreciation after 12/31/76~~~~~~~                               29a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     b Applicable percentage multiplied by the smaller of line 27 or line 29a ~    29b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     c Subtract line 29a from line 27. If line 27 is not more
       than line 29a, skip line 29d and line 29e ~~~~~~                            29c j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     d Additional depreciation after 12/31/70 and before 1/1/77 ~~                     j
                                                                                   29d ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     e Enter the smaller of line 29c or line 29d ~~~~~~                            29e j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     f IRC Section 291 amount (for corporations only) ~~                           29f j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     g Add line 29b, line 29e, and line 29f                                29g j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥


30 If IRC Section 1252 property: Skip section if you did not
     dispose of farm land or if form is being completed for a partnership.

     a Soil, water, and land clearing expenses ~~~~~~                              30a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     b Applicable percentage multiplied by line 30a ~~~~                               j
                                                                                   30b ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     c Enter the smaller of line 27 or line 30b ~~~~~~                             30c j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
31 If IRC Section 1254 property:
     a Intangible drilling and development costs deducted after 12/31/76 ~~~       31a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
     b Enter the smaller of line 27 or line 31a ~~~~~~                             31b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
32 If IRC Section 1255 property:
   a Applicable percentage of payments excluded from
         income under IRC Section 126                       ~~~~~~~~~              32a j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
   b Enter the smaller of line 27 or line 32a                                32b j
                                                                                       ¥                                  j
                                                                                                                          ¥                                j
                                                                                                                                                           ¥                          j
                                                                                                                                                                                      ¥
Summary of Part III Gains. Complete property column A through column D for line 23 through line 32b before going to line 33.
33 Total gains for all properties. Add column A through column D of line 27 ~~~~~~~~~~~~~~~~~~~~~~~~~ j         ¥                                                              33
                                                                                                                j
34 Add column A through column D of lines 28b, 29g, 30c, 31b, and 32b. Enter here and on line 13 ~~~~~~~~~~~~~~ ¥                                                              34
35 Subtract line 34 from line 33. Enter the portion from other than casualty and theft here and on line 6.
   Enter the portion from casualty and theft on federal Form 4684, line 33  j     ¥                                                                   35
Part IV Recapture Amounts Under IRC Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                                                                                                                                             (a) Expense deductions                (b) Recovery deductions
36 Expense deductions or recovery deductions. See instructions ~~~~~~~~~~~~~~                                                     36    j
                                                                                                                                        ¥                                      j
                                                                                                                                                                               ¥
37 Depreciation or recovery deductions. See instructions ~~~~~~~~~~~~~~~~~                                                        37    j
                                                                                                                                        ¥                                      j
                                                                                                                                                                               ¥
38 Recapture amount. Subtract line 37 from line 36. See instructions ~~~~~~~~~~~~                                                 38    j
                                                                                                                                        ¥                                      j
                                                                                                                                                                               ¥



               Side 2 Schedule D-1 2022                                         022               7812224
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  TAXABLE YEAR                                                                                                                               CALIFORNIA SCHEDULE

    2022                 Apportionment and Allocation of Income                                                                                                R
Attach this schedule behind the California tax return and prior to the supporting schedules.
For calendar year 2022 or fiscal year beginning month (mm/dd/yyyy)                                                , and ending (mm/dd/yyyy)                                                      .
Name as shown on your California tax return                                                                                                       SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


EATSTREET INC                                                                                                                                      8152871
Water's-Edge Filers Only: If controlled foreign corporations are included in the combined report, attach form FTB 2416.
Complete Schedule R (Side 1 and Side 2) and all applicable Schedules (R-1 through R-7). See General Information for Schedule R.
  1 a Net income (loss) after state adjustments from Form 100 or Form 100W, Side 2, line 17; Form 100S, Side 2,
      line 14; Form 100X, line 4. Form 565 and Form 568 filers: Enter the total of line 1 through line 11c from
      Schedule K (565 or 568) less the total of line 12 through line 13e from Schedule K (565 or 568) ~~~~~~~~~~~                       c   1a        -10,688,934 00
    b Water's-edge foreign investment interest offset from form FTB 2424, line 17 ~~~~~~~~~~~~~~~~~~~                                   c   1b                                                00
    c Total. Combine line 1a and line 1b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          c   1c        -10,688,934 00
Nonbusiness Income (Loss) from All Sources. See General Information A for definitions and examples.
 2 Dividends included on line 1a and not deducted on Form 100, Side 2, line 11;
    Form 100W, Side 2, lines 11a/b; or Form 100S, Side 2, lines 9 and 10 ~~~~~~           c        2                                00
  3 Interest. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                                   c        3                                00
  4 Net income (loss) from the rental of property from Schedule R-3, line 3, column (c)   c        4                                00
  5 Royalties. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                         5                                00
  6 Gain (loss) from the sale of assets from Schedule R-4, line 2, column (e) ~~~~~ c              6                                00
  7 Gain (loss) from sale of a nonbusiness interest in a partnership or LLC. Attach sch ~ c        7                                00
  8 Miscellaneous nonbusiness income (loss). Attach schedule ~~~~~~~~~~ c          8              00
  9 Total nonbusiness income (loss). Combine line 2 through line 8      ~~~~~~~~~~~~~~~~~~~~~~~~~ c                                          9                                                00
Business Income (Loss) before Apportionment (subject to a separate apportionment formula)
 10 Nonunitary partnership or LLC business income (loss) ~~~~~~~~~~~~ c 10                                                          00
11 Income (loss) from a separate trade or business. Attach supplemental Schedule R ~           c   11                               00
12 Business income (loss) deferred from prior years. See General Information L ~~~             c   12                               00
13 Capital gain (loss) netting subject to separate apportionment. See Gen Information M    13  c          00
14 Total separately apportionable business income (loss). Combine line 10 through line 13 ~~~~~~~~~~~~~~~ c                                 14                                                00
15 Tot business inc (loss) subject to apportionment for this trade or business, subtract the sum of ln 9 and ln 14 from ln 1c ~         c   15        -10,688,934 00
16 Interest offset from Schedule R-5, line 7 or line 16 (California domiciliaries only) ~~~~~~~~~~~~~~~~~~                              c   16                                                00
17 Business income (loss) for this trade or business subject to apportionment. Combine line 15 and line 16 ~~~~~~~~                     c   17        -10,688,934 00
18 a Apportionment percentage from Schedule R-1, Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~                                   c   18a            2.8387 %
    b Business income (loss) apportioned to California. Multiply line 17 by line 18a ~~~~~~~~~~~~~~~~~~~                                c   18b          -303,427 00
Nonbusiness Income (Loss) Allocable to California. If no income (loss) is allocable to California, do not complete
line 19 through line 26, enter -0- on line 27 and go to Side 2, line 28.
 19 Dividends and interest income (if taxpayer's commercial domicile is in California):
     a Dividends included in line 2 above ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         c   19a                                               00
    b Interest included in line 3 above   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        c   19b                                               00
20 Net income (loss) from the rental of property within California from Schedule R-3, line 3, column (b) ~~~~~~~~~~                     c   20                                                00
21 Royalties. Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                c   21                                                00
22 Gain (loss) from the sale of assets within California from Schedule R-4, line 2, total of column (b) and
   column (d). Combined reporting groups, see General Information M ~~~~~~~~~~~~~~~~~~~~~~~~                                            c   22                                                00
23 Gain (loss) from sale of a nonbusiness interest in a partnership or LLC. Attach schedule ~~~~~~~~~~~~~~~                             c   23                                                00
24 Miscellaneous nonbusiness income (loss). Attach schedule ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 c   24                                                00
25 Total nonbusiness income (loss) allocable to California. Combine line 19a through line 24 ~~~~~~~~~~~~~~                             c   25                                                00
26 Interest offset from line 16 allocated to income included on line 19a and line 19b (California domiciliary only).
    See General Information J ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                c   26                                                00
27 Net nonbusiness income (loss) allocable to California. Subtract line 26 from line 25 ~~~~~~~~~~~~~~~~~                               c   27                                                00




                                                                                                                             239841
         For Privacy Notice, get FTB 1131 EN-SP.            022                8011224                                       01-03-22       Schedule R 2022 Side 1
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Name as shown on your California tax return                                                                                    SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


EATSTREET INC                                                                                                                   8152871
California Business Income (Loss) subject to a separate apportionment formula.
28 California business income (loss) from a nonunitary partnership or LLC ~~~~~ ¥             28                     00
29 California income (loss) from a separate trade or business. Attach
   supplemental schedule R. ~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                       29                     00
30 California business income (loss) deferred from prior yrs. See General Information L ¥     30                   00
31 Total business income (loss) separately apportioned to California. Combine line 28 through line 30   ~~~~~~~~~~ ¥      31                                               00
Net Income (Loss) for California Purpose
32 Post-apportioned and allocated amounts from capital gain (loss) netting.
    See General Information M ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                32                                               00
33 Net income (loss) for California purposes before contributions adjustment. Combine lines 18b, 27, 31, and 32 ~~~~~ ¥   33                 -303,427 00
34 Contributions adjustment from Schedule R-6, line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                   34                                               00
35 Net income (loss) for California purposes. Combine line 33 and line 34. Enter here and on Form 100 or
   Form 100W, Side 2, line 18 or Form 100S, Side 2, line 15  ¥                                35                 -303,427 00




                                                        Complete the applicable
                                                       Schedules R-1 through R-7,
                                                           starting on Side 3.




            239842
            01-03-23   Side 2 Schedule R 2022             022                 8012224
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Name as shown on your California tax return                                                                                                         SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


EATSTREET INC                                                                                                                                        8152871
Schedule R-1 Apportionment Formula.
Part A Standard Method - Single-Sales Factor Formula. Complete this part only if the corporation uses the single-sales factor formula.
                                                                                                           (a)                                                              (c)
                                                                                                Total within and outside                 (b)                    Percent within California
      See General Information G and Specific Instructions.                                                                     Total within California
                                                                                                       California                                                   ((b) ^ (a)) x 100

1 Sales: Gross receipts, less returns, and allowances ~~~~~~~~~
  a Sales delivered or shipped to California purchasers.
      (i) Shipped from outside California ~~~~~~~~~~~~~~~
      (ii) Shipped from within California ~~~~~~~~~~~~~~~~
    b Sales shipped from California to:
      (i) The United States Government           ~~~~~~~~~~~~~~~
      (ii) Purchasers in a state where the taxpayer is not taxable ~~~~~                                                   ¥
    c Total other gross receipts ~~~~~~~~~~~~~~~~~~~                                        ¥         28,893,995
      (i) Sales from services ~~~~~~~~~~~~~~~~~~~~                                                                         ¥
      (ii) Sales or other income from intangibles ~~~~~~~~~~~~                                                             ¥
      (iii)Sales from rental, leasing or licensing of tangible or real property ~                                          ¥
      (iv)Sales from other gross receipts ~~~~~~~~~~~~~~~                                                                  ¥               820,211
    d Sales from partnerships or LLCs treated as partnerships ~~~~~~                        ¥                              ¥
    Total sales                                                   ¥         28,893,995 ¥                         820,211
2 Apportionment percentage. Divide total sales column (b) by total
  sales column (a) and multiply the result by 100. Enter the result here
 and on Schedule R, Side 1, line 18a. See General Information H                                                                                              ¥          2.8387 %
Part B Three-Factor Formula. Complete this part only if the corporation uses the three-factor formula.
                                                                                        (a)                                              (b)                                (c)
                                                                             Total within and outside                                                           Percent within California
                                                                                    California                                 Total within California              ((b) ^ (a)) x 100
1 Property: Use the average yearly value of owned real and tangible personal
      property used in the business at original cost. See General Information E. Exclude
      property not connected with the business and the value of construction in progress.
      Inventory ~~~~~~~~~~~~~~~~~~~~~~~~~~
      Buildings ~~~~~~~~~~~~~~~~~~~~~~~~~~
      Machinery and equipment (including delivery equipment)
                                             ~~~~~
      Furniture and fixtures ~~~~~~~~~~~~~~~~~~~~~
      Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      Other tangible assets. Attach schedule ~~~~~~~~~~~~~~
      Rented property used in the business. See General Information E ~~
      Total property                                                ¥                              ¥                                     ¥                               %
2     Payroll: Use employee wages, salaries, commissions, and other
      compensation related to business income. See General Information F.
      Total payroll                                                 ¥                              ¥                                     ¥                               %
3     Sales: Gross receipts, less returns, and allowances. See General
      Information G and Specific Instructions ~~~~~~~~~~~~~
      a Sales delivered or shipped to California purchasers.
        (i) Shipped from outside California ~~~~~~~~~~~~~
        (ii) Shipped from within California ~~~~~~~~~~~~~~
      b Sales shipped from California to:
        (i) The United States Government ~~~~~~~~~~~~~~
        (ii) Purchasers in a state where the taxpayer is not taxable ~~~~
      c Total other gross receipts ~~~~~~~~~~~~~~~~~~                                       ¥                              ¥
      Total sales                                                  ¥                              ¥                                     ¥                               %
4     Total percent . Add the percentages in col (c) ~~~~~~~~~~~                                                                                                                                 %
5     Apportionment percentage . Divide line 4 by 3, enter the result here
      and on Schedule R, Side 1, line 18a. See General Information H                                                                                          ¥                               %




               239843
               01-03-23                                                022                  8013224                                           Schedule R 2022 Side 3
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Name as shown on your California tax return                                                                                                                                   SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


EATSTREET INC                                                                                                                                                                  8152871
Schedule R-2 Sales and General Questionnaire.                                                Attach additional sheets if necessary.
1     Describe briefly the nature and location(s) of the California business activities.
      ONE EMPLOYEE AND SALES TO CA RESTAURANTS
2     State the exact title and principal business activity of all joint ventures, partnerships, or LLCs in which the corporation has an interest.


3     Does the California sales figure on Schedule R-1 (or a comparable schedule in a combined report) include all sales shipped from California where the purchaser is the
      U.S. Government?                      Yes       X       No If "No," explain.N/A
4     Does the California sales figure on Schedule R-1 (or a comparable schedule in a combined report) include all sales shipped from California to states in which the
      taxpayer is not subject to tax? See General Information G and Specific Instructions.                                      Yes      X No If "No," explain.
      NO SALES SHIPPED FROM CA
5 a Did the taxpayer use reasonable approximation to assign sales under Schedule R-1, Part A, line 1c (i)-(iv)? ~~~~~~~~~~~~~~~ ¥                                                                      Yes       X No
    If "Yes," provide a brief description.
    b Did the taxpayer change reasonable approximation method to assign sales from the last tax return filed? See Specific Instructions ~~~~~~                                                         Yes       X No
      If "Yes," provide a brief description of the new method.
6     Are the nonbusiness items reported on Schedule R, Side 1, line 2 through line 8, and the apportionment factor items reported on Schedule R-1 treated consistently on
      all state tax returns filed by the taxpayer?                         X Yes                  No If "No," explain.


7     Has this corporation or any member of its combined unitary group changed the way income is apportioned or allocated to California from prior year tax returns?
      See General Information I.                          Yes       X No If "Yes," explain.

8     Does the California sales figure on Schedule R-1 (or comparable sch in a combined report) include all sales shipped to California destinations?                                           X Yes                  No
      If "No," indicate the name of the selling member and the nature of the sales activity believed to be immune.


9     Does the California sales figure on Schedule R-1 (or comparable schedule in a combined report) include all sales delivered to customers outside California
      which have an ultimate destination in California?                           X Yes                No   If "No," explain.



Schedule R-3                     Net Income (Loss) from the Rental of Nonbusiness Property
                                                                                                                    (a)                                 (b)                                  (c)
                                                                                                                Total outside                        Total within                    Total outside and
                                                                                                                 California                           California                 within California (a) + (b)
1     Income from rents ~~~~~~~~~~~~~~~~~~
2     Rental deductions              ~~~~~~~~~~~~~~~~~~
3     Net income (loss) from rents. Subtract line 2 from line 1. Enter the result here and

      enter column (c) on Side 1, line 4; enter column (b) on Side 1, line 20 ~~~~~~                                                     j
                                                                                                                                         ¥                                   j
                                                                                                                                                                             ¥


Schedule R-4               Gain (Loss) from the Sale of Nonbusiness Assets
California sales of nonbusiness assets include transactions involving: (1) real property located in California; (2) tangible personal property, if it had a situs in
California at the time of sale, or if the corporation is commercially domiciled in California and not taxable in the state where the property had a situs at the time of
sale; and (3) intangible personal property if the corporation's commercial domicile is in California or the income is otherwise allocable to California.

           Description of property sold                                     Real estate and other tangible assets                                   Intangible assets                                 Total
                                                                                (a)                      (b)                                 (c)                        (d)                           (e)
                                                                          Gain (loss) from          Gain (loss) from                   Gain (loss) from           Gain (loss) from                Gain (loss)
                                                                         outside California        within California                  outside California          within California           (a) + (b) +(c) + (d)
1                                                                    j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
                                                                     j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
                                                                     j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
2 Total gain (loss)                                       j
                                                                     ¥                                 j
                                                                                                       ¥                         j
                                                                                                                                 ¥                           j
                                                                                                                                                             ¥                            j
                                                                                                                                                                                          ¥
Enter total gain (loss) line 2, column (e) on Side 1, line 6 and enter total of line 2, columns (b) and (d) on Side 1, line 22.




                239844
                01-03-23       Side 4 Schedule R 2022                                    022                 8014224
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Name as shown on your California tax return                                                                                                    SSN, ITIN, FEIN, CA corp no., or CA SOS file no.


EATSTREET INC                                                                                                                    8152871
Schedule R-5 Computation of Interest Offset. Complete only if there are entries on line 2 and/or line 3 of Schedule R and if Schedule R-1 is
                         required. See General Information J. (California domiciliary only)
  1 Total interest expense deducted ~~~~~~~~~~~~~~~~~~~~~~~                                       1
  2 Water's-edge foreign investment interest offset from Side 1, line 1b ~~~~~~~~                 2
  3 Balance. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~                                   3
  4 Total interest income (Form 100 or Form 100W, Side 1, line 4 and Schedule F, line 5a
    and line 5b; or Form 100S, Side 1, line 3 and interest income included on Schedule F,
    line 5 or Schedule K, line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                       4
  5 Nonbusiness interest income from Side 1, line 3 ~~~~~~~~~~~~~~~~      5
  6 Business interest income. Subtract line 5 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 6
  7 Excess interest expense over business interest income. Subtract line 6 from line 3. If line 6 exceeds line 3, enter -0- here
    and on Side 1, line 16, and do not complete the rest of this schedule  j                              ¥        7
  8 Total dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            8
  9 Deducted dividends from Form 100, Side 2, lines 10 and 11; Form 100W, Side 2,
    lines 10 and 11a/b; or Form 100S, Side 2, lines 9 and 10 ~~~~~~~~~~~~~                        9
10 Net dividend income. Subtract line 9 from line 8                                                    10
11 Business dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~                 11
12 Deducted dividends from Form 100, Side 2, lines 10 and 11; Form 100W, Side 2, lines
   10 and 11a/b; or Form 100S, Side 2, lines 9 and 10, attributable to business
    dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                12
13 Net business dividend income. Subtract line 12 from line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              13
14 Net nonbusiness dividend income. Subtract line 13 from line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14
15 Total nonbusiness interest and dividend income. Add line 5 and line 14 ~~~~~~~~~~~~~~~~~~~~~~~                                        15
16 Enter the lesser of line 7 or line 15. Enter here and on Side 1, line 16 ~~~~~~~~~~~~~~~~~~~~~~~ j
                                                                                                    ¥                                    16

If interest and/or dividend income is reported on Side 1, line 19a or line 19b, enter the allocable portion of Schedule R-5, line 16 on Side 1, line 26.
See General Information J. If no interest or dividend income is reported on Side 1, line 19a or line 19b, do not deduct any interest expense on Side 1, line 26.

Schedule R-6             Contributions Adjustment. See General Information N.
  1 Total contributions paid (current year and carryover amount) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             1                    10,092
  2 Net income (loss) after state adjustments from Side 1, line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2               -10,688,934
  3 Portion of dividends deductible under R&TC Sections 24410 and 24411 (from Form 100, Side 2, line 11;
    Form 100W, lines 11a/b; or Form 100S, lines 9 and 10), and other adjustments. See General Information N ~~~~~~~~                      3
  4 Contributions deducted on Form 100, Form 100W, or Form 100S ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                4
  5 Total. Add line 2 through line 4. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5                                                0
  6 Multiply line 5 by 10% (.10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               6
  7 Net income (loss) for state purposes before contributions adjustment from Side 2, line 33 ~~~~~~~~~~~~~~~                             7                         -303,427
  8 Business dividends deductible on line 3 multiplied by the average apportionment percentage from Schedule R-1,
    Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           8
 9 Amount of line 3 attributable to nonbusiness dividends reported on Side 1, line 19a ~~~~~~~~~~~~~~~~~~                                 9
10 Contributions deducted (from line 4 above) multiplied by the average apportionment percentage from Schedule R-1,
    Part A, line 2 or Part B, line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          10
11 Total. Add line 7 through line 10. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          11                                                0
12 Multiply line 11 by 10% (.10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              12
Contributions Adjustment
 13 Enter the amount shown on line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            13
14 Amount of contributions allowable:
   a If line 1 equals or exceeds line 6, enter the lesser of line 1 or line 12 ~~~~~~~~~~~~~~~~~~~~~~~~                                  14a
   b If line 1 is less than line 6, divide line 11 by line 5. Then multiply line 1 by the result and enter here ~~~~~~~~~~               14b
15 Contributions adjustment. Subtract line 14a or line 14b from line 13. Enter here and on Side 2, line 34.
    If the result is a negative amount, enter in brackets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           j
                                                                                                                                    ¥    15




              239851
              01-03-23                                      022                8015224                                        Schedule R 2022 Side 5
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    TAXABLE YEAR              Net Operating Loss (NOL) ComputationPage
                                                   Document        and 86 of 326                                                                         CALIFORNIA FORM

        2022                  NOL and Disaster Loss Limitations - Corporations                                                                                3805Q
Attach to Form 100, Form 100W, Form 100S, or Form 109.
Corporation name                                                                                                                             California corporation number



EATSTREET INC                                                                                                                                 8152871
During the taxable year the corporation incurred the NOL, the corporation was a(n): j ¥ X C corporation                                      FEIN

j
¥        S corporation    j
                          ¥       Exempt organization    j¥       Limited liability company (electing to be taxed as a corporation)           **-***5093
If the corporation previously filed California tax returns under another corporate name, enter the corporation name and California corporation number:
j
¥
If the corporation is included in a combined report of a unitary group, see instructions, General Information C, Combined Reporting.
Part I Current year NOL. If the corporation does not have a current year NOL, go to Part II.
 1 Net loss from Form 100, line 18; Form 100W, line 18; Form 100S, line 15; or Form 109, line 2.
   Enter as a positive number ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              1                 303,427 00
 2 2022 disaster loss included in line 1. Enter as a positive number ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2                                           00
 3 Subtract line 2 from line 1. If zero or less, enter -0- and see instructions                                 3                 303,427 00
 4 a Enter the amount of the loss incurred by a new business included in line 3 ~~~            4a                                 00
   b Enter the amount of the loss incurred by an eligible small business included in line 3
                                                                                  4b             00
   c Add line 4a and line 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            4c                                                                             00
 5 General NOL. Subtract line 4c from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   5                                                    303,427 00
 6 Current year NOL. Add line 2, line 4c, and line 5. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~ j¥ 6                                                    303,427 00

Part II    NOL carryover and disaster loss carryover limitations. See instructions.
                                                                                                                            (g) Available balance
 1 Net income - Enter the amount from Form 100, line 18; Form 100W, line 18; Form 100S, line 15 less line 16;
   or Form 109, line 2; (but not less than -0-).                                         j
                                                                                                                       ¥                        0
Prior Year NOLs
      (a)               (b)            (c)                (d)                      (e)                     (f)                                                  (h)
                    Code - See
    Year of        instructions   Type of NOL -      Initial loss -             Carryover             Amount used                                      Carryover to 2023
     loss                          See below *     See instructions            from 2021                in 2022                                       col. (e) minus col. (f)
                                                             SEE STATEMENT 19
2j
 ¥                                                                j
                                                                  ¥                                                                                 j
                                                                                                                                                    ¥


    j
    ¥                                                                   j
                                                                        ¥                                                                           j
                                                                                                                                                    ¥


    j
    ¥                                                                   j
                                                                        ¥                                                                           j
                                                                                                                                                    ¥


    j
    ¥                                                                   j
                                                                        ¥                                                                           j
                                                                                                                                                    ¥
Current Year NOLs
                                                                                                                                                         col. (d) minus col. (f)
                                                                                                                                                          See instructions.

 3 2022                               DIS


 4 2022                              GEN               303,427                                                                                                 303,427

    2022


    2022


   2022
* Type of NOL: General (GEN), New Business (NB), Eligible Small Business (ESB), or Disaster (DIS).
Part III 2022 NOL deduction
 1 Total the amounts in Part II, line 2, column (f) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                j
                                                                                                                                      ¥ 1                                          00
 2 Enter the total amount from line 1 that represents disaster loss carryover deduction here and on Form 100, line 21;
   Form 100W, line 21; or Form 100S, line 19. Form 109 filers enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~                                       2                                          00
 3 Subtract line 2 from line 1. Enter the result here and on Form 100, line 19; Form 100W, line 19; Form 100S,
   line 17; or Form 109, line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            j
                                                                                                                                      ¥ 3                                          00




                   239271 12-22-22                          022               7521224                                                          FTB 3805Q 2022
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 TAXABLE YEAR
                         Corporation Depreciation                                                                                                                CALIFORNIA FORM
     2022                and Amortization                                                                                                                                 3885
Attach to Form 100 or Form 100W.
Corporation name                                                                                                                                         California corporation number

EATSTREET INC                                                                                                                                               8152871
Part I Election To Expense Certain Property Under IRC Section 179
 1 Maximum deduction under IRC Section 179 for California ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1                        $25,000
 2 Total cost of IRC Section 179 property placed in service ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              2
 3 Threshold cost of IRC Section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    3                      $200,000
 4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~~~~~~~                                              4
 5 Dollar limitation for taxable year. Subtract line 4 from line 1. If zero or less, enter -0-                                        5
                           (a) Description of property                            (b) Cost (business use only)              (c) Elected cost
 6


 7 Listed property (elected IRC Section 179 cost) ~~~~~~~~~~~~~~~~~~~~~~~~~~                            7
 8 Total elected cost of IRC Section 179 property. Add amounts in column (c), line 6 and line 7 ~~~~~~~~~~~~~~~~~~                                         8
 9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            9
10 Carryover of disallowed deduction from prior taxable years ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            10
11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~~~~~~~~~                                      11
12 IRC Section 179 expense deduction. Add line 9 and line 10, but do not enter more than line 11                                          12
13 Carryover of disallowed deduction to 2023. Add line 9 and line 10, less line 12                        13
Part II Depreciation and Election of Additional First Year Depreciation Deduction Under R&TC Section 24356
             (a)                    (b)                    (c)                       (d)                 (e)                          (f)                     (g)                    (h)
   Description of property     Date acquired             Cost or          Depreciation allowed or    Depreciation
                                                                                                                                    Life or              Depreciation             Additional
                               (mm/dd/yyyy)            other basis        allowable in earlier years   method                        rate                for this year             first year
                                                                                                                                                                                 depreciation

14




15 Add the amounts in column (g) and column (h). The total of column (h) may not exceed $2,000.
   See instructions for line 14, column (h) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               15
Part III Summary
16 Total: If the corporation is electing:
   IRC Section 179 expense, add the amount on line 12 and line 15, column (g) or
   Additional first year depreciation under R&TC Section 24356, add the amounts on line 15, columns (g) and (h) or
   Depreciation (if no election is made), enter the amount from line 15, column (g) ~~~~~~~~~~~~~~~~~~~~~~~                                               16                137,772
17 Total depreciation claimed for federal purposes from federal Form 4562, line 22 ~~~~~~~~~~~~~~~~~~~~~~~                                                17                141,471
18 Depreciation adjustment. If line 17 is greater than line 16, enter the difference here and on Form 100 or Form 100W, Side 1, line 6.
     If line 17 is less than line 16, enter the difference here and on Form 100 or Form 100W, Side 2, line 12. (If California depreciation
     amounts are used to determine net income before state adjustments on Form 100 or Form 100W, no adjustment is necessary.)                           18                   -3,699
Part IV Amortization
                    (a)                            (b)                      (c)                           (d)                      (e)                 (f)                    (g)
          Description of property             Date acquired               Cost or              Amortization allowed or            R&TC              Period or            Amortization
                                              (mm/dd/yyyy)              other basis            allowable in earlier years        Section           percentage            for this year
                                                                                                                              (see instructions)

19          1       R&D EXPENSES
                              07/01/22  2,699,574.                                                                   0. 174                        60M                      269,958
            2       R&D EXPENSES - OFFSHORE
                              07/01/22    288,907.                                                                   0. 174                        180M                          9,630




20 Total. Add the amounts in column (g) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         20                639,683
21 Total amortization claimed for federal purposes from federal Form 4562, line 44 ~~~~~~~~~~~~~~~~~~~~~~~                                                21                639,683
22 Amortization adjustment. If line 21 is greater than line 20, enter the difference here and on Form 100 or Form 100W,
   Side 1, line 6. If line 21 is less than line 20, enter the difference here and on Form 100 or Form 100W, Side 2, line 12                        22                               0

                    239281 12-22-22                            022                7621224                                                                 FTB 3885 2022
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   022                                                                                                                  DO NOT MAIL THIS FORM TO THE FTB
   Date Accepted

   TAXABLE YEAR                                                                                                                                                                  FORM
        2022                       California e-file Return Authorization for Corporations                                                                                 8453-C
   Corporation name                                                                                                                                California Corporation No.,
                                                                                                                                                   CA SOS file no., or FEIN
   EATSTREET, INC.                                                                                                                                 8152871
   Part I      Tax Return Information (whole dollars only)
    1    Total income (Form 100, line 9; Form 100S, line 8; Form 100W, line 9 or Form 100X, line 6)                    ~~~~~~~~~~~~                     1          -5,091,891
    2    Taxable income (Form 100, line 22; Form 100S, line 20; Form 100W, line 22 or Form 100X, line 10)                          ~~~~~~~~             2            -303,427
    3    Total tax (Form 100, line 30; Form 100S, line 30; Form 100W, line 30 or Form 100X, line 19) ~~~~~~~~~~~~                                       3                 800
    4    Tax due (Form 100, line 39; Form 100S, line 40; Form 100W, line 36 or Form 100X, line 21) ~~~~~~~~~~~~                                         4
    5    Overpayment (Form 100, line 40; Form 100S, line 41; Form 100W, line 37 or Form 100X, line 28)                            ~~~~~~~~~             5                           800
   Part II     Settle the Account Electronically for Taxable Year 2022
    6          Direct deposit of refund (For Forms 100, 100S, and 100W only.)

    7                                7a Amount
               Electronic funds withdrawal                           7b Withdrawal date (mm/dd/yyyy)
   Part III    Schedule of Estimated Tax Payments for Taxable Year 2023 (These are NOT installment payments for the current amount the corporation owes.)
                                                 First Payment                     Second Payment                    Third Payment                             Fourth Payment
    8 Amount
    9 Withdrawal Date
   Part IV Banking Information (Have you verified the corporation's banking information?)
   10 Routing number
   11 Account number                                                                                 12 Type of account:                Checking               Savings
   Part V      Declaration of Officer
   I authorize the corporate account to be settled as designated in Part II. If I check Part II, box 6, I declare that the bank account specified in Part IV for the direct deposit
   refund agrees with the authorization stated on my return. If I check Part II, box 7, I authorize an electronic funds withdrawal for the amount listed on line 7a and any
   estimated payment amounts listed on Part III, line 8 from the bank account specified in Part IV.
   Under penalties of perjury, I declare that I am an officer of the above corporation and that the information I provided to my electronic return originator (ERO), transmitter,
   or intermediate service provider and the amounts in Part I above agree with the amounts on the corresponding lines of the corporation's 2022 California income tax return.
   To the best of my knowledge and belief, the corporation's return is true, correct, and complete. If the corporation is filing a balance due return, I understand that if the
   Franchise Tax Board (FTB) does not receive full and timely payment of the corporation's tax liability, the corporation will remain liable for the tax liability and all applicable
   interest and penalties. I authorize the corporation return and accompanying schedules and statements be transmitted to the FTB by the ERO, transmitter, or intermediate
   service provider. If the processing of the corporation's return or refund is delayed, I authorize the FTB to disclose to the ERO or intermediate service provider the
   reason(s) for the delay or the date when the refund was sent.



                  =                                                                         =
   Sign                                                                                              CEO
   Here                   Signature of officer                                  Date             Title



   Part VI     Declaration of Electronic Return Originator (ERO) and Paid Preparer.
   I declare that I have reviewed the above corporation's return and that the entries on form FTB 8453-C are complete and correct to the best of my knowledge. (If I am
   only an intermediate service provider, I understand that I am not responsible for reviewing the corporation's return. I declare, however, that form FTB 8453-C accurately
   reflects the data on the return.) I have obtained the corporate officer's signature on form FTB 8453-C before transmitting this return to the FTB; I have provided the
   corporate officer with a copy of all forms and information that I will file with the FTB, and I have followed all other requirements described in FTB Pub. 1345, 2022
   Handbook for Authorized e-file Providers. I will keep form FTB 8453-C on file for four years from the due date of the return or four years from the date the corporation
   return is filed, whichever is later, and I will make a copy available to the FTB upon request. If I am also the paid preparer, under penalties of perjury, I declare that I have
   examined the above corporation's return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true, correct, and complete.
   I make this declaration based on all information of which I have knowledge.



                          = DANIEL T. O'CONNOR, CP
              ERO's                                                                                 Date              Check if             Check               ERO's PTIN
              signature                                                                                               also paid            if self-
   ERO                                                                                           11/09/23 preparer                  X      employed                *********

                               = PO BOX 7398
   Must                          BAKER TILLY US, LLP
              Firm's name (or yours                                                                                                                 Firm's FEIN   XX-XXXXXXX
              if self-employed)
   Sign       and address                                                                                                                           ZIP code
                                              MADISON, WI                                                                                                         53707-7398
   Under penalties of perjury, I declare that I have examined the above corporation's return and accompanying schedules and statements, and to the best of my knowledge
   and belief, they are true, correct, and complete. I make this declaration based on all information of which I have knowledge.


                                   =
   Paid               Paid
                      preparer's
                                                                                                            Date                   Check
                                                                                                                                   if self-
                                                                                                                                                         Paid preparer's PTIN

   Preparer           signature          DANIEL T. O'CONNOR, CPA                                                                   employed



                                                 =
   Must               Firm's name (or yours
                      if self-employed)
                                                                                                                                                    Firm's FEIN

   Sign               and address                                                                                                                   ZIP code




                                                                                                                                                                      FTB 8453-C 2022
   239101 12-01-22
                                                                                           16
13111109 144198 89475                                                                   2022.05000 EATSTREET, INC.                                                               89475__1
        Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44    Desc Main
  EATSTREET, INC.                     Document     Page 89 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W                 OTHER ADDITIONS                    STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  DISALLOWED AMOUNT OF IRS 100% BUSINESS MEALS EXPENSE                                    3,708.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, OTHER ADDITIONS                                                 3,708.
                                                                                  ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W                 OTHER DEDUCTIONS                   STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  SECTION 174 R&D EXPENSES                                                            2,708,894.
  BASIS DIFFERENCE ON DISPOSED ASSETS                                                    68,154.
  DISALLOWED BUSINESS INTEREST EXPENSE FROM FED FORM 8990                             2,819,995.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, OTHER DEDUCTIONS                                            5,597,043.
                                                                                  ~~~~~~~~~~~~~~




                                                 17                      STATEMENT(S) 1, 2
13111109 144198 89475                         2022.05000 EATSTREET, INC.            89475__1
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  EATSTREET, INC.                     Document     Page 90 of 326                    **-***5093
  }}}}}}}}}}}}}}}                                                                    }}}}}}}}}}

  FORM 100/100W                             CONTRIBUTIONS                          STATEMENT 3


  NET INCOME AFTER STATE ADJUSTMENTS                            -10,688,934
  DEDUCTION FOR DIVIDENDS RECEIVED                                        0

  NET INCOME ADJUSTED FOR CONTRIBUTION PURPOSES                                     -10,688,934


  CARRYOVER OF PRIOR YEARS UNUSED CONTRIBUTIONS:
    5TH PRECEDING TAX YEAR                                                 0
    4TH PRECEDING TAX YEAR                                                 0
    3RD PRECEDING TAX YEAR                                                 0
    2ND PRECEDING TAX YEAR                                                 0
    1ST PRECEDING TAX YEAR                                            10,092

  TOTAL OF UNUSED CARRYOVER CONTRIBUTIONS                                                10,092
  CURRENT YEAR CONTRIBUTIONS                                                                  0
  COLLEGE ACCESS ADDBACK                                                                      0

  TOTAL AVAILABLE CONTRIBUTIONS LESS COLLEGE ACCESS ADDBACK                              10,092
  10% OF NET INCOME AS ADJUSTED                                                               0

  EXCESS CONTRIBUTIONS                                                                   10,092


  ALLOWABLE CONTRIBUTIONS DEDUCTION                                                           0




                                                 18                               STATEMENT(S) 3
13111109 144198 89475                         2022.05000 EATSTREET, INC.                  89475__1
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  EATSTREET, INC.                     Document     Page 91 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE A        TAXES DEDUCTED                  STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                     (C) TOTAL      (D) NONDED
  (A) NATURE OF TAX AND (B) TAXING AUTHORITY             TAXES          AMOUNT
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}
  PAYROLL TAXES                                         2,199,826.
  TAXES AND LICENSES EXPENS                                32,105.
  OTHER                    ARIZONA                              50.
  OTHER                    CALIFORNIA                          800.
  BASED ON INCOME          COLORADO                            701.          701.
  BASED ON INCOME          CONNECTICUT                      1,500.         1,500.
  OTHER                    DELAWARE                         5,394.
  BASED ON INCOME          IOWA                            19,000.        19,000.
  OTHER                    KENTUCKY                            300.
  BASED ON INCOME          MASSACHUSETTS                    4,000.         4,000.
  OTHER                    NEW JERSEY                       1,000.
  OTHER                    NEW YORK                         1,500.
  OTHER                    NORTH CAROLINA                      200.
  OTHER                    OHIO                                150.
  BASED ON INCOME          PENNSYLVANIA                     6,500.         6,500.
  OTHER                    TEXAS                            4,000.
  BASED ON INCOME          VIRGINIA                            800.          800.
                                                    }}}}}}}}}}}}}}}}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE A                    2,277,826.        32,501.
                                                    ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE F   COMPENSATION OF OFFICERS             STATEMENT 5
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                               (B) SOCIAL   (C) PCT    PCT OF STK    (F) AMOUNT
  (A) NAME OF OFFICER           SECURITY    OF TIME                      OF
                                 NUMBER     DEVOTED (D) COM (E) PFD COMPENSATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
  MATT HOWARD                   ***-**-6337   100%    4.03%    .00%     369,273.
  STEVE ANASTASI                ***-**-9640   100%     .54%    .00%     317,865.
  MICHELLE DAMA                 ***-**-2689   100%     .00%    .00%     208,405.

                                                                                    }}}}}}}}}}}}
  TOTAL COMPENSATION OF OFFICERS                                                        895,543.
  LESS: COMPENSATION OF OFFICERS CLAIMED ELSEWHERE ON RETURN
                                                                                    }}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE F                                                    895,543.
                                                                                    ~~~~~~~~~~~~


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  FORM 100/100W, SCHEDULE F       INTEREST INCOME                  STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  INTEREST INCOME                                                                        15,864.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE F                                                     15,864.
                                                                                  ~~~~~~~~~~~~~~




                                                 19                  STATEMENT(S) 4, 5, 6
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
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  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE F         OTHER INCOME                   STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  OTHER INCOME                                                                          753,000.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE F                                                    753,000.
                                                                                  ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE F       OTHER DEDUCTIONS                 STATEMENT 8
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  AMORTIZATION                                                                          639,683.
  BANK CHARGES                                                                          744,663.
  COMPUTER EXPENSE                                                                    2,594,502.
  CONSULTING EXPENSE                                                                    764,395.
  CREDIT CARD PROCESSING                                                              2,468,550.
  CUSTOMER EXPENSE                                                                       99,838.
  DEFERRED COMPENSATION EXPENSE                                                         562,357.
  DRIVER EXPENSES                                                                        26,380.
  ENTERTAINMENT EXPENSES                                                                       0.
  HIRING COSTS                                                                          446,303.
  INSURANCE                                                                           1,377,179.
  LEGAL AND ACCOUNTING                                                                  606,054.
  MEALS NOT SUBJECT TO LIMITATION                                                         7,416.
  MISCELLANEOUS EXPENSE                                                                 792,528.
  OFFICE PARKING EXPENSE                                                                     488.
  OFFICE SUPPLIES                                                                       236,793.
  PARTNERSHIP FEES                                                                      130,422.
  PAYROLL SERVICE FEES                                                                  332,001.
  PROFESSIONAL FEES                                                                     618,338.
  UTILITIES AND TELEPHONE                                                               186,309.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE F                                                 12,634,199.
                                                                                  ~~~~~~~~~~~~~~




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  FORM 100/100W, SCHEDULE L     OTHER CURRENT ASSETS               STATEMENT 9
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                              BEGINNING OF    END OF TAX
  DESCRIPTION                                                   TAX YEAR         YEAR
  }}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  DEPOSITS                                                          10,000.        10,000.
  DOMAIN NAMES                                                      11,520.         9,000.
  EATSTREET BAGS                                                     8,081.              0.
  PREPAID EXPENSES                                               1,306,817.       696,548.
                                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE L                             1,336,418.       715,548.
                                                             ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


                                                 20                  STATEMENT(S) 7, 8, 9
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
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  EATSTREET, INC.                     Document     Page 93 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE L         OTHER ASSETS                   STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                              BEGINNING OF    END OF TAX
  DESCRIPTION                                                   TAX YEAR         YEAR
  }}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  SECURITY DEPOSITS                                                 65,679.              0.
                                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE L                                65,679.              0.
                                                             ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE L OTHER CURRENT LIABILITIES              STATEMENT 11
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                              BEGINNING OF    END OF TAX
  DESCRIPTION                                                   TAX YEAR         YEAR
  }}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED LIABILITIES                                            1,693,392.     2,914,518.
  ACCRUED VACATION PAY                                                   0.       234,411.
  DEFERRED COMPENSATION AGREEMENT                                        0.       577,357.
  DEFERRED FICA PAYROLL TAXES                                    1,630,829.     1,630,829.
  DEFERRED RENT - CURRENT                                          234,229.              0.
  INTEREST PAYABLE                                                  29,063.     2,416,009.
  PAYROLL LIABILITIES                                              806,655.       372,241.
                                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE L                             4,394,168.     8,145,365.
                                                             ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




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  FORM 100/100W, SCHEDULE L      OTHER LIABILITIES                 STATEMENT 12
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                              BEGINNING OF    END OF TAX
  DESCRIPTION                                                   TAX YEAR         YEAR
  }}}}}}}}}}}                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  DEFERRED RENT - LONG TERM                                         79,806.              0.
  OTHER LIABILITIES                                                 43,709.        43,709.
  RELATED PARTY PAYABLES                                            13,992.              0.
                                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE L                               137,507.        43,709.
                                                             ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                 21               STATEMENT(S) 10, 11, 12
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
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  EATSTREET, INC.                     Document     Page 94 of 326     **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L              APPROPRIATED RETAINED EARNINGS           STATEMENT 13
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                               BEGINNING OF    END OF TAX
  DESCRIPTION                                                    TAX YEAR         YEAR
  }}}}}}}}}}}                                                 }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TREASURY STOCK                                                          0.        99,959.
                                                              }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L                                                     0.        99,959.
                                                              ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE M-1 EXPENSES RECORDED ON BOOKS           STATEMENT 14
                                 NOT DEDUCTED ON RETURN
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  INTEREST EXPENSE                                                                    2,819,995.
  OTHER AMORTIZATION OR IMPAIRMENT WRITE-OFFS                                           315,262.
  RENTS                                                                                 144,127.
  SALARIES AND WAGES                                                                  4,879,230.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE M-1                                                8,158,614.
                                                                                  ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 100/100W, SCHEDULE M-1   INCOME RECORDED ON BOOKS           STATEMENT 15
                                 NOT INCLUDED ON RETURN
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                         AMOUNT
  }}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
  GAIN (LOSS) ON SALE OF ASSETS NOT ON RETURN                                           319,125.
                                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM 100/100W, SCHEDULE M-1                                                  319,125.
                                                                                  ~~~~~~~~~~~~~~




                                                 22               STATEMENT(S) 13, 14, 15
13111109 144198 89475                         2022.05000 EATSTREET, INC.           89475__1
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  }}}}}}}}}}}}}}}                                                                     }}}}}}}}}}

  CA SCHEDULE D-1             SECTION 1231 LOSSES FROM PRIOR YEARS                  STATEMENT 16


                                                                 LOSS
                                                              PREVIOUSLY             LOSS
                                       LOSS SUSTAINED         RECAPTURED           REMAINING

      5TH   PRECEDING   TAX   YEAR
      4TH   PRECEDING   TAX   YEAR                  398                                       398
      3RD   PRECEDING   TAX   YEAR                  463                                       463
      2ND   PRECEDING   TAX   YEAR
      1ST   PRECEDING   TAX   YEAR

   TOTAL REMAINING SECTION 1231 LOSSES FROM PRIOR YEARS                                       861




                                                 23                               STATEMENT(S) 16
13111109 144198 89475                         2022.05000 EATSTREET, INC.                   89475__1
          Case 3-24-12061-cjf   Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
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  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  CA SCHEDULE D-1   PART I - SALES OR EXCHANGES OF PROPERTY USED   STATEMENT 17
               IN A TRADE OR BUSINESS AND INVOLUNTARY CONVERSIONS
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  (A)             (B)DATE       (C)DATE       (D)SALES     (E)DEPRE-      (F)COST       (G) GAIN
  DESCRIPTION        ACQ           SOLD          PRICE       CIATION         OR             OR
                                                             ALLOWED         BASIS          LOSS
  }}}}}}}}}}} }}}}}}}}          }}}}}}}}     }}}}}}}}}}    }}}}}}}}}}     }}}}}}}}}}    }}}}}}}}}
  DISPOSED ASSETS
               12/31/12         12/31/22       207,667.    1,010,466.     2,460,414.      -1,242,281.
                                             }}}}}}}}}}    }}}}}}}}}}     }}}}}}}}}}    }}}}}}}}}
  TOTAL                                        207,667.    1,010,466.     2,460,414.      -1,242,281.
                                             ~~~~~~~~~~    ~~~~~~~~~~     ~~~~~~~~~~    ~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  CA SCHEDULE D-1    PART II - OTHER ORDINARY GAIN AND LOSS        STATEMENT 18
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  (A)             (B)DATE       (C)DATE       (D)SALES     (E)DEPRE-      (F)COST       (G) GAIN
  DESCRIPTION        ACQ           SOLD          PRICE       CIATION         OR             OR
                                                             ALLOWED         BASIS          LOSS
  }}}}}}}}}}} }}}}}}}}          }}}}}}}}     }}}}}}}}}}    }}}}}}}}}}     }}}}}}}}}}    }}}}}}}}}
  DISPOSED ASSETS
               11/03/21         10/31/22             0.        2,734.         7,594.      -4,860.
                                             }}}}}}}}}}    }}}}}}}}}}     }}}}}}}}}}    }}}}}}}}}
  TOTAL                                              0.        2,734.         7,594.      -4,860.
                                             ~~~~~~~~~~    ~~~~~~~~~~     ~~~~~~~~~~    ~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 3805Q                  PRIOR YEAR NOLS                      STATEMENT 19
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  (A)   (B) CODE    (C)TYPE OF NOL (F) AMOUNT USED (G)AVAILABLE (H) CARRYOVER
  YEAR (D) LOSS     (E)C/O AMOUNT IN CURRENT YEAR     BALANCE     TO NEXT YEAR
  }}}} }}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}} }}}}}}}}}}}}}
  2016                  GEN
           587,079.       327,296.             0.             0.       327,296.
  2017                  GEN
           632,928.       632,928.             0.             0.       632,928.
  2018                  GEN
           336,061.       336,061.             0.             0.       336,061.
  2019                  GEN
           279,078.       279,078.             0.             0.       279,078.
  2021                  GEN
           343,885.       343,885.             0.             0.       343,885.
                    }}}}}}}}}}}}}} }}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  TOTALS                1,919,248.             0.                    1,919,248.
                    ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~                ~~~~~~~~~~~~~~




                                                   24               STATEMENT(S) 17, 18, 19
13111109 144198 89475                           2022.05000 EATSTREET, INC.           89475__1
Case 3-24-12061-cjf           Doc 1      Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
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                           TAX RETURN FILING INSTRUCTIONS
                                               COLORADO FORM 112

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $                  0
                Less: payments and credits           $                  0
                Plus: other amount                   $                  0
                Plus: interest and penalties         $                  0
                No payment required                  $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Colorado Department of Revenue
               Denver, CO 80261-0005



Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
           Case 3-24-12061-cjf                        Doc 1    Filed 10/11/24 Entered 10/11/24 11:59:44                              Desc Main
                                                              Document     Page 98 of 326
                                                                   DR 0112 (11/28/22)
                                                                   COLORADO DEPARTMENT OF REVENUE
                                                                   Tax.Colorado.gov
                                                                   Page 1 of 4



                                   2022 Colorado C Corporation Income Tax Return
                                  Do not submit federal return, forms or schedules when filing this return.                                             (0023)
Fiscal Year Beginning (MM/DD/22)                                                 Year Ending (MM/DD/YY)



 Name of Corporation                                                                                              ¥ Colorado Account Number

 EATSTREET, INC.
Address                                                                                                           ¥ Federal Employer ID Number

 1574 W BROADWAY ST STE 200 #PMB1005                                                                                   **-***5093
City                                                                                                                            State   ZIP

 MADISON                                                                                                                        WI       53713

                                                                   If you are submitting a statement disclosing a listed or reported
   ¥             Mark for Final Return                    ¥
                                                                   transaction, mark this box

¥ A. Apportionment of Income. This return is being filed for:

                                                                                                          A corporation electing to pay a tax on its gross
                (42)     A corporation not apportioning income;                                  (45)
                                                                                                          Colorado sales;

                         A corporation engaged in interstate business                                     A corporation claiming an exemption under
       X        (43)     apportioning income using receipts-factor                               (46)     P.L. 86-272;
                         apportionment (DR 0112RF required);
                                                                                                          Other apportionment method, see instructions
                                                                                                          concerning the requirement for approval by the
                         A corporation engaged in interstate business
                (44)                                                                             (47)     Department (fill in below);
                         apportioning income using special regulation
                         (DR 0112RF required);

¥ B. Separate/Consolidated/Combined Filing. This return is being filed for:
                                                                                                An affiliated group of corporat ions required to file a
       X        A single corporation filing a separate return;                                  combined return (Schedule C required);


                An affiliated group of corporations electing to file a consolidated             An affiliated group of corporat ions required to file
                report. Warning: such election is binding for four years. If your               a combined return that includ es another affiliated,
                election was made in a prior year, enter the year of election in                consolidated group (Schedule C required);
                line below. (Schedule C required);

            ¥     Enter the year of election (YYYY)



                                            Federal Taxable Income                                                              Round to nearest dollar


1. Federal taxable income from Federal form 1120 or 990-T                                                          ¥    1            -5,131,799 00

2. Federal taxable income of companies not included in this return                                                 ¥    2                                 0 00

3. Net federal taxable income, subtract line 2 from line              1                                                 3            -5,131,799 00
                                                          Additions

4. Federal net operating loss deduction                                                                            ¥    4                                    00

5. Colorado income tax deduction                                                                                   ¥    5                          701 00




                240201 11-30-22
        Case 3-24-12061-cjf              Doc 1     Filed 10/11/24 Entered 10/11/24 11:59:44                Desc Main
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                                                           DR 0112 (11/28/22)                        Form 112
                                                           COLORADO DEPARTMENT OF REVENUE
                                                           Tax.Colorado.gov
                                                           Page 2 of 4
Name                                                                                                   Account Number


EATSTREET, INC.

6.   Other additions, submit explanation                                 STATEMENT 1        ¥    6                 3,708 00

7.   Sum of lines 3 through 6                                                                    7         -5,127,390 00
                                                               Subtractions

8.   Exempt federal interest                                                                ¥    8                        00

9.   Excludable foreign source income                                                       ¥    9                        00

10. Colorado Marijuana Business Deduction                                                   ¥ 10                          00

11. Other subtractions, explanation required below                                          ¥ 11                          00
Explain:



12. Sum of lines 8 through 11                                                                   12                        00
                                                               Taxable Income

13. Modified federal taxable income, subtract line 12 from line 7                               13         -5,127,390 00

14. Colorado taxable income before net operating loss deduction                             ¥ 14                -27,626 00

15. Colorado net operating loss deduction: (see instructions)
 (a) Colorado net operating losses carried forward
     from tax years beginning before January 1, 2018              ¥ 15(a)                       00

 (b) Subtract line 15(a) from line 14, if zero skip to 15(d)        15(b)                       00
 (c) Colorado net operating losses carried forward from
     tax years beginning on or after January 1, 2018              ¥ 15(c)                       00

 (d) Colorado net operating loss deduction, sum of (a) and (c)                              15(d)                         00
16. Carryforward deduction from Income Tax Year 2021, subtractions from HB21-
     1002 (see instructions)                                                                ¥ 16                          00

17. Colorado taxable income, subtract the sum of lines 15(d) and 16 from line 14                17              -27,626 00

18   Tax, 4.4% of the amount on line 17                                                     ¥ 18                        0 00
                                                                   Credits
19. Sum of nonrefundable credits from line 27, form DR 0112CR (the sum of lines 19, 20,
    and 21 cannot exceed tax on line 18.) You must submit the DR 0112CR with your return.   ¥ 19                          00
20. Non-refundable Enterprise Zone credits used - as calculated, or from the
    DR 1366 line 85 (the sum of lines 19, 20, and 21 cannot exceed tax on line 18).
    You must submit the DR 1366 with your return.                                           ¥ 20                          00
21. Strategic capital tax credit from DR 1330 line 8b, the sum of lines 19, 20, and 21
    cannot exceed line 18, you must submit the DR 1330 with your return.                    ¥ 21                          00

22. Net tax, sum of lines 19, 20, and 21. Subtract that sum from line 18.                       22                      0 00

23. Recapture of prior year credits                                                         ¥ 23                          00



         240202 12-06-22
         Case 3-24-12061-cjf                            Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                                 Desc Main
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                                                                                 DR 0112 (11/28/22)                                                      Form 112
                                                                                 COLORADO DEPARTMENT OF REVENUE
                                                                                 Tax.Colorado.gov
                                                                                 Page 3 of 4
Name                                                                                                                                                            Account Number


EATSTREET, INC.

24. Sum of lines 22 and 23                                                                                                                          24                                         0 00

25. Estimated tax, extension payments, and credits                                                                                             ¥    25                                             00
    W-2G Withholding from lottery winnings, you must submit the W-2G(s)
26. with your return.                                                                                                                          ¥    26                                             00
27. Gross Conservation Easement Credit from the DR 1305G line 33, you must
    submit the DR 1305G with your return.                                                                                                      ¥    27                                             00
28. Innovative Motor Vehicle and Innovative Truck Credit from form DR 0617,
    you must submit the DR 0617(s) with your return.                                                                                           ¥    28                                             00
29. Business Personal Property Credit: Use the worksheet in the 112 book instructions
    to calculate, you must submit copy of assessor's statement with your return.                                                               ¥    29                                             00
30. Renewable Energy Tax Credit from form DR 1366 line 86, you must submit
    the DR 1366 with your return.                                                                                                              ¥    30                                             00

31. Electing Pass-Through Entity Owner Tax Credit (see instructions).                                                                          ¥    31                                             00
32. Credit for conversion costs to an employee-owned business model. You must
    submit the certificate from the Office of Economic Development with your return.                                                           ¥    32                                             00

33. Sum of lines 25 through 32                                                                                                                      33                                             00

34. Net tax due. Subtract line 33 from line 24                                                                                                      34                                             00

35. Penalty                                                                                                                                    ¥    35                                             00

36. Interest                                                                                                                                   ¥    36                                             00

37. Estimated tax penalty due                                                                                                                  ¥    37                                             00

38. Total due. Enter the sum of lines 34 through 37                                                                                            ¥    38                                       0.00

39. Overpayment, subtract line 24 from line 33                                                                                                      39                                             00

40. Amount from line 39 to carry forward to the next year's estimated tax                                                                      ¥    40                                             00

41. Amount from line 39 to be refunded                                                                                                         ¥    41                                             00

               Direct                        Routing Number                                                                    Type:             Checking                    Savings

               Deposit                       Account Number


    The State may convert your check to a one-time electronic banking transaction. Your bank account may be debited as early as the same day received by the State. If converted, your check
     will not be returned. If your check is rejected due to insufficient or uncollected funds, the Department of Revenue may collect the payment directly from your bank account electronically.


                         File and pay at: Colorado.gov/RevenueOnline or
                         Mail and Make Checks Payable to:           Colorado Department of Revenue
                                                                    Denver, CO 80261-0006




               240203 11-30-22
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                                                             DR 0112 (11/28/22)                                   Form 112
                                                             COLORADO DEPARTMENT OF REVENUE
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Name                                                                                                     Account Number


    EATSTREET, INC.
C. The corporation's books are in care of:
Last Name                                                   First Name                                  Middle Initial   Phone Number


    ANASTASI                                                 STEVE
Address                                                                                   City                           State    ZIP


    1574 W BROADWAY ST STE 200                                                            MADISON                        WI       53713
D. Business code number per federal return (NAICS)                          E. Year corporation began doing business in Colorado

¥    722300                                                                 ¥


F. Do you want to allow the paid preparer shown below to discuss this return and any related                                  X
                                                                                                                          ¥         Yes             No
     information with the Colorado Department of Revenue? See the instructions.

G. Kind of business in detail
    INTERNET SALES




H. Has the Internal Revenue Service made any adjustments in the corporation's income or tax
                                                                                                                          ¥         Yes             No
     or have you filed amended federal income tax returns at any time during the last four years?

If yes, for which year(s)? (YYYY)


Did you file amended Colorado returns to reflect such changes or submit copies of the
                                                                                                                          ¥         Yes             No
Federal Agent's reports?
Last Name of person or firm preparing return                          First Name                                                        Middle Initial


    O'CONNOR CPA                                                         DANIEL                                                            T
Address of person or firm preparing return                                                                               Phone Number


    PO BOX 7398                                                                                                          608.249.6622
City                                                                                                                     State    ZIP


    MADISON                                                                                                              WI       53707-
Under penalties of perjury in the second degree, I declare that I have examined this return and to the best of my knowledge is true,
correct and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
 Signature or Title of Officer                                                                                    Date (MM/DD/YY)


    CEO
                           Do Not Submit Federal Return, Forms or Schedules when Filing this Return



     If you are filing this return with a check or payment,                     If you are filing this return without a check or payment
     please mail the return to:                                                 please mail the return to:

     COLORADO DEPARTMENT OF REVENUE                                             COLORADO DEPARTMENT OF REVENUE
     Denver, CO 80261-000 6                                                     Denver, CO 80261-000 5

    These addresses and zip codes are exclusive to the Colorado Department of Revenue, so a street address is not required.



              240204 11-30-22
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                                                                       DR 0112RF (10/24/22)
                                                                       COLORADO DEPARTMENT OF REVENUE
                                                                       Tax.Colorado.gov
                                                                       Page 1 of 2



                                                           2022 Schedule RF -
                                                         Apportionment Schedule
             Complete this form in accordance with section 39-22-303.6 C.R.S., and the regulations thereunder.

Name                                                                                                                       Account Number

 EATSTREET, INC.                                                                                                           **-***5093

1.   Total modified federal taxable income from the DR 0112 line 13                                                   1          -5,127,390
Apportionable Income Apportioned to Colorado By Use of the Receipts Factor
Do not include foreign source income modified out on the DR 0112 line 9.
                                                                        ¥ Colorado                     ¥ Everywhere
2.   Gross receipts from the sale of tangible
     personal property                                 ¥ 2
3.   Gross receipts from the sale
     of services                                       ¥ 3                     155,687                      28,893,995
4.   Gross receipts from the sale, rental,
     lease, or license of real property                ¥ 4
5.   Gross receipts from the rental,
     lease, or license of tangible
     personal property                                 ¥ 5
6.   Gross receipts from the sale, rental, lease,
     or license of intangible property                 ¥ 6
7.   Distributive share of
     partnership factors                               ¥ 7
8.   Total receipts (total of lines 2
     through 7 in each column)                            8                    155,687                      28,893,995

9. Line 8 (Colorado) divided by line 8 (Everywhere)            9                .5388
Complete Lines 10 and 13 only if nonapportionable income is being directly allocated. If all income is being
treated as apportionable income, enter 0 (Zero) on Lines 10 and 13.

10. Less income directly allocable to any state, including Colorado
                                     (a) Net rents and royalties from
                                             real or tangible property                      ¥


                                          (b) Capital gains and losses                      ¥
      Nonapportionable
               Income                     (c) Interest and dividends                        ¥
                  Only
                                          (d) Patents and copyright royalties               ¥


                                          (e) Other nonapportionable income                 ¥


                                          (f) Total income directly allocable (add lines (a) through (e))             10                    0

11. Modified federal taxable income subject to apportionment, line 1 less line 10                                     11         -5,127,390

12. Income apportioned to Colorado, line 9 multiplied by line 11                                                      12              -27,626
                                 Do not submit federal return, forms or schedules when filing this return.




               240221 11-04-22
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                                                                 DR 0112RF (10/24/22)
                                                                 COLORADO DEPARTMENT OF REVENUE
                                                                 Tax.Colorado.gov
                                                                 Page 2 of 2
Name                                                                                                                      Account Number

 EATSTREET, INC.                                                                                                          **-***5093

13. Add income directly allocable to Colorado:
                           (a) Net rents and royalties from
                                 real or tangible property                ¥


                           (b) Capital gains and losses                   ¥
Nonapportionable
         Income            (c) Interest and dividends                     ¥
            Only
                           (d) Patents and copyright royalties            ¥


                           (e) Other nonapportionable income              ¥


                           (f)   Total income directly allocable to Colorado (add lines (a) through (e))          13                       0
14. Total income apportioned and allocated to Colorado, sum of lines 12 and 13(f). Enter here and
    on the DR 0112 line 14                                                                                        14                 -27,626

15.         Pursuant to ¤39-22-303.6(8) C.R.S., taxpayer elects to treat all income as apportionable income for the tax
            year covered by this return




             240222 11-04-22
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  EATSTREET, INC.                    Document    Page 104 of 326      **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  CO 112                       OTHER ADDITIONS                     STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                        AMOUNT
  }}}}}}}}}}}                                                                    }}}}}}}}}}}}}}
  FOOD AND BEVERAGE EXPENSE DEDUCTION ADDBACK                                            3,708.
                                                                                 }}}}}}}}}}}}}}
  TOTAL                                                                                  3,708.
                                                                                 ~~~~~~~~~~~~~~




                                                 7                                STATEMENT(S) 1
13111109 144198 89475                         2022.05000 EATSTREET, INC.                  89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                         CONNECTICUT FORM CT-1120

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              Not applicable

Amount of Tax:

                Total tax                           $                       250
                Less: payments and credits          $                       646
                Plus: other amount                  $                         0
                Plus: interest and penalties        $                         0
                Overpayment                         $                       396

Overpayment:

                Credit to your estimated tax        $                       396
                Other amount                        $                         0
                Refunded to you                     $                         0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               The Connecticut return has been prepared for electronic filing. No further action is
               required.

Return Must be Mailed On or Before:
              Return to us by November 15, 2023.

Special Instructions:
                                          Case 3-24-12061-cjf                      Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                Desc Main
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                                                     1120EXT1222V011019
                                                                                                                        Form CT-1120 EXT
                                                                                                                        Application for Extension of Time to File
                                                                                                                                                                          2022

                                                          FOR YOUR RECORDS
                                                                                                                        Connecticut Corporation Business Tax Return
                                                                                                                        (Rev. 12/22)




                                          EATSTREET INC      DO NOT FILE
                                          Enter Income Year, Beginning: |                                  and Ending: |


                                                                                                                                                           |   189900295039

                                          44 E MIFFLIN ST STE 400                                                                                          |   *****5093

                                          MADISON                                            WI         53703 -

                                          I request a six-month extension of time to November 15, 2023, to file my Connecticut corporation business tax return for calendar year 2022,
                                                  or until                           (MMDDYYYY) for fiscal year ending                                     (MMDDYYYY).



                                          Y        A federal extension has been requested on federal Form 7004, Application for Automatic Extension of Time to File
                                                   Certain Business Income Tax, Information, and Other Returns, for calendar year 2022 or fiscal year beginning
                                                                             (MMDDYYYY) and ending                                     (MMDDYYYY). If a federal extension has not been
                                                   filed, explain why you are requesting the Connecticut extension:




                                          Filing Form CT-1120CU


                                           1. Tentative amount of tax due for this income year; minimum tax $250.                                                   1.                       250
                                           2. Surtax: See instructions.                                                                                             2.                         0
                                           3. Total tax: Add Line 1 and Line 2. Include tax credit recapture, if applicable.                                        3.                       250
                                           4. Multiply Line 3 by 49.99% (0.4999).                                                                                   4.                       125
                                           5. Multiply the number of taxable members included by $250.                                                              5.                       250
                                           6. Enter the greater of Line 4 or Line 5.                                                                                6.                       250
                                           7. Tax credit limitation: Subtract Line 6 from Line 3.                                                                   7.                         0
                                                                                                                                                                                               0


                                                          FOR YOUR RECORDS
                                           8. Tax credits: Do not exceed amount on Line 7.                                                                          8.
                                           9. Balance of tax payable: Subtract Line 8 from Line 3.                                                                  9.                       250
                                          10. PE Credit.                                                                                                          10.                          0
                                          11. Balance of tax payable: Subtract Line 10 from Line 9, but not less than zero ("0").                                 11.                        250
                                                                                                                                                                                               0


                                                             DO NOT FILE
                                          12. Payment(s) of estimated tax.                                                                                        12.
                                          13. Overpayment from prior year.                                                                                        13.                        646
                                          14. Total payments: Add Line 12 and Line 13.                                                                            14.                        646
                                          15. Amount due with this return: Subtract Line 14 from Line 11.                                                      |15.                            0 .00

                                          STEVE ANASTASI
                                          Corporate officer's name (print)              Corporate officer's signature                                                     Date
   241831
   12-06-22
                                          CEO
          Keep a copy for your records.




                                          Title                                                                                         Telephone number
                                                                                                                                        6125987469             May DRS contact the preparer
                                                                                                                                                               shown below about this return?      Y
   Sign Here




                                          DANIEL T. O'CONNOR,
                                          Paid preparer's name (print)                  Paid preparer's signature                       Date                              Preparer's SSN or PTIN
                                          BAKER TILLY US LLP                                                                            04172023                          P00543528
                                          MADISON WI 53707 7398
                                          Firm's name, address, and ZIP code                                                            Firm's FEIN                       Telephone number
                                                                                                                                        *****9910                         6082496622

                                                                                                   1120EXT1222V011019

                                                                                          Visit us at portal.ct.gov/DRS for more information.
13111109 144198 89475                                                                                            2022.05000 EATSTREET, INC.                                                            89475__1
              Case 3-24-12061-cjf        Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                         Desc Main
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       Form CT-1120 EXT Required Fields
                                      Do not send this sheet with your application.


                       FOR YOUR RECORDS
                                     Form CT-1120 EXT is required to be electronically filed.

           Only taxpayers that receive a waiver from electronic filing from DRS may file a paper version of this form.



                          DO NOT FILE
         To request a waiver from the electronic filing requirement taxpayers must visit www.ct.gov/drs/TSCfiling and
                            complete Form DRS-EWVR, Electronic Filing and Payment Waiver Request.

       Checklist for filing your Connecticut application for extension of time to file Connecticut income tax
       return:
        1. You MUST have applied for AND received a waiver from electronic filing from DRS.

        2. Be sure that the application is not printed on the back of this sheet.

        3. Verify that the address lines on the application are correct and proper abbreviations are used.

        4. Do not attempt to remove or modify the solid boxes that print out on your application. Altering target
           marks may affect the processing of your application.

        5. Do not send "Draft" or "Unapproved" versions of your application. This will delay or stop the processing
           of your application.

        6. Do not make manual (hand written or typed) corrections to your application; this is a machine readable
           return. Changes may only be made by reentering information in your software and re-printing the
           application.

        7. Do not use this application to change or amend previously filed returns.

        8. Make check payable to: Commissioner of Revenue Services

        9. To ensure proper posting, write your Connecticut Registration Number or FEIN (optional) and
           "2022 Form CT-1120 EXT" on your check.

       10. To mail your coupon, use the following address:
           Forms with payment, mail to:


                       FOR YOUR RECORDS
                       Department of Revenue Services
                       PO Box 2974
                       Hartford CT 06104-2974



                          DO NOT FILE
              Forms without payment:
                        Department of Revenue Services
                        PO Box 150406
                        Hartford CT 06115-0406

       11. Verify that all fields print completely and legible before filing this return. If you find any errors, do not
           make manual changes. Re-enter information in your software and re-print the application.

                                      Do not send this sheet with your application.




   241008 11-01-22   1019

13111109 144198 89475                                          2022.05000 EATSTREET, INC.                                   89475__1
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                       11201222V011019
                                                                                                   Form CT-1120                                               2022
                                                                                                   Corporation Business Tax Return
                                                                                                   (Rev. 12/22)
                                                                                                                                                                         NAICS code
                   Enter Income Year Beginning | 01012022                           and Ending |    12312022                        | *****5093                     | 722300


                  |    EATSTREET INC                                                                                                |    189900295039
                                                                                                                                                                Total assets
                  |    1574 W BROADWAY ST STE 200 #PMB1005                                                  |                                               |         4487013
                                                                                                                                                     Amount from federal Form 1120, Line 11
                  |    MADISON                                              |   WI | 53713                                                                  |       27748875
                  Student Loan Payment tax credit refund request?                                           R & D tax credit exchange?
                  |    N Amount of credit refund request:          |                        0               |     N Amount of credit refund request:        |                     0
          Schedule C - Computation of Amount Payable (Minimum Tax $250)
             1a. Tax: Greater of Schedule A , Line 6; Schedule B, Line 6; or $250.                                                           1a. |                              250
             1b. Surtax: Line 1a multiplied by 10%. If federal Form 1120, Ln 11 is less than $100,000,000 or Ln 1a is $250 enter zero ("0"). 1b. |                                0
             1c.      Recapture of tax credits                                                                                                       1c. |                        0
             1.       Total tax: Enter the total of Lines 1a through Line 1c. If no tax credits claimed, enter also on Line 6.                         1.                       250
             2.       Multiply Line 1 by 49.99% (0.4999).                                                                                              2. |                     125
             3.       Enter the greater of Line 2 or $250.                                                                                             3. |                     250
             4.       Tax credit limitation: Subtract Line 3 from Line 1.                                                                              4. |                       0
             5a.      Tax credits from Form CT-1120K , Part II, Line 9. Do not exceed amount on Line 4.                                              5a. |                        0
             5b.      Excess credit utilization from Form CT-1120K , Part II, Line 12.                                                               5b. |                        0
             5.       Total tax credits: Add Line 5a and Line 5b.                                                                                      5. |                       0
             6.       Balance of tax before PE credit: Subtract Line 5 from Line 1.                                                                    6. |                     250
             7.       PE credit from Form CT-1120PE , Line 3.                                                                                          7. |                       0
             8.       Balance of tax payable: Subtract Line 7 from Line 6, but not less than zero ("0").                                               8. |                     250
             9a.      Paid with application for extension from Form CT-1120 EXT.                                                                     9a. |                        0
             9b.      Paid with estimates from Forms CT-1120 ESA, ESB, ESC, and ESD.                                                                 9b. |                        0
             9c.      Overpayment from prior year.                                                                                                   9c. |                      646
             9d.      Amended filers only. Amounts paid with original return, plus additional tax paid after original return was filed. (No P&I.)    9d. |                        0
             9.   Tax payments: Enter the total of Lines 9a, 9b, 9c, and 9d.                                                                      9. |                          646
             10a. Amended filers only. Overpayment, if any, as shown on original return or as previously adjusted. All others enter zero ("0"). 10a. |                            0
             10b. Subtract Line 10a from Line 9.                                                                                                    10b. |                      646
             10.  Balance of tax due (overpaid): Subtract Line 10b from Line 8.                                                                      10. |                     -396
             11a. Penalty.                                                                                                                          11a. |                        0
             11b. Interest.                                                                                                                         11b. |                        0
             11c. Form CT-1120I Interest.                                                                                                           11c.                          0
For faster   11.  Total penalty and interest: Enter the total of Lines 11a, 11b, and Line 11c.                                                       11.                          0
refund,      12a. Amount to be credited to 2023 estimated tax.                                                                                      12a. |                      396
use Direct
             12b. Amount to be refunded.                                                                                                            12b. |                        0
Deposit by   12c. Acct. type    |        Ck.          |          Sv.    12d.Rout. # |                                12e. Acct # |
completing
             12f. Refund going to a bank account outside the U.S.               |    N                12g. |
Lines 12c,
12d, and     12.      Total to be credited or refunded: Enter the total of Line 12a and Line 12b.                                                    12.                       396
12e.         13.      Balance due with this return: Add Line 10 and Line 11.                                                                         13. |                       0 .00




                                               241701 11-02-22              11201222V011019


                                                                  Visit us at portal.ct.gov/DRS for more information.
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            11201222V021019
                                                                                    Form CT-1120, Page 2 of 4

                                                                                                               189900295039

Schedule A - Computation of Tax on Net Income
1.    Net income: Enter amount from Schedule D, Line 24. If 100% Connecticut, enter also on Line 3.                  1. |      -7919293
2.    Apportionment fraction: Carry to six places.                                                                   2. |       .004275
3.    Connecticut net income: Multiply Line 1 by Line 2.                                                             3. |        -33855
4.    Operating loss carryover from Form CT-1120 ATT , Schedule H , Line 22, Column E. Do not
      exceed 50% of Line 3.                                                                                          4. |             0
5.    Income subject to tax: Subtract Line 4 from Line 3.                                                            5. |        -33855
6.    Tax: Multiply Line 5 by 7.5% (.075).                                                                           6. |             0

Schedule B - Computation of Minimum Tax on Capital

1.    Minimum tax base from Schedule E, Line 6, Column C. If 100% Connecticut, enter also on Line 3.                 1. |      -9075509
2.    Apportionment fraction: Carry to six places.                                                                   2. |       .000000
3.    Multiply Line 1 by Line 2.                                                                                     3. |             0
4.    Number of months covered by this return.                                                                       4. |            12
5.    Multiply Line 3 by Line 4, divide the result by 12.                                                            5. |             0
6.    Tax (3 and 1/10 mills per dollar): Multiply Line 5 by .0031. Maximum tax for Schedule B is $1,000,000.         6. |             0

Schedule D - Computation of Net Income
1.  Federal taxable income (loss) before net operating loss and special deductions.                                  1. |      -5131799
2.    Interest income wholly exempt from federal tax.                                                                2. |             0
3.    State and local income taxes.                                                                                  3. |         32501
4.    Interest expenses paid to a related member from Form CT-1120AB , Part I A, Line 1.                             4. |             0
5.    Intangible expenses and costs paid to a related member from Form CT-1120AB , Part I B, Line 3.                 5. |             0
6.    Federal bonus depreciation.                                                                                    6. |             0
7.    Business interest expense carried forward under IRC ¤ 163(j) and deducted
      for federal tax purposes in the current year.                                                                  7. |             0
8.    80% of IRC ¤179 deduction.                                                                                     8. |             0
9.    Other.                                                                                                         9. |             0
10.   Total: Add Lines 1 through 9.                                                                                 10. |      -5099298
11.   Dividend deduction from Form CT-1120 ATT , Schedule I , Line 5.                                               11. |             0
12.   Capital loss carryover (if not deducted in computing federal capital gain).                                   12. |             0
13.   Capital gain from sale of preserved land.                                                                     13. |             0
14.   Federal bonus depreciation recovery from Form CT-1120 ATT , Schedule J, Line 26.                              14. |             0
15.   Exceptions to interest add back from Form CT-1120AB , Part II A, Line 1.                                      15. |             0
16.   Exceptions to interest add back from Form CT-1120AB , Part II A, Line 2.                                      16. |             0
17.   Exceptions to interest add back from Form CT-1120AB , Part II A, Line 3.                                      17. |             0
18.   Exceptions to add back of intangible expenses paid to a related member from Form CT-1120AB ,
      Part II B, Line 1.                                                                                            18. |             0
19.   25% of IRC ¤ 179 deduction added back in the preceding four years.                                            19. |             0
20.   IRC ¤163(j) business interest deduction disallowed for federal tax purposes.                                  20. |       2819995
21.   Contributions from Connecticut or its municipalities included in Schedule D, Line 1.                          21. |             0
22.   Other.                                                                                                        22. |             0
23.   Total: Add Lines 11 through 22.                                                                               23. |       2819995
24.   Net income: Subtract Line 23 from Line 10. Enter here and on Schedule A , Line 1.                             24. |      -7919293




                                                                11201222V021019
                                    241711 11-02-22



                                                      Visit us at portal.ct.gov/DRS for more information.
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                                                                                        Form CT-1120, Page 3 of 4

                                                                                                                                189900295039

Schedule E - Computation of Minimum Tax Base                                              Column A                            Column B                       Column C
                                                                                        Beginning of Year                     End of Year

1.   Capital stock from federal Schedule L, Line 22a and Line 22b.                                   6305                             6305
                                                                                                                                                           (Column A plus
2.   Surplus and undivided profits from federal Schedule L,
     Lines 23, 24, and 25.                                                                 -4533048                          -13630580                        Column B)
                                                                                                  0                                  0                       Divided by 2
3.   Surplus reserves: Attach schedule.
4.   Total: Add Lines 1, 2, and 3. Enter average in Column C.                              -4526743                          -13624275                       -9075509
5.   Holdings of stock of private corporations: Attach
     schedule. Enter average in Column C.                                                                   0                                0                              0
6.   Balance: Subtract Line 5, Column C, from Line 4, Column C.
     Enter here and on Schedule B, Line 1.                                                                                                                   -9075509

Schedule G - Additional Required Information
Attach a schedule of corporate officers' names, titles, and addresses.
1. In which Connecticut (CT) town(s) does the corporation own or lease, as lessee, real or tangible personal property, or perform services?
     FARMINGTON

2.   (a) Did this corporation directly or indirectly transfer a controlling interest in an entity owning CT real property?              |    N
     If Yes, enter: Entity name         |                                                                                                        FEIN |


     (b) Was there a direct or indirect transfer of a controlling interest in your company owning CT real property?                     |    N
     If Yes, enter: Transferor name |                                                                                                       FEIN/SSN |


     (c) If the answer to either 2(a) or 2(b) is Yes, enter: Transferee(s) name
     Date of transfer                           , and attach a list of addresses for all Connecticut real property transferred.


3.   Did any corporation at any time during the year own a majority of the voting stock of this corporation?                            |    N
     If Yes, enter: Corporation name                                                                                                             FEIN


4.   Last taxable year this corporation was audited by the Internal Revenue Service          |
     Were adjustments reported to CT?       |    N                 (If No, attach explanation).




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                                                                                                                                   Form CT-1120, Page 4 of 4

                                                                                                                                                                                  189900295039

Check All Applicable Boxes:


1. |                                   Y Address change                    2. Return status:         |     N Initial        |     N Amended | N Final                     |       N Short period

                          Reason for amending, if applicable:                                        | N IRS adjustments/federal Form 1120X.                      Final determination date:       |
                          | N CT corp business tax credit change                                     | N CT apportionment change     | N                          CT net operating loss change
                          | N Other. Specify:


3. If this is a final return, has the corporation:                                                   |     N Dissolved?              |    N Withdrawn?

                          |            N Merged/reorganized: Enter survivor's CT Tax Reg. #

4. Federal return was filed on:                                        |    Y 1120 | N 1120-H | N 1120-REIT | N 1120-RIC

                          |            N Other:

                          Consolidated basis: Parent co. name |                                                                                                                 Parent co. FEIN   |


.5. |                                  N Did this company file as part of a Form CT-1120CU for the previous year?

6. |                                   N      Does this company file as part of a Form CT-1120CU and is filing this return to report non-unitary business income?


                          If Yes, enter the CT Tax Reg. # of the group's designated taxable member: |


7. |                                   N     Is the principal place of business located in CT? If No, enter principal place of business location:       WISCONSIN

              State of incorporation: WI Date of organization:                                    01012012 Date qualified in CT: 01012012 Date business began in CT: 02012017

8. Is this corporation exempt from CT Corporation Business tax?                                                       N        (If Yes, attach explanation of exemption including statutory cite).


9.                        Did this corporation use the annualized method to calculate its estimated tax installments?                           |    N (If Yes, attach Form CT-1120I ).

10. Does this corporation pay, accrue, or incur interest expenses or intangible expenses, costs, and related interest expenses to a related member?
                          |            N (If Yes, attach Form CT-1120AB ).

DECLARATION: I declare under the penalty of law that I have examined this return and, to the best of my knowledge and belief, it is true, complete, and correct. I
understand the penalty for willfully delivering a false return or document to the Department of Revenue Services (DRS) is a fine of not more than $5,000, imprisonment for
not more than five years, or both. The declaration of a paid preparer other than the taxpayer is based on all information of which the preparer has any knowledge.


                                    Corporate officer's name (print)                                                        Corporate officer's signature                                                Date

                                    STEVE ANASTASI
                                    Corporate officer's email address

     |
                                    Title                                                                                                                                                                Telephone number

                                    CEO                                                                                                        May DRS contact the preparer
                                                                                                                                                                                    Y                    8666548777
     Keep a copy for your records




                                                                                                                                               shown below about this return?
Sign Here




                                    Paid preparer's name (print)                                                            Paid preparer's signature                               Date                 Preparer's SSN or PTIN

                                    DANIEL T OCONNOR CPA                                                                    DANIEL T. O'CONNOR                                      11092023             P00543528
                                    Firm's name, address, and ZIP code                                                                                                              Firm's FEIN          Telephone number

                                    BAKER TILLY US LLP PO BOX 7398                                                                                                                  *****9910            6082496622
                                    MADISON                  WI    53707                                                                     7398

                                                                                                        11201222V041019
                                                                       241722 11-02-22



                                                                                           Visit us at portal.ct.gov/DRS for more information.
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    Form CT-1120 Required Fields
                                       Do not send this sheet with your return.

    Checklist for filing your Connecticut Corporation Business Tax Return:
     1. Be sure that the return is not printed on the back of this sheet.

     2. Verify that the address lines are correct and proper abbreviations are used.

     3. Do not attempt to remove or modify the solid boxes that print out. Altering target marks may
        affect the processing of your return.

     4. Do not send "Draft" or "Unapproved" versions of your return. This will delay or stop the processing
        of your return.

     5. Do not make manual (hand written or typed) corrections; this is a machine readable return. Changes
        may only be made by reentering information in your software and re-printing the return.

     6. Make check payable to: Commissioner of Revenue Services

     7. To ensure proper posting, write your CTID (optional) and "2022 Form CT-1120" on your check.

     8. File returns where an electronic filing waiver has been granted to the corresponding
        address listed below.

          Mail paper return with payment to:                    Mail paper return without payment to:
          Department of Revenue Services                        Department of Revenue Services
          State of Connecticut                                  State of Connecticut
          PO Box 2974                                           PO Box 150406
          Hartford CT 06103-2974                                Hartford CT 06103-150406

     9. Verify that all fields print completely and legible before filing this return. If you find any errors, do
        not make manual changes. Re-enter information in your software and re-print the return.

                                       Do not send this sheet with your return.




241700 11-01-22   1019
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            1120A1222V011019
                                                                                      Form CT-1120A                                 2022
                                                                                      Corporation Business Tax Return
                                                                                      Apportionment Computation (Rev. 12/22)

    Enter Income Year Beginning             01012022               and Ending          12312022

            EATSTREET INC                                                                                           189900295039


Schedule Q - Net Income Apportionment - Do not include receipts from the sale of                            Column A                   Column B
property if the property is not held for sale in the ordinary course of business.                          Connecticut                Everywhere
 1. Gross receipts from sales of tangible personal property
    held for sale in the ordinary course of trade or business                                     1.                     0                             0
 2. Gross receipts from services                                                                  2.                     0                             0
 3. Gross receipts from the rental, lease or license of real or tangible personal property        3.                     0                             0
 4. Gross receipts from the rental, lease or license of intangible personal property              4.                     0                             0
 5. Interest                                                                                      5.                     0                             0
 6. Gross receipts from the sale or disposition of real or intangible
    property held for sale in the ordinary course of trade or business                            6.                 0                         0
 7. Other                                                                                         7.            123522                  28893995
 8. Total: Add Lines 1 through 7 in Column A and Column B.                                        8. |          123522         |        28893995

Computation of Connecticut Net Income Apportionment Fraction
 9. Apportionment fraction: Divide Line 8, Column A, by Line 8, Column B, and carry to six places.
    Enter here and on Form CT-1120, Schedule A, Line 2.                                                                        9.         .004275

Schedule S - Minimum Tax Base Apportionment                                    Column A                     Column B                  Column C
                                                                              Connecticut                  Everywhere

     Intangible                                                                               0                 549904
       Assets            1. (a) Cash                               (a) |                               |
                              (b) Notes and accounts receivable (b) |                         0        |       1157081
     Average                  (c) Investments (other than stock) (c) |                        0        |             0
     Monthly                                                                                  0                5639319
  Net Book Value              (d) Other                            (d) |                               |                              Divide Line 3,
                                                                                                                                        Column A
                                                                                              0                7346304                  by Line 3,
                         1. Total                                   1.                                                                 Column B.

      Tangible           2. (a) Inventories                        (a) |                      0        |             0               Enter below and
      Property                (b) Depreciable assets               (b) |                      0        |        355657              on Form CT-1120,
                                                                                                                                    Schedule B, Line 2.
                              (c) Land                             (c) |                      0        |             0
     Average
     Monthly                  (d) Other                            (d) |                      0        |             0              Carry to six places
  Net Book Value
                         2. Total                                   2.                        0                 355657

  Apportionment          3. Total: Add Line 1 and Line 2.           3.                        0                7701961                    .000000
     Fraction




                                                               1120A1222V011019
                       241861 11-01-22



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                                                                                 Form CT-1120 ATT                                           2022
                                                                                 Corporation Business Tax Return
                                                                                 Attachment Schedules I, H, and J           (Rev. 12/22)




           EATSTREET INC                                                                                              189900295039




 Schedule I - Dividend Deduction                                                                                           Column D                  Column E
                                                                         Column B           Column C                         Related                  Dividend
                                                      Column A           Deduction            Balance                      Expenses                  Deduction
                                                       Amount              Rate           (Col. A x Col. B)            (Col. A x 5%[.05])          (Col. C - Col. D)
1. Dividend income included in computation of
   federal taxable income from
   Form CT-1120, Schedule D, Line 1.       |                        0

2. Dividends from domestic corporations
   less than 20% owned                     |                        0 70% (.70)                               0   |                     0                              0

3. Dividend balance: Subtract Line 2
   from Line 1.                                                     0 100% (1.0)                              0   |                     0                              0

4. Dividends from a Captive REIT
   that is taxable in Connecticut
   Captive REIT Name:


   FEIN:                                   |                        0 100% (1.0)                              0   |                     0                              0

5. Total dividend deduction: Add Lines 2, 3, and 4 in Column E. Enter the result here and on
   Form CT-1120, Schedule D, Line 11.                                                                                                                                  0




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                      241821 11-01-22



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                                                                                                                         189900295039
      Schedule H - Connecticut Apportioned Loss Carryover
                                                                     Column B
                                 Column A                           Connecticut                       Column C                        Column D
                       Connecticut Apportioned Loss              Apportioned Loss                 Carryover to 2022              Shared Losses From
                        (Enter loss years only as a              Carryover Applied                Subtract Column B                Unitary Affiliates
                             positive number)                      2003 to 2021                    from Column A.               (CT-1120CU filers only)

1.      2002                           0                                      0                               0                                    0
2.      2003                           0                                      0                               0                                    0
3.      2004                           0                                      0                               0                                    0
4.      2005                           0                                      0                               0                                    0
5.      2006                           0                                      0                               0                                    0
6.      2007                           0                                      0                               0                                    0
7.      2008                           0                                      0                               0                                    0
8.      2009                           0                                      0                               0                                    0
9.      2010                           0                                      0                               0                                    0
10.     2011                           0                                      0                               0                                    0
11.     2012                           0                                      0                               0                                    0
12.     2013                           0                                      0                               0                                    0
13.     2014                           0                                      0                               0                                    0
14.     2015                           0                                      0                               0                                    0
15.     2016                           0                                      0                               0                                    0
16.     2017                      133904                                  22119                          111785                                    0
17.     2018                       63272                                      0                           63272                                    0
18.     2019                       50415                                      0                           50415                                    0
19.     2020                           0                                      0                               0                                    0
20.     2021                           0                                                                      0                                    0
21.     2022                       33855
                             Column E                               Column F                          Column G
               Connecticut Apportioned Loss Carryover     Shared Loss to Unitary Affiliates     Remaining Apportioned
                           Applied to 2022                   (CT-1120CU filers only)          Carryover Available for 2023
1.      2002                                 0                                     0                          0
2.      2003                                 0                                     0                          0
3.      2004                                 0                                     0                          0
4.      2005                                 0                                     0                          0
5.      2006                                 0                                     0                          0
6.      2007                                 0                                     0                          0
7.      2008                                 0                                     0                          0
8.      2009                                 0                                     0                          0
9.      2010                                 0                                     0                          0
10.     2011                                 0                                     0                          0
11.     2012                                 0                                     0                          0
12.     2013                                 0                                     0                          0
13.     2014                                 0                                     0                          0
14.     2015                                 0                                     0                          0
15.     2016                                 0                                     0                          0
16.     2017                                 0                                     0                     111785
17.     2018                                 0                                     0                      63272
18.     2019                                 0                                     0                      50415
19.     2020                                 0                                     0                          0
20.     2021                                 0                                     0                          0
21.     2022                                                                                              33855
22.     Total: Add Lines 1 through 20 in Column E. Enter the result here and on Form CT-1120, Schedule A, Line 4 or Form CT-1120CU-NI,
        Part III, Line 10. Do not exceed 50% of Form CT-1120, Schedule A, Line 3, or 50% of Form CT-1120CU-NI, Part III, Line 8. |                     0

23.     Total operating loss carryover to 2023: Add Lines 2 through 21 in Column G.                                          |            259327
                                                                 1120ATT1222V021019
                          241822 11-01-22



                                                        Visit us at portal.ct.gov/DRS for more information.
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                                                                               Form CT-1120 ATT, Page 3 of 3

                                                                                                                     189900295039

     Schedule J - Bonus Depreciation Recovery


                                                    Column A                                    Column B                             Column C
 Assets Subject to IRC ¤ 168(k)           2022 MACRS Depreciation on                  2022 MACRS Depreciation on                 2022 Recovery of
       Placed in Service                           Federal Basis                            Connecticut Basis                       IRC ¤ 168(k)
      During Income Year                   (after IRC ¤ 168(k) Bonus)                 (without IRC ¤ 168(k) Bonus)        Bonus Depreciation (Col. B - Col. A)


1.     2000                                                        0                                          0                                        0
2.     2001                                                        0                                          0                                        0
3.     2002                                                        0                                          0                                        0
4.     2003                                                        0                                          0                                        0
5.     2004                                                        0                                          0                                        0
6.     2005                                                        0                                          0                                        0
                                                       No bonus depreciation was available for 2006
7.     2007                                                        0                                          0                                        0
8.     2008                                                        0                                          0                                        0
9.  2009                                                           0                                          0                                        0
10. 2010                                                           0                                          0                                        0
11. 2011                                                           0                                          0                                        0
12. 2012                                                           0                                          0                                        0
13. 2013                                                           0                                          0                                        0
14. 2014                                                           0                                          0                                        0
15. 2015                                                           0                                          0                                        0
16. 2016                                                           0                                          0                                        0
17. 2017                                                           0                                          0                                        0
18. 2018                                                           0                                          0                                        0
19. 2019                                                           0                                          0                                        0
20. 2020                                                           0                                          0                                        0
21. 2021                                                           0                                          0                                        0
22. 2022                                                           0                                          0                                        0
23. 2023
24. 2024
25. 2025
26. Federal bonus depreciation recovery: Add Lines 1 through 22 in Column C. Enter the result
    here and on Form CT-1120, Schedule D, Line 14.                                                                                                     0




                                                           1120ATT1222V031019
                       241823 11-01-22



                                                 Visit us at portal.ct.gov/DRS for more information.
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  EATSTREET, INC.                  Document    Page 118 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  CT-1120                 SCHEDULE G - CORPORATE OFFICERS          STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   NAME                         ADDRESS                            TITLE
  }}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}
  MATT HOWARD                  131 W. WILSON ST, STE 400          CEO
                               MADISON, WI 53703
  STEVE ANASTASI               131 W. WILSON ST, STE 400          CTO
                               MADISON, WI 53703
  MICHELLE DAMA                1724 DUNWOODY LANE                 CLO
                               WAUNAKEE, WI 53597


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  CT-1120                      TAXES FROM OTHER STATES              STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
        STATE          INCOME TAX + RENTAL TAX -       REFUND    =    TOTAL TAX
  }}}}}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ARIZONA                        0.             0.             0.               0.
  CALIFORNIA                     0.             0.             0.               0.
  COLORADO                     701.             0.             0.            701.
  DELAWARE                       0.             0.             0.               0.
  IOWA                      19,000.             0.             0.         19,000.
  KENTUCKY                       0.             0.             0.               0.
  MASSACHUSETTS              4,000.             0.             0.          4,000.
  NEW JERSEY                     0.             0.             0.               0.
  NEW YORK                       0.             0.             0.               0.
  NORTH CAROLINA                 0.             0.             0.               0.
  OHIO                           0.             0.             0.               0.
  PENNSYLVANIA               6,500.             0.             0.          6,500.
  TEXAS                          0.             0.             0.               0.
  VIRGINIA                     800.             0.             0.            800.
                                                                   }}}}}}}}}}}}}}
   TOTAL TO CT-1120, PAGE 2, SCHEDULE D, LINE 3                           31,001.
                                                                   ~~~~~~~~~~~~~~




                                               10                      STATEMENT(S) 1, 2
13111109 144198 89475                       2022.05000 EATSTREET, INC.            89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                               DELAWARE FORM 1100

                                        FOR THE YEAR ENDING
                                                 December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                             $              0
                Less: payments and credits            $              0
                Plus: other amount                    $              0
                Plus: interest and penalties          $              0
                No payment required                   $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Delaware Division of Revenue
               P.O. Box 2044
               Wilmington, DE 19899-2044


Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
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      DELAWARE DIVISION OF REVENUE
      FORM 1100-T-EXT - DELAWARE CORPORATE INCOME TAX REQUEST FOR EXTENSION
                  ACCOUNT NUMBER                 VERIFY BUSINESS FEIN               CALENDAR OR FISCAL YEAR ENDING     DUE ON OR BEFORE     VOUCHER      EXTENSION TO

          *****85093001                          **-***5093                         12/31/22                           04/18/23             T-5          10/16/23


                         FOR YOUR RECORDS
           ******************************************************

                                                                                                     BALANCE DUE FROM LINE 7 OF WORKSHEET


                            DO NOT FILE
         FILE THIS FORM IF EXTENSION IS REQUESTED                             Check here if
                                                                              a Request For                          (BALANCE OF TAX DUE FOR THE YEAR)
                                                                              Change form is
                                                                              being filed.                                                           0 . 0 0
      EATSTREET, INC.                §
      1574 W BROADWAY ST STE 200 #PM
      MADISON, WI 53713

                                                                                                               Mail this form with remittance to:
      CHANGES MUST BE MADE ON THE REQUEST FOR CHANGE FORM.                                                     Delaware Division of Revenue
      CHECK THIS BOX IF YOU ARE FILING A CHANGE FORM.                                                          P.O. Box 830, Wilmington, DE 19899-0830


      X                                                                                    TELEPHONE NUMBER    612-598-7469   DATE
      AUTHORIZED SIGNATURE         I declare under penalties of perjury that this
                                   is a true, correct, and complete return.
                                                                                            EMAIL ADDRESS     STEVE.ANASTASI@

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!




                         FOR YOUR RECORDS
                            DO NOT FILE



242361 09-27-22
               Case 3-24-12061-cjf         Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                                                Document    Page 121DOof
                                                                       NOT326
                                                                           WRITE OR STAPLE IN THIS AREA - REVENUE CODE 0042

                                  2022 DELAWARE
               CORPORATION INCOME TAX RETURN
                         FORM 1100



for Fiscal year beginning                               and ending



    EMPLOYER IDENTIFICATION NUMBER                   * * * * * * * * *

 Name of Corporation

 EATSTREET, INC.
 Street Address                                                                                 CHECK APPLICABLE BOX:                  Small Corporation           ESOP
 1574 W BROADWAY ST STE 200 #PMB1005
 City                                                 State          ZIP Code                       INITIAL RETURN
                                                                                                                             CHANGE OF
                                                                                                                             ADDRESS      X       EXTENSION
                                                                                                                                                  ATTACHED     X
 MADISON                                               WI        53713
 Delaware Address if Different than Above

                                                                                                         IF OUT OF BUSINESS, ENTER DATE HERE:
 City                                                 State          ZIP Code

                                                                                                                     DATE OF INCORPORATION:       01    01         12
 State of Incorporation        Nature of Business:

 WI                           INTERNET SALES



        ATTACH COMPLETED COPY OF FEDERAL FORM 1120
 1. Federal Taxable Income (See Specific Instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           -5131799           1
 2. Total subtractions from Schedule 4A ~~~~~~~~~~~~~~~~~~~                        0                                                                               2
 3. Line 1 minus  Line 2  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           -5131799           3
 4. Total additions from Schedule 4B ~~~~~~~~~~~~~~~~~~~~               32501                                                                                      4
 5. Entire net income. Line 3 plus Line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  -5099298           5
        WHERE LINE 5 IS DERIVED ENTIRELY FROM SOURCES WITHIN DELAWARE, ENTER AMOUNT ON LINE 11.
        WHERE THE ENTIRE INCOME IS NOT DERIVED FROM SOURCES WITHIN DELAWARE, COMPLETE ITEMS 6 TO 10 INCLUSIVE.
 6. Total non-apportionable income (or loss) (Schedule 2, Column 3, Line 8) ~~~~~~~~~~~~~~~~~~~~                                                                   6
 7. Income (or loss) subject to apportionment (Line 5 minus Line 6) ~~~~~~~~~~~~~~~~~~~~~~~~                                                    -5099298           7
 8. Apportionment percentage (Schedule 3B, Line 3)            ~~~~~~~~~~~~~                           0.185176                                                     8
 9. Income (or loss) apportioned to Delaware (Line 7 multiplied by Line 8) ~~~~~~~~~~~~~~~~~~~~~                                                  -9443            9
 10. Non-apportionable income (or loss) (Schedule 2, Column 1, Line 8) ~~~~~~~~~~~~~~~~~~~~~                                                                       10
 11.     Total (Line 9 plus or minus Line 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  -9443           11
 12.     Delaware Taxable Income (Line 5 or Line 11, whichever is less) ~~~~~~~~~~~~~~~~~~~~~~~                                                 -5099298           12
 13.     Tax @ 8.7% ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     0           13
 14. Approved non-refundable tax credits ~~~~~~~~~~~~~~~~~~                                                                                                        14
 15. Balance due after non-refundable tax credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          0       15
 16. Delaware tentative tax paid ~~~~~~~~~~~~~~~~~~~~~~                                                                                                            16
 17. Credit carry-over from prior year ~~~~~~~~~~~~~~~~~~~~                                                                                                        17
 18. Other payments (attach statement) ~~~~~~~~~~~~~~~~~~~                                                                                                         18
 19. Approved refundable income tax credits ~~~~~~~~~~~~~~~~                                                                                                       19
 20. Total payments and credits. Add Lines 16 through 19 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              20
 21. If Line 15 is greater than Line 20 enter BALANCE DUE AND PAY IN FULL ~~~~~~~~~~~~~~~~~~~                                                                      21
 22. If Line 20 is greater than Line 15 enter OVERPAYMENT:                  (a) Total OVERPAYMENT ~~~~~~~~~~~~~                                                    22a
                                                                            (b) to be REFUNDED ~~~~~~~~~~~~~~~                                                     22b
                                                                            (c) to be CREDITED to 2023 TENTATIVE TAX ~~~~                                          22c




                                               PLEASE SEE PAGE 3 FOR SIGNATURE LINES AND MAILING INSTRUCTIONS



               1019 242301 09-19-22
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                               2022                              FORM
                                                          Document       1100
                                                                      Page 122 of 326         PAGE 2
            SCHEDULE 1 - INTEREST INCOME
                  Description of                     Column 1                 Column 2                   Column 3               Column 4               Column 5
                                                                          Interest Received     Interest Received From      Interest Received        Other Interest
                    Interest                      Foreign Interest       From U.S. Securities     Affiliated Companies   From State Obligations         Income
1                                                                                                                                                                       1
2                                                                                                                                                                       2
3                                                                                                                                                                       3
4                                                                                                                                                                       4
5                                                                                                                                                                       5
6     Totals                                                                                                                                                            6

            SCHEDULE 2 - NON-APPORTIONABLE INCOME ALLOCATED WITHIN AND WITHOUT DELAWARE
                                                                                Column 1                          Column 2                           Column 3
                           Description                                       Within Delaware                  Without Delaware                         Total

1 Rents and royalties from tangible property                                                                                                                            1
2 Royalties from patents and copyrights                                                                                                                                 2
3 Gains or (losses) from sale of real property                                                                                                                          3
4 Gains or (losses) from sale of depreciable tangible property                                                                                                          4
5 Interest income from Schedule 1, Columns 4 and 5, Line 6                                                                                                              5
6 Total                                                                                                                                                                 6
7 Less: Applicable expenses (Attach statement)                                                                                                                          7
8 Total non-apportionable income                                                                                                                                        8

            SCHEDULE 3 - APPORTIONMENT PERCENTAGE
                Schedule 3-A - Gross Receipts Subject to Apportionment
                 Description                                                                              Within Delaware                 Within and Without Delaware
1   Gross receipts from sales of tangible personal property                                                                                                             1
2   Gross income from other sources (Attach statement)                                                              53505                          28893995             2
3   Total                                                                                                           53505                          28893995             3
                 Schedule 3-B - Determination of Apportionment Percentage
1 Gross receipts and gross income from within Delaware                                                               53505                =       0.185176              1
2 Gross receipts and gross income from within and without Delaware                                                28893995                                              2



3 Apportionment percentage (See instruction)                                                                                                      0.185176              3
             Schedule 3-C - Gross Real and Tangible Personal Property
                 Description                                                      Within Delaware                                       Within and Without Delaware
                                                                         Beginning of Year          End of Year             Beginning of Year        End of Year
1   Real and tangible property owned                                                                                         2096217                  355657            1
2   Real and tangible property rented (Eight times annual rental paid)                                                       4130968                 4130968            2
3   Total                                                                                                                    6227185                 4486625            3
    Less: Value at original cost of real and tangible property, the
4                                                                                                                                                                       4
    income from which is separately allocated (See instructions)
5   Total                                                                                                                    6227185                 4486625            5
6   Average value (See instructions)                                                                                                                 5356905            6
                Schedule 3-D - Wages, Salaries, and Other Compensation Paid or Accrued to Employees
                 Description                                                                              Within Delaware                 Within and Without Delaware
1 Wages, salaries, and other compensation of all employees                                                                                                              1
2 Less: Wages, salaries, and other compensation of general executive officers                                                                                           2
3 Total                                                                                                                                                                 3




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SCHEDULE 4-A - SUBTRACTIONS
1. Foreign dividends, interest and royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         1
2. Net interest from U.S. securities (Schedule 1, Column 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 2
3. Interest from affiliated companies (Schedule 1, Column 3) ~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 3
4. Gain from sale of U.S. or Delaware securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       4
5. Wage deduction - Federal Jobs Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            5
6. Handicapped accessibility deduction (Attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   6
7. Net operating loss carry-over ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               7
8. NBI must attach form 1100 NBI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                8
9. TOTAL Subtractions (Add lines 1 thru 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          9

SCHEDULE 4-B - ADDITIONS
1.   All state and political subdivision income taxes deducted in computing Line 1 ~~~~~~~~~~~~~~~                                                   32501             1
2.   Loss from sale of U.S. or Delaware securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     2
3.   Interest income from obligations of any state except DE (Schedule 1, Column 4) ~~~~~~~~~~~~~~                                                                     3
4.   Depletion expense - oil and gas ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            4
5.   Interest paid affiliated companies (See Instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                5
6.   Donations included in Line 1 for which Delaware income tax credits were granted ~~~~~~~~~~~~~                                                                     6
7.   TOTAL Additions (Add lines 1 thru 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        32501             7




Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief it is
true, correct, and complete. If prepared by a person other than the taxpayer, the declaration is based on all information of which the preparer has any knowledge.



                                                                                     CEO                                              STEVE.ANASTASI@
     Date                                     Signature of Officer                                      Title                                    Email Address




11/09/23 DANIEL T. O'CONNOR, CPA                                                     PO BOX 7398 MADISON, WI 53707-7398
     Date                     Signature of Individual or firm preparing the return                                          Address




                             MAKE CHECK PAYABLE AND MAIL TO: Delaware Division of Revenue, P.O. Box 2044, Wilmington, DE 19899-2044



        1019

            (REV. 04/2022)                                      242303 09-19-22
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  EATSTREET, INC.                  Document    Page 124 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  DE 1100              GROSS RECEIPTS FROM OTHER SOURCES           STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                DELAWARE            EVERYWHERE
  }}}}}}}}}}}                                             }}}}}}}}}}}}}}       }}}}}}}}}}}}}}
  OTHER RECEIPTS                                                 53,505.          28,893,995.
                                                          }}}}}}}}}}}}}}       }}}}}}}}}}}}}}
  TOTAL TO FORM 1100, SCHEDULE 3-A, LINE 2                       53,505.          28,893,995.
                                                          ~~~~~~~~~~~~~~       ~~~~~~~~~~~~~~




                                               5                                STATEMENT(S) 1
13111109 144198 89475                       2022.05000 EATSTREET, INC.                  89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                               IOWA FORM IA 1120

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $              0
                Less: payments and credits          $              0
                Plus: other amount                  $              0
                Plus: interest and penalties        $              0
                No payment required                 $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Corporation Tax Return Processing
               Iowa Department of Revenue
               P.O. Box 10468
               Des Moines, IA 50306-0468

Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
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 REVENUE
                                                                                                2022 IA 1120
                                                                                                        Iowa Corporation Income Tax Return
                                                                                                                               tax.iowa.gov

Step 1


         Tax Period
                                             to
     J 010122                                     J 123122

                           Amended return          Short Period
      Check the box if:        J                   J

         Legal Name                                                                          Doing Business As Name
     J EATSTREET, INC.                                                                  J

         Address
     J 1574 W BROADWAY ST STE 200 #PMB1005
                                                                                                                       Federal Employer
         Address 2                                                                                                     Identification Number (FEIN)
     J                                                                                                              J **-***5093

         City                                                                   State        ZIP                       NAICS Code                 County No.
     J MADISON                                                            J WI           J 53713                    J 722300                   J 00


Is this the first or
final return?                       New Business                                    Successor                               Entering Iowa


         First Return
                                         J                                          J                                         J

                                    Reorganized               Merged                Dissolved            Withdrawn           Bankruptcy               Other


         Final Return                    J                   J                      J                     J                   J                   J


Step 2
Filing Status                                                                    Limited Liability
                                                            Corporation             Company              Association         Government               Other


         Type of Entity                                      JX                     J                     J                   J                   J


                                    Separate Iowa/                            Separate Iowa/                             Consolidated Iowa/
                                   Separate Federal                         Consolidated Federal                        Consolidated Federal

         Filing                          JX                                         J                                         J
         Status

                                      Regular                                     Cooperative                                   UBIT
                                     Corporation

         Type of
         Return                          JX                                         J                                         J


                                                                  Yes                   No
     Is this an inactive corporation?                                                              Prior period if yes (MM/DD/YY):
                                                             J                      JX
     Was federal income or tax changed
                                                             J                      JX         J
     for any prior period?
     Do you have property in Iowa?
                                                             J                      JX


                  42-001a (06/20/2022)   CCH                  251401 07-21-22
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       Corporation Name                                                                                     FEIN

    J EATSTREET, INC.                                                                                      J **-***5093



                   1. Net income from federal return before
Step 3                                                                                                        -5,131,799.
Net Income
                       federal net operating loss ~~~~~~~~~~~~~~~~~~~~~~~~~~                        J 1
and
Additions          2. Total additions from Schedule A       ~~~~~~~~~~~~~~~~~~~~~~                  J 2              22,699.
to Income
                   3. Net income after additions.
                      Add lines 1 and 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              J 3       -5,109,100.




Step 4             4. Total reductions from Schedule A ~~~~~~~~~~~~~~~~~~~~~~                       J 4            2,888,149.
Reductions
to Income                                                                                                     -7,997,249.
                   5. Net income after reductions. Subtract line 4 from line 3 ~~~~~~~~~~~          J 5




Step 5
Taxable
                   6. Nonbusiness income from Schedule D, line 17 ~~~~~~~~~~~~~~~~                  J 6
Income
                   7. Income subject to apportionment. Subtract line 6 from line 5 ~~~~~~~~~        J 7       -7,997,249.

                   8. Iowa percentage from Schedule E. See instructions ~~~~~~~~~~~~~               J 8             5.156978 %

                   9. Income apportioned to Iowa. Multiply line 7 by line 8 ~~~~~~~~~~~~~           J 9            -412,416.


                   10. Iowa nonbusiness income from Schedule D, line 8 ~~~~~~~~~~~~~~               J 10

                   11. Income before net operating loss. Add lines 9 and 10 ~~~~~~~~~~~~            J 11           -412,416.
                   12. Net operating loss carryforward from Schedule F.
                       Include Schedule F ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             J 12
                   13. Income subject to tax. Subtract line 12 from line 11.
                       Do not enter an amount below $0 ~~~~~~~~~~~~~~~~~~~~~~                       J 13                    0.

                       Check here if the corporation or any member of the consolidated         J
                       group is claiming P.L.86-272 protection in Iowa



                   14. Total tax. For tax rates, see page 6. Check box if tax is annualized.   J    J 14
Step 6
Tax,
Credits and
Payments           15. Credits from Schedule C1, line 5. Do not include estimated tax credit ~~~~   J 15

                   16. Payments from Schedule C2, line 4 ~~~~~~~~~~~~~~~~~~~~~                      J 16

                   17. Total credits and payments. Add lines 15 and 16        ~~~~~~~~~~~~~~        J 17

                   18. Net amount. Subtract line 17 from line 14 ~~~~~~~~~~~~~~~~~~                 J 18                    0.




              42-001b (06/20/2022)   CCH                    251402 07-21-22
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       Corporation Name                                                                                           FEIN

    J EATSTREET, INC.                                                                                            J **-***5093


Step 7             19. Tax due if line 18 is greater than $0 ~~~~~~~~~~~~~~~~~~~~~                        J 19
Balance Due
                   20. Penalty; underpayment of estimated tax. Include IA 2220 ~~~~~~~~~~                 J 20                         0.

                   21. Filing and payment penalties ~~~~~~~~~~~~~~~~~~~~~~~~                              J 21

                   22. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       J 22
                   23. Total amount due. Add lines 19 through 22.
                       Pay electronically, or submit payment with form IA 1120V ~~~~~~~~~~                J 23


                   24. Overpayment if line 18 is less than $0 ~~~~~~~~~~~~~~~~~~~~                        J 24
Step 8
Overpayment
                   25. Credit to next period's estimated tax ~~~~~~~~~~~~~~~~~~~~                         J 25

                   26. Refund requested. Subtract line 25 from line 24 ~~~~~~~~~~~~~~~                    J 26

                       26a. Routing number             26b. Savings Checking        26c. Account number

                   J                                        J            J        J
Schedule A - Additions and Reductions
            Type of Income                                                                Additions                         Reductions


    1. Percentage Depletion ~~~~~~~~~~~~~~~~~~~                          J 1

    2. TIP Credit from federal form 8846 ~~~~~~~~~~~~~                   J 2
    3. Capital Loss Adjustments for filing status 2 or 3   ~~~~~~        J 3
    4. Contribution Adjustments for filing status 2 or 3   ~~~~~~        J 4

    5. Safe Harbor Lease Adjustments. Must include Schedule ~~           J 5
    6. Interest Expense Adjustments from IA 163 ~~~~~~~~~                J 6                                                   2,819,995.
    7. Qualifying COVID-19 Grants ~~~~~~~~~~~~~~~~                       J 7

    8. Expensing/Depreciation Adjustment from IA 4562A ~~~~~             J 8
    9. Tax Exempt Interest and Dividends. See instructions ~~~~          J 9
    10. Iowa Tax Expense/Refund ~~~~~~~~~~~~~~~~~                        J 10                  19,000.
    11. Work Opportunity Credit Wage Reduction
        from federal form 5884 ~~~~~~~~~~~~~~~~~~~                       J 11
    12. Alcohol & Cellulosic Biofuel Credit from federal form 6478 ~~    J 12

    13. Foreign Dividend Exclusion from Schedule B below ~~~~~           J 13
    14. Federal Securities Interest and Dividends. See instructions ~    J 14

    15. Adjustments due to 2018 Nonconformity. See instructions ~        J 15
    16. All-source PTE modifications from Iowa K-1s ~~~~~~~~             J 16

                                     STMT 1  STMT 2
    17. Other. Must include schedule ~~~~~~~~~~~~~~~                     J 17                   3,699.                            68,154.
    18. Totals ~~~~~~~~~~~~~~~~~~~~~~~~~~~                               J 18                  22,699.                         2,888,149.
                                                                                Enter total on page 2, line 2.     Enter total on page 2, line 4.



              42-001c (06/20/2022)   CCH               251461 07-21-22
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        Corporation name                                                                              FEIN

    J EATSTREET, INC.                                                                                J **-***5093

Schedule B - Foreign Dividend Exclusion

     Type of Dividend Income                                               Total Dividend                     Exclusion


   1.   Less than 20% owned ~~~~~~~~~~~~~~~~~~~                      J 1                     x 50%



   2.   20% owned ~~~~~~~~~~~~~~~~~~~~~~~~                           J 2                     x 65%

   3.   Small Business Investment Company      ~~~~~~~~~~~           J 3                     x 100%

   4.   Qualifying Dividends ~~~~~~~~~~~~~~~~~~~~                    J 4                     x 100%




   5.   Total. Add lines 1 through 4. Enter on Schedule A, line 13                          J 5


Schedule C1 - Credits
                                                                                                             Amount


    1. Fuel Credit. Include IA 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         J1

    2. Total Nonrefundable Credits. Include IA 148 ~~~~~~~~~~~~~~~~~~~~~~~~                  J2

    3. Total Refundable Credits, excluding Fuel Credit. Include IA 148 ~~~~~~~~~~~~~~~       J3


    4. Total Composite Credits. Include Schedule CC ~~~~~~~~~~~~~~~~~~~~~~~                  J4

    5. Total Credits. Add lines 1-4. Enter on page 2, line 15 ~~~~~~~~~~~~~~~~~~~~           J5

Schedule C2 - Payments
                                                                                                             Amount

   1.   Estimated Tax Payments
                a.   Credit from prior period ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                   Ja

                b. First quarter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          Jb

                c.   Second quarter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         Jc


                d. Third quarter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          Jd

                e.   Fourth quarter ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        Je

                f.   Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             Jf


   2.   Voucher Payment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                J2

   3.   Other Payments. Include statement ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                       J3

   4.   Total. Add lines 1-3. Enter on page 2, line 16 ~~~~~~~~~~~~~~~~~~~~~~~~              J4



              42-001d (06/20/2022)   CCH        251462 07-26-22
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       Corporation Name                                                                                         FEIN

    J EATSTREET, INC.                                                                                      J **-***5093

Additional Information


                1. Year business was started in Iowa:                       J 2016

                2. Last period filed as S corporation (if any):             J                            to J


                                                                                Corporation Name

                3. Information from the prior period Iowa return:           J EATSTREET, INC.
                                                                                                                          Income before
                                                                                FEIN                                    net operating loss

                                                                            J **-***5093                   J                  362,231.

                                                                                Corporation Name
                4. If part of a federal consolidated group, please
                    provide information about the corporate parent:         J
                                                                                FEIN

                                                                            J

Schedule E - Business Activity Ratio (BAR)
(see instructions)
                                                                                           Column A                         Column B
          Type of Income                                                                 Iowa Receipts                 Receipts Everywhere



     1. Gross Receipts ~~~~~~~~~~~~~~~~~~~~~~                               J 1
     2. Net Dividends. (see instructions) ~~~~~~~~~~~~~~                    J 2
     3. Exempt Interest from Schedule A, line 9 ~~~~~~~~~~                  J 3

     4. Accounts Receivable Interest ~~~~~~~~~~~~~~~                        J 4
     5. Other Interest ~~~~~~~~~~~~~~~~~~~~~~~                              J 5

     6. Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   J 6
     7. Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~                                 J 7

     8. Capital Gain ~~~~~~~~~~~~~~~~~~~~~~~~                               J 8
     9. Ordinary Gain ~~~~~~~~~~~~~~~~~~~~~~~                               J 9

    10. Partnership Gross Receipts. Include schedule ~~~~~~~                J 10
    11. Other. Must include schedule ~~~~~~~~~~~~~~~                        J 11          1,490,057.                          28,893,995.

    12. Total. Add lines 1 -11 ~~~~~~~~~~~~~~~~~~~                          J 12          1,490,057.                          28,893,995.

    13. Divide column A total by column B total. Enter % on page 2, line 8.
        Round to six decimal places and enter as a percentage.
        For example, 0.1234505 becomes 12.3451% ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 J 13               5.156978 %




              42-001e (06/20/2022)   CCH                  251463 07-21-22
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      Corporation Name                                                                                              FEIN

   J EATSTREET, INC.                                                                                           J **-***5093


 A complete copy of your federal return, as filed with the Internal Revenue Service, must be filed with this return. For filing status 2 or 3,
 you must include pages 1-5 of your consolidated federal return, consolidating income statements, federal 851 (for status 3), Iowa
 Schedule H and any other forms related to the Iowa return.




   Tax Rates                                                                     To obtain schedules and forms:
                                                                                          Website: tax.iowa.gov
   If income shown on page 2, line 13 is:
     ¥ $100,000 or less; multiply line 13 by 5.5% (.055).                        Tax Research Library: itrl.idr.iowa.gov/
     ¥ $100,001 to $250,000; multiply line 13 by 9% (.09) and subtract
                                                                                 Questions:
       $3,500.
                                                                                         515-281-3114 or 800-367-3388
     ¥ Over $250,000; multiply line 13 by 9.8% (.098) and subtract $5,500.
   If annualizing, include a schedule showing computation.                       Email:       idr@iowa.gov


                                                                                 eFile or mail your return to:
                                                                                           Corporation Tax Return Processing
                                                                                           Iowa Department of Revenue
                                                                                           PO Box 10468
                                                                                           Des Moines, IA 50306-0468




I, the undersigned, declare under penalties of perjury or false certificate, that I have examined this return, and, to the best of my
knowledge and belief, it is true, correct and complete.


               Officer's name (Printed)                                         Title                        Phone

             J                                                                J CEO                      J 866-654-8777
               Officer's signature                                                                           Date

Sign Here    J                                                                                           J


               Signature of preparer if other than taxpayer                                                  Date
             J DANIEL T. O'CONNOR, CPA                                                                   J 11/09/23
Sign Here



      Name of preparer or preparer's employer                                                                Preparer's phone number

   J BAKER TILLY US, LLP                                                                                 J 608.249.6622
      Address of preparer or preparer's employer                                                             Preparer's ID

   J PO BOX 7398                                                                                         J P00543528
      City                                                          State               ZIP

   J MADISON                                                       J WI            J 53707-7398




             42-001f (06/20/2022)    CCH         251464 07-21-22
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  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  IA 1120                        OTHER ADDITIONS                   STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DEPRECIATION ADDBACK                                                                 3,699.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO 1120, SCH A, LINE 16 OR 1120F, SCH A, LINE 6                                3,699.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  IA 1120                        OTHER REDUCTIONS                  STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DISPOSAL OF FIXED ASSETS                                                            68,154.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO 1120, SCH A, LINE 16 OR 1120F, SCH D, LINE 7                               68,154.
                                                                               ~~~~~~~~~~~~~~




                                               7                       STATEMENT(S) 1, 2
13111109 144198 89475                       2022.05000 EATSTREET, INC.            89475__1
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REVENUE                                                                                                                        IA Corporation Schedules F and G
                                                                                                                                                                      tax.iowa.gov

         Corporation name
       J EATSTREET, INC.

         Federal Employer
         Identification Number (FEIN)             Tax Period End Date
       J **-***5093                         J 12/31/22




Schedule F: Iowa Net Operating Loss (NOL)

          A                    B                    C                   D                         E                   F                       G                               H
      Tax Period                                Tax Period        Loss Applied            Loss Applied To                             FEIN (if different             Corporation Name
        Ended          Iowa Loss Incurred       Applied To       To Prior Year(s)          Current Year          Unused Loss            from above)              (if different from above)


  J 12/16 J                  93,813. J 12/20 J                          93,813. J                         0. J                 0. J                        J
  J 12/17 J                  74,253. J 12/20 J                          74,253. J                         0. J                 0. J                        J

  J 12/18 J                  31,002. J 12/20 J                           1,064. J                         0. J     29,938. J                               J
  J       J                          J 12/21 J                          29,938. J                         0. J          0. J                               J

  J 12/19 J                168,032. J 12/21 J                           85,084. J                         0. J     82,948. J                               J

  J                J                        J                J                      J                       J                    J                         J
  J                J                        J                J                      J                       J                    J                         J

  J                J                        J                J                      J                       J                    J                         J
  J                J                        J                J                      J                       J                    J                         J


       Total       J       367,100.                          J      284,152. J                            0. J     82,948.            Enter the total of column E on IA 1120, line 12.




                                                                                        251601 07-28-22                                                42-020a (02/01/2022)   CCH
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         FEIN

       J **-***5093




Schedule G: Iowa Alternative Minimum Tax Net Operating Loss (AMT NOL) Tax years beginning before January 1, 2021 only

          A                    B                    C                   D                     E                         F                       G                               H
      Tax Period                                Tax Period        Loss Applied          Loss Applied To                                 FEIN (if different               Corporation Name
        Ended          Iowa Loss Incurred       Applied To       To Prior Year(s)        Current Year              Unused Loss            from above)                (if different from above)


  J 12/16 J                  93,771. J 12/20 J                        93,771. J                         0. J              0. J                                 J
  J 12/17 J                  74,274. J 12/20 J                        63,992. J                         0. J         10,282. J                                 J

  J       J                          J 12/21 J                        10,282. J                         0. J                     0. J                          J
  J 12/18 J                  31,005. J 12/21 J                        31,005. J                         0. J                     0. J                          J

  J 12/19 J                164,922. J 12/21 J                         70,320. J                         0. J         94,602. J                                 J

  J                J                        J                J                      J                          J                   J                           J
  J                J                        J                J                      J                          J                   J                           J

  J                J                        J                J                      J                          J                   J                           J
  J                J                        J                J                      J                          J                   J                           J


       Total       J       363,972.                          J      269,370. J                          0. J         94,602.            Enter the total of column E on IA 4626, line 11.




                                                                                             251602 07-28-22                                                 42-020b (02/01/2022)   CCH
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 REVENUE
                                                              2022 IA 2220 Underpayment of Estimated Tax
                                                                           Corporations, S Corporations, and Financial Institutions
                                                                                                                      tax.iowa.gov

Name: EATSTREET,                 INC.
Federal Employer Identification Number (FEIN): **-***5093                                                               Tax Period: 12/31/22

                                       This form must be included with your return, even if no underpayment penalty is due.
                                                                  Computation of Underpayment
Note: If you meet any of the exceptions that avoid the underpayment penalty for all quarters (see instructions), skip lines 1 through 8, and go directly to line 9.

 1. 2022 tax from IA 1120, line 14, IA 1120F, line 13, or IA 1120S, line 35 ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1.                                                                  0.
 2. Credits from IA 1120, line 15, IA 1120F, line 14-15 or IA 1120S, line 36 ~~~~~~~~~~~~~~~~~~~~~~~~~~ 2.                                                                  0.
 3. Balance. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3.                                                                                      0.

                                                                                1st Quarter               2nd Quarter               3rd Quarter               4th Quarter

 4. Enter in columns 1 through 4 the installment dates that
    correspond to the last day of the 4th, 6th, 9th, and 12th
    months of your taxable year                                            04/30/2022 06/30/2022 09/30/2022 12/31/2022

 5. Enter 25% of line 3 in columns 1 through 4                                                0.                        0.                        0.                        0.

 6. (a) Amount paid or credited for each period                                               0.                        0.                        0.                        0.
 6. (b) Overpayment of previous installment. An overpayment
        on line 8 in excess of all prior underpayments is to
        be applied as a credit against the next installment                                                             0.                        0.                        0.

 7. Total of lines 6(a) and 6(b)                                                              0.                        0.                        0.                        0.
 8. Underpayment: Subtract line 7 from line 5
    Overpayment: Subtract line 5 from line 7                                                  0.                        0.                        0.                        0.
Exceptions that avoid the underpayment penalty; Exceptions 1 and 2 not applicable for initial year filers.
 9. Total cumulative amount paid or credited from the beginning
    of the taxable year through the installment dates that
    correspond to the last day of the 4th, 6th, 9th, and 12th
    months of your taxable year
                                                                                25% of tax                50% of tax                75% of tax                100% of tax
10. Exception 1: Prior year's tax                                                   2,821.                    5,642.                    8,462.                  11,283.
11. Exception 2: Tax on prior                                                   25% of tax                50% of tax                75% of tax                100% of tax
    year's income using current year's rates
                                                                                25% of tax                50% of tax                75% of tax                100% of tax
12. Exception 3: Tax on annualized income. Include schedule.
Computation of Underpayment Penalty


13. Enter same installment dates used in line 4                            04/30/2022 06/30/2022 09/30/2022 12/31/2022

14. Amount of underpayment from line 8


15. Date of payment. See Instructions.
16. (a) Number of days from due date of installment to date
        of payment or 12/31/22, whichever is earlier
16. (b) Number of days inclusively from 01/01/23, or due
        date of installment, whichever is later, to the date of
        payment or the last day of the 4th month after
        the close of the tax year, whichever is earlier
17. (a) 5% per year on the amount shown on line 14, for the
        number of days shown on line 16(a). See Instructions.
17. (b) 6% per year on the amount shown on line 14 for the number
        of days shown on line 16(b). See Instructions.


18. Total of lines 17(a) and 17(b)
19. Penalty: Add the four columns of line 18 and enter here. Also, show the amount on IA 1120, line 20, IA 1120F, line 19, or IA 1120S, line 48.                            0.

251521 11-18-22

45-006a (08/04/2022) CCH
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     Iowa Department of

 REVENUE                                                                                                                IA 163 Interest Expense Adjustments
                                                                                                                                                                             tax.iowa.gov
                                                                              Federal Employer Identification Number
        Name(s)                                                               (FEIN) or Social Security Number (SSN)

    J EATSTREET, INC.                                                      J **-***5093
        Tax Period End Date

    J 12/31/22

 This form is intended to make adjustments for Iowa's nonconformity with Internal Revenue Code (IRC) section
 163(j) business interest expense deduction limitations for tax years beginning on or after January 1, 2020.
 Before you complete this form, read the instructions.
  1. Business interest expense from federal form 8990, line 1 ~~~~~~~~~~~~~~                 J1             2,819,995.

  2. Non-Iowa partnership adjustment from IA 163, Schedule A, line e, Total ~~~~~~~          J2
  3. Floor plan financing interest expense, federal form 8990, line 4 ~~~~~~~~~~~            J3

  4. Total. Add lines 1-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   J4             2,819,995.

  5. Current year federal deduction from federal form 8990, line 30 ~~~~~~~~~~~              J5
  6. Current year Iowa adjustment. Subtract line 4 from line 5
      (may be positive or negative). See instructions ~~~~~~~~~~~~~~~~~~~                    J6           -2,819,995.                         Amounts may be positive or negative.
IA 163 Schedule A
If you had current year excess business interest expense amounts shown on federal form 8990, Schedule A, column c, complete the following schedule and include it with your Iowa return. Columns
a, b, and c of this schedule should match columns a, b, and c of your federal 8990, Schedule A. If you need more lines, you may include as many additional copies of this schedule as necessary.
                                                                                                                                                         E. Re-enter column C amounts only for
                                                                                                                             D. Did you receive an       those rows in which you marked "N" in
                   A. Name of Partnership                               B. FEIN                  C. Current year excess      IA 1065 K-1 from this    column d. Add all entries for this column and
                                                                                                   business expense            partnership? (Y/N)       enter the result on the "Total" line below.

    J                                                      J                                   J                                   J                 J

    J                                                      J                                   J                                   J                 J
    J                                                      J                                   J                                   J                 J

    J                                                      J                                   J                                   J                 J
    J                                                      J                                   J                                   J                 J

    J                                                      J                                   J                                   J                 J

                                                                                                                             E. Total ~~~~~          JE

                                                                              Include this form with your tax return.

                                                                                                                                            251621 09-16-22     42-039a (09/13/2022) CCH
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                           TAX RETURN FILING INSTRUCTIONS
                                               ILLINOIS FORM IL-1120

                                        FOR THE YEAR ENDING
                                                 December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                             $                0
                Less: payments and credits            $                0
                Plus: other amount                    $                0
                Plus: interest and penalties          $                0
                No payment required                   $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Illinois Department of Revenue
               P.O. Box 19048
               Springfield, IL 62794-9048


Return Must be Mailed On or Before:
              November 15, 2023

Special Instructions:
                                                    Case 3-24-12061-cjf                        Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                               Desc Main
                                                                                                    Document    Page 138 of 326
                                                    Illinois Department of Revenue
                                                    2022 Form IL-1120
                                                    Corporation Income and Replacement Tax Return
                                                    See "When should I file?" in the Form IL-1120 instructions for a list of due dates.
         If this return is not for calendar year 2022, enter your fiscal tax year here.                                                                                                         Enter the amount you are paying.
         Tax year beginning                                                                          , 2022, ending                                                                             $                       0.00
                                                                month                 day                             month                    day                  year
            This form is for tax years ending on or after December 31, 2022, and before December 31, 2023.
              WARNING
            For all other situations, see instructions to determine the correct form to use.
Step 1: Identify your corporation                                                                 N Enter your federal employer identification number (FEIN).
 A Enter your complete legal business name.                                                           **-***5093
                          If you have a name change, check this box.
                                                                                                                                                               O If you are a member of a group filing a federal
                          Name:                     EATSTREET, INC.                                                                                              consolidated return, enter the FEIN of the parent.
  B Enter your mailing address.
                          Check this box if either of the following apply:                                                                     X
                          ¥ this is your first return, or                                                                                                      P Enter your North American Industry Classification
                          ¥ you have an address change.                                                                                                          System (NAICS) Code. See instructions.
                                                                                                                                                                   722300
                          C/O: STEVE ANASTASI

                                                                                                                                                               Q Enter your corporate file (charter) number
                          Mailing address:                   1574 W BROADWAY ST STE 200 #PMB10                                                                   assigned to you by the Secretary of State.


                          City:                   MADISON                                                State:   WI ZIP:53713
       C If this is the first or final return, check the applicable box(es).                                                                                   R Enter the city, state, and ZIP code where your
                  First return                                                                                                                                   accounting records are kept. (Use the two-letter
                                                    Final return (Enter the date of termination.                                   )                             postal abbreviation, e.g. , IL, GA, etc.)
                                                                                                     mm        dd        yyyy
                                                                                                                                                                   MADISON                            WI         53713
                                                                                                                                                                   City                             State                ZIP
       D If this is a final return because you sold this business, enter the date sold
                          (mm dd yyyy)                                                  , and the new owner's FEIN.
                                                                                                                                                               S If you are making the business income election to
        E Check the box and see the instructions if your business is a:                                                                                          treat all nonbusiness income as business income,
                                                    Unitary Filer (Combined return)               Foreign insurer                                                  check this box and enter zero on Lines 24 and 32.
        F If you completed the following, check the box and attach the federal
          form(s) to this return.                                                                                                                              T Check your method of accounting.
                                                    Federal Form 8886                             Federal Schedule M-3,                                                Cash    X Accrual          Other
                                                                                                  Part II, Line 12                                             U If you are making a discharge of indebtedness
       G Apportionment Formulas. Mark the appropriate box or boxes and see                                                                                       adjustment on Schedules NLD or UB/NLD, or
         Apportionment Formula instructions.    X Sales companies                                                                                                  Form IL-1120, Line 36, check this box and
                                                    Insurance companies                           Financial organizations                                        attach federal Form 982.
                                                    Transportation companies                      Federally regulated exchanges                                V Check this box if you attached
       H Check this box if you attached Illinois Schedule UB.                                                                                                    Schedule INL.
            I Check this box if you attached the Subgroup Schedule.                                                                                            W If you annualized your income on Form IL-2220,
         J Check this box if you attached Illinois Schedule 1299-D.                                                                                              check this box and attach Form IL-2220.
       K Check this box if you attached Form IL-4562.                                                                                                          X Check this box if your business activity is
        L Check this box if you attached Illinois Schedule M (for businesses).                                                                 X                 protected under Public Law 86-272.
    M Check this box if you attached Schedule 80/20.                                                                                                           Y Check this box if you are a 52/53 week filer.



L
                                                  J If you owe tax on Line 67, make an electronic payment at Tax.Illinois.gov. If you must mail your payment,
Attach your payment and
                          Form IL-1120-V here .




                                                      complete a payment voucher, Form IL-1120-V. Write your FEIN, tax year ending, and "IL-1120-V" on your check
                                                      or money order and make it payable to "Illinois Department of Revenue." Attach your voucher and payment here.

                                                  J Enter the amount of your payment on the top of this page in the space provided.
                                                  J If a payment is not enclosed, mail this return to:                                               J If a payment is enclosed, mail this return to:
                                                      ILLINOIS DEPARTMENT OF REVENUE                                                                       ILLINOIS DEPARTMENT OF REVENUE
                                                      PO BOX 19048                                                                                         PO BOX 19038
                                                      SPRINGFIELD IL 62794-9048                                                                            SPRINGFIELD IL 62794-9038
K
                                                           ID: 2BX
                                                  249401 01-23-23         This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this          IR      NS                DR
                                                                          information is REQUIRED. Failure to provide information could result in a penalty.
                                IL-1120 (R-12/22)                                                                                                                                                                     Page 1 of 4
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        EATSTREET, INC.                                                                                                                              **-***5093

                                                                                                                                                       (Whole dollars only)
Step 2: Figure your income or loss
 1 Federal taxable income from U.S. Form 1120, Line 30. Attach a copy of your federal return.                                                   1      -5,131,799 .00
 2 Net operating loss deduction from U.S. Form 1120, Line 29a. This amount cannot be negative.                                                  2                             .00
 3 State, municipal, and other interest income excluded from Line 1.                                                                            3                             .00
 4 Illinois income and replacement tax and surcharge deducted in arriving at Line 1.                                                            4                             .00
 5 Illinois Special Depreciation addition. Attach Form IL-4562.                                                                                 5                             .00
 6 Related-Party Expenses additions. Attach Schedule 80/20.                                                                                     6                             .00
 7 Distributive share of additions. Attach Schedule(s) K-1-P or K-1-T.                                                                          7                             .00
 8 Other additions. Attach Schedule M (for businesses).                                                                                         8           3,699 .00
 9 Add Lines 1 through 8. This amount is your income or loss.                                                                                   9      -5,128,100 .00

Step 3: Figure your base income or loss
10 Interest income from U.S. Treasury and other exempt federal obligations.                           10                                 .00
11 River Edge Redevelopment Zone Dividend subtraction.
   Attach Schedule 1299-B.                                                                            11                                 .00
12 River Edge Redevelopment Zone Interest subtraction.
   Attach Schedule 1299-B.                                                                            12                                 .00
13 High Impact Business Dividend subtraction. Attach Schedule 1299-B.                                 13                                 .00
14 High Impact Business Interest subtraction. Attach Schedule 1299-B.                                 14                                 .00
15 Contribution subtraction. Attach Schedule 1299-B.                                                  15                                 .00
16 Contributions to certain job training projects. See instructions.                                  16                                 .00
17 Foreign Dividend subtraction. Attach Schedule J. See instructions.                                 17                                 .00
18 Illinois Special Depreciation subtraction. Attach Form IL-4562.                                    18                                 .00
19 Related-Party Expenses subtraction. Attach Schedule 80/20.                                         19                                 .00
20 Distributive share of subtractions. Attach Schedule(s) K-1-P or K-1-T.                             20                                 .00
21 Other subtractions. Attach Schedule M (for businesses).                                            21                       68,154 .00
22 Total subtractions. Add Lines 10 through 21.                                                                                                22          68,154 .00
23 Base income or loss. Subtract Line 22 from Line 9.                                                                                          23      -5,196,254 .00

          A If the amount on Line 23 is derived inside Illinois only, check this box and enter the amount from Step 3, Line 23
            on Step 5, Line 35. You may not complete Step 4. (You must leave Step 4, Lines 24 through 34 blank.)
 STOP
              Note | If you are a unitary filer, do not check this box. Check the box on Line B and complete Step 4.
          B If any portion of the amount on Line 23 is derived outside Illinois, or you are a unitary filer, check this box and complete all lines of Step 4.                  X
            (Do not leave Lines 28 through 30 blank.) See instructions.

Step 4: Figure your income allocable to Illinois (Complete only if you checked the box on Line B, above.)
 24 Nonbusiness income or loss. Attach Schedule NB.                 24                       0 .00
 25 Business income or loss included in Line 23 from non-unitary partnerships,
    partnerships included on a Schedule UB, S corporations, trusts, or
     estates. See instructions.                                                                       25                               0 .00
 26 Add Lines 24 and 25.                                                                                                                       26               0 .00
 27 Business income or loss. Subtract Line 26 from Line 23.                                                                                    27      -5,196,254 .00
 28 Total sales everywhere. This amount cannot be negative.                                           28                  27,659,510
 29 Total sales inside Illinois. This amount cannot be negative.                                      29                     957,384
 30 Apportionment Factor. Divide Line 29 by Line 28. Round to six decimal places.                     30                     .034613
 31 Business income or loss apportionable to Illinois. Multiply Line 27 by Line 30.                                                            31          -179,858 .00
 32 Nonbusiness income or loss allocable to Illinois. Attach Schedule NB.                                                                      32                 0 .00
 33 Business income or loss apportionable to Illinois from non-unitary partnerships, partnerships
     included on a Schedule UB, S corporations, trusts, or estates. See instructions.                                                          33                 0 .00
 34 Base income or loss allocable to Illinois. Add Lines 31 through 33.                                                                        34          -179,858 .00




                                                       Printed by the authority of the state of Illinois. Electronic only, one copy.

        Page 2 of 4   249402 01-23-23                                                                                                          ID: 2BX IL-1120 (R-12/22)
         EATSTREET,   INC.
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Step 5: Figure your net income
 35 Base income or net loss from Step 3, Line 23, or Step 4, Line 34.                                                                  35          -179,858 .00
 36 Discharge of indebtedness adjustment. Attach federal Form 982. See instructions.                                                   36                                  .00
 37 Adjusted base income or net loss. Add Lines 35 and 36. See instructions.                                                           37          -179,858 .00

                                                                                                                       ;<         ;<
 38 Illinois net loss deduction. If Line 37 is zero or a negative amount, enter zero. Attach Schedule NLD or UB/NLD.
     Check this box and attach a detailed statement if you have merged losses.                                                         38                                  .00
 39 Net income. Subtract Line 38 from Line 37.                                                                                         39          -179,858 .00
Step 6: Figure your replacement tax after credits
 40 Replacement tax. Multiply Line 39 by 2.5% (.025).                                                                                  40                                  .00
 41 Recapture of investment credits. Attach Schedule 4255.                                                                             41                                  .00
 42 Replacement tax before credits. Add Lines 40 and 41.                                                                               42                                  .00
 43 Investment credits. Attach Form IL-477.                                                                                            43                                  .00
 44 Replacement tax after credits. Subtract Line 43 from Line 42. If the amount is negative, enter zero.                               44                             0 .00
Step 7: Figure your income tax after credits
 45 Income tax. Multiply Line 39 by 7.0% (.07).                                                                                        45                                  .00
 46 Recapture of investment credits. Attach Schedule 4255.                                                                             46                                  .00
 47 Income tax before credits. Add Lines 45 and 46.                                                                                    47                                  .00
 48 Income tax credits. Attach Schedule 1299-D.                                                                                        48                                  .00
 49 Income tax after credits. Subtract Line 48 from Line 47. If the amount is negative, enter zero.                                    49                             0 .00
Step 8: Figure your refund or balance due
 50 Replacement tax before reductions. Enter the amount from Line 44.                                                                50                               0 .00
 51 Foreign Insurer replacement tax reduction. Attach Schedule INS or UB/INS. See instructions.                                      51                                    .00
 52 Subtract Line 51 from Line 50. This is your net replacement tax.                                                                 52                                    .00
 53 Income tax before reductions. Enter the amount from Line 49.                                                                     53                               0 .00
 54 Foreign Insurer income tax reduction. Attach Schedule INS or UB/INS. See instructions.                                           54                                    .00
 55 Subtract Line 54 from Line 53. This is your net income tax.                                                                      55                               0 .00
 56 Compassionate Use of Medical Cannabis Program Act surcharge. See instructions .                                                  56                                    .00
 57 Sale of assets by gaming licensee surcharge. See instructions.                                                                   57                                    .00
 58 Total net income and replacement taxes and surcharges. Add Lines 52, 55, 56, and 57.                                             58                               0 .00
 59 Underpayment of estimated tax penalty from Form IL-2220. See instructions.                                                       59                                    .00
 60 Total taxes, surcharges, and penalty. Add Lines 58 and 59.                                                                       60                               0 .00
 61 Payments. See instructions.
    a Credits from previous overpayments.                                                 61a                               .00
     b Total payments made before the date this return is filed.                          61b                               .00
     c Pass-through withholding reported to you.
       Attach Schedule(s) K-1-P or K-1-T.                                                 61c                               .00
     d Pass-through entity tax credit reported to you.
       Attach Schedule(s) K-1-P or K-1-T.                                                 61d                               .00
     e Illinois income tax withholding. Attach Form(s) W-2G.                              61e                               .00
 62 Total payments. Add Lines 61a through 61e.                                                                                         62                                  .00
 63 Overpayment. If Line 62 is greater than Line 60, subtract Line 60 from Line 62.                                                    63                                  .00

                                                                                                                       ;<         ;<                                             ;<
 64 Amount to be credited forward. See instructions.
    Check this box and attach a detailed statement if this carryforward is going to a different FEIN.                                  64                                  .00
 65 Refund. Subtract Line 64 from Line 63. This is the amount to be refunded.                                                          65                                  .00
 66 Complete to direct deposit your refund.
    Routing Number                                                                    Checking or          Savings
    Account Number
 67 Tax due. If Line 60 is greater than Line 62, subtract Line 62 from Line 60. This is the amount you owe.                            67                                  .00
Step 9: Sign below - Under penalties of perjury, I state that I have examined this return and, to the best of my knowledge, it is true, correct and complete.
Sign                                                            CEO                                  866-654-8777                          X Check if the Department
                                                                                                                                                may discuss this return with the
Here Signature of authorized officer              Date (mm/dd/yyyy) Title                                     Phone                             paid preparer shown in this step.
             DANIEL T. O'CONNOR, CP                                DANIEL T. O'CONNOR 11/09/2023                                              Check if P00543528
Paid          Print/Type paid preparer's name                      Paid preparer's signature                   Date (mm/dd/yyyy) self-employed Paid Preparer's PTIN
Preparer      Firm's name | BAKER       TILLY US, LLP                                                                  Firm's FEIN          | **-***9910
Use Only      Firm's address | PO    BOX 7398
                                  MADISON, WI                                                   53707-7398 Firm's phone | 608.249.6622
                                       249403
     IL-1120 (R-12/22)      ID: 2BX    01-23-23   | Enter the amount of your payment on the top of page 1 in the space provided.                               Page 3 of 4
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                             Illinois Department of Revenue                                                                                                          Year ending

                             2022 Schedule M                                                                                                                     12
                                                                                                                                                                   Month
                                                                                                                                                                               22
                                                                                                                                                                                  Year

                             Other Additions and Subtractions (for businesses)
                             For tax years ending on or after December 31, 2022.
                             Attach to your Form IL-1120, IL-1120-ST, IL-1065, or IL-1041.                                                                              IL Attachment No. 15
Step 1: Provide the following information

EATSTREET, INC.                                                                                                                                          **-***5093
Enter your name as shown on your tax return.                                                                                          Enter your federal employer identification number (FEIN)




Step 2: Figure your additions
Enter the amount of

  1 Capital gain taxed under IRC Section 852(b)(3).                                                                                                       1                                      .00
  2 Notes, bonds, debentures, or obligations issued by the Governments of American Samoa,
    Guam, the Northern Mariana Islands, Puerto Rico, or the Virgin Islands.                                                                               2                                      .00
  3 Lloyd's plan of operation loss if reported on your behalf on Form IL-1065 and included in
    your federal taxable income.                                                                                                                          3                                      .00
  4 Business expense recapture.                                                                                                                           4                                      .00
  5 Any other state's income tax deducted from federal taxable income. (Form IL-1041 filers only)                                                         5                                      .00
  6 Capital loss to be carried forward. (Form IL-1041 filers only)                                                                                        6                                      .00
  7 Student-Assistance Contribution Credit taken on Schedule 1299-A or 1299-D.                                                                            7                                      .00
  8 Dividends paid by a captive REIT.                                                                                                                     8                                      .00
  9 Deduction allowed under IRC Section 250(a)(1)(A). (Form IL-1120 filers only)                                                                          9                                      .00
10 Other additions - Identify each item.             SEE STATEMENT 1                                                                                    10                          3,699 .00
11 Total additions.


                                                                                                                                          )
   Add Lines 1 through 10. Enter the amount here and on your Form IL-1120, Line 8,
      Form IL-1120-ST, Line 21, Form IL-1065, Line 22 or Form IL-1041, Line 10.                                                                         11                          3,699 .00



Step 3: Figure your subtractions
Enter the amount of

12 Exempt interest dividends paid by regulated investment companies (IRC Section 852(b)(5)).                                                            12                                       .00
13 Notes, bonds, debentures, or obligations issued by the Governments of American Samoa, Guam,
      the Northern Mariana Islands, Puerto Rico, or the Virgin Islands to the extent the amounts were
      required to be added back on Line 2.                                                                                                              13                                       .00
14 Lloyd's plan of operation income if reported on your behalf on Form IL-1065.                                                                         14                                       .00
15 Income for which you claimed a credit under IRC Section 1341.                                                                                        15                                       .00
16 Expenses of federally tax-exempt income and federal credits.
   See instructions.
      Specify any amount relating to the following:
      a Interest expenses relating to municipal income (IRC Section 291)                                 a                                        .00
      b Interest and other expenses related to federally tax-exempt
           interest (IRC Section 265)                                                                    b                                        .00
      c Bond premium amortization on federally tax-exempt
        bonds (IRC Section 171)                                                                          c                                        .00
      d Expenses related to certain federal credits (IRC Section 280C)                                   d                                        .00
      e Change in insurance company reserves (IRC Section 807 or 832)                                    e                                        .00
      f    Reduction in depreciation related to railroad maintenance
           credits (IRC Section 45G)                                                                      f                                       .00
   g Gross income resulting from alternative energy credits (IRC Section 87)                             g                                        .00
17 Add Lines 16a through 16g.                                                                                                                           17                                       .00
18 Add Lines 12 through 15 and Line 17. Enter the amount here and on Line 19.                                                                           18                                       .00




           249291 01-23-23                           This form is authorized as outlined by the Illinois Income Tax Act. Disclosure of this
                                                     information is REQUIRED. Failure to provide information could result in a penalty.
          Page 1 of 3                                                                                                                                         ID: 2BX Schedule M (R-12/22)
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Step 3: Continued

19 Enter the amount from Line 18.                                                                            19                          .00


20 Interest on the following obligations of Illinois state and local government, only if included in
    Illinois income (see instructions). Attach a copy of the statement that identifies the payer
    and the amount of interest for each obligation.
    a Illinois Housing Development Authority bonds and notes (except
        housing-related commercial facilities bonds and notes)                      a                  .00
    b Illinois Development Finance Authority bonds, notes, and other
      evidence of obligations (only venture fund and infrastructure bonds)          b                  .00
    c Illinois Sports Facilities Authority bonds                                    c                  .00
    d Illinois Development Finance Authority bonds (only those issued
      under the Illinois Development Finance Authority Act, Sections 7.80
      through 7.87)                                                                 d                  .00
    e Illinois Development Finance Authority bonds or Illinois Finance
      Authority bonds issued under the Asbestos Abatement Finance Act               e                  .00
    f   Bonds issued by the Illinois Finance Authority under the Illinois
        Finance Authority Act                                                        f                 .00
    g Southwestern Illinois Development Authority bonds                             g                  .00
    h Illinois Power Agency bonds issued by the Illinois Finance Authority
        under Other Powers Article in the Illinois Finance Authority Act            h                  .00
    i   Central Illinois Economic Development Authority bonds issued under
        the Central Illinois Economic Development Authority Act                      i                 .00
    j   Eastern Illinois Economic Development Authority bonds issued under
        the Eastern Illinois Economic Development Authority Act                      j                 .00
    k Southeastern Illinois Economic Development Authority bonds issued
      under the Southeastern Illinois Economic Development Authority Act            k                  .00
    l   Southern Illinois Economic Development Authority bonds issued
        under the Southern Illinois Economic Development Authority Act               l                 .00
    m Illinois Urban Development Authority bonds issued under the Illinois
      Urban Development Authority Act                                              m                   .00
    n Downstate Illinois Sports Facilities Authority bonds issued under the
      Downstate Illinois Sports Facilities Authority Act                            n                  .00
    o Western Illinois Economic Development Authority bonds issued under
      the Western Illinois Economic Development Authority Bonds Act                 o                  .00
    p Upper Illinois River Valley Development Authority bonds issued under
      the Upper Illinois River Valley Development Authority Act                     p                  .00
    q Will-Kankakee Regional Development Authority bonds issued under
      the Will-Kankakee Regional Development Authority Law                          q                  .00
    r Tri-County River Valley Development Authority bonds issued under
      the Tri-County River Valley Development Authority Law                          r                 .00
    s Quad Cities Regional Economic Development Authority bonds and
      notes (if declared to be exempt from taxation by the Authority)               s                  .00
    t   Quad Cities Interstate Metropolitan Authority bonds                          t                 .00
    u Rural Bond Bank Act bonds and notes                                           u                  .00
    v Bonds issued under the Export Development Act of 1983                         v                  .00
    w College savings bonds issued under the General Obligation
      Bond Act in accordance with the Baccalaureate Savings Act                     w                  .00
    x New Harmony Bridge Authority bonds                                            x                  .00
    y New Harmony Bridge Bi-State Commission bonds                                  y                  .00
21 Add Lines 20a through 20y.                                                                                21                          .00
22 Add Lines 19 and 21. Enter the amount here and on Line 23.                                                22                          .00




        Page 2 of 3 ID: 2BX      249292 01-23-23                                                                  Schedule M (R-12/22)
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Step 3: Continued

23 Enter the amount from Line 22.                                                                  23                         .00
24 Federally taxed Illinois state refund from prior years.                                         24                         .00
25 Dividends received, including IRC Section 78 Foreign Dividend Gross-up and
   subpart F income. (Form IL-1120-ST filers only)                                                 25                         .00
26 Contributions made to a job training project. See instructions.
   (Form IL-1120-ST and Form IL-1065 filers only)                                                  26                         .00
27 Reparations or other amounts received as a victim of persecution
   by Nazi Germany. (Form IL-1041 filers only)                                                     27                         .00
28 Income eligible for a deduction by an attorney-in-fact under IRC Section 835.                   28                         .00
29 Income from Illinois pre-need funeral, burial, and cemetery trusts.                             29                         .00
30 Income earned by nuclear decommissioning trusts established under the Public Utilities Act.     30                         .00
31 Recovery of items previously deducted on Form U.S. 1040, Schedule A, filed by the
    decedent (including refunds of any state and local income taxes, other than Illinois).
   (Form IL-1041, Estate filers only)                                                              31                         .00
32 Refunds of state income taxes added back in a prior year on Schedule M, Line 5.
   (Form IL-1041 filers only)                                                                      32                         .00
33 Excess business loss disallowed by IRC Section 461(l)(1)(B). (Form IL-1041 filers only)         33                         .00
34 Unused patronage or nonpatronage loss amounts from Schedule INL.
    (Form IL-1120 filers only) See instructions. Identify the year you first made
    the Schedule INL, Step 2, Line 1a election.                                                    34                         .00
35 Eligible subtractions from Publication 101 that are not subtracted anywhere else. See
   instructions. Identify each item.      SEE STATEMENT 2                                          35         68,154 .00
36 Total subtractions.
   Add Lines 23 through 35.


                                                                                             )
    Enter the amount here and on Form IL-1120, Line 21, Form IL-1120-ST, Line 33,
    Form IL-1065, Line 33, or Form IL-1041, Line 24.                                               36         68,154 .00




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  EATSTREET, INC.                  Document    Page 144 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  IL SCH M                       OTHER ADDITIONS                   STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DEPRECIATION ADDBACK                                                               3,699.00
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M, PAGE 1, LINE 10                                               3,699.00
                                                                               ~~~~~~~~~~~~~~




                                               7                                STATEMENT(S) 1
13111109 144198 89475                       2022.05000 EATSTREET, INC.                  89475__1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 145 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  IL SCH M                      OTHER SUBTRACTIONS                 STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DISPOSAL OF FIXED ASSETS                                                          68,154.00
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M, PAGE 3, LINE 35                                              68,154.00
                                                                               ~~~~~~~~~~~~~~




                                               8                                STATEMENT(S) 2
13111109 144198 89475                       2022.05000 EATSTREET, INC.                  89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                               INDIANA FORM IT-20

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $                           0
                Less: payments and credits           $                           0
                Plus: other amount                   $                           0
                Plus: interest and penalties         $                           0
                No payment required                  $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               This return has been prepared for electronic filing. If you wish to have it transmitted to the
               INDOR, please sign, date and return Form IT-8879C to our office. We will then submit the
               return to the INDOR. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:
              Return Form IT-8879C to us by November 15, 2023.

Special Instructions:
           Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                         Desc Main
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                Form                                                Indiana Income Tax                                                      Do Not Mail
              IT-8879C                            DECLARATION OF ELECTRONIC FILING                                                           This Form
             State Form 55685                      For calendar year 2022, or other tax year beginning                                        To DOR
                (R9 / 12-22)
                                                               , 2022 and ending



                                               Submission ID


 Corporation/Partnership/Fiduciary Name                                                                        Federal Employer Identification Number
EATSTREET, INC.                                                                                                  ** ***5093
 Street Address                                    City                                     State         ZIP Code               Daytime Telephone Number
1574 W BROADWAY                                    MADISON                                  WI             53713                 866 654 8777

                                     Part I     Tax Return Information (See Instructions)

1.     Total net income (loss) from Form IT-20S/IT-65/IT-20/IT-41, line 1 ~~~~~~~~~~~~~~~~~~~~~~                           1.               -5131799 .00
2.     Total income as adjusted (Form IT-20S/IT-65, line 3; Form IT-20, line 21; Form IT-41, line 9) ~~~~~~~~~             2.                 -25653 .00
3.     IT-20S ONLY: Total income tax from Schedule B (IT-20S, line 13)      ~~~~~~~~~~~~~~~~~~~~~                          3.                              .00
4.     Total tax (Form IT-20S, line 16; Form IT-65, line 7; Form IT-20, line 23; Form IT-41, line 12) ~~~~~~~~~            4.                              .00
5.     Subtotal (Form IT-20S, line 23; Form IT-65, line 14; Form IT-20, line 41; Form IT-41, line 15) ~~~~~~~~~            5.                              .00

6.     Total amount due (Form IT-20S, line 27; Form IT-65, line 18; Form IT-20, line 45; Form IT-41, line 19) ~~~~~        6.                              .00

7.     Overpayment/Refund (Form IT-20S, line 28; Form IT-65, line 19; Form IT-20, line 46; Form IT-41, line 20) ~~~        7.                              .00


                                                          Part II Electronic Settlement
                                  Direct Deposit of Refund
 8.    Type of settlement:
                                                                            Amount                               Date of Withdrawal
                                   Direct Debit of Amount Owed

                                                                            Note: The first two digits of the routing number must be 01 - 12 or 21 - 32.
 9.    Routing number:

 10.
     Account number:
 11. Type of account:
                                                                                                                                             Do Not Mail
                                Checking         Savings
 12. Place an "X" in the box if refund will go to an account outside the United States.
                                                                                                                                             This Form
                                                                                                                                             To DOR
My request for direct deposit of my refund, or direct debit of the amount I owe, includes my authorization for the Indiana Department of
Revenue to furnish my financial institution with my routing number, account number, account type, and Federal Employer Identification
Number to ensure my refund or payment is properly processed.

                                                       Part III Declaration of Taxpayer
Under penalties of perjury, I declare that I am an officer of the corporation/partnership/fiduciary listed above and the amounts in Part I agree with      I
the amounts on the corresponding lines of the electronic portion of the corporation's/partnership's/fiduciary's 2022 Indiana income tax returns.
To the best of my knowledge and belief, this 2022 return is true, correct, and complete. I consent to my electronic return originator (ERO) sending        N
my return, this declaration, and accompanying schedule and statements to the Indiana Department of Revenue (DOR). I also consent to DOR
sending my ERO and/or transmitter an acknowledgement of receipt of transmission and an indication of whether or not my return is accepted
and, if rejected, the reason(s) for the rejection. If the processing of my return or refund is delayed, I authorize DOR to disclose to my ERO and/or
                                                                                                                                                           D
transmitter the reason(s) for the delay of when the refund was sent.
                                                                                                                                                           I
                                                                                                                                                           A
In addition, by using a computer system and software to prepare and transmit my return electronically, I consent to the disclosure to DOR of all
information pertaining to my use of the system and software and to the transmission of my tax return electronically.

Officer's signature |                                               Title CEO                                     Date                                     N
                                              Part IV. Declaration of ERO/Preparer/Transmitter                                                             A
I confirm that I am submitting this return in accordance with the IRS and Indiana Department of Revenue electronic filing programs.

ERO's EFIN     390950                                  PTIN (if preparer)   P00543528                             Phone 608.249.6622


ERO's Signature | DANIEL           T. O'CONNOR, CPA

ERO Must Retain This Form - See instructions. Do Not Submit this form to DOR unless requested to do so.                         250075 01-11-23   1019
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Form IT-20                                                        Indiana Department of Revenue
                                         Indiana Corporate Adjusted Gross Income Tax Return
State Form 44275
(R20 / 8-22)                                For Calendar Year Ending December 31, 2022 or Other Tax Year                                           2022
                                     Beginning                            2022 and ending
Check box if amended                         Check box if amendment is due to a federa l audit                                    Check box if name changed
 N ame of Corpo ration                                                                                                                    Fede ral Employ er Identificati on Number
 EATSTREET, INC.                                                                                                                           ** ***5093
 Numbe r and S treet                                                                Princ ipal Business Acti vity Code                    For eign Co untry 2-C hara cter Code
 1574 W BROADWAY ST STE 200 #PMB1005                                                           722300
 City                                                State           ZI P Code                      2-Di git County Code                  Tel ephon e Numb er
 MADISON                                               WI             53713                                 00                             866 654 8777

J. Check all boxes that apply: Initial Return            Final Return            In Bankruptcy             Insurance Co.              Cooperative/IC -DISC               R EMIC
                             010112 in the state of             WI
K. Date of incorporation                                                                R. 80% or more of gross income is derived from making, acquiring,
L. State of commercial domicile WI                                                         selling, or servicing loans or extensions of credit.
M. Year of initial Indiana return 2016                                                  S. This is a consolidated return for adju sted gross income tax.
N. Location of records if different from above address:                                 T. This return is filed on a combined basis.
        1574 W BROADWAY ST STE 200 PMB1005                                              U. In determining taxable income, I deducted any intangible expenses
O. Check box if the corporation paid a ny quarterly e stimated tax using                   or directly related intangible interest expenses paid to > 50% owned
   different federal employer identification numbers                                         affiliates.
P. Check box if you file federal F orm 1120 on a consolidated basis                     V. I have on file a valid extension of time (federal F orm 7004 or an
Q. I am filing on a combined basis, and there are material changes in                      electronic extension of time) to file my ret urn.
                                                                                                                                                        X
      circumstances since the last petition was filed.                                  W. This entity reports income from disregarded entities.

Computation of Adjusted Gross Income Tax                                                                                                               Round All Entries
1. Federal taxable income (before federal NOL and sp ecial deductions ); use a minus sign for negative amounts ~~                                  1        -513179900
2. Net qualifying dividends deduction from federal Schedule C, Form 1120 ~~~~~~~~~~~~~~~~~~~~                                                      2                00
 3. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         3        -513179900
Modifications for Adj usted Gross Income (see instructions)
4.  Enter name of addback or deduction OTHER CURRENT YR CONFORMITY Code No. 1 2 0                                                                  4          369900
5.  Enter name of addback or deduction OTHER CURRENT YR CONFORMITY Code No. 1 4 7                                                                  5        -6815400
6.      Enter name of addback or deduction OTHER CURRENT YR                          4 CONFORMITY                        Code No. 1        7       6      -270889400
7.      Enter name of addback or deduction MEAL DEDUCTION                            4                                   Code No. 1        9       7          370800
8.      Enter name of addback or deduction
                                           EXCESS  FEDERAL  INTEREST DEDU Code No.
                                                                                   1 4                                                     2       8      -281999500
9.      Enter name of addback or deduction CERTAIN  TAXES  DEDUCTED       Code No. 1 0                                                     0      9          3250100
10. Enter name of addback or deduction                                                      Code No.                                             10               00
11. Subtotal (add/subtract lines 3 through 10; use a minus sign for negative amounts) ~~~~~~~~~~~~~~~                                             11     -1068893400
Other Adjustments
12. Foreign source dividends (enclose Schedule I T-20FSD; enter as a positive amount) ~~~~~~~~~~~~~~                                             12                00
13. Subtotal of income with adjustments (subtract line 12 from line 11) ~~~~~~~~~~~~~~~~~~~~~~                                                   13      -10688934 00
14. Deduct: All source nonbusiness income or ( loss) and non- unitary partnership distributions from IT-20
    Schedule F, column C, line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       14                00
15. Taxable business income (subtract line 14 from line 13) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         15      -10688934 00
Apportionment of Income for Entity with Multi state Activities
16. Check one of the following apportionment methods used, attach completed schedule, and enter percentage on line 16d
      X 16a Schedule E, from line 9.
               16b Schedule E -7, from line 10 ( for interstate transportation).
               16c Other approved method.
16d. Enter Indiana apportionment percentage, if applicable (round percent to two decimals ) ~~~~~~~~~~~~~                                       16d              0.24    %
17. Indiana apportioned business income (multiply line 15 by percent on line 16d) ~~~~~~~~~~~~~~~~~                                              17              -25653 00
        If a pportionment of income is not applicable, enter the total amount from line 15.
Add A llocated and Previousl y Apportioned Income to Indiana
18. Enter Indiana nonbusiness income or loss and Indiana non-unitary partnership income or loss from IT-20
    Schedule F, column D, line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       18                     00
19. Indiana adjusted gross income before net operating loss deduction (a dd lines 17 and 18)~~~~~~~~~~~~                                         19              -25653 00
Deduct from Indiana Adjusted Gross Income
20. Indiana NOL deduction. Ent er as positive amount from column B of Schedule IT-20NOL (s) for each loss year~~                                  20                    00
21. Taxable adjusted gross income (subtract line 20 from line 19 and carry positive result to line 22 on page 2 of return ).                      21             -25653 00


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 Tax Calc ulation
 22. Enter amount of Indiana adjusted gross Income subject to tax from line 21 ~~~~~~~~~~~~~~~~~~~                                              22                    000
 23. Indiana adjusted gross income tax (multiply line 22 by tax rate; see instructions; cannot be less than ze ro) ~~~                          23                    000
 24. Sales/use tax due from worksheet ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    24                     00
 Nonrefundable Tax Liab ility Credits (enclose supporting documentation)
 25. College and University Contribution Credit (CC- 40)               25a. 807 ~~~~~~~~~~~~~~~~~                                              25b                     00
 26. Indiana R esea rch Expense Credit (IT-20RE C)                     26a. 822 ~~~~~~~~~~~~~~~~~                                              26b                     00
 27. Enterprise Zone Employment Expense Credit (E Z 2)                 27a. 812 ~~~~~~~~~~~~~~~~~                                              27b                     00
 28. Enterprise Zone Loan Interest Credit (LIC )                                          28a. 814 ~~~~~~~~~~~~~~~~~                           28b                     00
 Other Nonrefundable Credits (see instructions)
 29. Enter the total of certified credits claimed from Schedule IN- OCC and enclose this schedule with your return ~~                           29                     00
 30. Enter name of credit                                                                   Code No. 30a.                                       30                     00
 31. Enter name of credit                                                    Code No. 31a.                                                      31                     00
 32. Total of nonrefundable tax liability credits (a dd lines 25b through 31b; sum of credits applied may not exce ed
     line 23; other restrictions may apply )~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              32                     00
 33. Total taxes due (add lines 23 and 24 and then subtract line 32; cannot be l ess tha n zero ) ~~~~~~~~~~~~                                  33                    000
 Credit for Estimated Tax, Other Payments, and Ref undable Credits
 34. Total quarterly estimated income tax paid (itemize quarterly IT- 6/EFT payments below ) ~~~~~~~~~~~~~                                      34                     00
            Qtr1                Qtr 2               Qtr 3                Qtr 4
 35. Enter overpayment credit from tax ye ar ending      ~~~~~~~~~~~~~~~~~~~~~~~                                                                35                     00
 36. Enter this yea r's extension pay ment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                36                     00
 37. Other payments, credits (attach supporting evidence ) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        37                     00
 38. EDGE credit (enter amount from line 19 of Schedule IN -EDGE ) ~~~~~~~~~~~~~~~~~~~~~~~~                                                     38                     00
 39. ED GE- R credit (enter amount from line 19 of Schedule IN-EDGE- R ) ~~~~~~~~~~~~~~~~~~~~~~                                                 39                     00
 40. Total payments and credits (add lines 34 through 39 ) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        40                     00
 Balance of Tax Due o r Overpayment
 41. Balance of Tax Due: If line 33 is greater than line 40, enter the diffe rence as the net tax balance due                                   41                    0 00
 42. Penalty for Unde rpayment of Income Tax from attached Schedule IT- 2220           Check box if using annualization method                  42                      00
 43. Interest: If payment is made after the original due date, compute interest. (Contact the Department
                                                                                                   tm    for current interest rate )            43                      00
 44. Late Penalty: If paying late, enter 10% of line 41; se e instructions. If lines 23 and 24 are zero, ente r $10 pe r day
     filed past due date; see i nstructions on page 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         44                     00
 45. Total Amount Owed: Add lines 41 through 44. Make check payable to Indiana Department of Reve nue. Pay in U.S. funds ~                      45                     00
 46. Overpayment: If the sum of lines 33, 42, 43, and 44 is less than line 40, enter the diffe rence as an overpayment ~                        46                     00
 47. Refund: Ente r portion of line 46 to be refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         47                     00
 48. Overpayment Credit: Amount of line 46 less line 47 to be applied to the following year's estimated tax account~~                           48                     00

Certification of Signatures and Authorization Section                                                     Paid Preparer's Email Address
Under penalties of perjury, I declare I have examined this return, including all accompanying schedules
and statements, and to the best of my knowledge and belief it is true, correct, and complete.
                                                                                                              DANIEL.OCONNOR@BAKERTI

I aut horize the Department to di scuss my retu rn with my personal
representative (see instructions)              Yes X         No
                                                                                                BAKER TILLY US, LLP
 STEVE ANASTASI                                                                                 Paid Preparer: Fi rm's Name (or yours if self- employed)
Personal Representat ive's Name (Print or Type)

 STEVE.ANASTASI@EATSTREET.COM                                                                   PTIN
                                                                                                          P00543528
Email Address

                                                                                                608 249 6622
Signature of Corporate Officer                              Date                                Telephone Number
                                                            CEO                                 PO BOX 7398
Print or Type Name of Corporate Off icer                    Title                               Address

 DANIEL T. O'CONNOR, C                                      11 09 23                            MADISON
 Signature of Paid Preparer                                 Date                                City
 DANIEL T. O'CONNOR, CPA                                                                        WI                                                   53707 7398
Print or Type Name of Paid Preparer                                                             State                                                  ZIP Code + 4

                       If you owe tax, please mail your return to IN Department of Revenue, PO Box 7087, Indianapolis, IN 46207- 7087.
                           If you do not owe any tax, mail it to IN Department of Revenue, PO Box 7231, Indianapolis, IN 46207- 7231.


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SCHEDULE E                                               Indiana Department of Revenue
Form IT- 20/20S/20NP/IT-65
State Form 49105
                                         Apportionment of Income for Indiana
(R21 / 8-22)

                             for Tax Year Beginning      01        01      2022 and E nding       12        31        2022

Name as shown on return                                                                                 Federal E mployer Identification Number

EATSTREET, INC.                                                                                                         ** ***5093
Each filing entity having income from sources both within and outside Indiana must complete an apportionment schedule except financial institutions
and certain insurance companies that use a single receipts factor. Interstate transportation entities must use Schedule E-7. Combined unitary filers
must use the apportioning method (relative formula percentage) as outlined in Information Bulletin #12 and Tax Policy Directive #6. Omit cents;
percents should be rounded two decimal places; read apportionment instructions.


Part I - Indiana Apportio nment of Adjusted Gross Income
Sales /Receipts (less returns and allowances)
Include all non-exempt apportioned gross busine ss income. Do not use non-unitary partnership income of previously apportioned
income that must be separately reported as allocated income.

                                                        Column A                                 Column B                              C olumn C
                                                   Total Within In diana                      Total Within and                          Ind ia na
                                                                                              Outside Indiana                         Percentage
Sales delivered or shipped
to Indiana:
  1. Shipped from within
      Indiana                                                             .00

  2. Shipped from o utside
     Indiana                                                              .00

Sales shipped from Indiana to:
 3. The United States
     government                                                           .00
 4. Purchasers in a state where
     the taxpayer is not subject to
     income tax (under P.L. 86-272)
     (for years b eginning prior to                                       .00
     Jan. 1, 2016 only)
Other
 5. Interest & other receipts from
     extending credit attributed to
     Indiana                                                              .00
 6. Other gross business receipts
     not previously apportioned                                68802 .00
 7. Direct premiums and annuities
     received for insurance upon
     property or risks in Indiana                                         .00
 8. Total Receipts: Add column A
     receipts lines on 1A through
     7A and enter in line 8A. Enter
     all receipts on line 8B                 8A                68802 .00              8B          28893995 .00

Apportionment of income for
Indiana:
  9. Apportionment Percentage:
     Divide line 8A by line 8B (insert as
     percent, not decimal)                                                                                                       9       0 .24         %




          250431 10-21-22
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Schedule E                                                                                                                    Page 2
Part II - Business/Other Income Questionnaire
 1. List all business locations where the taxpayer has operations or partnership interests and indicate type of activities. This section
    must be completed - attach additional sheets if necessary.

    City                                                         State                  Nature of Business Activity

              MADISON                                                    WI             OPERATIONS HEADQUARTERS
    Accepts                                Registered to                                  Files Returns
    Orders? X Yes                  No      Do Business? X Yes                  No         in State?       X Yes              No
    Property in                                   Property in
    State Leased? X          Yes         No       State Owned? X           Yes          No

    City                                                         State                  Nature of Business Activity



    Accepts                                Registered to                                  Files Returns
    Orders?       Yes              No      Do Business?       Yes              No         in State?              Yes         No
    Property in                                   Property in
    State Leased?            Yes         No       State Owned?             Yes           No

    City                                                         State                  Nature of Business Activity



    Accepts                                 Registered to                                 Files Returns
    Orders?           Yes          No       Do Business?          Yes            No       in State?              Yes         No
    Property in                                     Property in
    State Leased?            Yes         No         State Owned?           Yes           No

    City                                                         State                  Nature of Business Activity



    Accepts                                 Registered to                                 Files Returns
    Orders?           Yes          No       Do Business?          Yes            No       in State?              Yes         No
    Property in                                     Property in
    State Leased?            Yes         No         State Owned?           Yes           No

 2. Briefly describe the nature of Indiana business activities, including the exact title and principal business activity of any partnership
    in which the taxpayer has an interest:

    SALES AND EMPLOYEES IN INDIANA
 3. Indicate any partnership in which you have a unitary or general partnership relationship:

    N/A - NO PARTNERSHIP INTEREST
 4. Briefly describe the nature of activities of sales personnel operating and soliciting business in Indiana:

    N/A - NO SALES PERSONNEL IN IN
 5. Do Indiana receipts for line 3A include a ll sales shipped from Indiana to (1) the U.S. government;
    or (2 ) locations where this taxpayer's only activity in the state of the purchaser consists of the mere
    solicitation of orders? If no , please explain.                                                                    Yes   X    No

    N/A - ALL SALES INCLUDED
 6. List the source of any directly allocated income from partnerships , estates, and trusts not in the taxpayer's apportioned tax base:

    N/A




           250435 09-26-22
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 Schedule                                               Indiana Department of Revenue
 IT-20NOL                                              Corporate Income Tax
State Form 439                                 Indiana Net Operating Loss Deduction
 (R19 /8-22)
                                                   Use a minus sign to denote negative amounts.                           Page attachment sequence #9

Name of Corporation or Organization                                                               Federal Employer Identification Number
 EATSTREET, INC.                                                                                                  ** ***5093

Part 1 - Computation of Indiana Net Operating Loss
 Name of Entity reporting NOL                                                                Federal Employer Identification Number of Entity reporting NOL
 EATSTREET, INC.                                                                                                  ** ***5093

Tax Year of Net Operating Loss (must have filed Indiana IT-20 or IT-20NP): MM/DD/YYYY ~~~~~~~~~~~~~~~                               12 31 2016

                                                                                   Round all entries to the nearest whole dollar
 1. Taxable Business Income from IT-20 Line 15 or IT-20NP Line 9 ~~~~~~~~~~~~~~~~~~~~~~~           1          -7431694 00

 2. Add Foreign Source Dividends deducted from IT-20 Line 12     ~~~~~~~~~~~~~~~~~~~~~~~~                                2                           0 00
 3. Add any modifications to federal net operating losses required under federal law ~~~~~~~~~~~~~~                      3                           0 00

 4. Add any deduction for contributions to a regional development authority infrastructure fund     ~~~~~~~~             4                           0 00
 5. Subtract any amount deducted under IRC s. 250(a)(1)(B) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    5                           0 00

 6. Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          6            -7431694 00
 7. Apportionment Percentage from IT-20 Line 16(d) or IT-20NP Line 10    ~~~~~~~~~~~~~~~~~~~~                            7                1.43 %

 8. Multiply Line 6 by Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 8              -106273 00
 9. Add or subtract Indiana nonbusiness income (loss) and Indiana non-unitary partnership income ~~~~~~~                 9                    0 00

10. Add lines 8 and 9. If negative, this is the Indiana NOL deduction available ~~~~~~~~~~~~~~~~~~                      10              -106273 00

Part 2 - Computation of Indiana Net Operating Loss Deduction and Carryover

                                   Loss Year                    NOL Deduction Used                                    Balance Available
                                  MM/DD/YYYY                          Column A                                             Column B
                             12 31 2016                                                                                        95821

 Carryover Available              MM/DD/YYYY                                                             Prior Row Column B - Current Row Column A
 1st year                    12 31 2017                                        10452                                           95821
 2nd year
 3rd year
 4th year
 5th year
 6th year
 7th year
 8th year
 9th year
 10th year
 11th year
 12th year
 13th year
 14th year
 15th year
 16th year
 17th year
 18th year
 19th year
 20th year



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 Schedule                                               Indiana Department of Revenue
 IT-20NOL                                              Corporate Income Tax
State Form 439                                 Indiana Net Operating Loss Deduction
 (R19 /8-22)
                                                   Use a minus sign to denote negative amounts.                           Page attachment sequence #9

Name of Corporation or Organization                                                               Federal Employer Identification Number
 EATSTREET, INC.                                                                                                  ** ***5093

Part 1 - Computation of Indiana Net Operating Loss
 Name of Entity reporting NOL                                                                Federal Employer Identification Number of Entity reporting NOL
 EATSTREET, INC.                                                                                                  ** ***5093

Tax Year of Net Operating Loss (must have filed Indiana IT-20 or IT-20NP): MM/DD/YYYY ~~~~~~~~~~~~~~~                               12 31 2017

                                                                                   Round all entries to the nearest whole dollar
 1. Taxable Business Income from IT-20 Line 15 or IT-20NP Line 9 ~~~~~~~~~~~~~~~~~~~~~~~           1        -10997873 00

 2. Add Foreign Source Dividends deducted from IT-20 Line 12     ~~~~~~~~~~~~~~~~~~~~~~~~                                2                           0 00
 3. Add any modifications to federal net operating losses required under federal law ~~~~~~~~~~~~~~                      3                           0 00

 4. Add any deduction for contributions to a regional development authority infrastructure fund     ~~~~~~~~             4                           0 00
 5. Subtract any amount deducted under IRC s. 250(a)(1)(B) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    5                           0 00

 6. Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          6          -10997873 00
 7. Apportionment Percentage from IT-20 Line 16(d) or IT-20NP Line 10    ~~~~~~~~~~~~~~~~~~~~                            7               1.06 %

 8. Multiply Line 6 by Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 8              -116577 00
 9. Add or subtract Indiana nonbusiness income (loss) and Indiana non-unitary partnership income ~~~~~~~                 9                    0 00

10. Add lines 8 and 9. If negative, this is the Indiana NOL deduction available ~~~~~~~~~~~~~~~~~~                      10              -116577 00

Part 2 - Computation of Indiana Net Operating Loss Deduction and Carryover

                                   Loss Year                    NOL Deduction Used                                    Balance Available
                                  MM/DD/YYYY                          Column A                                             Column B
                             12 31 2017                                                                                      116577

 Carryover Available              MM/DD/YYYY                                                             Prior Row Column B - Current Row Column A
 1st year
 2nd year
 3rd year
 4th year
 5th year
 6th year
 7th year
 8th year
 9th year
 10th year
 11th year
 12th year
 13th year
 14th year
 15th year
 16th year
 17th year
 18th year
 19th year
 20th year



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 Schedule                                               Indiana Department of Revenue
 IT-20NOL                                              Corporate Income Tax
State Form 439                                 Indiana Net Operating Loss Deduction
 (R19 /8-22)
                                                   Use a minus sign to denote negative amounts.                           Page attachment sequence #9

Name of Corporation or Organization                                                               Federal Employer Identification Number
 EATSTREET, INC.                                                                                                  ** ***5093

Part 1 - Computation of Indiana Net Operating Loss
 Name of Entity reporting NOL                                                                Federal Employer Identification Number of Entity reporting NOL
 EATSTREET, INC.                                                                                                  ** ***5093

Tax Year of Net Operating Loss (must have filed Indiana IT-20 or IT-20NP): MM/DD/YYYY ~~~~~~~~~~~~~~~                               12 31 2018

                                                                                   Round all entries to the nearest whole dollar
 1. Taxable Business Income from IT-20 Line 15 or IT-20NP Line 9 ~~~~~~~~~~~~~~~~~~~~~~~           1          -6723674 00

 2. Add Foreign Source Dividends deducted from IT-20 Line 12     ~~~~~~~~~~~~~~~~~~~~~~~~                                2                           0 00
 3. Add any modifications to federal net operating losses required under federal law ~~~~~~~~~~~~~~                      3                           0 00

 4. Add any deduction for contributions to a regional development authority infrastructure fund     ~~~~~~~~             4                           0 00
 5. Subtract any amount deducted under IRC s. 250(a)(1)(B) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    5                           0 00

 6. Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          6            -6723674 00
 7. Apportionment Percentage from IT-20 Line 16(d) or IT-20NP Line 10    ~~~~~~~~~~~~~~~~~~~~                            7                 .73 %

 8. Multiply Line 6 by Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 8                -49083 00
 9. Add or subtract Indiana nonbusiness income (loss) and Indiana non-unitary partnership income ~~~~~~~                 9                     0 00

10. Add lines 8 and 9. If negative, this is the Indiana NOL deduction available ~~~~~~~~~~~~~~~~~~                      10                -49083 00

Part 2 - Computation of Indiana Net Operating Loss Deduction and Carryover

                                   Loss Year                    NOL Deduction Used                                    Balance Available
                                  MM/DD/YYYY                          Column A                                             Column B
                             12 31 2018                                                                                        49083

 Carryover Available              MM/DD/YYYY                                                             Prior Row Column B - Current Row Column A
 1st year
 2nd year
 3rd year
 4th year
 5th year
 6th year
 7th year
 8th year
 9th year
 10th year
 11th year
 12th year
 13th year
 14th year
 15th year
 16th year
 17th year
 18th year
 19th year
 20th year



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 IT-20NOL                                              Corporate Income Tax
State Form 439                                 Indiana Net Operating Loss Deduction
 (R19 /8-22)
                                                   Use a minus sign to denote negative amounts.                           Page attachment sequence #9

Name of Corporation or Organization                                                               Federal Employer Identification Number
 EATSTREET, INC.                                                                                                  ** ***5093

Part 1 - Computation of Indiana Net Operating Loss
 Name of Entity reporting NOL                                                                Federal Employer Identification Number of Entity reporting NOL
 EATSTREET, INC.                                                                                                  ** ***5093

Tax Year of Net Operating Loss (must have filed Indiana IT-20 or IT-20NP): MM/DD/YYYY ~~~~~~~~~~~~~~~                               12 31 2019

                                                                                   Round all entries to the nearest whole dollar
 1. Taxable Business Income from IT-20 Line 15 or IT-20NP Line 9 ~~~~~~~~~~~~~~~~~~~~~~~           1          -6126031 00

 2. Add Foreign Source Dividends deducted from IT-20 Line 12     ~~~~~~~~~~~~~~~~~~~~~~~~                                2                           0 00
 3. Add any modifications to federal net operating losses required under federal law ~~~~~~~~~~~~~~                      3                           0 00

 4. Add any deduction for contributions to a regional development authority infrastructure fund     ~~~~~~~~             4                           0 00
 5. Subtract any amount deducted under IRC s. 250(a)(1)(B) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    5                           0 00

 6. Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          6            -6126031 00
 7. Apportionment Percentage from IT-20 Line 16(d) or IT-20NP Line 10    ~~~~~~~~~~~~~~~~~~~~                            7                 .55 %

 8. Multiply Line 6 by Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 8                -33693 00
 9. Add or subtract Indiana nonbusiness income (loss) and Indiana non-unitary partnership income ~~~~~~~                 9                     0 00

10. Add lines 8 and 9. If negative, this is the Indiana NOL deduction available ~~~~~~~~~~~~~~~~~~                      10                -33693 00

Part 2 - Computation of Indiana Net Operating Loss Deduction and Carryover

                                   Loss Year                    NOL Deduction Used                                    Balance Available
                                  MM/DD/YYYY                          Column A                                             Column B
                             12 31 2019                                                                                        33693

 Carryover Available              MM/DD/YYYY                                                             Prior Row Column B - Current Row Column A
 1st year
 2nd year
 3rd year
 4th year
 5th year
 6th year
 7th year
 8th year
 9th year
 10th year
 11th year
 12th year
 13th year
 14th year
 15th year
 16th year
 17th year
 18th year
 19th year
 20th year



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 Schedule                                               Indiana Department of Revenue
 IT-20NOL                                              Corporate Income Tax
State Form 439                                 Indiana Net Operating Loss Deduction
 (R19 /8-22)
                                                   Use a minus sign to denote negative amounts.                           Page attachment sequence #9

Name of Corporation or Organization                                                               Federal Employer Identification Number
 EATSTREET, INC.                                                                                                  ** ***5093

Part 1 - Computation of Indiana Net Operating Loss
 Name of Entity reporting NOL                                                                Federal Employer Identification Number of Entity reporting NOL
 EATSTREET, INC.                                                                                                  ** ***5093

Tax Year of Net Operating Loss (must have filed Indiana IT-20 or IT-20NP): MM/DD/YYYY ~~~~~~~~~~~~~~~                               12 31 2021

                                                                                   Round all entries to the nearest whole dollar
 1. Taxable Business Income from IT-20 Line 15 or IT-20NP Line 9 ~~~~~~~~~~~~~~~~~~~~~~~           1        -10719942 00

 2. Add Foreign Source Dividends deducted from IT-20 Line 12     ~~~~~~~~~~~~~~~~~~~~~~~~                                2                           0 00
 3. Add any modifications to federal net operating losses required under federal law ~~~~~~~~~~~~~~                      3                           0 00

 4. Add any deduction for contributions to a regional development authority infrastructure fund     ~~~~~~~~             4                           0 00
 5. Subtract any amount deducted under IRC s. 250(a)(1)(B) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    5                           0 00

 6. Subtotal ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          6          -10719942 00
 7. Apportionment Percentage from IT-20 Line 16(d) or IT-20NP Line 10    ~~~~~~~~~~~~~~~~~~~~                            7                .24 %

 8. Multiply Line 6 by Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 8                -25728 00
 9. Add or subtract Indiana nonbusiness income (loss) and Indiana non-unitary partnership income ~~~~~~~                 9                     0 00

10. Add lines 8 and 9. If negative, this is the Indiana NOL deduction available ~~~~~~~~~~~~~~~~~~                      10                -25728 00

Part 2 - Computation of Indiana Net Operating Loss Deduction and Carryover

                                   Loss Year                    NOL Deduction Used                                    Balance Available
                                  MM/DD/YYYY                          Column A                                             Column B
                             12 31 2021                                                                                        25728

 Carryover Available              MM/DD/YYYY                                                             Prior Row Column B - Current Row Column A
 1st year                    12 31 2022                                                0                                       25728
 2nd year
 3rd year
 4th year
 5th year
 6th year
 7th year
 8th year
 9th year
 10th year
 11th year
 12th year
 13th year
 14th year
 15th year
 16th year
 17th year
 18th year
 19th year
 20th year



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 Schedule                                                          Indiana Department of Revenue
IT-20 RECAP                                            Reconciliation of Federal Taxable Income
State Form 49190
(R8 / 9-19)            Tax Year Beginning      JAN 1     2022      and Ending   DEC 31 2022        Federal Employer Identification Number   **-***5093

                            Income                                    FEIN             FEIN          FEIN            Eliminations (Explain)        Combined
                                                                   ** ***5093
  1. Gross receipts or sales less returns and allowances ~~~~~~~       28834297.
  2. Cost of goods sold ~~~~~~~~~~~~~~~~~~~~~~~                          607145.
  3. Gross profit (subtract line 2 from line 1)~~~~~~~~~~~~~           28227152.
  4. Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~

   5a. Interest - government ~~~~~~~~~~~~~~~~~~~~~
    b. Interest - other ~~~~~~~~~~~~~~~~~~~~~~~~~                          15864.
  6. Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~
  7. Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~

  8. Capital gain net income from Schedule D ~~~~~~~~~~~~
  9. Net gain or (loss) from Form 4797 ~~~~~~~~~~~~~~~~                -1247141.
 10. Other Income ~~~~~~~~~~~~~~~~~~~~~~~~~                              753000.
 11. Total Income (add lines 3 through 10) ~~~~~~~~~~~~~               27748875.

                          Deductions
 12. Compensation of officers ~~~~~~~~~~~~~~~~~~~~                       895543.
 13. Salaries and wages ~~~~~~~~~~~~~~~~~~~~~~                         12399234.
 14. Repairs and maintenance ~~~~~~~~~~~~~~~~~~~                           16823.
 15. Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~

 16. Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  372244.
 17. Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~                          2277826.
 18. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 19. Charitable contributions ~~~~~~~~~~~~~~~~~~~~

 20. Depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~                              141471.
 21. Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~

 22. Advertising   ~~~~~~~~~~~~~~~~~~~~~~~~~~                            2309205.
 23. Pension, profit-sharing, etc. plans ~~~~~~~~~~~~~~~                  296795.
 24. Employment benefit programs ~~~~~~~~~~~~~~~~~                       1336864.
 25. Reserved ~~~~~~~~~~~~~~~~~~~~~~~~~~~
 26. Other deductions (attach schedule) ~~~~~~~~~~~~~~                 12834669.
27. Total deductions (add lines 12 through 26) ~~~~~~~~~~              32880674.
28. Taxable income before federal net operating loss &
     special deductions (subtract line 27 from line 11 ~~~~~~~~        -5131799.
29a. Federal net operating loss deduction ~~~~~~~~~~~~~~

   b. Special deductions (federal Schedule C) ~~~~~~~~~~~~


250301 04-01-22
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                           TAX RETURN FILING INSTRUCTIONS
                                               KANSAS FORM K-120

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $              0
                Less: payments and credits           $              0
                Plus: other amount                   $              0
                Plus: interest and penalties         $              0
                No payment required                  $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Kansas Corporate Tax
               Kansas Department of Revenue
               PO Box 750260
               Topeka, KS 66699-0260

Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
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   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                     Name                                                                                                                                 Identifying number


   Print             EATSTREET, INC.                                                                                                                         **-***5093
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
   Type              1574 W BROADWAY ST STE 200 #PMB1005
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     MADISON, WI                   53713
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  12
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year 2022 , or tax year beginning                                                          , and ending
     b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                                  0.

   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)




   219741 04-01-22
                                                                                         1
13111109 144198 89475                                                                 2022.05000 EATSTREET, INC.                                                               89475__1
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                         Page 1 of 6            2022               CORPORATE INCOME TAX              037       151022

                            For the taxable year beginning         01012022                      ending          12312022

                                                                                                                             EIN this entity                                  EIN Federal Consolidated Parent

EATSTREET, INC.
1574 W BROADWAY ST STE 200 #PMB1005                                                                                    *********
MADISON               WI 53713

A. Method Used to Determine Income of Corporation in Kansas:                                              B. Business Activity Code:                              G. Type of Federal Return Filed:



              1. Activity wholly within Kansas - Single entity                                                 722300                                                     X      1. Separate



              2. Activity wholly within Kansas - Consolidated                                             C. Date Business Began in KS:                                           2. Consolidated



     X        3. Single entity apportionment method (K-120AS)                                                  06012018                                           H. Have you submitted Form K-120EL?


                                                                                                          D. Date Business Discontinued in KS:                    I. Enter your original federal due date if other
              4. Combined income method - Single corporation filing (Sch. K-121)
                                                                                                                                                                    than the 15th day of the 4th month after the
                                                                                                                                                                    end of the tax year.
              5. Combined income method - Multiple corporation filing (Sch. K-121)



              6. Qualified elective two-factor (K-120AS) Year qualified:                                  E. State and Month/Day/Year of Incorporation:           J. Name or address has changed?               X

              7. Common carrier mileage (Enclose mileage apportionment schedule)                               WI 01012012

              8. Alternative or separate accounting (Enclose letter of authorization and sch.)            F. State of Commercial Domicile:       WI


         Filing an amended corporate income return. Reason for amended return:                    Amended affects Kansas only                         Adjustment by IRS                    Amended Federal return
                 Note: This form cannot be used for tax years prior to 2022.



                                                                                                               13. Contribution to capital exceptions
1. Federal taxable income                                          -5131799.00                                     (I.R.C. ¤ 118) (Sch. req.)

                                                                                                               14. Disallowed business meal expenses
2. Total state and municipal interest                                                                              (I.R.C. ¤ 274) (Sch. req.)                                                15330.00
3. Taxes on or measured by income or fees
   or payments in lieu of income taxes (Part                                                                   15. Other subtractions from federal taxable
   IV, line 2)                                                              32501.00                               income (Sch. req.)

                                                                                                               16. Total subtractions from federal taxable
4. Federal net operating loss deduction
                                                                                                                   income (Add line 9-15)                                              2835325.00
5. 250 deduction related to Global Intangible
   Low-Taxed Income (GILTI)                                                                                    17. Net income before apportionment (Add
   (I.R.C. ¤ 250(a)(1)(B)) (Sch. req.)                                                                             line 1 to line 8 and subtract line 16)                           -7934623.00
6. Business interest expense carryforward                                                                      18. Nonbusiness income - Total company
   deduction (I.R.C. ¤ 163(j)) (Sch. req.)                                                                         (Sch. req.)

7. Other additions to federal taxable                                                                          19. Apportionable business income
   income (Sch. req.)                                                                                              (Subtract line 18 from line 17)                                  -7934623.00
8. Total additions to federal taxable income                                                                   20. Average percent to Kansas (Part VI, lines A,
   (Add lines 2 - 7)                                                        32501.00                               B, C, & E: if 100% enter 100.0000)                                               5.3536
                                                                                                                 A           .0042               C.          9.4210
9. Interest on U. S. government obligations
   (Part V, line 2)                                                                                              B          6.6355
10. I.R.C. ¤ 78 and 80% of foreign dividends                                                                   21. Amount to Kansas (Multiply line 19 by
    (Sch. req.)                                                                                                    line 20)                                                            -424788.00
11. Global Intangible Low-Taxed Income                                                                         22. Nonbusiness income - Kansas
    (GILTI) (I.R.C. ¤ 951(A)) (Sch. req.)                                                                          (Sch. req.)

12. Disallowed business interest deduction
    (I.R.C. ¤ 163(j)) (Sch. req.)                                     2819995.00                               23. Kansas Expensing Recapture (Sch. req.)




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EATSTREET, INC.                                                                                           *****5093



24. Kansas Expensing Deduction (Sch. req.)                                                        37. Total of all other refundable credits
                                                                                                      (Part I, line 43)


25. Kansas net income before NOL
    deduction (Add lines 21 - 23, then                                                            38. Payments remitted with original return
    subtract line 24)                                         -424788.00                              (See instructions)



26. Kansas net operating loss deduction
    (Sch. req.)                                                                                   39. Overpayment from original return
                STMT 1                                                                                (This figure is a subtraction; see
                                                                                                      instructions)
27. Combined report (Schedule K-121) or
    alternative/separate accounting income
    (Sch. req.)
                                                                                                  40. Total prepaid credits (Add lines 34 - 38
                                                                                                      and subtract line 39)
28. Kansas taxable income (Subtract line
    26 from line 25 or enter line 27, as
    applicable)
                                                                                                 41. Balance due                                                             0.00

29. Normal tax (4% of line 28)

                                                                                                 42. Interest


30. Surtax (3% of line 28 in excess of
    $50,000)
                                                                                                  43. Penalty


31. Total tax (Add lines 29 and 30. If filing
    combined, use line 30 of K-121.)
                                                                              0.00
                                                                                                  44. Estimated tax penalty


32. Total nonrefundable credits (Part I, line
                                                                                                  If annualizing to compute penalty, check this field
    36; cannot exceed amount on line 31)


                                                                                                  45.Total tax, interest & penalty due (Add
33. Balance (Subtract line 32 from line 31;
    cannot be less than zero)
                                                                                                     lines 41 - 44) Complete Form K-120V &
                                                                                                     enclose it with your payment                                            0.00


34. Estimated tax paid and amount credited
    forward (Part II, line 4)
                                                                                                  46. Overpayment                                                            0.00


35. Other tax payments (enclose separate                                                          47. Refund. Enter the amount of line 46
    schedule)                                                                                         you wish to be refunded

                                                                                                  48. Credit Forward. Enter the amount of
                                                                                                      line 46 (original return only) you wish
                                                                                                      to apply to 2023 estimated tax. (Line 48
36. Amount paid with Kansas extension                                                                 cannot exceed the total of lines 34 - 36)




X         I authorize the Director of Taxation or the Director's designee to discuss my K-120 and any enclosures with my preparer.
          I declare under the penalties of perjury that to the best of my knowledge and belief this is a true, correct, and complete return.

Officer
Signature
(Required)                                                           Title   CEO                                      Date



Preparer
Signature                                                                    Preparer                                                      Preparer PTIN, EIN, or SSN
(Required)    DANIEL T. O'CONNOR, C                                          Phone Number   608.249.6622                                                    (Required)   *********



                                                               CORPORATE INCOME TAX
                                                                   PO BOX 750260
                                         252302 10-11-22        TOPEKA KS 66699-0260                            F o r O f f i c e U s e O n l y
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PART I - NONREFUNDABLE CREDITS


1.   Aviation/Aerospace Credit (Enclose Schedule (Enclose Schedule K-26; See instructions) ~~~~~~~~~~~~~~~~~~~
2.   Housing Investor Credit (Enclose Schedule K-27; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
3.   Short Line Railroad Tax Credit (Enclose Schedule K-29; See instructions)    ~~~~~~~~~~~~~~~~~~~~~~~~~
4.   Center for Entrepreneurship Credit (Enclose Schedule K-31; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~
5.   Agritourism Liability Insurance Credit (Enclose Schedule K-33; See instructions) ~~~~~~~~~~~~~~~~~~~~~~
6.   Business and Job Development Credit - - for carry forward use only (Enclose Schedule K-34; See instructions) ~~~~~~~~~
7.   Historic Preservation Credit (Enclose Schedule K-35; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
8.   Disabled Access Credit (Enclose Schedule K-37; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
9.   Swine Facility Improvement Credit (Enclose Schedule K-38; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~
10. Oil and Gas Well Plugging Credit (Enclose Schedule K-39; See instructions)    ~~~~~~~~~~~~~~~~~~~~~~~~
11. Assistive Technology Contribution Credit (Enclose Schedule K-42; See instructions) ~~~~~~~~~~~~~~~~~~~~~
12. Eisenhower Foundation Contribution Credit (Enclose Schedule K-43; See instructions) ~~~~~~~~~~~~~~~~~~~~
13. Purchases from Qualified Vendor Credit (Enclose Schedule K-44; See instructions) ~~~~~~~~~~~~~~~~~~~~~
14. Friends of Cedar Crest Association Contribution Credit (Enclose Schedule K-46; See instructions) ~~~~~~~~~~~~~~~
15. Technology Enabled Fiduciary Financial Institutions Credit (Enclose Schedule K-48; See instructions)    ~~~~~~~~~~~~~
16. Research and Development Credit (Enclose Schedule K-53; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~
17. Venture Capital Credit - - for carryforward use only (Enclose Schedule K-55; See instructions) ~~~~~~~~~~~~~~~~
18. Seed Capital Credit - - for carryforward use only (Enclose Schedule K-55; See instructions)   ~~~~~~~~~~~~~~~~~
19. High Performance Incentive Program Credit (Enclose Schedule K-59; See instructions)       ~~~~~~~~~~~~~~~~~~~
20. Community Service Contribution Credit (Enclose Schedule K-60; See instructions)      ~~~~~~~~~~~~~~~~~~~~~
21. Alternative-Fuel Tax Credit (Enclose Schedule K-62; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
22. Targeted Employment Credit(Enclose Schedule (Enclose Schedule K-69; See instructions) ~~~~~~~~~~~~~~~~~~
23. Low Income Student Scholarship Credit (Enclose Schedule K-70; See instructions) ~~~~~~~~~~~~~~~~~~~~~
24. Law Enforcement Training Center Credit - - for carry forward use only (Enclose Schedule K-72; See instructions) ~~~~~~~~
25. Petroleum Refinery Credit - - for carry forward use only (Enclose Schedule K-73; See instructions) ~~~~~~~~~~~~~~
26. National Guard and Reserve Employer Credit (Enclose Schedule K-74; See instructions) ~~~~~~~~~~~~~~~~~~~
27. Single City Port Authority Credit (Enclose Schedule K-76; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~
28. Qualifying Pipeline Credit - - for carry forward use only (Enclose Schedule K-77; See instructions)    ~~~~~~~~~~~~~~
29. BioMass-to-Energy Credit - - for carry forward use only (Enclose Schedule K-79; See instructions) ~~~~~~~~~~~~~~
30. Environmental Compliance Credit (Enclose Schedule K-81; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~
31. Storage and Blending Equipment Credit - - for carry forward use only (Enclose Schedule K-82; See instructions) ~~~~~~~~
32. Electric Cogeneration Facility Credit - - for carry forward use only (Enclose Schedule K-83; See instructions) ~~~~~~~~~~
33. Community College and Technical College Contribution Credit (Enclose Schedule K-84; See instructions) ~~~~~~~~~~~~
34. Commercial Restoration and Preservation Credit (Enclose Schedule K-92; See instructions) ~~~~~~~~~~~~~~~~~
35. Farm Net Operating Loss (Enclose Schedule K-139F; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
36. Total nonrefundable credits (Add lines 1 - 35. Enter total here and on line 32, page 2) ~~~~~~~~~~~~~~~~~~~




            REFUNDABLE CREDITS

37. Telecommunications Credit (Enclose Schedule K-36; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
38. Child Day Care Assistance Credit (Enclose Schedule K-56; See instructions)    ~~~~~~~~~~~~~~~~~~~~~~~~
39. Small Employer Healthcare Credit (Enclose Schedule K-57; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~
40. Community Service Contribution Credit (Enclose Schedule K-60; See instructions) ~~~~~~~~~~~~~~~~~~~~~~
41. Individual Development Account Credit (Enclose Schedule K-68; See instructions) ~~~~~~~~~~~~~~~~~~~~~~
42. Farm Net Operating Loss (Enclose Schedule K-139F; See instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~
43. Total refundable credits (Add lines 37 - 42. Enter total here and on line 37, page 2) ~~~~~~~~~~~~~~~~~~~~




252303 10-11-22
            Case 3-24-12061-cjf                         Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                         Desc Main
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K-120
PART II
                      Page 4 of 6
                                                                                                                      037                 151322

                                                                  ADDITIONAL INFORMATION
1. Did the corporation file a Kansas Income Tax return under the same name                         6. If this is a final return for Kansas, please state the reason. If the
   for the preceding year?       X           Yes                  No                                  corporation was liquidated or dissolved, state the IRC section
   If "no", enter previous name and EIN.                                                              under which the corporation was liquidated.


                                                                                                   7. If your federal taxable income has been redetermined for any prior
2. Enter the address of the corporation's principal location in Kansas.                               year(s) that have not previously been reported to Kansas, check
                                                                                                      the applicable box(es) below and state the calendar, fiscal, or short
                                                                                                      period year ending date. You are required to submit, under
                                                                                                      separate cover, the federal Forms 1139, 1120X, or Revenue
                                                                                                      Agent's Report along with the Kansas amended return
3. The corporation's books are in care of:                                                            (Form K-120 or K-120X, whichever is applicable).
   Name:    STEVE ANASTASI                                                                                  Revenue Agent's Report                       Net Operating Loss
   Address: 1574 W BROADWAY ST STE 200 #PMB1005                                                             Amended Return
    MADISON                       WI 53713                                                            Years ended:
   Telephone: 866-654-8777                                                                         8. If you are registered with the Kansas Department of Revenue under
4. List each estimated tax payment and credit forward amount claimed on this return.                  any other Kansas tax act, enter all registration or license numbers
         Date                  Amount                      Date              Amount                   on the applicable line:
                                                                                                      a. Sales Tax: 036454385093F
                                                                                                      b. Compensating
                                                                                                          Use Tax:    036454385093F
5. Has your corporation been involved in any reorganization during the                                c. Withholding Tax: 036454385093F02
   period covered by this return?        X         No                  Yes                            d. Other (specify):
   If "yes", enclose a detailed explanation.

PART III AFFILIATED CORPORATIONS DOING BUSINESS IN KANSAS
(Enclose a separate sheet for additional corporations)
                                               Name of Corporation                                                                              Employer ID Number




PART IV SCHEDULE OF TAXES
(Include those taxes deducted on line 17 of the federal return. See instructions.)
1. Taxes on or measured by income or fees or payments in lieu of income taxes. (Include federal environmental tax: itemize)
STATE AND FOREIGN TAXES DEDUCTED ON FORM 1120, LINE 17                                                                                                   32,501.00




2. Total (Enter on line 3, page 1) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   32,501.00
3. Total other taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        2,245,325.00
4. Total taxes (Must equal line 17 of the federal return) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2,277,826.00

PART V SCHEDULE OF INTEREST INCOME
(Include the interest from line 5 of the federal return)
1. U.S. interest income (Describe type):




2. Total (Enter on line 9, page 1) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
3. Total other interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           15,864.00
4. Total interest income (Must equal line 5 of the federal return) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      15,864.00


252304 10-11-22
   EATSTREET,  INC.
        Case 3-24-12061-cjf                                         Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 **-***5093
                                                                                                                    Desc Main
                                                                         Document    Page 164 of 326
   K-120AS
   Rev. 7-22
                                            Page 5 of 6
                                                                                                                                          037              151421

                                                            KANSAS Corporation Apportionment Schedule
                                                                        FOR USE BY CORPORATIONS APPORTIONING INCOME
                                                              (Corporations using the combined income method must use Schedule K-121)


                                                         For the taxable year beginning                 01012022           , ending 12312022

   Name as shown on Form K-120                                                                                                     Employer Identification Number (EIN)
                                             EATSTREET, INC.                                                                                                    **-***5093

   PART VI                                                                                   APPORTIONMENT FORMULA
   A. Property                                                                       WITHIN KANSAS                                  TOTAL COMPANY                            PERCENT
       (1) Value of owned real and tangible personal                    Beginning                           End             Beginning                 End                     WITHIN
             property used in business at original cost:                 of Year                          of Year            of Year                of Year                  KANSAS

             Inventory ~~~~~~~~~~~
             Depreciable assets ~~~~~~~                                                  0.                     450. 2,096,217.                   355,657.
             Land ~~~~~~~~~~~~~
             Other tangible assets (Enclose sch)
             Less: Construction in progress ~~
             Total property to be averaged ~~~                                                                  450. 2,096,217.   355,657.
             Ave owned property (Beg. + End ^ 2)                                                                225.            1,225,937.
        (2) Net annual rented property. Mult by 8                                                                 0.            4,130,968.
                                      (Enter on line 20A,
             TOTAL PROPERTY page 1)                                                                         225.            5,356,905. A                                   .0042 %

   B. Payroll (Those corporations qualified and utilizing the elective two-factor formula must complete this area
        only during the first year of qualifying. After the 10th year, the business must re-qualify.)
                                                                                                                          WITHIN KANSAS        TOTAL COMPANY

        (1) Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~
        (2) Wages, salaries and commissions                 ~~~~~~~~~~~~~~~~~~~~~~                                        1,546,056. 23,299,723.
        (3) Payroll expense included in cost of goods sold ~~~~~~~~~~~~~~~~~
        (4) Payroll expense included in repairs ~~~~~~~~~~~~~~~~~~~~~~
        (5) Other wages and salaries ~~~~~~~~~~~~~~~~~~~~~~~~~~
             TOTAL PAYROLL (Enter on line 20B, page 1) (If qualified and utilizing the elective
             two-factor formula, do not carry this percentage to page 1)                                      1,546,056. 23,299,723. B                           6.6355 %

   C. Sales (Gross receipts, less returns and allowances) ~~~~~~~~~~~~~~~~~
       (1) Sales delivered or shipped to purchasers in Kansas:
             (a) Shipped from outside Kansas ~~~~~~~~~~~~~~~~~~~~~~~
            (b) Shipped from within Kansas ~~~~~~~~~~~~~~~~~~~~~~~~
        (2) Sales shipped from Kansas to:
             (a) The United States Government ~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                   (e.g., under federal
             (b) Purchasers in a state where the taxpayer would not be taxable                     Public Law 86-272) ~
        (3) Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             Royalties~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
             Gains/losses from intangible asset sales ~~~~~~~~~~~~~~~~~~~~
             Gross proceeds from tangible asset sales ~~~~~~~~~~~~~~~~~~~
             Other income (Enclose schedule) ~~~~~~~~~~~~~~~~~~~~~~~                                                      2,722,110. 28,893,995. STMT 2
             TOTAL SALES (Enter on line 20C, page 1)                                                   2,722,110. 28,893,995. C 9.4210 %

   D(1). Total percent (Sum of lines A, B & C if utilizing three-factor formula) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       D(1) 16.0607 %
   D(2). Total percent (Sum of lines A & C if qualified and utilizing two-factor formula) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  D(2)             %
   E.       Average percent of either D(1) or D(2), whichever is applicable (Enter on line 20, page 1)                                           E      5.3536 %




   252521 10-11-22
                                                                                                            6
13111109 144198 89475                                                                                    2022.05000 EATSTREET, INC.                                              89475__1
   EATSTREET,  INC.
        Case 3-24-12061-cjf                       Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 **-***5093
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   K-120AS                              PART VII Page 6 of 6 ADDITIONAL INFORMATION 037
   1. Does the Kansas sales figure in Part VI include (1) all sales delivered from Kansas where
                                                                                                151521
                                                                                                                   b. Has any state determined that this corporation conducts or has conducted a unitary business
     purchaser is the U.S. Government and (2) all sales delivered from Kansas to states in which                        with any other corporation?   X     No         Yes If yes, specify which state or states and
                                                                                                                        enclose a complete list of the corporations conducting the unitary business.
     this corporation is immune from state income taxation under federal Public Law 86-272 (15

     U.S.C. 381)?                                                                                               3. Describe briefly the nature and location(s) of your Kansas business activities.
     If not, please explain:                                                                                        SALES AND EMPLOYEES IN KANSAS


                                                                                                                4. Are the amounts in the total company column (K-120AS, Part VI) the same as those reported in
                                                                                                                    returns or reports to other states under the Uniform Division of Income for Tax Purposes Act?
                                                                                                                    X      Yes        No    If no, please explain

   2. If you claim that part of your net income is assignable to business done outside Kansas:
      a. Enclose a list of all states in which this corporation is doing business and filing state
         corporation income or franchise tax returns.




   PART VIII                               AFFILIATED CORPORATIONS INCLUDED IN FORM K-120AS
                                                 CORPORATION APPORTIONMENT SCHEDULE
                                                                                                                                                                                       Check if included
                                                                                                                               Employer Identification              In Total Company            Within Kansas
   Name of Corporation
                                                                                                                                     Number                              Factors                   Factors




   PART IX - KANSAS PASS-THROUGH SCHEDULE
   The distributions from the entities listed below have been passed-through and are included in your entity.
                                                                                                                                                                                                           Kansas
                                                                     EIN of                Your Entity to which income of           EIN to which income of Pass-       Principal Product of Services of   Operations
               Pass-through Entity Name                       Pass-through Entity            Pass-through is included                 through Entity is included             Pass-through Entity
                                                                                                                                                                                                            (Y / N)




   PART X - KANSAS DISREGARDED ENTITY SCHEDULE
   The disregarded entities listed below are included in this return.
                                                                                                                                       EIN to which income of                                              Kansas
                                                                     EIN of                   Your Entity to which income of
                                                                                                                                        Disregarded Entity is
                                                                                                                                                                       Principal Product of Services of
                                                                                                                                                                                                          Operations
                Disregarded Entity Name                        Disregarded Entity             Disregarded Entity is included                                                  Disregarded Entity
                                                                                                                                              included                                                      (Y / N)




   252522 10-11-22                                                                                      7
13111109 144198 89475                                                                                2022.05000 EATSTREET, INC.                                                                           89475__1
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  EATSTREET, INC.                  Document    Page 166 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                             NET OPERATING LOSS DEDUCTION          STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                      LOSS
                                    PREVIOUSLY         LOSS           LOSS
  TAX YEAR        LOSS SUSTAINED      APPLIED        REMAINING      ALLOWED
  }}}}}}}}        }}}}}}}}}}}}}} }}}}}}}}}}}}}}    }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  12/31/18             60,045.00         60,045.             0.00             0.
  12/31/19            262,901.00        197,402.        65,499.00             0.
                                                                  }}}}}}}}}}}}}}
  TOTAL KANSAS NOL TO FORM K-120, LINE 26                                     0.
                                                                   ~~~~~~~~~~~~~~




                                               8                               STATEMENT(S) 1
13111109 144198 89475                       2022.05000 EATSTREET, INC.                 89475__1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 167 of 326                    **-***5093
  }}}}}}}}}}}}}}}                                                                 }}}}}}}}}}

  KS K-120AS                            OTHER INCOME                            STATEMENT 2

                                                                 WITHIN            TOTAL
                                                                 KANSAS           COMPANY

  OTHER RECEIPTS     . . . . . . . . . . . . . . . .              2,722,110        28,893,995
  SERVICE INCOME     . . . . . . . . . . . . . . . .                      0                 0

  TOTALS TO K-120AS     . . . . . . . . . . . . . . .             2,722,110        28,893,995




                                               9                               STATEMENT(S) 2
13111109 144198 89475                       2022.05000 EATSTREET, INC.                 89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                               KENTUCKY FORM 720

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $                         175
                Less: payments and credits           $                         350
                Plus: other amount                   $                           0
                Plus: interest and penalties         $                           0
                Overpayment                          $                         175

Overpayment:

                Credit to your estimated tax         $                         175
                Other amount                         $                           0
                Refunded to you                      $                           0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               This return has been prepared for electronic filing. If you wish to have it transmitted to the
               KY DOR, please sign, date and return Form 8879(C)-K to our office. We will then submit
               the return to the KY DOR. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:
              Return Form 8879(C)-K to us by November 15, 2023.

Special Instructions:

                Payment of tax must be made electronically via the Kentucky State Treasurer website at:

                www.revenue.ky.gov
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   8879(C)-K
 FORM                                        Kentucky Corporation or Pass-through Entity Tax Return

Commonwealth of Kentucky
Department of Revenue
                                                        Declaration For Electronic Filing
                                                                                                                                                  2022
                                     RETAIN FOR YOUR RECORDS DO NOT MAIL THIS FORM

| See instructions.                                                                                     Submission ID#
 Name of Entity                                                                                 Federal Identification Number       Kentucky Corporation/LLET
                                                                                                                                         Account Number
EATSTREET, INC.                                                                                    **-***5093                           9 0 1 3 0 7
 Address (Number, Street, and Room or Suite No.)                                             City, State, and ZIP Code

1574 W BROADWAY ST STE 200 #PMB1005                                                          MADISON, WI               53713
 PART I - Check the box for the tax return being electronically filed:          X 720          720U        PTE           725        740NP-WH
 Section A - Tax return information for form 720                                                                       LLET               Corporate Income
   1 Kentucky taxable net income                Part I, line 43                                        1                        $0 00                        00
   2 Total tax due                              Part II, line 17 and Part III, line 15                 2                           00                        00
   3 Interest                                   Total Interest, if applicable                          3                           00                        00
   4 Penalty                                    Total Penalty, if applicable                           4                           00                        00
   5 Subtotal                                   Add lines 2 through 4                                  5                           00                        00
  6 Total Payment Due                    Total Payment                                                             6                        00
 Section B - Tax return information for form 720U                                                                      LLET              Corporate Income
   1 Kentucky taxable net income                Schedule U5, Section D, line 7                         1                        $0 00                        00
   2 Total tax due                              Page 1, Part I, line 1 and Part II, line 1             2                           00                        00
   3 Interest                                   Page 1, Part I, line 2 and Part II, line 2             3                           00                        00
   4 Penalty                                    Page 1, Part I, line 3 and Part II, line 3             4                           00                        00
   5 Subtotal                                   Add lines 2 through 4                                  5                           00                        00
  6 Total Payment Due                    Total Payment                                                             6                         00
 Section C - Tax return information for form PTE                                                                       LLET                   Income
   1 Federal ordinary income (loss)             Part I, line 1 (General Partnerships Only)             1                        $0 00                        00
   2 Kentucky ordinary income (loss)            Part I, line 21                                        2                        $0 00                        00
   3 Total tax due                              Part II, line 16 and Part III, line 11                 3                           00                        00
   4 Interest                                   Total Interest, if applicable                          4                           00                        00
   5 Penalty                                    Total Penalty, if applicable                           5                           00                        00
   6 Subtotal                                   Add lines 3 through 5                                  6                           00                        00
  7 Total Payment Due                    Total Payment                                                             7                         00
 Section D - Tax return information for form 725                                                                       LLET                   Income
   1 Total net distributable income             725, Part I, line 11                                   1                        $0 00                        00
   2 Total tax due                              725, Part II, line 15                                  2                           00                        00
   3 Interest                                   Total Interest, if applicable                          3                           00                        00
   4 Penalty                                    Total Penalty, if applicable                           4                           00                        00
   5 Subtotal                                   Add lines 2 through 4                                  5                           00                        00
   6 Total Payment Due                          Total Payment                                                      6                         00
 Section E - Tax return information for form 740NP-WH                                                                                         Income
  1 Kentucky distributive share income   Page 1, Line 5                                                                            1                         00
   2 Total tax due                              Page 2, Line 16                                                                    2                         00
   3 Interest                                   Total Interest, if applicable                                                      3                         00
   4 Penalty                                    Total Penalty, if applicable                                                       4                         00
   5 Total Payment Due                          Total Payment, add lines 2 through 4                               5                         00




 41A720-S8 (10-22)                                                                                                                                  Page 1 of 2
1019       253881 10-05-22
          Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                        Desc Main
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 FORM 8879(C)-K
     (2022)                                                                                                                                       Page 2 of 2

PART II - Direct Debit of Tax Amount Due (See Instructions)                                                    Not applicable for general partnerships

                                                                                        The first two numbers of the RTN must be
  1     Routing transit number (RTN)                                                    01 through 12 or 21 through 32.
  2     Depositor account number (DAN)
  3     Type of account:           Savings            Checking
  4     Debit amount
  5     In order to comply with electronic banking regulations, please answer the following question.
       (a) Direct Debit - Will these funds come from an account located outside of the United States?     Yes                   No
PART III - Declaration of Authorized Representative of Entity (Sign only after Parts I and II are completed.)
               I authorize the Kentucky Department of Revenue and its designated Financial Agent to initiate an ACH electronic funds withdrawal
               entry to the financial institution account indicated in Part II for payment of the state taxes owed on this return. I also authorize the
               financial institutions involved in the processing of the electronic payment of taxes to receive confidential information necessary to
               answer inquiries and resolve issues related to the payment.
 If this is a balance due return, I understand that if the Department of Revenue does not receive the full and timely payment of the tax liability, the
 entity will remain liable for the tax liability and all applicable interest and penalties.

 I, the undersigned, declare under the penalties of perjury, that I am an officer of the corporation, partner or member of the limited liability pass-
 through entity, or partner of the general partnership and that I have examined a copy of the corporation's, limited liability pass-through entity's, or
 general partnership's electronic tax return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is
 true, correct, and complete. further declare that the amounts in Part I are the amounts shown on the copy of the Form 720, 720U, PTE, 725, and
 740NP-WH electronic tax return.



 Signature of Authorized Representative                                                                                         Date

 Type or Print the Name and Title                             STEVE ANASTASI                                              CEO
 of the Authorized Representative Signing this Document


PART IV - Declaration and Signature of Electronic Return Originator (ERO) and Paid Preparer
I, the undersigned, declare that I have reviewed the tax return and that the entries on Part I are true, correct, and complete. If I am only the ERO, I am
not responsible for reviewing the tax return and only declare that this tax return accurately reflects the data on the tax return. The corporate officer of
the corporation, partner or member of the limited liability pass-through entity, or partner of the general partnership will have signed this form before
I submit the tax return. I will give the corporate officer of the corporation, partner or member of the limited liability pass-through entity, or partner of
the general partnership all forms, including accompanying schedules and statements, filed with the Kentucky Department of Revenue. If I am also the
paid preparer, I declare under the penalties of perjury that I have examined this tax return, including all accompanying schedules and statements, and
to the best of my knowledge and belief, it is true, correct, and complete.

                                                                                                            Check    X if also a paid preparer.

ERO's signature DANIEL          T. O'CONNOR, CPA                            Date   11/09/23              I.D. Number of ERO P00543528



Firm's name (or your
name if self-employed) BAKER        TILLY US, LLP                                                                      FEIN **-***9910
            PO BOX 7398
Address     MADISON, WI                                                                                                ZIP Code 53707-7398


I, the undersigned, declare under the penalties of perjury that I have examined this tax return, including all accompanying schedules and statements,
and to the best of my knowledge and belief, it is true, correct, and complete.



Preparer's signature                                                    Date   11/09/23             I.D. Number of Preparer


Firm's name (or your
name if self-employed)                                                                                                 FEIN


Address                                                                                                                ZIP Code


41A720-S8 (10-22)
1019      253882 10-05-22
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  720EXT                                                                                                                                      2022
FORM


  Commonwealth of Kentucky
                                                  Corporation/LLET Extension
    Department of Revenue




                         FOR YOUR RECORDS
                            DO NOT FILE




                         FOR YOUR
                              c
                                  RECORDS
                                    c
                            DO NOT FILE
264621 10-05-22                                                       Please cut on the dotted line.
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
720EXT        EXTENSION OF TIME TO FILE KENTUCKY CORPORATION / LLET RETURN 2022
                                              KY Corporation / LLET Account No.                 Taxable Year Ending (MMYY)
                                                                                                                                           24
                                                 9 0 1 3 0 7                                           1 2 2 2                         TRAN CODE

Entity Name                                                                                                                    Federal Identification Number

EATSTREET, INC.                                                                                                                    *****5093

44 E. MIFFLIN ST, STE 400                                                     WI        01/12                                       Dollars                Cents

MADISON, WI                    53703                                                               Corporation                                     214.00
                                                                                                   Income Tax

STEVE ANASTASI                                                  612-598-7469                       Limited Liability                                   0.00
                                                                                                   Entity Tax

                                                                                                   Total                                           214.00
Form Type:    X 720          725      720U        PTE - S Corporation
                                                                                                                                    41A720SL0002
                  PTE - General Partnership       PTE - Partnership
                                                                                04/17/23
                                                                                                        KY Department of Revenue
Signature of Principle Officer or Chief Accounting Officer OR                            Date           Frankfort, KY 40620-0021
Preparer Other than Taxpayer 1019
                Case 3-24-12061-cjf                          Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main

            720
                                                                  Document    Page 172 of 326

         FORM
                                                                                                   KENTUCKY CORPORATION
          Commonwealth of Kentucky
          Department of Revenue
                                                   2 2 0 2 0 0 1 0 1 9                           INCOME TAX AND LLET RETURN
                                                                                                                                                                             2022
For calendar year 2022 or tax years beginning (MM-DD-YY)                       1/1/22                   , and ending (MM-DD-YY)            12/31/22                   .


A LLET                               D FEIN                                                          E Kentucky Corporation/LLET
    Exemption Code
                                                                **-***5093                             Account Number (Required)   9 0 1 3 0 7
                                     Name of Corporation                                                                      Change of Name     Telephone Number


                                     EATSTREET, INC.                                                                                             866-654-8777
B Income Tax                         Number and Street                                                                                           State of Incorporation
    Exemption Code

                                     1574 W BROADWAY ST STE 200 #PMB1005                                                                         WI
                                     City                                                    State            ZIP Code                           Date of Incorporation

       Elective Consolidated         MADISON                                                   WI                  53713                         01/01/2012
       Attach Form 722
                                     F Name of Common Parent                     Kentucky Corporation/LLET Account Number                Principal Business Activity in KY
                                                                                           (if different than item E)


C 3-Factor                                                                                                                               INTERNET SALES
    Apportionment Code
                                     G      Check applicable boxes                                                                       NAICS Code Number in KY

                                            Amended return (Complete Part V)     Amended return - RAR (Complete Part V)
                                            Initial return                       Short-period return (Complete Part IV)
                                            Change of accounting period          Final return (Complete Part IV)                                      722300
PART I - TAXABLE INCOME COMPUTATION


1     Federal taxable income (Form 1120, line 28)                                                            |1                                  -5,131,799                    00

ADDITIONS: **

2     Interest income (state and local obligations)                                                          |2                                                                00


3     State taxes based on net/gross income                     ** STMT 1                                    |3                                             32,501             00

4     Depreciation adjustment                                                                                |4                                          141,471               00

5     Deductions attributable to nontaxable income                                                           |5                                                                00
      (see lines 22 and 23)
6     Related party expenses (attach Schedule RPC)                                                           |6                                                                00

7     Dividend paid deduction (Captive REIT)                                                                 |7                                                                00

8     Revenue Agent Report (RAR)                                                                             |8                                                                00

9     Kentucky capital gain from Kentucky Schedule D, line 18                                                |9                                                                00


10 Loss from Form 4797 found on federal Form 1120, line 9                                                    | 10                                                              00

11 Gain from Kentucky Form 4797, Part II, line 17                                                            | 11                                                              00

12 Federal allowable depletion from Form 1120, line 21                                                       | 12                                                              00


    OFFICIAL USE ONLY
P                                                                                                        V
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4                                                                                                        #

                 220200 41A720 (10-22)                                                                                                                  Page 1 of 9
                                                                                   253301 10-05-22
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FORM 720 (2022)                                                                                       Page 2 of 9
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PART I - TAXABLE INCOME COMPUTATION - continued



ADDITIONS - continued

13 Federal contribution deductions from Form 1120,
     line 19                                                            | 13                              00

14 Terminal Railroad Corporation adjustments                            | 14                              00


15 Federal allowable passive activity loss                              | 15                              00

16 Federal taxable loss of all exempt corporations                      | 16                              00

17 Reserved for future use.
                                                                        | 17


18 Enter additions to federal taxable income from
   Kentucky Schedule(s) K-1                                             | 18                              00

19 Internal Revenue Code adjustments (see instructions)                 | 19                              00

20 Other additions (attach explanation)                                 | 20                              00


21 Total (add lines 1 through 20)                                       | 21              -4,957,827      00

SUBTRACTIONS

22 Interest income (U.S. obligations)                                   | 22                              00

23 Dividend income                                                      | 23                              00

24 Reserved for future use                                              | 24


25 Depreciation adjustment                                              | 25                  137,772     00


26 Revenue Agent Report (RAR)                                           | 26                              00

27 Capital gain from Form 1120, line 8                                  | 27                              00

28 Gain from Form 4797 found on federal Form 1120, line 9               | 28                              00

29 Loss from Kentucky Form 4797, Part II, line 17                       | 29                              00

30 50% of the gross royalty income derived from any
     disposal of coal with a retained economic interest
     defined by IRC ¤631(c) and all IRC ¤272 expenses if
     the corporation elects not to use percentage depletion             | 30                              00
253302 10-05-22




                  220201 41A720 (10-22)
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PART I- TAXABLE INCOME COMPUTATION - continued




SUBTRACTIONS - continued

31 Terminal Railroad Corporation adjustments                          | 31                               00

32 Kentucky allowable passive activity loss                           | 32                               00

33 Kentucky allowable depletion                                       | 33                               00

34 Kentucky contribution deductions                                   | 34                               00


35 Reserved for future use.
                                                                      | 35


36 Federal taxable income of all exempt corporations                  | 36                               00

37 Enter subtractions from federal taxable income from
     Kentucky Schedule(s) K-1                                         | 37                               00

38 Internal Revenue Code adjustments (see instructions)               | 38                               00

39 Other subtractions (attach explanation)         STATEMENT 2        | 39                  2,777,048    00

40 Net income (line 21 less lines 22 through 39)                      | 40              -7,872,647       00

41 Taxable net income (see instructions)                              | 41                     -9,400    00


42 Net operating loss deduction (NOLD)                                | 42                               00

43 Taxable net income after NOLD (line 41 less line 42)               | 43                          0    00




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                  220256 41A720 (10-22)
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PART II - LLET COMPUTATION


 1 Schedule L, Section E, line 1 (Page 9)                                       |1                 175    00

 2 Tax credit recapture                                                         |2                        00

 3 Total (add lines 1 and 2)                                                    |3                 175    00

 4 Nonrefundable LLET credit from Kentucky Schedule(s) K-1                      |4                        00

 5 Nonrefundable tax credits (attach Schedule TCS)                              |5                        00


 6 LLET liability (greater of line 3 less lines 4 and 5 or
   $175 minimum)                                                                |6                 175    00

 7 Reserved for future use                                                      |7


 8 Estimated tax payments                                                       |8                        00

 9 Refundable tax credits (attach Schedule TCS)                                 |9                        00

10 Reserved for future use                                                      | 10


11 Extension payment                                                            | 11               214    00


12 Prior year's tax credit                                                      | 12                      00

13 Income tax overpayment from Part III, line 17                                | 13                      00

14 LLET paid on original return                                                 | 14                      00

15 LLET overpayment on original return                                          | 15                      00

16 Estimated Tax Penalty (attach Form 2220-K)                                   | 16                      00

17 LLET and Estimated Tax Penalty Due (lines 6, 15,
   and 16 less lines 7 through 14)                                  TAX DUE | 17                          00


18 LLET overpayment (lines 7 through 14 less lines 6, 15, and 16)               | 18                39    00

19 Credited to 2022 income tax                                                  | 19                      00

20 Credited to 2022 interest                                                    | 20


21 Credited to 2022 penalty                                                     | 21


22 Credited to 2023 LLET                                                        | 22                39    00

23 Amount to be refunded (line 18 less lines 19
   through 22)                                                      REFUND      | 23



                                                                    253304 10-05-22
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PART III - INCOME TAX COMPUTATION




 1 Income tax (see instructions)                                              |1                     0    00

 2 Tax credit recapture                                                       |2                          00

 3 Tax installment on LIFO recapture (see instructions)                       |3                          00

 4 Total (add lines 1 through 3)                                              |4                          00

 5 Nonrefundable LLET credit from the Corporation LLET
    Credit Worksheet(s) (see instructions)                                    |5                          00

 6 Nonrefundable LLET credit (Part II, line 6 less $175)                      |6                          00


 7 Nonrefundable tax credits (attach Schedule TCS)                            |7                          00

 8 Net income tax liability (line 4 less lines 5 through 7,
   but not less than zero)                                                    |8                          00

 9 Estimated tax payments                                                     |9                          00

10 Extension payment                                                          | 10                   0    00

11 Prior year's tax credit                                                    | 11                 136    00


12 LLET overpayment from Part II, line 19                                     | 12                        00

13 Corporation income tax paid on original return                             | 13                        00

14 Corporation income tax overpayment on original return                      | 14                        00

15 Income tax due (lines 8 and 14 less lines 9
   through 13)                                                  TAX DUE       | 15                        00

16 Income tax overpayment (lines 9 through 13 less
   lines 8 and 14)                                                            | 16                 136    00

17 Credited to 2022 LLET                                                      | 17                        00


18 Credited to 2022 interest                                                  | 18


19 Credited to 2022 penalty                                                   | 19


20 Credited to 2023 corporation income tax                                    | 20                 136    00

21 Amount to be refunded (line 16 less lines 17
   through 20)                                                  REFUND        | 21



                                                                  253305 10-05-22
             220258 41A720 (10-22)
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PART IV - EXPLANATION OF FINAL RETURN AND/OR SHORT-PERIOD RETURN

          Ceased operations in Kentucky                                                  Change in filing status
          Change of ownership                                                            Merger
          Successor to previous business                                                 Other


PART V - EXPLANATION OF AMENDED RETURN CHANGES




OFFICER INFORMATION
Attach a schedule listing the name, home address, and Social                                 Security number of the vice president, secretary, and treasurer.
Has the attached officer information changed from the last return filed?                             Yes                 X No

President's Name STEVE        ANASTASI                                                   President's Home Address
President's Social Security Number ***-**-9640                                           131 W. WILSON ST, STE 400
Date Became President        01012021                                                    MADISON, WI 53703


 Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
 belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.

               Signature of Officer                                                                              Date



Sign
               Name of Officer (Please print)                                                                    Title
Here
                STEVE ANASTASI                                                                                             CEO
               Signature of Preparer                                                                             Date
                DANIEL T. O'CONNOR, CPA                                                                                    11/09/2023
Paid
               Name of Preparer or Firm (Please print)                                                           ID Number
Preparer        BAKER TILLY US, LLP                                                                                        **-***9910
Use
               Email and/or Telephone No.                                                                        May the DOR discuss this return with this preparer?
                                                                             608.249.6622                                    X YES                NO


                                                                                     Refund
               Include federal Form 1120 with all supporting                                        Kentucky Department of Revenue
 Enclose                                                                             or No
               schedules and statements.                                                            Frankfort, KY 40618-0010
                                                                                     Payment

               Check Payable: Kentucky State Treasurer                               With           Kentucky Department of Revenue
 Payment
               E-Pay Options: www.revenue.ky.gov                                     Payment        Frankfort, KY 40620-0021


                                                                                  253306 10-05-22
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SCHEDULE Q - QUESTIONNAIRE
IMPORTANT: Questions 1 and 2 must be answered if this is the                6        Was the corporation doing business in Kentucky other than
corporation's initial return or if a return was not filed under the same
                                                                                     through its interest held in a pass-through entity doing business in
name and same federal I.D. number for the preceding year. Failure
to do so may result in a request for a delinquent return.                            Kentucky?          Yes X No
     Indicate whether:                                                      7        Did the corporation at any time during the taxable year own more
 1    (a)      new business,                                                         than 50 percent (50%) of the voting stock of another corporation
      (b)      successor to previously existing business which was                   that is part of a unitary business per KRS 141.202(2)(f)?
               organized as:                                                                Yes X No
               (1)    corporation
                                                                                     If yes, list name and federal I.D. number of the entity.
               (2)    partnership
               (3)    sole proprietorship
               (4)    other                                                 Name



      If successor to previously existing business, give name, address,
      and federal I.D. number of the previous business organization.        FEIN
 Name


 FEIN                                                                       8        Was more than 50 percent (50%) of the corporation's voting stock
                                                                                     owned by any corporation that is part of a unitary business per
 Address                                                                             KRS 141.202(2)(f)?          Yes    X No

                                                                                     If yes, list name and federal I.D. number of each entity.

                                                                                     If more than 3 companies, attach a supporting statement.
 2    If a foreign corporation, enter the date qualified to do business
      in Kentucky.                                                                    Name
                                                                                A
                                                                                      FEIN

Questions 3-10 must be completed by all corporations.
                                                                                      Name
 3    The corporation's books are in care of:                                   B
 Name                                                                                 FEIN
      STEVE ANASTASI
                                                                                     Name
                                                                                C
 Address                                                                             FEIN
      1574 W BROADWAY ST STE 200 #PMB100

      MADISON, WI 53713                                                     9        The federal tax return attached to this Kentucky tax return is:
 4    Are disregarded entities included in this return?                                     a pro forma federal tax return
           Yes X No                                                                   X a copy of the federal tax return filed with the Internal Revenue
      If yes, attach Schedule DE.                                                           Service
 5    Was the corporation a partner or member in a pass-through            10        Was this return prepared on:
      entity doing business in Kentucky?                                              (a)        cash basis
         Yes X No If yes, list the name(s) and federal I.D.                           (b) X accrual basis
      number(s) of the pass-through entity(ies).                                      (c)        other
        Name
  A
        FEIN


        Name
  B
        FEIN



                                                                                    253307 10-05-22
                220322 41A720 (10-22)
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SCHEDULE L - LIMITED LIABILITY ENTITY TAX COMPUTATION


       Check the box and complete Schedule L-C, Limited Liability Entity Tax-Continuation Sheet, if the corporation filing this tax
       return is a partner or member of a limited liability pass-through entity or general partnership doing business in Kentucky.
       Enter the total amounts from Schedule L-C in Section A of this schedule.



SECTION A - Computation of Kentucky Gross Receipts and Gross Profits



1 (a) Gross receipts less returns and allowances                                        | 1 (a)                              32,511         00


    (b) Kentucky statutory gross receipts reductions                                    |     (b)


2      Adjusted gross receipts (line 1(a) less line 1(b))                               | 2                                  32,511         00

3 (a) Cost of goods sold (attach Schedule COGS)                                         | 3 (a)                                      725    00

    (b) Kentucky statutory cost of goods sold reductions                                |     (b)


4      Adjusted cost of goods sold (line 3(a) less line 3(b))                           | 4                                          725    00

5      Gross profits (line 2 less line 4)                                               | 5                                  31,786         00



SECTION B - Computation of TOTAL Gross Receipts and Gross Profits


1    Adjusted gross receipts                                                            | 1                           27,236,775            00

2    Cost of goods sold (attach Schedule COGS)                                          | 2                                607,145          00

3    Gross profits (line 1 less line 2)                                                 | 3                           26,629,630            00




    STOP                     If Section B, Line 1 or 3 is $3,000,000 or less, SKIP Sections C
                             and D and enter $175 in Section E, Line 1 and then enter $175
                                  on page 4, Part II, Line 1. Otherwise, continue to
                                             Section C on the next page.



253308 10-05-22




                  220260 41A720 (10-22)
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SCHEDULE L -LIMITED LIABILITY ENTITY TAX COMPUTATION - continued

SECTION C - Computation of Gross Receipts LLET


1   If gross receipts from all sources (Section B, line 1) are greater than
    $3,000,000, but less than $6,000,000, enter the following:


    (Section A, line 2 x 0.00095) -       $2,850 x ($6,000,000 - Section A, line 2 )
                                                                 $3,000,000


    but in no case shall the result be less than zero.                                 | 1             0     00

2   If gross receipts from all sources (Section B, line 1)
    are $6,000,000 or greater, enter the following: Section A,
    line 2 x 0.00095.                                                                  | 2            31     00

3   Enter the amount from line 1 or line 2.                                            | 3            31     00

SECTION D - Computation of Gross Profits LLET


1   If gross profits from all sources (Section B, line 3) are greater than
    $3,000,000, but less than $6,000,000, enter the following:
    (Section A, line 5 x 0.0075) -    $22,500 x ($6,000,000 - Section A, line 5 )
                                                             $3,000,000


    but in no case shall the result be less than zero.                                 | 1             0     00

2   If gross profits from all sources (Section B, line 3) are
    $6,000,000 or greater, enter the following: Section A,
    line 5 x 0.0075.                                                                   | 2           238     00

3   Enter the amount from line 1 or line 2.                                            | 3           238     00

SECTION E - Computation of LLET


1   Enter the lesser of Section C, line 3 or Section D, line 3
    here and on Page 4, Part II, line 1. If less than $175, enter
    the minimum of $175 here and on Page 4, Part II, line 1.                           | 1           175     00




253309 10-05-22




                  220279 41A720 (10-22)
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                     COGS                                Document    Page 181 of 326


          SCHEDULE
                                                                                      LIMITED LIABILITY ENTITY TAX
                     Commonwealth of Kentucky
                     Department of Revenue
                                                2 2 0 3 4 4 1 0 1 9                       COST OF GOODS SOLD
                                                                                                                                       2022
| See instructions.

| Attach to Form 720, 720U, PTE, or 725.
Name of Entity                                                                                       Federal              Kentucky Corporation/LLET
                                                                                             Identification Number             Account Number


 EATSTREET, INC.                                                                             **-***5093                           901307
                                                                                                        Limited Liability Entity Tax

                                                                                                  Column A                      Column B
                                                                                                   Kentucky                       Total
                                                                                             Cost of Goods Sold            Cost of Goods Sold

1      Inventory at beginning of year                          1                       72 00               60,427 00
2      Purchases                                      2                      653 00              546,718 00
3      Cost of labor                                   3                             00                         00
4      Additional section 263A costs                           4                             00                         00
5      Other costs                                    5                             00                         00
6      Total (add lines 1 through 5)                          6                      725 00              607,145 00
7      Inventory at end of year                             7                             00                         00
8      Cost of goods sold (subtract line 7 from line 6)                8                      725 00              607,145 00
9      Detail of purchases on line 2:                          9
 (a)                                                                                   (a)                           00                         00
 (b)                                                                                   (b)                           00                         00
 (c)                                                                                   (c)                           00                         00
 (d)                                                                                   (d)                           00                         00
 (e)                                                                                   (e)                           00                         00
 (f)                                                                                   (f)                           00                         00
 (g)                                                                                   (g)                           00                         00
 (h)                                                                                   (h)                           00                         00
 (i)                                                                                   (i)                           00                         00
 (j)                                                                                   (j)                           00                         00
 (k)                                                                                   (k)                           00                         00
10     Detail of additional section 263A costs on line 4:               10
 (a)                                                                                   (a)                           00                         00
 (b)                                                                                   (b)                           00                         00
 (c)                                                                                   (c)                           00                         00
 (d)                                                                                   (d)                           00                         00
 (e)                                                                                   (e)                           00                         00
 (f)                                                                                   (f)                           00                         00
 (g)                                                                                   (g)                           00                         00
 (h)                                                                                   (h)                           00                         00
 (i)                                                                                   (i)                           00                         00
 (j)                                                                                   (j)                           00                         00
 (k)                                                                                   (k)                           00                         00
11     Detail of other costs on line 5:                        11
 (a)                                                                                   (a)                           00                         00
 (b)                                                                                   (b)                           00                         00
 (c)                                                                                   (c)                           00                         00
 (d)                                                                                   (d)                           00                         00
 (e)                                                                                   (e)                           00                         00
 (f)                                                                                   (f)                           00                         00
 (g)                                                                                   (g)                           00                         00
 (h)                                                                                   (h)                           00                         00
 (i)                                                                                   (i)                           00                         00
 (j)                                                                                   (j)                           00                         00
 (k)                                                                                   (k)                           00                         00

                       220344 41A720COGS (10-22)                    253891 10-05-22                                        Page 1 of 1
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  EATSTREET, INC.                  Document    Page 182 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  KY FORM 720                STATE TAXES BASED ON INCOME           STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  COLORADO TAXES - BASED ON INCOME                                                        701.
  CONNECTICUT TAXES - BASED ON INCOME                                                  1,500.
  IOWA TAXES - BASED ON INCOME                                                        19,000.
  MASSACHUSETTS TAXES - BASED ON INCOME                                                4,000.
  PENNSYLVANIA TAXES - BASED ON INCOME                                                 6,500.
  VIRGINIA TAXES - BASED ON INCOME                                                        800.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 720, PAGE 1, LINE 3                                                   32,501.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  KY 720          OTHER SUBTRACTIONS FROM FEDERAL TAXABLE INCOME   STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  SECTION 174 R&D COSTS                                                            2,708,894.
  BASIS DIFFERENCE ON DISPOSED ASSETS                                                 68,154.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO 720 PAGE 3, LINE 39                                                     2,777,048.
                                                                               ~~~~~~~~~~~~~~




                                               11                      STATEMENT(S) 1, 2
13111109 144198 89475                       2022.05000 EATSTREET, INC.            89475__1
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            SCHEDULE
                                                                                          APPORTIONMENT AND ALLOCATION

                                                                                                                                                     2022
                                                                                           (For corporations and pass-through entities
                   Commonwealth of Kentucky   2 2 0 2 1 0 1 0 1 9                          taxable both within and without Kentucky.)
                   Department of Revenue


| Attach to Form 720, 720U (for entities using 3 - Factor Apportionment), PTE, or 725.
    Name of Corporation or Pass-through Entity                                              Federal Identification Number    Kentucky Corporation/LLET Account Number


    EATSTREET, INC.                                                                              **-***5093                            901307

       Check the box and complete page 4, Apportionment and Allocation - Continuation Sheet: (i) if the corporation filing this tax
       return is a partner or member of a limited liability pass-through entity or general partnership doing business in Kentucky; or (ii)
       if the pass-through entity filing this tax return is a partner or member of a pass-through entity doing business in Kentucky, or
       (iii) if the corporation is filing an elective consolidated tax return per KRS 141.201.
       Check the box: (i) if the Department has granted written approval to use an alternative allocation and apportionment method per
       KRS 141.120 (12)(a), attach a copy of the approval letter to the tax return; or (ii) if the company has made an irrevocable five year
       election to use an allocation and apportionment method per KRS 141.121(4)(a), attach a copy of the election to the tax return.
       Check the box: (i) if the taxpayer departed from or modified the basis for excluding or including gross receipts in the receipts
       factor used in returns for prior years per 103 KAR 16:270, disclose the nature and extent of the modification; or (ii) if the returnsor reports filed by the
       taxpayer with all states to which the taxpayer reports are not uniform in the inclusion or exclusion of
       gross receipts per 103 KAR 16:270, disclose the nature and extent of the variance.

PART I - COMPUTATION OF APPORTIONMENT FRACTION

Factor Computation

 Percentages should be carried to four decimal places.
1    Kentucky receipts                                                                               |1                                       33,016              00

2    Total receipts                                                                                  |2                              27,659,510                   00


3    Receipts factor (line 1 divided by line 2)                                                      |3                                            .1194            %


4    Double-weighted receipts factor (line 3 multiplied by 2)                                        |4                                            .2388           %

5    Average value of Kentucky real/tangible property (Part III)                                     |5                                                   0       00

6    Average value of total real/tangible property (Part IV)                                         |6                                5,356,905                  00


7    Property factor (line 5 divided by line 6)                                                      |7                                            .0000           %
8    Kentucky payrolls                                                                               |8                                                   0       00

9    Total payrolls                                                                                  |9                              23,299,723                   00

10 Payroll factor (line 8 divided by line 9)                                                         | 10                                          .0000           %


Three-Factor Computation only required for Entities under KRS 141.121


11 Total (add lines 4, 7, and 10)
                                                                                                     | 11                                          .2388           %
12 Apportionment fraction - line 11 divided by 4 or number
     of factors present (receipts representing 2 factors)
                                                                                                     | 12                                          .0597           %



                                                                        253321 10-05-22
                       220210 41A720A (10-22)                                                                                            Page 1 of 4
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PART II - APPORTIONMENT AND ALLOCATION OF INCOME (FORM 720 ONLY)




1     Net income (from Form 720, Part I, line 40)                                              |1        -7,872,647     00

2     Deduct non-apportionable income (if applicable):


      (a)   Interest                                               | 2(a)                           00

      (b)   Rents                                                  |   (b)                          00

      (c)   Royalties                                              |   (c)                          00


      (d)   Net gain or (loss) on sale or
            exchange of capital assets                             |   (d)                          00

      (e)   Total (lines (a) through (d))                          |   (e)                          00

      (f)   Related expenses
            (attach schedule)                                      |   (f)                          00

3     Net non-apportionable income (line 2(e) less line 2(f))                                  |3                       00

4     Apportionable income (line 1 less line 3)                                                |4        -7,872,647     00


5     Apportionable income apportioned to Kentucky (line 4
      multiplied by Part I, line 3) (Entities under KRS 141.121,                                             -9,400
                                                                                               |5                       00
      see instructions)


6     Add Kentucky non-apportionable income (if applicable):


      (a)   Interest                                               | 6(a)                           00

      (b)   Rents                                                  |   (b)                          00

      (c)   Royalties                                              |   (c)                          00

      (d)   Net gain or (loss) on sale or
            exchange of capital assets                             |   (d)                          00


      (e)   Total (lines (a) through (d))                          |   (e)                          00

      (f)   Kentucky related expenses
            (attach schedule)                                      |   (f)                          00

7     Kentucky net non-apportionable income (line 6(e) less
      line 6(f))                                                                               |7                       00

8     Taxable net income (line 5 plus line 7) (enter here and
      on Form 720, Part I, line 41)                                                            |8            -9,400     00

                                                                             253322 10-05-22
                   220211 41A720A (10-22)
           Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
                                                      Document    Page 185 of 326
 Schedule A (2022)                     2 2 0 2 1 2 1 0 1 9                                                    Page 3 of 4


PART III - TOTAL KENTUCKY REAL/TANGIBLE PROPERTY



PROPERTY                                                  A. Beginning of Year               B. End of Year


1   Inventories                         |1                                             00                            00

2   Buildings                           |2                                             00                            00

3   Machinery and
    equipment                           |3                                         0   00                      0     00

4   Land                                |4                                             00                            00


5   Other tangible assets               |5                                             00                            00

6   Total (lines 1 through 5)           |6                                         0   00                      0     00

7   Average value of real/tangible property owned in Kentucky,
    total of line 6, columns A and B divided by 2                                       |7                     0     00

8   Leased property (Eight times the annual rental rate
    less subrentals)                                                                    |8                     0     00

9   Total (lines 7 and 8) (enter on Part I, line 5)                                     |9                     0     00

PART IV - TOTAL REAL/TANGIBLE PROPERTY

PROPERTY                                                  A. Beginning of Year               B. End of Year


1   Inventories                         |1
                                                                                       00                            00


2   Buildings                           |2                                             00                            00

3   Machinery and
    equipment                           |3                       2,096,217             00           355,657          00

4   Land                                |4                                             00                            00

5   Other tangible assets               |5                                             00                            00

6   Total (lines 1 through 5)           |6                       2,096,217             00           355,657          00


7   Average value of real/tangible property owned everywhere,
    total of line 6, columns A and B divided by 2                                       |7        1,225,937          00

8   Leased property (Eight times the annual rental rate
    less subrentals)                                                                    |8        4,130,968          00
9   Total (lines 7 and 8) (enter on Part I, line 6)                                               5,356,905
                                                                                        |9                           00
                                                                 253323 10-05-22
              220212 41A720A (10-22)
                    Case 3-24-12061-cjf                            Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                                                                        Document    Page 186 of 326             KY

              4562                                                     Depreciation and Amortization                                                                                     OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                            Attach to your tax return.
                                                                                                                                                          OTHER
                                                                                                                                                                                           2022
                                                                                                                                                                                           Attachment
   Internal Revenue Service                              Go to www.irs.gov/Form4562 for instructions and the latest information.                                                           Sequence No. 179
   Name(s) shown on return                                                                                             Business or activity to which this form relates                  Identifying number



   EATSTREET, INC.                                                                  OTHER DEPRECIATION                               **-***5093
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1            100,000.
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                             2
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                              3
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                      4
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                         5
    6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
   10 Carryover of disallowed deduction from line 13 of your 2021 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
   13 Carryover of disallowed deduction to 2023. Add lines 9 and 10, less line 12                                                   13
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
   16 Other depreciation (including ACRS)                                                                                                 16                   5,226.
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2022                                                                           17             124,910.
   18                                                                                                        
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                      Section B - Assets Placed in Service During 2022 Tax Year Using the General Depreciation System
                                                                           (b) Month and        (c) Basis for depreciation
                      (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method   (g) Depreciation deduction
                                                                              in service         only - see instructions)              period


   19a           3-year property
        b        5-year property                                                                          14,764. 5 YRS                                   HY          200DB                         2,953.
        c        7-year property
        d        10-year property
        e        15-year property
        f        20-year property
        g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                                  /                                                27.5 yrs.              MM                S/L
        h        Residential rental property
                                                                                  /                                                27.5 yrs.              MM                S/L
                                                                                  /                                                 39 yrs.               MM                S/L
        i        Nonresidential real property
                                                                  /                                                 MM         S/L
                                    Section C - Assets Placed in Service During 2022 Tax Year Using the Alternative Depreciation System
   20a           Class life                                                                                                                                                 S/L
     b           12-year                                                                                                             12 yrs.                                S/L
     c           30-year                                                          /                                                  30 yrs.              MM                S/L
     d           40-year                                                          /                                                  40 yrs.              MM                S/L
    Part IV             Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21                   4,683.
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22             137,772.
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                            23
   216251 12-08-22         LHA For Paperwork Reduction Act Notice, see separate15
                                                                               instructions.                                                                                                Form 4562 (2022)
13111109 144198 89475                                                                               2022.05000 EATSTREET, INC.                                                                         89475__1
              Case 3-24-12061-cjf                 Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                         Desc Main
                                                       Document    Page 187 of 326
   Form 4562 (2022)                 EATSTREET, INC.                                                                      **-***5093                                                Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles. )
   24a Do you have evidence to support the business/investment use claimed?          X Yes                 No 24b If "Yes," is the evidence written? X Yes        No
                 (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)           (i)
         Type of property            Date          Business/                             Basis for depreciation
                                                                                                                Recovery     Method/       Depreciation   Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                         (business/investment
                                                                                                                 period    Convention       deduction   section 179
                                   service      use percentage                                  use only)
                                                                                                                                                            cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                      25



                                         ! !
   26 Property used more than 50% in a qualified business use:



                                         ! !
                                                             %
               SEE STATEMENT 3                                                                                                                      4,683.

                                         ! !
                                                             %
                                                             %



                                         ! !
   27 Property used 50% or less in a qualified business use:



                                         ! !
                                                             %                                                           S/L -



                                         ! !
                                                             %                                                           S/L -
                                                             %                                                           S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28 4,683.
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1       29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)               (b)               (c)               (d)                        (e)                   (f)
   30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle               Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes         No      Yes         No     Yes     No       Yes        No          Yes          No        Yes          No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                               Yes         No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                    (f)
                      Description of costs                Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                               begins                amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2022 tax year:



                                                               ! !
   43 Amortization of costs that began before your 2022 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43                   360,095.
   44 Total. Add amounts in column (f). See the instructions for where to report                                             44                   360,095.
   216252 12-08-22                                                                                                                                                 Form 4562 (2022)
                                                                                      16
13111109 144198 89475                                                              2022.05000 EATSTREET, INC.                                                                  89475__1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44    Desc Main
  EATSTREET, INC.                  Document    Page 188 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  STATE FORM 4562     LISTED PROPERTY INFORMATION-MORE THAN 50%    STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

      (A)       (B)     (C)     (D)      (E)    (F)    (G)       (H)    (I) 179
  DESCRIPTION   DATE   BUS. %   COST    BASIS   LIFE MTH/CV DEDUCTION ELECTED
  }}}}}}}}}}} }}}}}}}} }}}}}} }}}}}}}} }}}}}}}} }}}} }}}}}}}} }}}}}}}}} }}}}}}}}

     (K)       (L)          (M)       (N)   (O)     (P)       (Q)
    TOTAL   BUSINESS     COMMUTING PERSONAL
                                          WAS VEH. > 5% ANOTHER VEH.
    MILES     MILES        MILES     MILESAVAIL.? OWNER? AVAILABLE?
                                            Y N     Y N       Y N
  }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}}} }}}}}}}} }}}}}} }}}}}}}}}}}}
  2014 FORD   02/03/14                          5    200DB
  FUSION               100.00 33,319. 33,319. YRS                 1,875.

  COMPANY CAR 06/19/20                                   5     200DB
  - 2019                                                 YRS                   2,808.
  VOLKSWAGON
  ATLAS                100.00       29,250.    29,250.

                                                                        }}}}}}}}} }}}}}}}}
  TOTALS TO FORM 4562, PART V, LINE 26                                     4,683.
                                                                        ~~~~~~~~~ ~~~~~~~~




                                               17                                STATEMENT(S) 3
13111109 144198 89475                       2022.05000 EATSTREET, INC.                   89475__1
                 Case 3-24-12061-cjf                      Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                  Desc Main
                                                                      KENTUCKY
                                                               Document    Page 189 of 326
                                                                                                                                                                    OMB No. 1545-0184
                                                                    Sales of Business Property
   Form       4797                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                                                                                                                    2022
   Department of the Treasury                                                Attach to your tax return.
                                                                                                                                                                    Attachment
   Internal Revenue Service                            Go to www.irs.gov/Form4797 for instructions and the latest information.                                      Sequence No.   27
   Name(s) shown on return                                                                                                              Identifying number


         EATSTREET, INC.                                                                                                                 **-***5093
    1a Enter the gross proceeds from sales or exchanges reported to you for 2022 on Form(s) 1099-B or 1099-S
       (or substitute statement) that you are including on line 2, 10, or 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1a
        b Enter the total amount of gain that you are including on lines 2, 10, and 24 due to the partial dispositions of
          MACRS assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            1b
        c Enter the total amount of loss that you are including on lines 2 and 10 due to the partial dispositions of MACRS
          assets                                                                               1c
     Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                     Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                                  (e) Depreciation        (f) Cost or other            (g) Gain or (loss)
    2                                                 (b) Date          (c) Date            (d) Gross                                       basis, plus                 Subtract (f) from
                     (a) Description of                 acquired            sold              sales price
                                                                                                               allowed or allowable      improvements and            the sum of (d) and (e)
                         property                     (mo., day, yr.)   (mo., day, yr.)                          since acquisition        expense of sale

   DISPOSED
   ASSETS                                            123112 123122                         207,667. 1,010,466. 2,460,414. -1242281.

   TOTALS                                                                                  207,667. 1,010,466. 2,460,414. -1242281.
    3      Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
    4      Section 1231 gain from installment sales from Form 6252, line 26 or 37           ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4
    5      Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    5
    6      Gain, if any, from line 32, from other than casualty or theft       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               6
    7      Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows      ~~~~~~~~~~~~~~~~~                              7    -1242281.
           Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
           line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
           Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
           from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
           1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
           the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.

    8      Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                8
    9      Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
           line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
           capital gain on the Schedule D filed with your return. See instructions                                                 9

     Part II         Ordinary Gains and Losses (see instructions)
   10       Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):
   DISPOSED
   ASSETS                                            110321 103122                                                     2,734.                    7,594.                   -4,860.

   TOTALS                                                                                                              2,734.                    7,594.              -4,860.
   11      Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        11 ( -1242281.)
   12      Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   12
   13      Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        13
   14      Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           14
   15      Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15
   16      Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     16
   17      Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         17    -1247141.
   18      For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines
           a and b below. For individual returns, complete lines a and b below.
        a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the
          loss from income-producing property on Schedule A (Form 1040), line 16. (Do not include any loss on property used
           as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18a
        b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
          (Form 1040), Part I, line 4                                                                          18b
    LHA       For Paperwork Reduction Act Notice, see separate instructions.                                                                                          Form 4797 (2022)
   218001
   12-14-22
                                                                                             18
13111109 144198 89475                                                                     2022.05000 EATSTREET, INC.                                                            89475__1
         EATSTREET,  INC.
            Case 3-24-12061-cjf                                                                  **-***5093
                                                        Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
   Form 4797 (2022)                                                 KENTUCKY
                                                             Document    Page 190 of 326                                                                                      Page 2
     Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                                 (b) Date acquired     (c) Date sold
                                                                                                                                                  (mo., day, yr.)      (mo., day, yr.)
    19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
      A
      B
      C
      D
           These columns relate to the properties on
           lines 19A through 19D.                                                  Property A               Property B             Property C                   Property D
    20     Gross sales price (Note: See line 1a before completing.)     20
    21     Cost or other basis plus expense of sale ~~~~~~              21
    22     Depreciation (or depletion) allowed or allowable ~~~         22
    23     Adjusted basis. Subtract line 22 from line 21 ~~~~           23


    24     Total gain. Subtract line 23 from line 20              24
    25     If section 1245 property:
         a Depreciation allowed or allowable from line 22 ~~~           25a
      b Enter the smaller of line 24 or 25a                     25b
    26 If section 1250 property: If straight line depreciation
           was used, enter -0- on line 26g, except for a corporation
           subject to section 291.
         a Additional depreciation after 1975 ~~~~~~~~~                 26a
         b Applicable percentage multiplied by the smaller of
           line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
         c Subtract line 26a from line 24. If residential rental
           property or line 24 isn't more than line 26a, skip lines
           26d and 26e ~~~~~~~~~~~~~~~~~~                               26c
         d Additional depreciation after 1969 and before 1976 ~         26d
         e Enter the smaller of line 26c or 26d ~~~~~~~~                26e
         f Section 291 amount (corporations only) ~~~~~~                26f
         g Add lines 26b, 26e, and 26f                       26g
    27     If section 1252 property: Skip this section if you didn't
           dispose of farmland or if this form is being completed for
           a partnership.
         a Soil, water, and land clearing expenses ~~~~~~               27a
         b Line 27a multiplied by applicable percentage ~~~~            27b
         c Enter the smaller of line 24 or 27b                  27c
    28     If section 1254 property:
         a Intangible drilling and development costs, expenditures
           for development of mines and other natural deposits,
           mining exploration costs, and depletion ~~~~~~               28a
         b Enter the smaller of line 24 or 28a                  28b
    29     If section 1255 property:
         a Applicable percentage of payments excluded from
           income under section 126 ~~~~~~~~~~~~                        29a
     b Enter the smaller of line 24 or 29a   29b
   Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

    30     Total gains for all properties. Add property columns A through D, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~                                     30


    31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13      ~~~~~~~~~~~~~~                      31
    32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
           from other than casualty or theft on Form 4797, line 6                                                 32
     Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                      (see instructions)
                                                                                                                                   (a) Section                  (b) Section
                                                                                                                                       179                       280F(b)(2)
    33     Section 179 expense deduction or depreciation allowable in prior years     ~~~~~~~~~~~~~~                          33
    34     Recomputed depreciation. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              34
    35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
   218002
   12-14-22
                                                                                       19                                                                           Form 4797 (2022)
13111109 144198 89475                                                               2022.05000 EATSTREET, INC.                                                           89475__1
                  Case 3-24-12061-cjf            Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                  Desc Main
                                                      Document    Page 191 of 326
                   NOL
      SCHEDULE
                                                                                 NET OPERATING LOSS SCHEDULE
                 Commonwealth of Kentucky
                 Department of Revenue
                                            2 2 0 2 1 7 1 0 1 9
                                                                                                                                               2022
| Attach to Form 720.
Name of Corporation                                                         Federal Identification Number               Kentucky Corporation/LLET
                                                                                                                             Account Number
EATSTREET, INC.                                                                  **-***5093                                     901307

                                                                                                                        Prior Year NOL
Section A - Net Operating Loss Deduction
                                                                                                                  A                        B
                                                                                Kentucky
                                                                                                            Pre-2018 NOL            Post-2017 NOL
                                                                             Corporation/LLET
                                                                                                            Carryforward             Carryforward
                  Name                                                       Account Number


1    Corporation Filing Return
    EATSTREET, INC.                                                         901307                                                             13,188

2    Subsidiaries (if applicable)
a


b


c
d


e
f


g
h


i
3   Adjustments (Intercompany eliminations and others)       ~~~~~~~~~~~~~~~                      3


4   Totals (sum each respective column) ~~~~~~~~~~~~~~~~~~~~~~~                                   4                                            13,188
5   Enter the taxable net income from Form 720, Part I, line 41. (If a loss, skip to Section B)   ~~~~~~~~~~~~              5


6   Enter the lesser of line 5 or Column A, line 4. This is the pre-2018 NOLD ~~~~~~~~~~~~~~~~~~~~                          6


7   Line 5 less line 6. If negative, enter zero. This is the taxable income remaining after pre-2018 NOLD ~~~~~~~           7
8   Multiply line 7 by 80%. This is the maximum allowable post-2017 NOLD ~~~~~~~~~~~~~~~~~~~~                               8


9   Enter the lesser of line 8 or Column B, line 4. This is the post-2017 NOLD    ~~~~~~~~~~~~~~~~~~~                       9


10 Add lines 6 and 9. This is the total NOLD . Enter here and on Form 720, Part I, line 42                    10
Section B - NOL Carryforward

1   Enter the amount from Section A, Column A, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1
2   Enter the amount from Section A, line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            2


3   Subtract line 2 from line 1. This is the pre-2018 NOL carryforward to 2023                            3
4   Enter the amount from Section A, Column B, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4                  13,188

5   Enter the amount of current year loss from Form 720, Part I, line 41 (enter as a positive)    ~~~~~~~~~~~~              5                  9,400
6   Enter the amount from Section A, line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6


7   Line 4 plus line 5 less line 6. This is the post-2017 NOL carryforward to 2023                         7                  22,588


                                                                                                      264421 01-26-23
                      220217 41A720NOL (10-22)                                                                                   Page 1 of 1
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                           TAX RETURN FILING INSTRUCTIONS
                                          MASSACHUSETTS FORM 355

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $              456
                Less: payments and credits          $              912
                Plus: other amount                  $                0
                Plus: interest and penalties        $                0
                Overpayment                         $              456

Overpayment:

                Credit to your estimated tax        $              456
                Other amount                        $                0
                Refunded to you                     $                0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Mass. Department of Revenue
               P.O. Box 7005
               Boston, MA 02204


Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
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                                                      Massachusetts Department of Revenue
                                                 Form 355-7004
                               Corporate Extension Payment Worksheet and Voucher

                           FOR YOUR RECORDS
If you are mandated to pay electronically do not use the voucher form below. See TIR 21-9.




                              DO NOT FILE
Worksheet for Tax Due
1 Estimated amount of tax for the taxable year (must be at least minimum tax) ~~~~~~~~~~~~~~~~~~~~ 1                                                 456.
2 Advance and/or estimated payments made (if any) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2                                                                912.
3 Tax due. Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3
 The full amount of tax due reported on line 3 must be paid by or before the return due date. If there is no tax due on line 3; no further action is needed
 for the extension. If there is a tax due on line 3, pay online at mass.gov/masstaxconnect or use the voucher below. If at least 50% of the tax due for
 the taxable year or the minimum tax (whichever is greater) is not paid by the original return due date, the extension is null and void, and penalties and
 interest for a late return and any late payments will be assessed from the original due date of the return.




                           FOR YOUR RECORDS
257591 12-16-22
                                                                      DETACH HERE
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
2022 Form 355-7004                                                           FOR INFORMATIONAL PURPOSES ONLY




                              DO NOT FILE
Massachusetts Corporate Extension Payment Voucher                            THIS FORM MUST BE FILED ELECTRONICALLY SEE TIR 21-9
Payment for period end date (mm/dd/yyyy)   Tax type           Voucher type        ID type                       Vendor code
12/31/2022                                  014               18                  004                           1019
Name of business                                              Federal Identification number                     Check if incorporated in Massachusetts
EATSTREET, INC.                                                        **-***5093
Business address
44 E. MIFFLIN ST, STE 400
City/Town                                                     State               ZIP                           Amount enclosed
MADISON                                                       WI                  53703                         $                               0.00
Pay online at mass.gov/masstaxconnect.




                  00100454385093 123122 0000000000 014 180041019 00000000007
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  2022 Form 355
  MA22397011019
  Business or Manufacturing Corporation Excise Return

  Year beginning    01012022            Ending   12312022


  EATSTREET, INC.                                                                 ** ***5093
  1574 W BROADWAY ST STE 2                                     MADISON                                                   WI 53713


        Check if:             Initial return                   Final return            Name change        X Address change             Amended return
              Amended return due to federal change             Amended return due to federal audit           Amended return due to IRS BBA Partnership Audit
              Enclosing Schedule DRE                           Enclosing Schedule FCI           Enclosing Schedule TDS
              S election termination or revocation             Member of lower-tier entity
  1. Check if the corporation is incorporated within Massachusetts
  2. Date of incorporation in Massachusetts                                                                                          2
  3. Type of corporation                   Section 38 manufacturer            Mutual fund service
  4. Type of corporation               R&D                              Classified manufacturing               RIC           REIT
  5. Check if the corporation is filing a Massachusetts combined return
  6. FID of principal reporting corporation if answer to line 5 is Yes                                                               6
  7. Check if the corporation's tax year is different from the 355U
  8. Check if the corporation is an insurance mutual holding corporation
  9. Check if the corporation is requesting alternate apportionment
 10. Principal business code                                                                                                         10                   722300
 11. Number of employees in Massachusetts                                                                                            11                        0
 12. Number of employees worldwide                                                                                                   12                     3752
 13. Foreign corporation: first date of business in Massachusetts                                                                    13                 01012020
 14. Last year audited by IRS                                                                                                        14
 15. Check if adjustments have been reported to Massachusetts
 16. Check if the corporation is deducting intangible or interest expenses paid to a related entity
 17. Check if:                Taxpayer is claiming exemption from the income measure of the excise pursuant to PL 86-272
                              Taxable only with respect to partnership activity
DECLARATION. Under penalties of perjury, I declare that to the best of my knowledge and belief this return and enclosures are true, correct and complete.
Signature of appropriate officer                 Date                  Print paid preparer's name                      Paid preparer's PTIN
                                                                              DANIEL T. O'CONNOR,                             P00543528
Title                                                   Date                  Paid preparer's phone                           Paid preparer's EIN
CEO                                                                           608 249 6622                                    ** ***9910
Are you signing as an authorized delegate
of the appropriate officer of the corporation?                                Paid preparer's signature                       Date                  Check if self-employed
(see instructions)         Yes     X No                        DANIEL T. O'CONNOR, CPA                                        11092023
Taxpayer's e-mail address
STEVE.ANASTASI@EATSTREET.COM


257401 11-15-22

                                                               PRIVACY ACT NOTICE AVAILABLE UPON REQUEST



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    2022 Excise Calculation
    MA22397021019

    Business or Manufacturing Corporation Excise Return
    ** ***5093




    1. Taxable Massachusetts tangible property, if applicable                             x .0026 = 1
    2. Taxable net worth, if applicable                                           0       x .0026 = 2                 0
    3. Massachusetts taxable income                                               0       x .0800 = 3                 0
    4. Credit recapture                                                                             4
    5. Tax on installment sales                                                                     5
    6. Excise before credits                                                                        6                 0
    7. Total credits                                                                                7
    8. Excise after credits                                                                         8                 0
    9. Combined filer tax due                                                                       9
   10. Minimum excise                                                                              10                456
   11. Excise due before voluntary contribution                                                    11                456
   12. Voluntary contribution for endangered wildlife conservation                                 12
   13. Excise due plus voluntary contribution                                                      13                456
   14. 2021 overpayment applied to your 2022 estimated tax                                         14                912
   15. 2022 Massachusetts estimated tax payments                                                   15
   16. Payment made with extension                                                                 16
   17. Payment with original return                                                                17
   18. Pass-through entity withholding. Payer ID number                                            18
   19. Total refundable credits                                                                    19
   20. Total payments                                                                              20                912
   21. Amount overpaid                                                                             21                456
   22. Amount overpaid to be credited to 2023 estimated tax                                         22               456
   23. Amount overpaid to be refunded                                                      Refund 23                   0
   24. Balance due                                                                    Balance due 24
   25. a. M-2220 penalty                           b. Late file/pay penalties               a + b = 25
   26. Interest on unpaid balance                                                                 26
   27. Total payment due at time of filing                                              Total due 27




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   2022 Schedule A
   MA22060011019
   Balance Sheet




   EATSTREET, INC.                                               ** ***5093

                                                                      A.            B. Accumulated            C.
                                                                    Original        depreciation and       Net book
Tangible Assets                                                      cost             amortization          value
   1. Capital assets in Massachusetts:
      a. Buildings                                         1a
       b.    Land                                          1b
       c.    Motor vehicles and trailers                   1c
       d.    Machinery taxed locally                       1d
       e.    Machinery not taxed locally                   1e
       f.    Equipment                                      1f
       g.    Fixtures                                      1g
       h.    Leasehold improvements taxed locally          1h
       i.    Leasehold improvements not taxed locally       1i
       j.    Other fixed depreciable assets                 1j
       k.    Construction in progress                      1k
       l.    Total capital assets in Massachusetts          1l
   2. Inventories in Massachusetts:
      a. General merchandise                               2a
       b.    Exempt goods                                  2b
   3. Supplies and other non-depreciable assets in Mass.    3
   4. Total tangible assets in Massachusetts                4
   5. Capital assets outside of Massachusetts:
      a. Buildings and other depreciable assets            5a          355657              253876             101781
       b.    Land                                          5b
   6. Leaseholds/leasehold improvements outside Mass.       6
   7. Total capital assets outside Massachusetts            7          355657              253876             101781


 257403 11-15-22




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   2022 Schedule A, pg. 2
   MA22060021019

   Business or Manufacturing Corporation Excise Return
   ** ***5093




   8. Inventories outside Massachusetts                                                    8
   9. Supplies and other non-depreciable assets outside Massachusetts                      9
  10. Total tangible assets outside of Massachusetts                                      10          101781
  11. Total tangible assets. Add lines 4 and 10                                           11          101781
  12. Investments:
      a. Investments in subsidiary corporations at least 80% owned                       12a
        b.    Other investments                                                          12b
  13. Notes receivable                                                                    13
  14. Accounts receivable                                                                 14         1157082
  15. Intercompany receivables                                                            15
  16. Cash                                                                                16          549906
  17. Other assets                                                                        17         2678244
  18. Total assets                                                                        18         4487013

Liabilities and Capital
  19. Mortgages on:
      a. Massachusetts tangible property taxed locally                                   19a
        b.    Other tangible assets                                                      19b
  20. Bonds and other funded debt                                                         20
  21. Accounts payable                                                                    21         3264720
  22. Intercompany payables                                                               22
  23. Notes payable                                                                       23         6657494
  24. Miscellaneous current liabilities                                                   24         8145365
  25. Miscellaneous accrued liabilities                                                   25           43709
  26. Total liabilities                                                                   26        18111288
  27. Total capital stock issued                                                          27            6305
  28. Paid-in or capital surplus                                                          28        55900492
  29. Retained earnings and surplus reserves                                              29       -69531072
  30. Undistributed S corporation net income                                              30
  31. Total capital                                                                       31       -13624275
  32. Treasury stock                                                                      32
  33. Total liabilities and capital                                                       33         4487013

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   2022 Schedule B
   MA22061011019
   Tangible or Intangible Property Corp. Classification




   EATSTREET, INC.                                                               ** ***5093

   1. Total Massachusetts tangible property                                                    1
   2. Massachusetts real estate                                                                2
   3. Massachusetts motor vehicles and trailers                                                3
   4. Massachusetts machinery taxed locally                                                    4
   5. Massachusetts leasehold improvements taxed locally                                       5
   6. Massachusetts tangible property taxed locally                                            6
   7. Massachusetts tangible property not taxed locally                                        7
   8. Total assets                                                                             8        4487013
   9. Massachusetts tangible property taxed locally                                            9
  10. Total assets not taxed locally                                                          10        4487013
  11. Investments in subsidiaries at least 80% owned                                          11
  12. Assets subject to allocation                                                            12        4487013
  13. Income apportionment percentage                                                         13       0.007831
  14. Allocated assets                                                                        14          35138
  15. Tangible property percentage                                                            15       0.000000

Schedule C. Tangible Property Corporation
   1. Total Massachusetts tangible property                                                    1
   2. Exempt Massachusetts tangible property:
       a.    Massachusetts real estate                                                        2a
       b.    Massachusetts motor vehicles and trailers                                        2b
       c.    Massachusetts machinery taxed locally                                            2c
       d.    Massachusetts leasehold improvements taxed locally                               2d
       e.    Exempt goods                                                                     2e
       f.    Certified Massachusetts industrial waste/air treatment facilities                2f
       g.    Certified Massachusetts solar or wind power deduction                            2g
   3. Total exempt Massachusetts tangible property                                             3
   4. Taxable Massachusetts tangible property                                                  4




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   2022 Schedule D
   MA22062011019
   Intangible Property Corporation
   ** ***5093




   1. Total assets                                                                        1         4487013
   2. Total liabilities                                                                   2        18111288
   3. Massachusetts tangible property taxed locally                                       3
   4. Mortgages on Massachusetts tangible property taxed locally                          4
   5. Subtract line 4 from line 3                                                         5                0
   6. Investments in subsidiaries at least 80% owned                                      6
   7. Deductions from total assets                                                        7        18111288
   8. Allocable net worth                                                                 8               0
   9. Income apportionment percentage                                                     9        0.007831
  10. Taxable net worth                                                                  10               0

Schedule E-1. Dividends Deduction
   1. Total dividends                                                                     1
   2. Dividends from Massachusetts corporate trusts                                       2
   3. Dividends from non-wholly-owned DISCs                                               3
   4. Dividends, if less than 15% of voting stock owned                                   4
   5. Dividends from RICs                                                                 5
   6. Dividends from REITs                                                                6
   7. Total taxable dividends                                                             7
   8. Dividends eligible for deduction                                                    8
   9. Dividends deduction                                                                 9



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  2022 Schedule E
  MA22064011019
  Taxable Income




  EATSTREET, INC.                                                            ** ***5093

  1. Gross receipts or sales                                                                                          1        28834297
  2. Gross profit                                                                                                     2        28227152
  3. Other deductions                                                                                                 3        12834669
  4. Net income                                                                                                       4        -5131799
  5. Allowable U.S. wage credit                                                                                       5
  6. Subtract line 5 from line 4                                                                                      6        -5131799
  7. State and municipal bond interest not included in U.S. net income                                                7
  8. Foreign, state or local income, franchise, excise or capital stock taxes deducted from U.S. net income           8           45895
  9. Section 168(k) "bonus" depreciation adjustment                                                                   9
 10. Section(s) 31l and 31K intangible expenses                                                                      10
 11. Section(s) 31J and 31K interest expenses                                                                        11
 12. Reserved for future use                                                                                         12
 13. Other adjustments, including research and development expenses                                                  13
 14. Add lines 6 through 13                                                                                          14        -5085904
 15. Abandoned building renovation deduction                                                                  x .10 = 15
 16. Dividends deduction                                                                                             16
 17. Add back of intangible expenses exception                                                                       17
 18. Add back of interest expenses exception                                                                         18
 19. Income subject to apportionment                                                                                 19        -5085904
 20. Income apportionment percentage                                                                                 20        0.007831
 21. Multiply line 19 by line 20                                                                                     21          -39828
 22. Income not subject to apportionment                                                                             22
 23. Total net income allocated or apportioned to Massachusetts                                                      23          -39828
 24. Certified Massachusetts solar or wind power deduction                                                           24
 25. Massachusetts taxable income before NOL deduction                                                               25          -39828
 26. Net operating loss deduction                                                                                    26
 27. Massachusetts taxable income                                                                                    27          -39828
 28. Net operating loss carryover                                                                                    28           39828




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  2022 Schedule F
  MA22066011019
  Income Apportionment




  EATSTREET, INC.                                                              ** ***5093

  Fill in:        Section 38 manufacturer
                  Mutual fund service corporation reporting sales of mutual funds only
                  Mutual fund service corporation reporting sales of non-mutual funds
              X Other
                  Change in method of calculating one or more factors from prior year

                                                                                                     ACCEPTS   REG. IN    FILES IN
  LOCATION                                                   STATE FACILITY TYPE                     ORDERS    STATE      STATE




Apportionment Factors
  1. Tangible property
     a. Property owned                                                    Massachusetts         0      Worldwide                      1225937
        b.    Property rented                                             Massachusetts         0      Worldwide                      4130968
        c.    Total property owned and rented                             Massachusetts         0      Worldwide                      5356905
        d.
         Tangible property apportionment percentage                                                             1d                   0.000000
  2. Payroll
     a. Total payroll                                                     Massachusetts                Worldwide
        b.    Payroll apportionment percentage                                                                  2b
  3. Sales
     a. Tangible (destination)                                            Massachusetts
        b.    Tangible (throw back)                                       Massachusetts                Worldwide
        c.    Services                                                    Massachusetts                Worldwide
        d.    Rents and royalties                                         Massachusetts                Worldwide
        e.    Other sales factors                                         Massachusetts     339410     Worldwide                     28893995
        f.    Total sales factors                                         Massachusetts     339410     Worldwide                     28893995
        g.    Sales apportionment percentage                                                                    3g                   0.011747
  4. Apportionment percentage                                                                                     4                  0.023494
  5. Massachusetts apportionment percentage                                                                       5                  0.007831

257691 11-15-22




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                                               Massachusetts Department of Revenue
                                                          Schedule M-1                                                      2022
                                                       Federal Reconciliation
    For calendar year 2022 or taxable year beginning                                        and ending
    Name of corporation                                     Federal Identification number
    EATSTREET, INC.                                                                                      **-***5093

    Part 1. Income and expenses
    1 Net sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1     28,834,297.

    2 Cost of goods sold    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     2         607,145.

    3 Gross profit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3     28,227,152.

    4 Dividends and inclusions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               4

    5 Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         5          15,864.

    6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           6

    7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        7

    8 Capital gains on net income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   8

    9 Net gain or loss (from Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                9     -1,247,141.

   10 Other income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10        753,000.

   11 Total income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          11    27,748,875.

   12 Compensation of officers deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                12        895,543.

   13 Salaries and wages deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   13    12,399,234.

   14 Repairs and maintenance deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 14         16,823.

   15 Bad debts deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       15

   16 Rents deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         16        372,244.

   17 Taxes and licenses deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   17     2,277,826.

   18 Interest expense deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    18

   19 Charitable contributions deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               19

   20 Depreciation deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      20        141,471.

   21 Depletion deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       21

   22 Advertising deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      22     2,309,205.

   23 Pension and profit sharing deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              23        296,795.

   24 Employee benefit programs deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                24     1,336,864.

   25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     25

   26 Other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         26    12,834,669.

   27 Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        27    32,880,674.

   28 Taxable income before NOL deduction and special deductions ~~~~~~~~~~~~~~~~~~~~~~~~~                     28    -5,131,799.




                   257181 01-25-23
                                                                 9
13111109 144198 89475                                         2022.05000 EATSTREET, INC.                                        89475__1
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                                                                                                        2022 SCHEDULE M-1, PAGE 2


    Name of corporation                                              Federal Identification number
    EATSTREET, INC.                                                                                     **-***5093

    Part 2. Corporate ownership
    1 At the end of the tax year did any foreign or domestic corporation, partnership, including any entity treated as a partnership, trust or
      tax-exempt organization own, directly or indirectly, more than 50% of the total voting power of all the corporation's stock entitled to vote?
                                                                                                                                                         X
                                                                                                                                                   Yes       No
                            a.                               b. Federal                     c.                 d. Country of                e. Ownership
                    Name of entity                     Identification number         Type of entity             organization                percentage




    2 At the end of the tax year did the corporation own, directly or indirectly, 50% or more of the total voting power of all classes of
      stock entitled to vote of any foreign or domestic corporation?                                                                               Yes X No

                            a.                                   b. Federal                       c. Country of                      d. Ownership
                 Name of corporation                       Identification number                  incorporation                       percentage




                          257182 01-25-23
                                                                           10
13111109 144198 89475                                                   2022.05000 EATSTREET, INC.                                                   89475__1
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  EATSTREET, INC.                  Document    Page 204 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  MASSACHUSETTS                    OTHER ASSETS                    STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  OTHER CURRENT ASSETS                                                               715,548.
  FEDERAL INTANGIBLE ASSETS                                                        1,962,696.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE A, LINE 17                                                     2,678,244.
                                                                               ~~~~~~~~~~~~~~




                                               11                               STATEMENT(S) 1
13111109 144198 89475                       2022.05000 EATSTREET, INC.                  89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                               MICHIGAN FORM 4891

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $              0
                Less: payments and credits           $              0
                Plus: other amount                   $              0
                Plus: interest and penalties         $              0
                No payment required                  $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Michigan Dept. of Treasury
               P.O. Box 30803
               Lansing, MI 48909


Return Must be Mailed On or Before:
              December 31, 2023

Special Instructions:
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                            FOR YOUR RECORDS
                               DO NOT FILE




                            FOR YOUR RECORDS
                               DO NOT FILE
258201 12-29-22
                                                Detach here and mail with your payment. Do not fold or staple the application.
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
Michigan Department of Treasury, Form 4 (Rev. 03-22)                                                                                            Issued under the authority of Public
                                                                                                                                                Acts 281 of 1967, as amended
Application for Extension of Time to File Michigan Tax Returns                                                                                  and 36 of 2007.
Make check payable to " State of Michigan. " Print "Michigan Extension" and last four digits of filer's Social Security number or full account number on the check.
Mail to: Michigan Department of Treasury, PO Box 30774, Lansing, MI 48909
   1. Extension request is for the following tax                 2. Month and Year Your Tax Year Ends (MM-YYYY)            3. Full Federal Employer Identification or TR No.
       Check ONLY ONE                                                             12-2022                                       **-*******
             Income Tax (excludes          Fiduciary Tax                 4.   Check if extension is requested for good     5. Filer's Full Social Security No. (9 digits)
             Home Heating Credit)          (includes Composite Filers)        cause (see instructions).
             Michigan Business       X
             Tax                           Corporate Income Tax          6.   Check if an extension was granted for        7. Spouse's Full Social Security No. (if filing jointly)
                                                                              filer's federal tax return.
    8. Business or Trust Name                                                                                              9. Tentative Annual Tax
        EATSTREET, INC.
  10. Filer's Name (first name, middle initial, last name) or Fiduciary/Trustee Name                                     11. Total Payments Made to Date


  12. Mailing Address (Address, City, State and ZIP Code)                                                                13. Payment Amount
        1574 W BROADWAY ST STE 200 #PMB1005, MADISON, WI                                                                                                                      .00
           DO NOT WRITE IN THIS SPACE
1019                                                                                   ******** ** **** ********* ********* 1
              Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                              Desc Main
                                                         Document    Page 207 of 326
Michigan Department of Treasury                                                                                                                This form cannot be used
4891 (Rev. 03-22), Page 1 of 2                                                                                                                 as an amended return; use
                                                                                                                                               the CIT Amended Return
                                                                                                                                               (Form 4892).
2022 MICHIGAN Corporate Income Tax Annual Return
Issued under authority of Public Act 38 of 2011.
                                                                                                   MM-DD-YYYY                                          MM-DD-YYYY


1. Return is for calendar year 2022 or for tax year beginning:                                                                  and ending:
 2. Taxpayer Name (print or ty pe)                                                                        3. Federal Employer Identification Number (FEIN)
      EATSTREET, INC.                                                                                      **-***5093
 4. Street Address
      1574 W BROADWAY ST STE 200 #PMB1005
 City                                                                                                     State            ZIP/Postal Code               Country Code
      MADISON                                                                                              WI               53713
 5. NAICS (North American Industry Classification System) Code         6. If a Final Return, Enter Effective End Date
      722300                                                                                                               8.        Check if a special sourcing formula
                                                                                                                                     for transportation services is used
             Check if Filing Michigan Unitary Business Group Return.   7b. Affiliated Group Election year (MM-DD-YYYY)
                                                                                                                                     in the sourcing of Sales to Michigan.
7a.          (Include Form 4896, if applicable, and Form 4897.)
Important: If the tax liability on line 41 is less than or equal to $100, or the gross receipts on line 11 are less than $350,000, you are not required to
file this return or pay the tax. Short period filers, see instructions.
   9. Apportionment Calculation - If any amount in line 9a through 9e is zero, enter zero. All lines must be completed.
        a. Michigan sales of the corporation/Unitary Business Group (UBG) (if no Michigan sales, enter zero)                     ~ 9a.                    461172       00
        b. Proportionate Michigan sales from unitary Flow-Through Entities (FTEs) (include Form 4900) ~~~~ 9b.                                                         00
        ac. Michigan sales. Add lines 9a and 9b            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           9c.                461172         00
        d. Total sales of the corporation/UBG ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      9d.              28893995         00
        e.     Proportionate total sales from unitary FTEs (include Form 4900) ~~~~~~~~~~~~~~~~~~                                    9e.                               00
        f.     Total sales. Add lines 9d and 9e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    9f.             28893995         00
        g. Apportionment percentage. Divide line 9c by line 9f ~~~~~~~~~~~~~~~~~~~~~~~~                                              9g.                1.5960          %


 10. a. Gross receipts from corporate activities (see instructions) ~~~ 10a.                                29810828            00
 10. b. Apportioned gross receipts from FTEs ~~~~~~~~~~~~ 10b.                                                                  00
 11. REQUIRED: Total gross receipts for filing threshold purposes. Multiply line 10a by line 9g, and add
     line 10b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       11.                  475781       00


PART 1: CORPORATE INCOME TAX
Unitary Business Groups: Amounts reported for all members on Form 4897 must be summed and carried to the corresponding line on Form 4891.

 12. Federal taxable income. (Amount includes agricultural activities. See instructions.)                ~~~~~~~~~~~                 12.              -5131799         00
 13. Miscellaneous (see instructions)             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                13.                               00
 14. Adjustments due to decoupling of Michigan depreciation from IRC ¤ 168(k). If adjustment is negative,
        enter as negative:
        a. Net bonus depreciation adjustment ~~~~~~~~~~~~ 14a.                                                                  00
        b. Gain/loss adjustment on sale of eligible depreciable asset(s)            ~ 14b.                                      00
        c.     Add lines 14a and 14b. If negative, enter as negative         ~~~~~~~~~~~~~~~~~~~~~~~ 14c.                                                              00
 15. Add lines 12, 13 and 14c. If negative, enter as negative                  ~~~~~~~~~~~~~~~~~~~~~~                                15.              -5131799         00
 16. For a UBG, total group eliminations from business income (see instructions). All other filers, enter zero                   ~ 16.                                 00
 17. Business Income. Subtract line 16 from line 15. (UBGs, see instructions.) If negative, enter as negative ~ 17.                                   -5131799         00

Additions to Business Income
 18. Interest income and dividends derived from obligations or securities of states other than Michigan                     ~~~ 18.                                    00
 19. Taxes on or measured by net income including tax imposed under CIT ~~~~~~~~~~~~~~~~~                                            19.                   32501       00
 20. Any carryback or carryover of a federal net operating loss (enter as a positive number)                  ~~~~~~~~~              20.                               00
 21. Royalty, interest, and other expenses paid to a related person that is not a UBG member of this taxpayer           ~~~~~~       21.                               00
 22. Expenses from the production of oil and gas, and/or minerals (see instructions) ~~~~~~~~~~~~~                                   22.                               00
 23. Miscellaneous (see instructions)             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                23.                               00
 24. Total Additions to Income. Add lines 18 through 23                ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    24.                 32501         00
 25. Corporate Income Tax Base After Additions. Add lines 17 and 24. If negative, enter as negative                         ~~~ 25.                   -5099298         00




+ 1019 2022 12 01 27 9                                                                                                   258611 01-06-23    Continue and sign on Page 2
           Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                        Desc Main
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2022 Form 4891, Page 2 of 2                                                                              Taxpayer FEIN     **-***5093

PART 1: CORPORATE INCOME TAX (Continued)
Subtractions from Business Income
 26. Income from non-unitary FTEs (Enter loss as negative; include Form 4898; see instructions) ~~~~~~ 26.                                                   00
 27. Dividends and royalties received from persons other than U.S. persons and foreign operating entities                   27.                              00
 28. Interest income derived from United States obligations ~~~~~~~~~~~~~~~~~~~~~~~~                                        28.                              00
 29. Income from the production of oil and gas, and/or minerals (see instructions) ~~~~~~~~~~~~~~                           29.                              00
 30. Miscellaneous (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  30.                              00
 31. Total Subtractions from Income. Add lines 26 through 30 ~~~~~~~~~~~~~~~~~~~~~~                                         31.                              00
 32. Corporate Income Tax Base. Subtract line 31 from line 25. If negative, enter as negative ~~~~~~~ 32.                                   -5099298         00
 33. Apportioned Corporate Income Tax Base. Multiply line 32 by percentage on line 9g ~~~~~~~~~ 33.                                           -81385         00
 34. Apportioned Income from non-unitary FTEs from Form 4898 (see instructions) ~~~~~~~~~~~~~ 34.                                                            00
 35. Total apportioned Corporate Income Tax Base. Add line 33 and line 34 ~~~~~~~~~~~~~~~~~                                 35.               -81385         00
36a. Available CIT business loss carryforward (see instructions). Enter as positive              ~~~~~~~~~~~~~ 36a.                          2253631         00
36b.        Check if any loss on line 36a was acquired in this filing period in an IRC 381(a)(1) or (2) transaction (see instructions)
 37. Subtract line 36a from line 35. If negative, enter here as negative. A negative number here is the
        available business loss carryforward to the next filing period (see instructions)        ~~~~~~~~~~~~~ 37.                          -2335016         00
 38. Corporate Income Tax Before Credit. Multiply line 37 by 6% (0.06). If less than zero, enter zero ~~~~~ 38.                                              00
PART 2: TOTAL CORPORATE INCOME TAX
 39. Small Business Alternative Credit (SBAC) from Form 4893, line 14 or line 18, whichever applies ~~~~ 39.                                                 00
 40. Tax Liability after SBAC. Subtract line 39 from line 38 ~~~~~~~~~~~~~~~~~~~~~~~~~                                      40.                              00
 41. Tax Liability after CIT Historic Preservation Credit from Form 5793, line 11. If less than or equal to
        $100, enter zero. If apportioned or allocated gross receipts are less than $350,000, enter zero (see instr.)        41.                              00
 42. Total Recapture of Certain Business Tax Credits from Form 4902 ~~~~~~~~~~~~~~~~~~~~                                    42.                              00
 43. Total Tax Liability. Add lines 41 and 42 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              43.                         0    00
PART 3: PAYMENTS AND TAX DUE
UBGs include on lines 44 through 47 payments from all members as reported on Form 4897.
 44. Overpayment credited from prior period return (MBT or CIT) ~~~~~~~~~~~~~~~~~~~~~~                                      44.                              00
 45. Estimated tax payments           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               45.                              00
 46. Tax paid with request for extension ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 46.                              00
 47. Michigan tax withheld ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        47.                              00
 48. Payment total. Add lines 44 through 47 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               48.                              00
 49. TAX DUE. Subtract line 48 from line 43. If less than zero, leave blank ~~~~~~~~~~~~~~~~~~                              49.                              00
 50. Underpaid estimate penalty and interest from Form 4899, line 38 ~~~~~~~~~~~~~~~~~~~~                                   50.                              00
 51. Annual Return Penalty (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              51.                              00
 52. Annual Return Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             52.                              00
 53. PAYMENT DUE. If line 49 is blank, go to line 54. Otherwise, add lines 49 through 52 ~~~~~~~~~~ 53.                                                      00
PART 4: REFUND OR CREDIT FORWARD
 54. Overpayment. Subtract lines 43, 50, 51 and 52 from line 48. If less than zero, leave blank (see instructions) 54.                                       00
 55. CREDIT FORWARD. Amount on line 54 to be credited forward and used as an estimate for next CIT tax year ~~~ 55.                                          00
 56. REFUND. Subtract line 55 from line 54 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 56.                                                                             00


Taxpayer Certification. I declare under penalty of perjury that the information  Preparer Certification. I declare under penalty of perjury that this
in this return and attachments is true and complete to the best of my knowledge. return is based on all information of which I have any knowledge.
                                                                                            Preparer's PTIN, FEIN or SSN
  X     By checking this box, I authorize Treasury to discuss my return with my preparer.    **-***9910
Authorized Signature for Tax Matters                                                        Preparer's Business Name (print or type)

                                                                                             BAKER TILLY US, LLP
Authorized Signer's Name (print or type)                             Date                   Preparer's Business Address and Telephone Number (print or type)
  STEVE ANASTASI                                                     PO BOX 7398
Title                                     Telephone Number           MADISON, WI 53707-7398
  CEO                                      866-654-8777              608-249-6622
            Return is due April 30 or on or before the last day of the 4th month after the close of the tax year.
WITHOUT PAYMENT. Mail return to:                  WITH PAYMENT. Pay amount on line 53. Mail check and return to: Michigan Department of Treasury,
 Michigan Department of Treasury,                 PO Box 30804, Lansing MI 48909. Make check payable to "State of Michigan." Print taxpayer's FEIN, the
 PO Box 30803, Lansing MI 48909                   tax year, and "CIT" on the front of the check. Do not staple the check to the return.



+ 1019 2022 12 02 27 7                                                                                                                           258612 01-06-23
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                           TAX RETURN FILING INSTRUCTIONS
                                               MISSOURI FORM MO-1120

                                        FOR THE YEAR ENDING
                                                  December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                              $               0
                Less: payments and credits             $               0
                Plus: other amount                     $               0
                Plus: interest and penalties           $               0
                No payment required                    $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               Missouri Department of Revenue
               P.O. Box 700
               Jefferson City, MO 65105-0700


Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
                                                     Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                       Desc Main
                                                                                             Document    Page 210 of 326
                                                               MISSOURI DEPARTMENT OF                                                 Department Use Only
                                                 Form          REVENUE
                                                               2022 Corporation Income Tax Return
                                                                                                                                      (MM/DD/YY)

                                  MO-1120                                                                                                              Missouri Tax
                                                                                                                                                       I.D. Number        0 1 4 2 2 2 5 7
                                                                 Missouri Corporation Income       Beginning                                      Ending
                                                                 Tax Return for 2022               (MM/DD/YY)      0 1        0 1     2 2         (MM/DD/YY)   1 2          3 1    2 2



                Federal Employer                                                                         Charter
                I.D. Number                                    * * * * * * * * *                         Number    0 1 4 2 2 2 5 7
                Corporation
                Name                                    EATSTREET, INC.

                Address                              1574 W BROADWAY ST STE 200 #PMB

                City                            MADISON                                                                                                                               State    WI

                ZIP                                        53713

               X                                Select this box if you have an approved federal extension. Attach a copy of the approved Federal Extension (Form 7004).

                Select applicable boxes. Failure to select the address change box may result in mailings going to the last address on file.

                                                Consolidated MO Return                Consolidated Federal and Separate Missouri Return                  Amended Return            Name Change

               X                                Address Change                Final Return and Close Corporation Income Tax Account                      Bankruptcy           1120C           990T


                                                All Missouri source income is from an interest(s) in a partnership(s)                 Public Law 86-272



                                                1.   Federal taxable income from Federal Form 1120, Line 30 ~~~~~~~~~~~~~~~~~~~~~~                                    1     -5,131,799 . 00
                                                2.   Corporation income tax from Missouri, or other states, their subdivisions, and District of
                                                                                                                SEE STATEMENT 1
                                                     Columbia deducted in determining federal taxable income ~~~~~~~~~~~~~~~~~~~~~~                                   2            32,501 . 00

                                                3.   Missouri modifications - Additions (complete Page 3, Part 1)       ~~~~~~~~~~~~~~~~~~~~                          3                         . 00


                                                4.   Total additions - Add Lines 2 and 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            4            32,501 . 00

                                                5.   Missouri modifications - Subtractions (complete Page 3, Part 2) ~~~~~~~~~~~~~~~~~~~                              5      2,819,995 . 00
                    Computation of Income Tax




                                                6.   Balance - Line 1 plus Line 4 minus Line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         6     -7,919,293 . 00

                                                7.   Federal income tax - Current year (complete Page 4, Part 3) ~~~~~~~~~~~~~~~~~~~~~                                7                         . 00


                                                8.   Taxable income - All sources - Line 6 minus Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    8     -7,919,293 . 00

                                                9.   Preliminary Missouri taxable income - If all Missouri income, enter amount from Line 8. If not, complete Form MO-MS.


                                                     Method      2A        Percent    0 0 0         .1    5 7       Multiply Line 8 by the percentage ~~~~            9           -12,433 . 00

                                                10. Missouri dividends deduction (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    10                           . 00


                                                11. Enterprise zone or rural empowerment zone income modification         ~~~~~~~~~~~~~~~~~~                       11                           . 00


                                                12. Bring jobs home deduction (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      12                           . 00
  261301 12-30-22




                                                13. Transportation facilities deductions:


                                                           Port Cargo Expansion                International Trade Facility           Qualified Trade Activities   13                           . 00
  1019




                                                14. Missouri taxable income - Line 9 minus Lines 10, 11, 12, and 13 ~~~~~~~~~~~~~~~~~~~                            14                         0 . 00
                                                                                                                      1                                                               MO-1120 Page 1
13111109 144198 89475                                                                                              2022.05000 EATSTREET, INC.                                                 89475__1
                                Case 3-24-12061-cjf                          Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                              EATSTREET, INC.                                     Document         01422257
                                                                                              Page 211 of 326           **-***5093

                       15. Corporation income tax - 4% of Line 14 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         15                                         0 . 00
                       16. Recapture of Missouri low income housing credit - Attach a copy of Federal Form 8611
     Tax



                              (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               16                                         0 . 00

                       17. Total tax - Add Lines 15 and 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            17                                         0 . 00

                       18. Tax credits - Attach Form MO-TC                   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            18                                               . 00


                       19. Estimated tax payments - Include approved overpayments applied from previous year ~~~~~~~~                                                     19                                               . 00
    Credits and Payments




                       20. Payments with Form MO-7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 20                                               . 00


                       21. Amended return only - Tax paid with (or after) the filing of the original return ~~~~~~~~~~~~~                                                 21                                               . 00


                       22. Subtotal - Add Lines 18 through 21 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           22                                               . 00


                       23. Amended return only - Overpayment, if any, as shown on original return or as later adjusted                                  ~~~~~             23                                               . 00


                       24. Total - Line 22 minus Line 23~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             24                                               . 00



                       25. If Line 24 is more than Line 17, enter overpayment here ~~~~~~~~~~~~~~~~~~~~~~~                                                                25                                               . 00


                       26. Amount remitted or amount of tax overpayment to be contributed to the funds listed below                                     ~~~~~             26                                               . 00
                                                                                                                                                                                           Soldiers         Additional     Additional
                                                                                                                                                                        Kansas City        Memorial
                                                                     Elderly Home    Missouri                     Childhood      Missouri                               Regional Law                        Fund Code      Fund Code
                                                                                                                                              General       Organ Donor Enforcement         Military        (See Instr.)   (See Instr.)
                                                                       Delivered     National         Workers'      Lead         Military                                                 Museum in
                           MO Medal of     Children's    Veterans       Meals       Guard Trust       Memorial     Testing        Family      Revenue         Program     Memorial         St. Louis
                           Honor Fund      Trust Fund   Trust Fund    Trust Fund      Fund             Fund         Fund        Relief Fund    Fund            Fund      Foundation          Fund
                                                                                                                                                                            Fund
    Refund or Tax Due




                                      00          00           00             00            00               00          00             00             00          00              00                 00             00             00


                       27. Amount of Line 25 to be applied to your 2023 estimated tax ~~~~~~~~~~~~~~~~~~~~~                                                               27                                               . 00


                       28. REFUND - Line 25 minus Lines 26 and 27 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          28                                               . 00


                       29. If Line 24 is less than Line 17, enter underpayment here ~~~~~~~~~~~~~~~~~~~~~~~                                                               29                                               . 00


                       30. Enter the total of the below on Line 30                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       30                                               . 00


                           Interest                            . 00       Additions to Tax                                    . 00    MO-2220                                  . 00


                       31. AMOUNT DUE - Add Lines 29 and 30 (U.S. funds only)                                                                                             31                                               . 00

                            If you pay by check, you authorize the Department of Revenue to process the check electronically. Any
                                                                                                                                                                                          Department Use Only
                            returned check may be presented again electronically. Under penalties of perjury, I declare that the above
                            information and any attached supplement is true, complete, and correct.                                                                                               S            E           F
                            I authorize the Director of Revenue or delegate to discuss my return and attachments with the preparer or any
                            member of their firm, or if internally prepared, any member of the internal staff ~~~~~~~~~~~~~~~~~~~~~~~~                                                        X       Yes                  No
                            Signature                                                                           Printed
     Signature




                            of Officer                                                                                        Name
                            Telephone                                                                                                    Date Signed
                            Number          8      6       6          6      5       4            8      7        7    7                 (MM/DD/YY)
                            Preparer's Signature                                                                              Preparer's FEIN,
                            (Including Internal Preparer)       DANIEL T. O'CONNOR, C                                         SSN, or PTIN         *         *      *      *          *           *        *        *       *
                            Telephone                                                                                                    Date Signed
                            Number          6      0       8          2      4       9            6      6        2    2                 (MM/DD/YY)          1      1          0          9           2         3

                            Did you pay a tax return preparer to complete your return, but they failed to sign the return or provide their Internal Revenue
                            Service preparer tax identification number? If you marked Yes, please insert their name, address, and phone number in
                            the applicable sections of the signature block above. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    Yes           X      No
   1019

   Mailing instructions on page 4
   261302 12-30-22                                                                                                                                                                                          MO-1120 Page 2
                                                                                                                    2
13111109 144198 89475                                                                                            2022.05000 EATSTREET, INC.                                                                         89475__1
                                                            Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                                                           EATSTREET, INC.                          Document         01422257
                                                                                                                Page 212 of 326           **-***5093

                                                           1a. State and local bond interest (except Missouri) ~~~~~~~~~           1a                      . 00


                                                           1b. Related expenses (omit if less than $500). - Enter Line 1a minus
     Modifications - Additions



                                                               Line 1b on Line 1~~~~~~~~~~~~~~~~~~~~~~~~                           1b                      . 00   1                      . 00
        Part 1 - Missouri




                                                           2. Fiduciary and partnership adjustment - Enter share of adjustment from Form MO-1041 ,
                                                               Part 1, Line 19 or Form MO-1065 , Line 11 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             2                      . 00


                                                           3. Net operating loss modification from Form MO-5090 (do not enter NOL carryover) ~~~~~~~~             3                      . 00
                                                           4. Donations claimed for the Food Pantry Tax Credit that were deducted from federal taxable
                                                               income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               4                      . 00


                                                           5. Business interest expense carryforward ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                5                      . 00


                                                           6. Total - Add Lines 1 through 5. Enter here and on page 1, Line 3     ~~~~~~~~~~~~~~~~~               6                      . 00



                                                           1a. Interest from exempt federal obligations -
                                                               Attached a detailed schedule    ~~~~~~~~~~~~~~~~~                   1a    2,819,995         . 00        STMT 2

                                                           1b. Related expenses (omit if less than $500) - Enter Line 1a minus
                                                               Line 1b on Line 1 ~~~~~~~~~~~~~~~~~~~~~~~                           1b                      . 00   1     2,819,995 . 00

                                                           2. Federally taxable - Missouri exempt obligations    ~~~~~~~~~~~~~~~~~~~~~~~~~                        2                      . 00


                                                           3. Agriculture disaster relief   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3                      . 00
          Part 2 - Missouri Modifications - Subtractions




                                                           4. Previously taxed income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4                      . 00


                                                           5. Amount of any state income tax refund included in federal taxable income    ~~~~~~~~~~~~            5                      . 00


                                                           6. Capital gain exclusion from the sale of low income housing project ~~~~~~~~~~~~~~~~                 6                      . 00



                                                           7. Fiduciary, partnership, and other adjustments - (see instructions) ~~~~~~~~~~~~~~~~~                7                      . 00


                                                           8. Missouri depreciation basis adjustment        ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                         8                      . 00


                                                           9. Subtraction modification offsetting previous addition modification from a net operating
                                                               loss deduction from an applicable year (only enter previously disallowed NOL carryback)   ~~~~~    9                      . 00


                                                           10. Depreciation recovery on qualified property that is sold    ~~~~~~~~~~~~~~~~~~~~~                  10                     . 00


                                                           11. Build America and recovery zone bond interest     ~~~~~~~~~~~~~~~~~~~~~~~~~                        11                     . 00


                                                           12. Missouri public-private partnerships transportation act ~~~~~~~~~~~~~~~~~~~~~~                     12                     . 00


                                                           13. Disallowed business interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                13                     . 00


                                                           14 Total - Add Lines 1 through 13. Enter here and on Page 1, Line 5 ~~~~~~~~~~~~~~~~~                  14    2,819,995 . 00




   261303 12-30-22                                                                                                                                                              MO-1120 Page 3
                                                                                                                             3
13111109 144198 89475                                                                                                     2022.05000 EATSTREET, INC.                                89475__1
                                                           Case 3-24-12061-cjf                 Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                                                          EATSTREET, INC.                           Document         01422257
                                                                                                                Page 213 of 326           **-***5093
                                                          Consolidated federal and separate Missouri return (see instructions)
             Part 3 - Federal Income Tax - Current Year
                                                          1. Federal tax from Federal Form 1120, Schedule J, Line 11 ~~~~~~~~~~~~~~~~~~~~~                                 1                                 . 00


                                                          2. Foreign tax credit from Federal Form 1120, Schedule J, Line 5a ~~~~~~~~~~~~~~~~~~                             2                                 . 00


                                                          3. Federal income tax - Add Lines 1 and 2. Multiply the total by 50%; and enter here and on
                                                             page 1, Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     3                                 . 00
                                                          Consolidated federal and separate Missouri returns must complete Lines 4 through 6.
                                                          4. Numerator - Enter the amount of separate company federal taxable income         ~~~~~~~~~~~~                  4                                 . 00


                                                          5. Denominator - Enter the total positive separate company federal taxable income ~~~~~~~~~~                     5                                 . 00


                                                          6. Divide Line 4 by Line 5.       0 0 0 . 0 0 0 0 Multiply by Line 3. Enter here and on Page 1,
                                                             Line 7. Consolidated federal and separate Missouri return filers must attach consolidated
                                                             Federal Form 1120, Schedule J, and an income statement or summary of profit companies.
                                                             If information is not sent, the federal income tax deduction may be reduced to zero        ~~~~~~~            6                                 . 00


                                                           If this is an amended return, select one box indicating the reason. A separate Form MO-1120 must be filed for each reason.
             Part 4 - Amended Reason




                                                                 A. Missouri correction only             B. Federal correction             C. Loss carryback (complete Part 5)


                                                                 D. Federal tax credit carryback                E. IRS audit (RAR)


                                                                 F. Missouri tax credit carryback - Enter on Part 5, Line 1 the first year that the credit became available.

                                                                                                                                             Enter date of federal amended
                                                                                 Department Use Only        A          R          N          return, if filed (MM/DD/YY)

                                                           If this is an amended return and if a loss carryback, federal tax credit carryback or Missouri tax credit carryback is involved
                                                           in this amended return, complete the following section. Consolidated federal and separate Missouri filers should report fig-
     Part 5 - Amended Return Loss Carryback




                                                           ures attributable to this separate Missouri return and attach a copy of the federal consolidated amended Form 1139 or Form
                                                           1120X showing the carryback or page 1 of the federal consolidated Form 1120 for the year of the loss to verify that only the
          or Federal Tax Credit Carryback




                                                           separate company had the loss. Enclose a copy of the consolidated income statement for this year and the year of the loss.
                                                           If NOL, federal tax credit carryback or Missouri tax credit carryback, enter year that the loss or credit first became available.


                                                                                                                                                                               M   M    D      D   Y   Y

                                                          1. Year of loss or credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1


                                                          2. Total net capital loss carryback ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2                                 . 00


                                                          3. Total net operating loss carryback    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        3                                 . 00


                                                          4. Federal income tax adjustment - Consolidated federal and separate Missouri filers must
                                                             attach computations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   4                                 . 00



                                                                                                                                                                                    Form MO-1120 (Revised 12-2022)
   Mail To:                                                                                    E-mail: corporate@dor.mo.gov

   Balance Due:                                                                                Visit dor.mo.gov/taxation/business/tax-types/corporation-income/ for additional information.
    Missouri Department of Revenue
    PO Box 3365
    Jefferson City, MO 65105-3365
                                                                                               Phone: (573) 751-4541
                                                                                               Fax: (573) 522-1721
   Refund or No Amount Due:
    Missouri Department of Revenue
    PO Box 700
    Jefferson City, MO 65105-0700

   261304 12-30-22                                                                                                                                                                                 MO-1120 Page 4
                                                                                                                           4
13111109 144198 89475                                                                                                   2022.05000 EATSTREET, INC.                                                     89475__1
                                Case 3-24-12061-cjf                     Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44      Desc
                                                                                                                Attach to Form     Main
                                                                                                                               MO-1120  and mail to
                                        MISSOURI DEPARTMENT OF               Document    Page 214 of 326        the Missouri Department of Revenue.


                          Form
                                        REVENUE                                                                                         Department Use Only
                                                                                                                                        (MM/DD/YY)
                                        2022 Corporation Allocation and
 MO-MS                                  Apportionment of Income Schedule                                                                                               Attachment Sequence No. 1120-01


                                                                    Beginning                                                                     Ending
                                                Taxable Year                             0           1          0       1       2        2                         1       2        3       1       2      2
                                                                    (MM/DD/YY)                                                                    (MM/DD/YY)
Missouri Tax
I.D. Number                         0       1       4       2       2       2       5        7                      Do not complete this form if all income is from Missouri sources.
Federal Employer                                                                                                      Charter
I.D. Number                             *       *       *       *       *       *        *           *      *         Number        0        1     4       2   2       2       5        7
Corporation
Name                             EATSTREET, INC.

                            Select a box below and enter the method and the percentage calculated on Form MO-1120 for Line 9 Method and Percent.

                            X     Two A - Receipts Factor Apportionment - Section 143.455.2, RSMo - (Complete Part 1)

                            Special Methods - See Instructions and Attach Detailed Explanation (if directed).
 Apportionment Election




                                  Three - Transportation                                                                        Four - Railroad


                                  Five - Interstate Bridge                                                                      Six - Telephone and Telegraph

                            Complete lines 4-12 if you have either Nonapportionable Income or a Net Operating Loss on Federal Form 1120, Line 29a, or both.
                            Otherwise, enter Line 3 on Form MO-1120, Line 9 Percent.

                                                                        Missouri Miles                   Total Miles                         Percent


                                                                                                 ^                          =   0 0 0. 0 0 0 %
                                  Seven - Broadcasters or Other Approved Method - See Instructions and attach a detailed explanation (instructions).


                                                                                For use with Method Two A or as directed by instructions.


                           1. Amount of receipts in Missouri ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          45,425 . 00

                           2. Amount of receipts everywhere ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              28,893,995 . 00

                           3. Receipts Factor - Divide Line 1 by Line 2             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             0 0 0 . 1 5 7%

                            Note: Stop here unless you have either Nonapportionable Income or a Net Operating Loss on Federal Form 1120, Line 29A or both.
                            Enter Line 3 on Form MO-1120, Line 9 Percent.


                           4. Taxable income - All sources (Form MO-1120, Line 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              . 00
 Part 1




                           5. Net Operating Loss (from Federal Form 1120, Line 29a) ~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             . 00


                           6. Taxable Income - All Sources - Add Line 4 and Line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             . 00


                           7. Nonapportionable Income - Everywhere - Attach a detailed Form MO-NAI to be considered ~~~~~~~~                                                                              . 00


                           8. Apportioned Missouri Income - Subtract Line 7 from Line 6, then multiply by Line 3                                 ~~~~~~~~~~~                                              . 00


                           9. Nonapportionable Income - Missouri-allocated - Attach a detailed Form MO-NAI to be considered                                    ~~~~                                       . 00


                          10. Apportioned Net Operating Loss - See Instructions                      ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          . 00


                          11. Preliminary Missouri Taxable Income - Add Lines 8 and 9, then subtract Line 10 ~~~~~~~~~~~~~                                                                                . 00


                          12. Divide Line 11 by Line 4. Enter on Form MO-1120, Line 9 Percent ~~~~~~~~~~~~~~~~~~~~~~                                                               0 0 0 . 0 0 0%
261321 02-15-23                                                                                                                                                                     Form MO-MS (Revised 12-2022)

Balance Due:                                                                            Refund or No Amount Due:
P.O. Box 3365                                                                           P.O. Box 700
Jefferson City, MO 65105-3365                                                           Jefferson City, MO 65105-0700
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 215 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  MO-1120                 CORPORATION INCOME TAXES DEDUCTED        STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  COLORADO TAXES - BASED ON INCOME                                                        701.
  CONNECTICUT TAXES - BASED ON INCOME                                                  1,500.
  IOWA TAXES - BASED ON INCOME                                                        19,000.
  MASSACHUSETTS TAXES - BASED ON INCOME                                                4,000.
  PENNSYLVANIA TAXES - BASED ON INCOME                                                 6,500.
  VIRGINIA TAXES - BASED ON INCOME                                                        800.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM MO-1120, PAGE 1, LINE 2                                               32,501.
                                                                               ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  MO-1120             INTEREST FROM EXEMPT FEDERAL OBLIGATIONS     STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  SECTION 163(J) INTEREST EXPENSE LIMITATI                                         2,819,995.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM MO-1120, PAGE 3, PART 2, LINE 1A                                   2,819,995.
                                                                               ~~~~~~~~~~~~~~




                                               6                       STATEMENT(S) 1, 2
13111109 144198 89475                       2022.05000 EATSTREET, INC.            89475__1
Case 3-24-12061-cjf           Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
                                   Document    Page 216 of 326

                           TAX RETURN FILING INSTRUCTIONS
                                       NORTH CAROLINA FORM CD-405

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $               200
                Less: payments and credits          $               400
                Plus: other amount                  $                 0
                Plus: interest and penalties        $                 0
                Overpayment                         $               200

Overpayment:

                Credit to your estimated tax        $               200
                Other amount                        $                 0
                Refunded to you                     $                 0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               NCDOR
               P.O. Box 25000
               Raleigh, NC 27640-0500


Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
             Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                Desc Main
                                                        Document    Page 217 of 326
 CD-419 (39)                                                 Application for
   8-21-19                                           Corporate Income Tax Extension
                                                           North Carolina Department of Revenue


 GENERAL INSTRUCTIONS
                          FOR YOUR RECORDS
                                      North Carolina law provides for an extension of time to file a North Carolina corporate tax return (Form CD-405,
 CD-401S, or CD-418). When timely filed, Form CD-419 extends the due date of the return by six months. An extension of time to file the return does not
 extend the time to pay the amount of tax due. If the taxpayer does not pay the full amount of tax due by the original due date of the return, interest and



                             DO NOT FILE
 penalties will be assessed. (Note: For North Carolina income tax purposes, an income year that ends on any day other than the last day of the month is
 considered to end on the last day of the month nearest to the last day of the actual income year.)
 To obtain an extension and pay any tax due, a taxpayer must file Form CD-419 by the original due date of the corporate tax return. A taxpayer can use
 the Department's website or mail the completed application to the address provided. The Department's website offers two electronic options, (1) an online
 filing and payment system, and (2) an eFile program. For more information, visit www.ncdor.gov.

 IMPORTANT A corporation that is granted an automatic extension to file a federal income tax return is granted an automatic extension to file the
 corresponding State franchise and corporate income tax return. The corporation must certify on the State tax return that the corporation was granted a
 federal extension. If a corporation wants to make an extension payment, they may submit Form CD-419 with the payment.




                                  Worksheet for Computation of Tax Paid with Application for Extension

     1.      Total Franchise Tax Due (Minimum $200.00)                                                                                                        200.00
     2.      Franchise Tax Credits Taken (From Form CD-425)                                                                                                     0.00
     3.      Net Franchise Tax Due                                                                                                                            200.00
             Line 1 minus Line 2
     4.      Total Corporate Income Tax Due                                                                                                                     0.00
     5.      Estimated Income Tax Payments                                                                                                                    200.00
             (Include any prior year's overpayment applied to current tax year)
     6.      Corporate Income Tax Credits Taken (From Form CD-425)                                                                                               0.00
     7.      Net Corporate Income Tax Due                                                                                                                     -200.00
             Line 4 minus Line 5 and Line 6
     8.      Total Franchise and Corporate Income Tax Due with this Application
             Line 3 plus (or minus) Line 7




                    FORM HAS BEEN ELECTRONICALLY FILED - KEEP FOR YOUR RECORDS




                          FOR YOUR RECORDS
                             DO NOT FILE
                                                                                 Cut Here
 269861 09-22-22               L         L
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
 CD-419 (39)                         Application for Corporate Income Tax Extension
      8-13-13                                                    North Carolina Department of Revenue

     FEIN           *********                    N      NP/TE              N      NF         N      CO/MA                      Tax year starting       01 01 22

     SOS                                       Mail to: NCDOR, PO Box 25000, Raleigh, NC 27640-0520                                   and ending       12 31 22


 EATSTREET INC                                                                                                               Total Income Tax Due

 44 E MIFFLIN ST STE 400                                                                                             $                     200.00

 MADISON                                              WI         53713



 12220 4543850930 0000000 06530
            Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                Desc Main
                                                       Document    Page 218 of 326
CD-419 (39)                                                      Application for
  8-21-19                                                    Franchise Tax Extension
                                                          North Carolina Department of Revenue



                        FOR YOUR RECORDS
GENERAL INSTRUCTIONS North Carolina law provides for an extension of time to file a North Carolina corporate tax return (Form CD-405,
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extend the time to pay the amount of tax due. If the taxpayer does not pay the full amount of tax due by the original due date of the return, interest and



                           DO NOT FILE
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federal extension. If a corporation wants to make an extension payment, they may submit Form CD-419 with the payment.



                                 Worksheet for Computation of Tax Paid with Application for Extension

    1.    Total Franchise Tax Due (Minimum $200.00)                                                                                                          200.00
    2.    Franchise Tax Credits Taken (From Form CD-425)                                                                                                       0.00
    3.    Net Franchise Tax Due                                                                                                                              200.00
          Line 1 minus Line 2
    4.    Total Corporate Income Tax Due                                                                                                                       0.00
    5.    Estimated Income Tax Payments                                                                                                                      200.00
          (Include any prior year's overpayment applied to current tax year)
    6.    Corporate Income Tax Credits Taken (From Form CD-425)                                                                                                 0.00
    7.    Net Corporate Income Tax Due                                                                                                                       -200.00
          Line 4 minus Line 5 and Line 6
    8.    Total Franchise and Corporate Income Tax Due with this Application
          Line 3 plus (or minus) Line 7




                  FORM HAS BEEN ELECTRONICALLY FILED - KEEP FOR YOUR RECORDS




                        FOR YOUR RECORDS
                           DO NOT FILE
                               Cut Here
269851 09-22-22             L           L
11111111111111111111111111111111111111111111111111111111111111111111
CD-419 (39)                                 Application for Franchise Tax Extension
   8-13-13                                                      North Carolina Department of Revenue

    FEIN          *********                 SOS                             Tax year starting           01 01 22                and ending          12 31 22


    EATSTREET INC                                                                                            N      NP/TE           N      NF       N        CO/MA

    44 E MIFFLIN ST STE 400                                                                             Total Franchise
    MADISON                 WI                                       53713                                   Tax Due               $                         0.00

Mail to: NCDOR, PO Box 25000, Raleigh, NC 27640-0520




12220 4543850930 0000000 05037
            Case 3-24-12061-cjf                             Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                                  Desc Main
                                                                 Document    Page 219 of 326
 CD-405                 (39)                                    C Corporation Tax Return 2022
      8-18-22                                                       North Carolina Department of Revenue                                                                          DOR Use Only


 For calendar year 2022, or other tax year beginning                                                22         and ending

 EATSTREET, INC                                                                                                                   Federal Employer ID Number               *********
 1574 W BROADWAY ST STE 200 PMB1005                                                                                      N.C. Secretary of State ID Number
 MADISON              WI 53713                                                                                                                       NAICS Code            722300

     Initial Return                Short Year Return                Captive REIT                        Non U.S./Foreign                NC-Rehab                            NC-478 is attached
     Final Return                  Amended Return                   Tax Exempt                          Combined Return (Approved Taxpayers Only)                           Has Escheatable Property


Federal Extension Were you granted an automatic extension to file your 2022 federal income tax return (Form 1120)?                                                          Yes       X   No


EATS           1574                53713            *********                                                  722300

PP       *********                       PFSP              F        IR         N      FR            N       SR           N      AR      N

TN       8666548777                         RE         N           TE      N       NF           N         CR         N        NCR       N        478           N       EP         N       FDEXT               N

EATSTREET INC

1574 W BROADWAY ST STE 200 PMB1005                                                                        MADISON                                                   WI          53713

               GR                                           0            07                -5131799                           19                              0            31                                 0

               TA                                           0            08                      -31954                       21                              0            EU

                        01                                  0            10                                      0            23                              0            32A                                0

                        HCE                                    N         12                                      0            24A                         200              32B                                0

                        02                             200               13                -5163753                           24B                         200              35                           200

                        03                                  0            14                     0006951                       24C                             0            36                                 0

                        04                                  0            15                      -35893                       24D                             0            37                                 0

                        05                             200               16                                      0            24E                             0            38                                 0

                        06                                  0            17                      -35893                       26                              0

                                                                         18                                      0            27                          400


                         Sch. A        Computation of Franchise Tax
                            1. Net Worth                                                                      0              4. Tax Credits                                                              0
                                   Holding Company Exception                                                  N              5. Franchise Tax Due                                                      200
                            2. Total Franchise Tax Due                                                      200              6. Franchise Tax Overpaid                                                   0
                            3. Payment with Franchise Tax Extension                                           0

I declare and certify that I have examined this return and accompanying schedules and
statements, and to the best of my knowledge and belief, they are true, correct, and complete.               Refund Due                                0        Payment Due                                    0
                                                                                                                                                          X    Check here if you authorize the North
                                                    CEO                                                 866-654-8777                                           Carolina Department of Revenue to
                                                                                                                                                               discuss this return and attachments
 Signature and Title of Officer:                                                         Date           Corporate Phone Number                                 with the paid preparer below.
PAID PREPARER USE ONLY              If prepared by a person other than taxpayer, this certification is based on all information of which the preparer has any knowledge.                       X FEIN
                                                                                                                                                                                                       SSN
 DANIEL T. O'CONNOR, CPA                                                                                608.249.6622                                      **-*******                                   PTIN
 Signature of Paid Preparer:                                                             Date           Preparer's Phone Number                           Preparer's FEIN, SSN, or PTIN

  Mail to: NCDOR, P.O. Box 25000, Raleigh, N.C. 27640-0500. Returns are due by the 15th day of the 4th month after the end of the income year.                                               269461 09-22-22
           Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                       Desc Main
                                                      Document    Page 220 of 326
CD-405 2022 Page 2 (39)
    Legal Name (First 10 Characters)             EATSTREET,                       Federal Employer ID Number                                           *********
                                                      CD-405 Line-by-Line Information

N.C. Education Endowment Fund: You may contribute to the N.C. Education Endowment Fund by making a contribution or designating some or
all of your overpayment to the Fund. To make a contribution, enclose Form NC-EDU and your payment of                                                               0


  Sch. B      Computation of Corporate Income Tax                                  Sch. C       Net Worth
  7. Federal Taxable Income Before NOL                       -5131799               4. Accumulated depreciation, depletion, and amortization
  8. Adjustments to Federal Taxable Income                     -31954                   permitted for income tax purposes (Attach sch)                     3214951
  9. Net Income Before Contributions                         -5163753               5. Line 3 minus Line 4                                               -13624275
 10. Contributions to Donees Outside N.C.                           0               6. Affiliated indebtedness (Attach schedule)                                 0
 11. N.C. Taxable Income                                     -5163753
 12. Nonapportionable Income                                        0               7. Line 5 plus (or minus) Line 6                                     -13624275
 13. Apportionable Income                                    -5163753               8. Apportionment factor                                                0.6951 %
 14. Apportionment Factor                                     0.6951 %              9. Net Worth                                                            -94702
 15. Income Apportioned to N.C.                                -35893
 16. Nonapportionable Income Allocated to N.C.                      0              Sch. G       Federal Taxable Income Before NOL Deduction
 17. Income Subject to N.C. Tax                                -35893               1. a. Gross receipts or sales                                                  0
 18. % Depletion over Cost - N.C. Property                          0                   b. Returns and allowances                                                  0
 19. State Net Loss (Attach schedule)                               0                   c. Balance - Line 1a minus Line 1b                                         0
 20. Income Before Contributions to N.C. Donees                -35893               2. Cost of goods sold (Attach schedule)                                        0
 21. Contributions to N.C. Donees                                   0               3. Gross Profit (Line 1c minus Line 2)                                         0
 22. Net Taxable Income                                        -35893               4. Dividends (Attach schedule)                                                 0
 23. N.C. Net Income Tax                                            0               5. a. Interest on obligations of U.S. and its instrumentalities                0
 24. Payments and Credits                                                               b. Other interest                                                          0
      a. Income Tax Extension                                          200          6. Gross rents                                                                 0
      b. 2022 Estimated Tax                                                         7. Gross royalties (Attach schedule)                                           0
           (previous payments if amended)                              200          8. Capital gain net income (Attach schedule)                                   0
      c. Partnership (include Form D-403, NC K-1)                        0          9. Net gain (loss) (Attach schedule)                                           0
      d. Nonresident Withholding (include 1099 or W-2)                   0        10. Other income (Attach schedule)                                               0
      e. Tax Credits                                                     0        11. Total Income                                                                 0
 25. Add Lines 24a through 24e                                         400        12. Compensation of officers (Attach sch., including addresses)                  0
 26. Income Tax Due                                                      0        13. Salaries and wages (less employment credits)                                 0
 27. Income Tax Overpaid                                               400        14. Repairs and maintenance                                                      0
                                                                                  15. Bad debts                                                                    0
  Tax Due or Refund                                                               16. Rents                                                                        0
 28. Franchise Tax Due or Overpayment                                 200         17. Taxes and licenses                                                           0
 29. Income Tax Due or Overpayment                                   -400         18. Interest                                                                     0
 30. Balance of Tax Due or Overpayment                               -200         19. Charitable contributions                                                     0
 31. Underpayment of Estimated Income Tax                               0         20. a. Depreciation                                                              0
 EU. Exception to Underpayment of Estimated Tax                                         b. Depreciation included in cost of goods sold                             0
 32. a. Interest                                                         0              c. Balance - Line 20a minus 20b                                            0
     b. Penalties                                                        0        21. Depletion                                                                    0
      c. Add Lines 32a and 32b                                           0        22. Advertising                                                                  0
 33. Total Due                                                           0        23. Pension, profit-sharing, and similar plans                                   0
 34. Overpayment                                                       200        24. Employee benefit programs                                                    0
 35. 2023 Estimated Income Tax                                         200        25. Reserved for future use
 36. N.C. Nongame and Endangered Wildlife Fund                           0        26. Other deductions (Attach schedule)                                           0
 37. N.C. Education Endowment Fund                                       0        27. Total Deductions                                                             0
 38. Amount to be Refunded                                               0        28. Taxable Income Per Federal Return Before NOL
                                                                                      and Special Deductions                                                       0
  Sch. C      Net Worth                                                           29. Special Deductions                                                           0
  1. Total assets                                            7701964              30. Federal Taxable Income Before NOL                                            0
  2. Total liabilities                                      18111288
  3. Line 1 minus Line 2                                   -10409324


                                                                                                         269462 10-19-22        This page must be filed with this form.
         Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                       Desc Main
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CD-405 2022 Page 3 (39)
   Legal Name (First 10 Characters)              EATSTREET,                                            Federal Employer ID Number       *********

Sch. H     Adjustments to Federal Taxable Income
   1. Additions
         a. Taxes based on net income                                                                                         1a.            32501
         b. Contributions                                                                                                     1b.                0
         c. Royalties to related members                                                                                      1c.                0
         d. Net interest expense to related members                                                                           1d.                0
         e. Expenses attributable to income not taxed                                                                         1e.                0
         f. Bonus depreciation                                                                                                 1f.               0
         g. Section 179 expense deduction                                                                                     1g.                0
      h. Other (Attach schedule)                                                 SEE STATEMENT 3                              1h.             3699
   2. Total Additions                                                                                                          2.            36200
   3. Deductions
         a. U.S. obligation interest (net of expenses) (Attach schedule)                                                      3a.               0
         b. Other deductible dividends                                                                                        3b.               0
         c. Royalties received from related members                                                                           3c.               0
         d. Qualified interest expense to related members                                                                     3d.               0
         e. Bonus depreciation                                                                                                3e.               0
         f. Section 179 expense deduction                                                                                      3f.              0
         g. Other (Attach schedule)                                              SEE STATEMENT 4                              3g.           68154
   4. Total Deductions                                                                                                         4.           68154
   5. Adjustments to Federal Taxable Income                                                                                    5.          -31954

Sch. I     Contributions
   1. Contributions to Donees Outside N.C.
         a. Total contributions to donees outside N.C.                                                                        1a.                     0
         b. Multiply Schedule B, Line 9 by 5%, if Line 9 is greater than zero. Otherwise enter zero.                          1b.                     0
         c. Amount Deductible                                                                                                 1c.                     0
   2. Contributions to N.C. Donees
      a. Total contributions to N.C. donees other than those listed in Line 2d                                                2a.                     0
         b. Multiply Sch. B, Line 20 by 5%, if Line 20 is greater than zero. Otherwise enter zero.                            2b.                     0
         c. Enter the lesser of Line 2a or 2b                                                                                 2c.                     0
         d. Total contributions to the State of N.C. and its political subdivisions                                           2d.                     0
         e. Amount Deductible                                                                                                 2e.                     0

Sch. F Other Information - All Taxpayers Must Complete this Schedule
1. a. State of incorporation                         WI                           8. Is this corporation subject to franchise tax but not N.C. income tax
   b. Date incorporated                                        01 01 12               because the corporation's income tax activities are protected
2. Date of N.C. Certificate of Authority                                              under P.L. 86-272? (If yes, attach explanation)                     N
3. a. Reg or principal trade or bus. in N.C.    INTERNET SAL                      9. Officers' names and addresses:
   b. Reg or principal trade or bus. everywhere INTERNET SAL                          President
4. Principal place bus. is directed or managed MADISON
5. What was the last year the IRS redetermined                                        Vice-President
   the corporation's federal taxable income?
6. a. Were adjustments reported to N.C.?                                    N         Secretary
   b. If so, when?
7. Does this corporation finance or discount its receivables                          Treasurer
   through a related or an affiliated company?                              N


Explanation of Changes for Amended Return:




This page must be filed with this form.      269471 09-22-22
           Case 3-24-12061-cjf                          Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                        Desc Main
                                                             Document    Page 222 of 326
CD-405 2022 Page 4 (39)
   Legal Name (First 10 Characters)                     EATSTREET,                                        Federal Employer ID Number              *********

Sch. L Balance Sheet per Books
                                                                    Beginning of Tax Year                                           End of Tax Year
                               Assets                         (a)                           (b)                               (c)                     (d)
 1. Cash                                                                                                  0                                                   0
 2. a. Trade notes and accounts receivable                                 0                                                             0
     b. Less allowance for bad debts                (                      0)                             0      (                       0)                   0
 3. Inventories                                                                                           0                                                   0
 4. a. U.S. government obligations                                                                        0                                                   0
     b. State and other obligations                                                                       0                                                   0
 5. Tax-exempt securities                                                                                 0                                                   0
 6. Other current assets (Attach end of year sch)                                                         0                                                   0
 7. Loans to shareholders                                                                                 0                                                   0
 8. Mortgage and real estate loans                                                                        0                                                   0
 9. Other investments (Attach end of year sch)                                                            0                                                   0
10. a. Buildings and other depreciable assets                              0                                                             0
    b. Less accumulated depreciation        (                              0)                             0      (                       0)                   0
11. a. Depletable assets                                                   0                                                             0
     b. Less accumulated depletion                  (                      0)                             0      (                       0)                   0
12. Land (net of any amortization)                                                                        0                                                   0
13. a. Intangible assets (amortizable only)                                0                                                             0
     b. Less accumulated amortization               (                      0)                             0      (                       0)                   0
14. Other assets (Attach end of year sch.)                                                                0                                                   0
15. Total Assets                                                                                          0                                                   0
           Liabilities and Shareholders' Equity
16. Accounts payable                                                                                      0                                                   0
17. Mortgages, notes, and bonds payable in less than 1 year                                               0                                                   0
18. Other current liabilities (Attach end of year schedule)                                               0                                                   0
19. Loans from shareholders                                                                               0                                                   0
20. Mortgages, notes, and bonds payable in 1 year or more                                                 0                                                   0
21. Other liabilities (Attach end of year schedule)                                                       0                                                   0
22. Capital stock: a. Preferred Stock                                      0                                                             0
                     b. Common Stock                                       0                              0                              0                    0
23. Additional paid-in capital                                                                            0                                                   0
24. Retained earnings - Appropriated (Attach end of year schedule)                                        0                                                   0
25. Retained earnings - Unappropriated                                                                    0                                                   0
26. Adjustments to shareholders' equity (Attach end of year schedule)                                     0                                                   0
27. Less cost of treasury stock                                                 (                         0)                                  (               0)
28. Total Liabilities and Shareholders' Equity                                                            0                                                   0
Sch. M-1 Reconciliation of Income (Loss) per Books with Income per Return
 1. Net income (loss) per books                                      -13410262              7. Income recorded on books this year
 2. Federal income tax                                                       0                 not included on this return:
 3. Excess of capital losses over capital gains                              0                 Tax-exempt interest            $               0
 4. Income subject to tax not recorded on books this year:                                        STMT 5
                                                                                    0                                                                   319125
 5. Expenses recorded on books this year                                                    8. Deductions on this return not charged
     not deducted on this return:                                                              against book income this year:
     a. Depreciation                  $          421557                                        a. Depreciation             $                  0
     b. Charitable Contributions      $               0                                        b. Charitable Contributions $                  0
     c. Travel and entertainment      $           17417
          STMT 6                                                                                                                                             0
                                                                        8597588 9. Add Lines 7 and 8                                                    319125
 6. Add Lines 1 through 5                                              -4812674 10. Income                                                            -5131799

  This page must be filed with
  this form.

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                                                     Document    Page 223 of 326
CD-405 2022 Page 5 (39)
   Legal Name (First 10 Characters)             EATSTREET,                                           Federal Employer ID Number      *********

Sch. M-2 Retained Earnings Analysis
  1. Balance at beginning of year                                              0       5. Distributions: a.       Cash                                     0
  2. Net income (loss) per books                                               0                             b. Stock                                      0
  3. Other increases:                                                                                        c.   Property                                 0
                                                                                       6. Other decreases:                                                 0
                                                                               0       7. Add Lines 5 and 6                                                0
  4. Add Lines 1, 2, and 3                                                     0       8. Balance at End of Year                                           0

Sch. N Nonapportionable Income
       (A) Nonapportionable              (B) Gross Amounts          (C) Related Expenses            (D) Net Amounts            (E) Net Amounts Allocated
                  Income                                                                                                            Directly to N.C.
                                                             0                            0                              0                     0
                                                             0                            0                              0                     0
                                                             0                            0                              0                     0
                                                             0                            0                              0                     0
                                                             0                            0                              0                     0
  1. Nonapportionable Income                                                                                             0
  2. Nonapportionable Income Allocated to N.C.                                                                                                 0
  Explanation of why income listed is nonapportionable income rather than apportionable income:




Sch. O Computation of Apportionment Factor
Part 1. Domestic and Other Corporations Not Apportioning Franchise or Income Outside N.C.                                                       0.0000 %
Part 2. Corporations Apportioning Franchise or Income to N.C. and to Other States
                                                                                                        1. Within North Carolina       2. Total Everywhere
 1. Gross Receipts Subject to Apportionment                                                                                0                      0
 2. Gross Rents Subject to Apportionment                                                                                   0                      0
 3. Gross Royalties Subject to Apportionment                                                                               0                      0
 4. Dividends Subject to Apportionment                                                                                     0                      0
 5. Interest Subject to Apportionment                                                                                      0                      0
 6. Other Apportionable Income                                                                                        200845               28893995
 7. Share of Receipts from Noncorporate Entities Subject to Apportionment                                                  0                      0
 8. Total                                                                                                             200845               28893995
 9. N.C. Apportionment Factor                                                                                                                0.6951 %

Part 3. Special Apportionment Formulas                                                                                                          0.0000 %




  This page must be filed with this form.
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  EATSTREET, INC.                   Document    Page 224 of 326       **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NC SCH B        CURRENT YEAR STATE INCOME/LOSS AND SNL DEDUCTION STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  1)    INCOME BEFORE APPORTIONMENT                                               -5,163,753.
  2)    TAX EXEMPT MUNICIPAL INTEREST                                                      0.
  3)    U.S. INTEREST                                                                      0.
  4)    DEDUCTIBLE PORTION OF DIVIDENDS                                                    0.
  5)    DEDUCTIBLE PORTION OF PRIOR YEAR CAPITAL LOSS                                      0.
  6)    OTHER TAX EXEMPT INCOME                                                            0.
  7)    INCOME BEFORE APPORTIONMENT AND TAX EXEMPT INCOME                         -5,163,753.
  8)    NONBUSINESS INCOME (MULTISTATE CORPORATIONS ONLY)                                  0.
  9)    OTHER DEDUCTIONS FROM TAX EXEMPT INCOME                                            0.
  10)   TOTAL BUSINESS INCOME                                                     -5,163,753.
  (IF   ALL BUSINESS IS IN N.C. SKIP TO LINE 20)

  MULTISTATE CORPORATIONS
  11) APPORTIONMENT PERCENT                                                             .6951%
  12) APPORTIONED BUSINESS INCOME                                                     -35,893.
  13) APPORTIONABLE NORTH CAROLINA NONBUSINESS INCOME
  14) APPORTIONED NORTH CAROLINA NONBUSINESS INCOME
  15) OTHER APPORTIONABLE ADJUSTMENTS                                                       0.
  16) NONBUSINESS INCOME ALLOCATED TO NORTH CAROLINA
  17) NONBUSINESS INCOME NOT TAXABLE TO NORTH CAROLINA                                      0.
  18) APPORTIONED NONBUSINESS INCOME NOT TAXABLE TO NC                                      0.
  19) CONTRIBUTIONS TO NORTH CAROLINA DONEES                                                0.
  20) TOTAL STATE NET INCOME (LOSS)                                                   -35,893.
  21) STATE NET INCOME AS TAXABLE INCOME                                              -35,893.


  STATE NET LOSS DEDUCTION:
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                STATE                      TAXABLE INCOME                 NON TAXABLE
               NET LOSS                    LOSS SUSTAINED                LOSS SUSTAINED
            }}}}}}}}}}}}}}                 }}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  2007                  0.                             0.                             0.
  2008                  0.                             0.                             0.
  2009                  0.                             0.                             0.
  2010                  0.                             0.                             0.
  2011                  0.                             0.                             0.
  2012                  0.                             0.                             0.
  2013                  0.                             0.                             0.
  2014                  0.                             0.                             0.
  2015                  0.                             0.                             0.
  2016            132,425.                       132,425.                             0.
  2017            169,983.                       169,983.                             0.
  2018            122,781.                       122,781.                             0.
  2019             90,530.                        90,530.                             0.
  2020                  0.                             0.                             0.
  2021             89,224.                        89,224.                             0.




                                                8                               STATEMENT(S) 1
13111109 144198 89475                        2022.05000 EATSTREET, INC.                 89475__1
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  EATSTREET, INC.                   Document    Page 225 of 326       **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NC SCH B                  STATE NET LOSS (CONTINUED)             STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

             LOSS PREVIOUSLY                TAXABLE LOSS                  NON TAXABLE
                APPLIED                       APPLIED                     LOSS APPLIED
             }}}}}}}}}}}}}}                }}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  2007                   0.                            0.                             0.
  2008                   0.                            0.                             0.
  2009                   0.                            0.                             0.
  2010                   0.                            0.                             0.
  2011                   0.                            0.                             0.
  2012                   0.                            0.                             0.
  2013                   0.                            0.                             0.
  2014                   0.                            0.                             0.
  2015                   0.                            0.                             0.
  2016              65,947.                       65,947.                             0.
  2017                   0.                            0.                             0.
  2018                   0.                            0.                             0.
  2019                   0.                            0.                             0.
  2020                   0.                            0.                             0.
  2021                   0.                            0.                             0.

              REMAINING                         REMAINING                   LOSS REMAINING
            }}}}}}}}}}}}}}                    }}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  2007                  0.                                0.                            0.
  2008                  0.                                0.                            0.
  2009                  0.                                0.                            0.
  2010                  0.                                0.                            0.
  2011                  0.                                0.                            0.
  2012                  0.                                0.                            0.
  2013                  0.                                0.                            0.
  2014                  0.                                0.                            0.
  2015                  0.                                0.                            0.
  2016             66,478.                           66,478.                            0.
  2017            169,983.                          169,983.                            0.
  2018            122,781.                          122,781.                            0.
  2019             90,530.                           90,530.                            0.
  2020                  0.                                0.                            0.
  2021             89,224.                           89,224.                            0.
            }}}}}}}}}}}}}}                    }}}}}}}}}}}}}}                }}}}}}}}}}}}}}
  TOTAL           538,996.                          538,996.                            0.
            ~~~~~~~~~~~~~~                    ~~~~~~~~~~~~~~                ~~~~~~~~~~~~~~
  TOTAL REMAINING LOSS                                                            538,996.

  TOTAL AVAILABLE LOSS                                                             538,996.

  CURRENT YEAR STATE GAIN OR LOSS                                                  -35,893.

  STATE NET LOSS DEDUCTION                                                              0.
                                                                            ~~~~~~~~~~~~~~




                                                9                               STATEMENT(S) 2
13111109 144198 89475                        2022.05000 EATSTREET, INC.                 89475__1
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  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NC SCH H                        OTHER ADDITIONS                  STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DEPRECIATION ADJUSTMENT                                                              3,699.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM CD-405, PAGE 3, SCHEDULE H, LINE 1H                                    3,699.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NC SCH H                        OTHER DEDUCTIONS                 STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DISPOSAL OF FIXED ASSETS                                                            68,154.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM CD-405, PAGE 3, SCHEDULE H, LINE 3G                                   68,154.
                                                                               ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NC SCH M-1   INCOME RECORDED ON BOOKS NOT INCLUDED ON RETURN     STATEMENT 5
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  GAIN (LOSS) ON SALE OF ASSETS NOT ON RETURN                                        319,125.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM CD-405, PAGE 4, SCHEDULE M-1, LINE 7                                 319,125.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NC SCH M-1 EXPENSES RECORDED ON BOOKS NOT DEDUCTED ON RETURN     STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  INTEREST EXPENSE                                                                 2,819,995.
  OTHER AMORTIZATION OR IMPAIRMENT WRITE-OFFS                                        315,262.
  RENTS                                                                              144,127.
  SALARIES AND WAGES                                                               4,879,230.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM CD-405, PAGE 4, SCHEDULE M-1, LINE 5                               8,158,614.
                                                                               ~~~~~~~~~~~~~~




                                               10               STATEMENT(S) 3, 4, 5, 6
13111109 144198 89475                       2022.05000 EATSTREET, INC.           89475__1
               Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                   Desc Main
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                                            Limitation on Business Interest Expense
   Form   8990
   (Rev. December 2022)
                                                      Under Section 163(j)                                                             OMB No. 1545-0123
                                                                       Attach to your tax return.                         NC
   Department of the Treasury
   Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
   Taxpayer name(s) shown on tax return                                                                                  Identification number
          EATSTREET, INC.                                                                                                 **-***5093
      A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
                 Name of foreign entity
                 Employer identification number, if any
                 Reference ID number
      B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
      C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
      D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
            to complete                                                            Yes         No
    Part I        Computation of Allowable Business Interest Expense
    Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
    taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

   Section I - Business Interest Expense
      1      Current year business interest expense (not including floor plan
             financing interest expense), before the section 163(j) limitation ~~~~~~~               1      2,819,995.
      2      Disallowed business interest expense carryforwards from prior
             years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
      3      Partner's excess business interest expense treated as paid or
             accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
      4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                               4
      5      Total business interest expense. Add lines 1 through 4                                  5       2,819,995.
   Section II - Adjusted Taxable Income

                                                                          Tentative Taxable Income

      6      Tentative taxable income. See instructions                                        6      -5,147,663.

                                    Additions (adjustments to be made if amounts are taken into account on line 6)

      7      Any item of loss or deduction that is not properly allocable to a trade or
             business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7
      8      Any business interest expense not from a pass-through entity. See instr.        ~       8
      9      Amount of any net operating loss deduction under section 172        ~~~~~~              9
    10       Amount of any qualified business income deduction allowed under
             section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10
    11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11
    12       Amount of any loss or deduction items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
    13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
    14       Total current year partner's excess taxable income (Schedule A, line
             44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
    15       Total current year S corporation shareholder's excess taxable
             income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
    16       Total. Add lines 7 through 15                                             16

                                    Reductions (adjustments to be made if amounts are taken into account on line 6)

    17       Any item of income or gain that is not properly allocable to a trade
             or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
    18       Any business interest income not from a pass-through entity. See instructions          18 (                  )
    19       Amount of any income or gain items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
    20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
    21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (                         )
    22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
   LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)
                                                                                11
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                                          89475__1
              Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                        Desc Main
                                                      Document    Page 228 of 326
   Form 8990 (Rev. 12-2022)                                                                                                                              Page 2

   Section III - Business Interest Income
    23      Current year business interest income. See instructions ~~~~~~~~~~                  23
    24      Excess business interest income from pass-through entities (total of
            Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
    25      Total. Add lines 23 and 24                                                    25

   Section IV - Section 163(j) Limitation Calculations

                                                         Limitation on Business Interest Expense

    26      Multiply the adjusted taxable income from line 22 by the applicable
            percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
    27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27
    28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
    29      Total. Add lines 26, 27, and 28                                                 29

                                                           Allowable Business Interest Expense

    30      Total current year business interest expense deduction. See instructions                              30

                                                                         Carryforward

    31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31          2,819,995.
    Part II     Partnership Pass-Through Items
    Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
    and are not carried forward by the partnership. See the instructions for more information.

                                                             Excess Business Interest Expense

    32      Excess business interest expense. Enter amount from line 31                                     32

                                  Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

    33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
    34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
    35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
    36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                             Excess Business Interest Income

    37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       37
    Part III S Corporation Pass-Through Items
    Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
    See the instructions for more information.

                                                                   Excess Taxable Income

    38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
    39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
    40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
    41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                             Excess Business Interest Income

    42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       42
                                                                                                                                    Form 8990 (Rev. 12-2022)




   223212 01-25-23
                                                                             12
13111109 144198 89475                                                     2022.05000 EATSTREET, INC.                                                    89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                          NEW JERSEY FORM CBT-100

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              Not applicable

Amount of Tax:

                Total tax                           $                     1,000
                Less: payments and credits          $                     3,000
                Plus: other amount                  $                         0
                Plus: interest and penalties        $                         0
                Overpayment                         $                     2,000

Overpayment:

                Credit to your estimated tax        $                     2,000
                Other amount                        $                         0
                Refunded to you                     $                         0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               The New Jersey return has been prepared for electronic filing. No further action is
               required.

Return Must be Mailed On or Before:
              Return to us by November 15, 2023.

Special Instructions:
           Case 3-24-12061-cjf                  Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44 Desc Main
                                                     Document    Page 230 of 326
                                                                   CORPORATION BUSINESS TAX
                                                                  APPLICATION FOR EXTENSION
                                                                   OF TIME TO FILE WORKSHEET

                                                                                              CBT-200-TC



                                BEGINNING TAX YEAR 2016, YOU NEED TO PAY YOUR NEW JERSEY
                                       CORPORATION BUSINESS TAX ELECTRONICALLY

             You need to pay the tax by one of these methods:


                  1.   Electronic Check or Credit Card: Visit www.njtaxation.org and select "Make a Payment."
                  2.   Electronic Funds Transfer (EFT): To register visit www.nj.gov/treasury/revenue/eft1.shtml


             If you do not have access to the internet, call our Customer Service Center at 609-292-6400 to make a
             payment.




              RETURN MUST BE FILED ONLINE OR E-FILED.
                                This form cannot be paper filed - this
                               copy is for informational purposes only.


                                        Corporation Business Tax Application for Extension of Time to File Worksheet
                                                                       CBT-200-TC

                                        Beginning      01/01/2022                                                     and ending   12/31/2022
          2022
  ***-***-***/***   EATS
  EATSTREET, INC.
  1574 W BROADWAY ST STE 200 #PMB100
  MADISON, WI 53713                 1. Estimated Corporation Business Tax                                                     1.       1000.00
                                                                         2. Installment Payment (50% of Line 1)               2.           .00
                                                                         3. Key Corporation AMA                               3.           .00
           Payments should be made electronically.                       4. Tentative Profession Corporation Fee              4.           .00
                                                                         5. Installment Payment for PC Fee (50% of Line 4)    5.           .00
                                                                         6. Total Tax and Fee Due                             6.       1000.00
                                                                         7. Less Payments to date                             7.       2000.00
                                                                         8. Balance Due (Line 6 minus Line 7)                 8.           .00




266891 04-01-22
                           Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                        Desc Main
                                                                       Document    Page 231 of 326                                                       2022 - CBT-100 - Page 1
          2022                                                       New Jersey Corporation Business Tax Return
                                                                                                                                                                          1019
         CBT-100                                         For Tax Years Ending On or After July 31, 2022, Through June 30, 2023
                                                                           Tax year beginning JAN     1          ,2022 and ending DEC            31     ,2022


    FEDERAL EMPLOYER I.D. NUMBER                                   N.J. CORPORATION NUMBER
               ***-***-***/***                                    4543-8509-30                        State and date of incorporation       WI           01 01 2012
    CORPORATION NAME                                                                                  Date authorized to do business in New Jersey       01012016
    EATSTREET INC
    MAILING ADDRESS                                                                                   Federal business activity code       722300
                                                                                                      Corporation books are in the care of   STEVE ANASTASI
    1574 W BROADWAY ST STE 200 PMB1005                                                                at 1574      W  BROADWAY            ST  STE 20
     CITY                                        STATE                                 ZIP CODE       Phone Number       8666548777
                                                                                                      Check if applicable (see instructions):
    MADISON                                       WI                           53713                          Investment Company                      Professional Corporation
    Check applicable return type:                      Initial         Amended                                Real Estate Investment Trust            Regulated Invest. Company
    Enter Amended Code:                         If code 10, enter reason:                                     Federal 1120-S Filer                    Claiming P.L. 86-272


     1. Tax Base - Enter amount from line 4 of Schedule A, Part III                    ~~~~~~~~~~~~~~~~~~~~~~                               1.                               0.
     2. Amount of Tax - Multiply line 1 by the applicable tax rate (see instructions) ~~~~~~~~~~~~~~~                                       2.
     3. Tax Credits - Enter amount from Schedule A-3, Part I, line 30 (see instructions) ~~~~~~~~~~~~~                                      3.
     4. CBT TAX LIABILITY - Subtract line 3 from line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        4.                               0.
     5. a. Surtax on taxable net income - Multiply the amount on Schedule A, Part III, line 2a, 2b, or 2c
                  (whichever is applicable) by the applicable surtax rate (see instructions) ~~~~~~~~~~~~~~~                               5a.                               0.
          b. Pass-Through Business Alternative Income Tax Credit from Form 329 (see instructions) (Amount entered
                  cannot be more than amount on line 5a) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5b.                               0.
          c. Balance of surtax - Subtract line 5b from line 5a                                                   5c.                               0.
     6. a. Enter the total minimum tax (see instructions) ~~~~~~~ 6a.                           1,000.
        b. Tax Due - Add line 5c to the greater of line 4 or line 6a (see instructions) ~~~~~~~~~~~~~~                                     6b.                        1,000.
     7. Installment Payment - Only applies if line 6b is $500 or less (see instructions) ~~~~~~~~~~~~~~                                     7.
     8. Professional Corporation Fees (from Schedule PC, line 7) ~~~~~~~~~~~~~~~~~~~~~~~                                                    8.                            0.
     9. TOTAL TAX AND PROFESSIONAL CORPORATION FEES - Add lines 6b, 7, and 8 ~~~~~~~~~~~                 9.                                                           1,000.
    10. a. Payments and Credits (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10a.                                                                                3,000.
        b. Payments made by partnerships on behalf of taxpayer (include copies of all NJK-1s) ~~~~~~~~ 10b.
          c. Refundable Tax Credits from Schedule A-3, Part II, line 6 (see instructions) ~~~~~~~~~~~~~ 10c.
          d. Total Payments and Credits - Add lines 10a, 10b, and 10c ~~~~~~~~~~~~~~~~~~~~~ 10d.                                                                      3,000.
    11. Balance of Tax Due - If line 10d is less than line 9, subtract line 10d from line 9                   ~~~~~~~~~~~~                 11.
    12. Penalty and Interest Due (see instructions)                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      12.
    13. Total Balance Due - Add line 11 and line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         13.
    14. Amount Overpaid - If line 10d is greater than the sum of line 9 and 12, enter amount of overpayment ~~                             14.                        2,000.
    15. Amount of line 14 to be Refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               15.
    16. Amount of line 14 to be Credited to 2023 Tax Return                                                       16.                        2,000.
    17. Amount of line 14 to be Credited to a Combined Group and tax year to                           Unitary ID Number

          which it is to be applied                    2022 or             2023                  NU                               17.
                             If the corporation is inactive, page 1, the Annual General Questionnaire, and Schedules A (Parts I, II, and III), A-2, A-3, and A-4 must be
        (See Instructions)
         CERTIFICATION
         OF INACTIVITY




                             completed. A corporate officer must sign and certify below:
                                  By marking the check box to the left, I certify that the corporation did not conduct any business, did not have any income, receipts, or
                                  expenses, and did not own any assets during the entire period covered by the tax return.


                              (Date)                        (Signature of Corporate Officer)                                                                    (Title)


                              RETURN MUST BE FILED ONLINE OR E-FILED.
                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules, forms, and statements, and to the
                             best of my knowledge and belief, it is true, correct, and complete. I understand that pursuant to N.J.S.A. 54:10A-14(a), I must include copies
      SIGNATURE AND




                             of the federal return(s), forms, and schedules with my New Jersey return. If prepared by a person other than the taxpayer, this declaration is
       (See Instruction)
        VERIFICATION




                             based on all information of which the preparer has any knowledge.
                                               This form cannot be paper filed -CEO                   this
                              (Date)               (Signature of Duly Authorized Officer of Taxpayer)      (Title)
                                              copy DANIEL
                                                    is for T.     informational
                                                                       O'CONNOR, CPA purposes only. *********
                              (Date)                             (Signature of Individual Preparing Return)                    (Address)                 (Preparer's ID Number)
                                               BAKER TILLY US, LLP                                                                                     **-***9910
             (Name of Tax Preparer's Employer) PO BOX 7398                (Address)                                                                      (Employer's ID Number)
      266601 01-09-23                          MADISON, WI 53707-7398
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13111109 144198 89475                                    2022.05000 EATSTREET, INC.                                                                                       89475__1
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   EATSTREET, INC.                                                                                                                                                    ***-***-***/***
   ANNUAL GENERAL QUESTIONNAIRE (See Instructions)
   PART I All taxpayers must answer the following questions. Riders must be provided where necessary.
   1. Type of business    INTERNET SALES

       Principal products handled                    SERVICE

   2. State the location of the actual seat of management or control of the corporation                                    MADISON, WISCONSIN

   3. Did one or more other corporations own beneficially, or control, a majority of the stock of taxpayer corporation or did the same interests own
       beneficially, or control, a majority of the stock of taxpayer corporation and of one or more other corporations?                                Yes. Provide a rider indicating
       the name and FEIN of the controlled corporation, the name and FEIN of the controlling/parent corporation, and the percentage of stock owned or
       controlled. OR          X No.
   4. These questions must be answered by corporations with a controlling interest in certain commercial property.
       a.     During the period covered by the return, did the taxpayer acquire or dispose of directly or indirectly a controlling interest in certain commercial
              property?           Yes. Answer question 4b below.               OR              No.
       b. Was the CITT-1, Controlling Interest Transfer Tax, filed with the Division of Taxation?
                  Yes. Provide a rider
                                    . indicating the information and include a copy of the CITT-1                    OR            No. Provide a rider indicating the name and FEIN
              of the transferee, the name and FEIN of the transferor, and the assessed value of the property.
   5. Does this corporation own any Qualified Subchapter S Subsidiaries (QSSS)?                                 Yes. Provide a rider indicating the name, address, and FEIN of the
       subsidiary, whether the subsidiary made a New Jersey QSSS election, and whether the activities of the subsidiary are included in this return.                            OR
            X No.
   6. If the taxpayer is a unitary subsidiary of a combined group filing a New Jersey combined return from which the taxpayer is excluded, did the taxpayer
       distribute dividends or deemed dividends in the current tax year?                       Yes. Provide a rider indicating the name and FEIN of the entity to which the
       dividends were paid (deemed), the amount of dividends, and unitary ID number of the combined group. OR                                       No.
   7. Is the taxpayer an intangible holding company or is the taxpayer's income, directly or indirectly, from intangible property or related service activities
       that are deductible against the income of members of a combined group?                             Yes. Provide a rider indicating the names and ID numbers of the
       combined group or the related members and detail the taxpayer's income that is deductible against their income. OR                                 X No.
   8. Is income from sources outside the United States included in taxable net income on Schedule A?
                Yes            No         X NA
       If yes, provide a rider indicating such items of gross income, the source, the deductions and the amount of foreign taxes paid. Enter on Schedule A,
       Part II, line 10, the difference between the net of such income and the amount of foreign taxes paid not previously deducted (include a rider).

   9. Does the taxpayer have related parties or affiliates that file combined returns in New Jersey?                            Yes.     OR      X No.
  10. Does the taxpayer file as part of a group filing combined returns/reports in other states with corporations that either do not file New Jersey returns or
       file separate New Jersey returns?                   Yes.    OR       X No.
  11. Is the taxpayer part of a group that files a New Jersey combined return, but is excluded from the combined return?                                      Yes. Provide information
       below.     OR      X No.
       Name of the managerial member of the combined group:
  12. Has the taxpayer or the preparer completing this return on the taxpayer's behalf taken any uncertain tax positions when filing this return or their
       federal tax return?              Yes. Include a rider detailing the information.           OR      X No.
       For more information see Financial Accounting Standards Board (FASB) Accounting Standards Codification (ASC) 740-10, formerly FASB
       Interpretation No. 48 (FIN 48).

  13. Does the taxpayer own or lease real or tangible property:
       a.     In New Jersey? X Yes. OR         No.
       b. Outside New Jersey?  X Yes. Provide information below. OR                                    No.
              List the states, political subdivisions, and foreign nations (as applicable): WI
  14. What percentage of the taxpayer's worldwide property, real or tangible, is inside the United States?                           100.0000%
  15. Does the taxpayer have payroll:
       a.     In New Jersey? X Yes. OR         No.
       b. Outside New Jersey?  X Yes. Provide information below. OR                                    No.
              List the states, political subdivisions, and foreign nations (as applicable): WI,
                                                                                              AZ, CA, CO, DE, IL, IN, IA, KS, KY
  16. What percentage of the taxpayer's worldwide payroll is inside the United States?        100.0000%
  17. Is 20% or more of either or both the taxpayer's property and payroll inside the United States?  X Yes. OR No.
  18. Does the taxpayer own a disregarded entity or utilize a disregarded entity of a related party?                            Yes. Include a rider with the entity's name and tax
       ID number.      OR      X No.



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   EATSTREET, INC.                                                                                                                     ***-***-***/***
   ANNUAL GENERAL QUESTIONNAIRE (Continued)
   PART II REGULATED INVESTMENT COMPANIES (Riders must be provided where necessary)
   1. Is this taxpayer registered and regulated under the Federal Investment Company Act of 1940 (54 Stat. 789, as amended)?         Yes. Provide
       information below (include rider if necessary).   X No.

                                                      Securities and Exchange Commission Information
                                     Registration Number                                                              Registration Date


       IMPORTANT NOTE: If the taxpayer's certificate under the Act was not obtained prior to the commencement of the period covered in the return or
       if such authority was not continued during such entire period, then the taxpayer is not entitled to report as a Regulated Investment Company.
   2. Has the taxpayer satisfied the requirements of IRC ¤ 852(a)?         Yes    OR    X No. If no, taxpayer cannot file as a Regulated Investment Company.
   3. Every taxpayer seeking to report as a regulated investment company MUST SUBMIT WITH THIS RETURN ITS PRINTED ANNUAL REPORT TO
       STOCKHOLDERS for the period covered by this return together with all other stockholder reports issued by the company during such period.




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   EATSTREET, INC.                                                                                                          ***-***-***/***
                                         CALCULATION OF NEW JERSEY TAXABLE NET INCOME (SEE INSTRUCTIONS)
    Schedule A                          EVERY CORPORATION MUST COMPLETE PARTS I, II, AND III OF THIS SCHEDULE

    PART I - COMPUTATION OF ENTIRE NET INCOME (All data must match the federal pro forma or federal return, whichever is applicable.)

                                               Income
    1. a.    Gross receipts or sales   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1a.               29,257,032.
        b. Less: Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         1b.                  422,735.
        c.   Total - Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                1c.               28,834,297.
    2. Less: Cost of goods sold (from Schedule A-2, line 8) ~~~~~~~~~~~~~~~~~~~~~~                               2.                  607,145.
    3. Gross profit - Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  3.               28,227,152.
    4. a.    Dividends ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                4a.
        b. Gross Foreign Derived Intangible Income (see instructions) (include copy of federal Form 8993)       4b.
        c.   Gross Global Intangible Low-Taxed Income (see instructions) (include copy of federal Form 8992)    4c.
    5. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5.                     15,864.
    6. Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    6.
    7. Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  7.
    8. Capital gain net income (include a copy of federal Schedule D) ~~~~~~~~~~~~~~~~~                          8.
    9. Net gain or (loss) (from federal Form 4797, include a copy) ~~~~~~~~~~~~~~~~~~~                           9.               -1,247,141.
                                                                       SEE STATEMENT 1
   10. Other income (include schedule(s)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10.                  753,000.
   11. Total Income - Add lines 3 through 10                                       11.               27,748,875.
                                                 Deductions
   12. Compensation of officers (from Schedule F) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    12.                  895,543.
   13. Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   13.               12,399,234.
   14. Repairs (Do not include capital expenditures) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 14.                   16,823.
   15. Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    15.
   16. Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      16.                  372,244.
   17. Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      17.                2,277,826.
   18. Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    18.
   19. Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            19.
   20. Depreciation (from federal Form 4562, include a copy) less depreciation claimed elsewhere on return      20.                    141,471.
   21. Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    21.
   22. Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   22.                2,309,205.
   23. Pension, profit-sharing plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      23.                  296,795.
   24. Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             24.                1,336,864.
   25. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             25.
                                                           SEE STATEMENT 2
   26. Other deductions (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       26.               12,834,669.
   27. Total Deductions - Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    27.               32,880,674.
   28. Taxable income before federal net operating loss deductions and federal special deductions -
        Subtract line 27 from line 11 (Must agree with line 28, page 1 of the Unconsolidated federal
        Form 1120, or the appropriate line of any other federal corporate return filed) (See instructions)     28.               -5,131,799.

    PART II - NEW JERSEY MODIFICATIONS TO ENTIRE NET INCOME

    1. Taxable income/(loss) before federal net operating loss deductions and special deductions (from
        Schedule A, Part I, line 28)                                              1.               -5,131,799.
                                         Additions
    2. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2.
    3. Other federally exempt income not included in line 1 (see instructions)     ~~~~~~~~~~~~~                 3.
    4. Interest on federal, state, municipal, and other obligations not included in line 1 (see instructions)    4.
    5. New Jersey State and other states' taxes deducted in line 1 (see instructions)      ~~~~~~~~~             5.                     45,895.
    6. Related party interest addback (from Schedule G, Part I) ~~~~~~~~~~~~~~~~~~~~                             6.
    7. Related party intangible expenses and costs addback (from Schedule G, Part II)        ~~~~~~~~            7.
    8. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8.
    9. Depreciation modification being added to income (from Schedule S)         ~~~~~~~~~~~~~~                  9.
   10. Other additions. Explain on separate rider (see instructions)               STMT 3
                                                                        ~~~~~~~~~~~~~~~~~~                      10.                    3,699.
   11. Taxable income/(loss) with additions - Add line 1 through line 10 and enter the total             11.               -5,082,205.
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   EATSTREET, INC.                                                                                                               ***-***-***/***
                                           CALCULATION OF NEW JERSEY TAXABLE NET INCOME (SEE INSTRUCTIONS)
    Schedule A                           EVERY CORPORATION MUST COMPLETE PARTS I, II, AND III OF THIS SCHEDULE
                                                  Deductions
     12. Depreciation modification being subtracted from income (from Schedule S) ~~~~~~~~~~                        12.
     13. Previously Taxed Dividends (from Schedule PT)          ~~~~~~~~~~~~~~~~~~~~~~~                             13.
     14. a.     Enter the I.R.C. ¤ 250(a) deduction amount allowed federally for GILTI if GILTI income is
                included on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14a.
           b. Enter the I.R.C. ¤ 250(a) deduction amount allowed federally for FDII if FDII income is
                included on line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             14b.
           c.   Net GILTI previously taxed by New Jersey not deducted or excluded elsewhere             ~~~~~       14c.
     15. I.R.C. ¤ 78 Gross-up included in line 1 (do not include dividends that were excluded/deducted elsewhere)   15.
     16. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                16.
     17. a.     Elimination of nonoperational activity (from Schedule O, Part I) ~~~~~~~~~~~~~~                     17a.
           b. Elimination of nonunitary partnership income/loss (from Schedule P-1, Part II, line 4) ~~~~           17b.
     18. Other deductions. Explain on separate rider (see instructions)        STMT 4
                                                                               ~~~~~~~~~~~~~~~~                     18.                      68,154.
     19. Total deductions - Add line 12 through line 18 and enter the total                          19.                      68,154.
                                    Taxable Net Income/(Loss) Calculation
     20. Entire Net Income/(Loss) Subtotal - Subtract line 19 from line 11 ~~~~~~~~~~~~~~~                          20.                -5,150,359.
     21. Allocation factor from Sch J (if all receipts were derived from only New Jersey sources, enter 1.000000)   21.                    .012953
     22. Allocated entire net income/(loss) before net operating loss deductions and dividend exclusion -
           Multiply line 20 by line 21 and enter the result here (if zero or less, enter zero on line 29)   ~~~     22.                     -66,713.
     23. Prior year net operating loss (PNOL) deduction (from Form 500, Section A) (Amount entered
           cannot be more than amount on line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       23.
     24. Allocated entire net income before post allocation net operating loss deduction - Subtract line
           23 from line 22 (If zero or less, enter zero here and on line 29) ~~~~~~~~~~~~~~~~~                      24.                              0.
     25. Post allocation net operating loss (NOL) deduction (from Form 500, Section B) (Amount entered
           cannot be more than amount on line 24) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       25.
     26. Allocated entire net income before allocated dividend exclusion - Subtract line 25 from line 24
           (If zero or less, enter zero here and on line 29) ~~~~~~~~~~~~~~~~~~~~~~~~                               26.                              0.
     27. Allocated Dividend Exclusion (from Schedule R) (see instructions) ~~~~~~~~~~~~~~~~                         27.
     28. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                28.
     29. Taxable net income - Subtract line 27 from line 26 ~~~~~~~~~~~~~~~~~~~~~~                                  29.                              0.
         Did the taxpayer have any discharge of indebtedness excluded from federal taxable income
           in the current tax year pursuant to subparagraph (A), (B), or (C) of paragraph (1) of
           subsection (a) of IRC ¤ 108           Yes. See instructions for Form 500. OR        X No.
    PART III - COMPUTATION OF NEW JERSEY TAX BASE
     1. Enter taxable net income from Schedule A, Part II, line 29         ~~~~~~~~~~~~~~~~~~                        1.                              0.
      2. a.     Investment Company - Enter 40% of line 1 ~~~~~~~~~~~~~~~~~~~~~~~~                                   2a.
           b. Real Estate Investment Trust - Enter 4% of line 1 ~~~~~~~~~~~~~~~~~~~~~                               2b.
           c.   All Others - Enter the amount from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~                                 2c.                              0.
      3. a.     New Jersey Nonoperational Income (from Schedule O, Part III) (if zero or less, enter zero) ~        3a.
           b. Nonunitary Partnership Income (from Schedule P-1, Part II, line 5) (if zero or less, enter zero)      3b.
      4. Tax Base - Add lines 3a and 3b to line 2a, 2b, or 2c, whichever is applicable. Enter total here and
           on line 1, page 1                                                  4.                              0.




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   EATSTREET, INC.                                                                                  ***-***-***/***
   Schedule A-2    COST OF GOODS SOLD (See Instructions) All data must match amounts reported on federal
                                 Form 1125-A of the federal pro forma or federal return, whichever is applicable.
    1. Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1.                      60,427.
    2. Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  2.                     546,718.
    3. Cost of labor    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3.
    4. Additional section 263A costs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             4.
    5. Other costs (include schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            5.
    6. Total - Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            6.                     607,145.
    7. Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7.
    8. Cost of goods sold - Subtract line 7 from line 6. Include here and on Schedule A, Part I,
        line 2                                                        8.                     607,145.

   Schedule A-3            SUMMARY OF TAX CREDITS (See Instructions)
   PART I - Tax Credits Used Against Liability
   1. New Jobs Investment Tax Credit from Form 304 ~~~~~~~~~~~~~~~~~~~~~~~~~                                        1.
   2.   Angel Investor Tax Credit from Form 321 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2.
   3.   Business Employment Incentive Program Tax Credit from Form 324         ~~~~~~~~~~~~~~~                      3.
   4.   Pass-Through Business Alternative Income Tax Credit from Form 329        ~~~~~~~~~~~~~~                     4.
        EITHER:         a) Urban Enterprise Zone Employee Tax Credit from Form 300 ~~~~~~~~~~
   5.
        OR              b) Urban Enterprise Zone Investment Tax Credit from Form 301       ~~~~~~~~~                5.
   6.   Redevelopment Authority Project Tax Credit from Form 302      ~~~~~~~~~~~~~~~~~~~                           6.
   7.   Manufacturing Equipment and Employment Investment Tax Credit from Form 305           ~~~~~~~~               7.
   8.   Research and Development Tax Credit from Form 306 ~~~~~~~~~~~~~~~~~~~~~~                                    8.
   9.   Neighborhood Revitalization State Tax Credit from Form 311 ~~~~~~~~~~~~~~~~~~~                              9.
   10. Effluent Equipment Tax Credit from Form 312 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10.
   11. Economic Recovery Tax Credit from Form 313 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        11.
   12. AMA Tax Credit from Form 315 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               12.
   13. Business Retention and Relocation Tax Credit from Form 316       ~~~~~~~~~~~~~~~~~~                          13.
   14. Sheltered Workshop Tax Credit from Form 317 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                       14.
   15. Film Production Tax Credit from Form 318 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        15.
   16. Urban Transit Hub Tax Credit from Form 319 ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       16.
   17. Grow NJ Tax Credit from Form 320       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17.
   18. Wind Energy Facility Tax Credit from Form 322 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     18.
   19. Residential Economic Redevelopment and Growth Tax Credit from Form 323 ~~~~~~~~~~~                           19.
   20. Public Infrastructure Tax Credit from Form 325 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    20.
   21. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                21.
   22. Film and Digital Media Tax Credit from Form 327 ~~~~~~~~~~~~~~~~~~~~~~~~~                                    22.
   23. Tax Credit for Employers of Employees With Impairments from Form 328 ~~~~~~~~~~~~~                           23.
   24. Apprenticeship Program Tax Credit from Form 330 ~~~~~~~~~~~~~~~~~~~~~~~~                                     24.
   25. Tax Credit for Employer of Organ/Bone Marrow Donor from Form 331 ~~~~~~~~~~~~~~~                             25.
   26. Tiered Subsidiary Dividend Pyramid Tax Credit from Form 332 ~~~~~~~~~~~~~~~~~~                               26.
   27. Innovation Evergreen Fund Tax Credit from Form 334       ~~~~~~~~~~~~~~~~~~~~~~                              27.
   28. Unit Concrete Products Tax Credit from Form 335 ~~~~~~~~~~~~~~~~~~~~~~~~                                     28.
   29. Other Tax Credit (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         29.
   30. Total tax credits - Add lines 1 through 29. Enter here and on page 1, line 3                     30.
   PART II - Refundable Tax Credits
    1. Refundable portion of New Jobs Investment Tax Credit from Form 304 ~~~~~~~~~~~~~~                            1.
    2. Refundable portion of Angel Investor Tax Credit from Form 321 ~~~~~~~~~~~~~~~~~~                             2.
    3. Refundable portion of Business Employment Incentive Program Tax Credit from Form 324          ~~~~           3.
    4. Refundable portion Pass-Through Business Alternative Income Tax Credit from Form 329 ~~~~~                   4.
    5. Other Tax Credit to be refunded ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            5.
    6. Total amount of tax credits to be refunded. Enter here and on page 1, line 10c                     6.




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   EATSTREET, INC.                                                                                                                        ***-***-***/***
   Schedule A-4                         SUMMARY SCHEDULE (See Instructions)

    PNOL Deduction and Carryover                                                          Net Operational Income Information
    1. Form 500, Section A, line 5 minus line 7 1.              1,147,903. 8. Schedule O, Part III, line 31                            8.                       0.
    NOL Deduction and Carryover                                                           Dividend Exclusion Information
    2. Form 500, Section B, line 6 minus line 8 2.                   150,841. 9. Schedule R, line 7                                9.                       0.
    Interest and Intangible Costs and Expenses
    3. Schedule G, Part I, line b           3.                              0. 10. Schedule R, line 9  10.                                            0.

    4. Schedule G, Part II, line b          4.                              0. 11. Schedule R, line 11  11.                                            0.
    Schedule J Information                                                                Schedule P Information
    5. Schedule J, line 1f               5.                 374,262. 12. Schedule P, Part III, line 1  12.                                            0.

    6. Schedule J, line 1g               6.          28,893,995. 13. Schedule P, Part III, line 2  13.                                                0.

    7. Schedule J, line 1h               7.                .012953
   Schedule F                  CORPORATE OFFICERS - GENERAL INFORMATION AND COMPENSATION (See Instructions)
                               Data must match amounts reported on federal Form 1125-E of the federal pro forma or federal return, whichever is applicable.
                                                                                                    (4)                   (5)
                        (1)                                   (2)                  (3)      Dates Employed       Percentage of Corpora-                  (6)
       Name and Current Address of Officer        Social Security Number          Title      in this position       tion Stock Owned           Amount of Compensation
                                                                                             From         To    Common Preferred
      SEE STATEMENT 5




    a. Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          895,543.
    b. Less: Compensation of officers claimed elsewhere on the return ~~~~~~~~~~~~~~~~~~~~~~~~
    c. Balance of compensation of officers (include here and on Schedule A, Part I, line 12)                                               895,543.




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   EATSTREET, INC.                                                                                                              ***-***-***/***
   Schedule G
   Part I - Interest (See Instructions)
          Was interest paid, accrued, or incurred to a related member(s) deducted from entire net income?
                Yes. Fill out the following schedule.       X No.

                       Name of Related Member                               Federal ID Number        Relationship to Taxpayer            Amounts




     a.   Total amount of interest deducted    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     b. Subtract: Exceptions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             (                   )
     c.   Related Party Interest Expenses Disallowed for New Jersey Purposes (include here and on Schedule A,
          Part II, line 6) 
   Part II - Interest Expenses and Costs and Intangible Expenses and Costs (See instr.)
    1. Were intangible expenses and costs, including intangible interest expenses and costs, paid, accrued or incurred to related members, deducted
          from entire net income?          Yes. Fill out the following schedule.       X No.
                                                                                                            Type of Intangible
              Name of Related Member                    Federal ID Number      Relationship to Taxpayer     Expense Deducted             Amounts




     a.   Total amount of intangible expenses and costs deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
     b. Subtract: Exceptions (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             (                   )
     c.   Related Party Intangible Expenses and Costs addback (include here and on Schedule A, Part II, line 7) 
   NOTE: For tax years beginning on or after January 1, 2018, the treaty exceptions have been limited pursuant to P.L. 2018, c. 48. See Schedule G-2
         instructions for more information.




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   EATSTREET, INC.                                                                                                                ***-***-***/***
                                    TAXES (See Instructions)
   Schedule H
                                    Include all taxes paid or accrued during the accounting period wherever deducted on Schedule A.
                                                              (a)              (b)                               (d)               (e)
                                                                           Corporation           (c)                                                  (f)
                                                        Corporation                                           U.C.C. or      Other Taxes/
                                                                            Business/         Property                                               Total
                                                          Franchise        Occupancy                           Payroll          Licenses
                                                                                               Taxes
                                                       Business Taxes         Taxes                             Taxes        (include sch.)
     1. New Jersey Taxes                                  1,000                                                                              1,000
     2. Other States & U.S. Possessions                  44,895                                          2,199,826                32,105 2,276,826
     3. City and Local Taxes
     4. Taxes Paid to Foreign Countries *
     5. Total                                            45,895                                          2,199,826                32,105 2,277,826
     6. Combine lines 5(a) and 5(b)                                        45,895
     7. Sales & Use Taxes Paid by a Utility Vendor
     8. Add lines 6 and 7                                                  45,895
     9. Federal Taxes
   10. Total (Combine line 5 and line 9)                 45,895                                          2,199,826             32,105 2,277,826
   * Include on line 4 taxes paid or accrued to any foreign country, state, province, territory, or subdivision thereof.     STMT 6


   Schedule J                       COMPUTATION OF ALLOCATION FACTOR (See Instructions)

   All taxpayers, regardless of entire net income reported on Schedule A, Part II, line 20, Form CBT-100, must complete Schedule J.
   For tax years ending on and after July 31, 2019, services are sourced based on market sourcing, not cost of performance.
    1. Receipts:                                                                                                       AMOUNTS (omit cents)
         a.   From sales of tangible personal property shipped to points within New Jersey       ~~~~~~~~~~~~~~                    a.
         b. From services if the benefit of the service is received in New Jersey ~~~~~~~~~~~~~~~~~~~~                            b.
         c.   From rentals of property situated in New Jersey      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   c.
         d. From royalties for the use in New Jersey of patents, copyrights, and trademarks        ~~~~~~~~~~~~~                  d.
         e.   All other business receipts earned in New Jersey (See instructions) ~~~~~~~~~~~~~~~~~~~~                             e.        374,262.
         f.   Total New Jersey receipts (Total of lines 1a to 1e, inclusive) ~~~~~~~~~~~~~~~~~~~~~~~~                              f.        374,262.
         g. Total receipts from all sales, services, rentals, royalties, and other business transactions everywhere        ~~~    g.      28,893,995.
         h. Allocation Factor (Percentage in New Jersey) (Line 1f divided by line 1g). Carry the fraction 6 decimal
              places. Do not express as a percent. Include here and on Schedule A, Part II, line 21                    h.             .012953
   NOTE: Include the GILTI and the receipts attributable to the FDII, net of the respective allowable IRC ¤ 250(a) deductions, in the allocation factor. The
         net amount of GILTI (i.e., the GILTI reduced by the I.R.C. ¤250(a) GILTI deduction) and the net FDII (i.e., the receipts attributable to the FDII
         reduced by the I.R.C. ¤ 250(a) FDII deduction) amounts are included in the numerator (if applicable) and the denominator.




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   EATSTREET, INC.                                                                                                                        ***-***-***/***
   Schedule P-1                                          PARTNERSHIP INVESTMENT ANALYSIS (See Instructions)

   Part I - Partnership Information
                        (1)                                                              (4)                    (5)              (6)                     (7)
                                                          (2)       (3)                                Tax Accounting Method    New            Tax Payments Made on
     Partnership, LLC, or Other Entity Information     Date and Percentage                                                     Jersey            Behalf of Taxpayer
                                                      State where   of     Limited         General       Flow       Separate Nexus
                                                       Organized Ownership Partner                                                                 by Partnerships
            Name              Federal ID Number                                            Partner      Through    Accounting* Yes No




   Enter total of column 7 here and on page 1, line 10b        
   *Taxpayers using a separate accounting method must complete Part II.
   Part II - Separate Accounting of Nonunitary Partnership Income
                         (1)                               (2)                                               (3)                                     (4)
                                                                                                                                         Taxpayer's Share of Income
                Nonunitary Partnership's             Distributive Share of Income/Loss         Partnership's Allocation Factor            Allocated to New Jersey
                     Federal ID Number                 from Nonunitary Partnership                   (See Instructions)             (Multiply Column 2 by Column 3)
     1.
     2.
     3.
     4.     Total column 2. Enter amount here and Schedule A, Part II, line 17b 
     5.     Total column 4. Enter amount here and Schedule A, Part III, line 3b 
     If additional space is needed, include a rider.




   Schedule PC                                           PER CAPITA LICENSED PROFESSIONAL FEE (See Instructions)
     1. Is the corporation a Professional Corporation (PC) formed pursuant to N.J.S.A. 14A:17-1 et seq. or any similar law from a possession or territory
          of the United States, a state, or political subdivision thereof?           Yes. This schedule must be included with the return.           X No.
     2. How many licensed professionals are owners, shareholders, and/or employees from this Professional Corporation (PC) as of the first day of the
          privilege period?         2 or less, complete Part I.              More than 2, complete Part I and Part II (if additional space is needed, include a rider).
   Part I - Provide the following information for each of the licensed professionals in the PC. Include a rider if additional space is needed.
                                Name                                                     Address                                      FID/SSN
     1.
     2.
     3.
     4.
     5.
   Part II - Complete only if there are more than 2 licensed professional listed above.
    1. Enter number of resident and nonresident professionals with physical nexus with
          New Jersey                     x $150 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 1.
    2.    Enter number of nonresident professionals without physical nexus with
          New Jersey                    x $150 x allocation factor of the PC ~~~~~~~~~~~~~~~~~~~~~                                  2.
    3.    Total Fee Due - Add line 1 and line 2      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3.
    4.    Installment Payment - 50% of line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   4.
    5.    Total Fee Due (line 3 plus line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5.
    6.    Less prior year 50% installment payment and credit (if applicable) ~~~~~~~~~~~~~~~~~~~~                                   6.     (                              )
    7.    Balance of Fee Due (line 5 minus line 6). If the result is zero or more, include the amount here
          and on Form CBT-100, page 1, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    7.
    8.    Credit to next year's Professional Corporation Fee (if line 7 is less than zero, enter the
          amount here)                                                                8.


   266631 01-09-23
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   EATSTREET, INC.                                                                                                              ***-***-***/***
   Schedule P                                        SUBSIDIARY INVESTMENT ANALYSIS (See Instructions)

   NOTE:      Taxpayers must hold 80% of the combined voting power of all classes of stock entitled to vote and at least 80% of the total number of shares
              of all other classes of stock, except non-voting stock which is limited and preferred as to dividends, for each subsidiary. Do not include
              advances to subsidiaries in book value. Do not include any previously taxed dividends. Instead, report those amounts on Schedule PT.
   PART I     DOMESTIC SUBSIDIARY
                                                     (1)                                        (2)                   (3)                          (4)
                                                                                 Percentage of Interest            Book Value          Domestic Dividend Income
      Federal ID Number                     Name of Subsidiary                     (a) Voting     (b) Non-Voting                      (as reported on Schedule A)




   Totals 
   PART II    FOREIGN SUBSIDIARY
                                                     (1)                                        (2)                   (3)                          (4)
                                                                                 Percentage of Interest            Book Value           Foreign Dividend Income
      Federal ID Number                     Name of Subsidiary                     (a) Voting     (b) Non-Voting                      (as reported on Schedule A)




   Totals 
   PART III TOTAL OF 80% OR MORE OWNED SUBSIDIARY DIVIDENDS
    1. Enter total from Part I, column 4 (include here and on Schedule A-4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                 1.
    2. Enter total from Part II, column 4 (include here and on Schedule A-4) ~~~~~~~~~~~~~~~~~~~~~~~~~                                2.
    3. Total dividends. Add lines 1 and 2 (include here and on Schedule R)                                   3.




   Schedule R              DIVIDEND EXCLUSION (See Instructions)

    1. Enter the total dividends and deemed dividends reported on Schedule A ~~~~~~~~~~~~~~~~~~~                                 1.
    2. Enter amount from Schedule PT, Section D, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2.
    3. Dividends eligible for dividend exclusion - Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~                             3.
    4. Enter amount from Schedule P, Part III, line 3      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4.
    5. Multiply line 4 by .95 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      5.
    6. Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    6.
    7. Dividend income from investments where taxpayer owns less than 50% of voting
       stock and less than 50% of all other classes of stock (do not incl. amounts subtracted on line 2)
                                                                      ~~~~~~~                                                    7. (                               )
    8. Subtract line 7 from line 6 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    8.
    9. Multiply line 8 by 50% ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       9.
   10. Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      10.
   11. DIVIDEND EXCLUSION: Add lines 5 and 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 11.
   12. Allocation factor from current Schedule J (if all receipts are derived from only NJ sources, enter 1.000000)     ~~      12.
   13. ALLOCATED DIVIDEND EXCLUSION: Multiply line 11 by line 12 (include here and on Schedule A, Part II, line 27)             13.




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   EATSTREET, INC.                                                                                                               ***-***-***/***
    Schedule S - Depreciation and Safe Harbor Leasing (See Instructions)
    Part I - From Federal Form 4562
     1. IRC ¤ 179 Deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         1.
     2. Special Depreciation Allowance - for qualified property placed in service during the tax year ~~~~~~~~~~                 2.
     3. MACRS ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                3.          131,562.
     4. ACRS ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                4.            5,226.
     5. Other Depreciation     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     5.
     6. Listed Property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          6.            4,683.
     7. Total federal depreciation claimed in arriving at Schedule A, Part II, line 1                         7.          141,471.
                                                 Include Federal Form 4562 and Federal Depreciation Worksheet
                         Modification at Schedule A, Part II, line 9 or line 12 - Depreciation and Certain Safe Harbor Lease Transactions

     8. Prior year New Jersey depreciation (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      8.          138,518.
     9. Current year New Jersey depreciation (see instructions). Enter total from Depreciation Worksheet I          ~~~~~~       9.            2,953.
    10. Total New Jersey Depreciation. Add lines 8 and 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10.           141,471.
    11. Allowable New Jersey Section 179 deduction           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  11.
    12. Accumulated MACRS or bonus depreciation over accumulated New Jersey depreciation on physical
        disposal of recovery property. Enter total from Depreciation Worksheet II ~~~~~~~~~~~~~~~~~~~                          12.
    13. Other additions (include an explanation/reconciliation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   13.
    14. Other deductions (include an explanation/reconciliation) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   14.
    15. ADJUSTMENT - Add lines 7 and 13. Subtract lines 10, 11, and 14. If line 12 is positive, subtract line 12
        to the result. If line 12 is negative, add line 12 from the result. (If line 15 is positive, enter at
        Schedule A, Part II, line 9. If line 15 is negative, enter at Schedule A, Part II, line 12)              15.
    Part II - New Jersey Depreciation for Gas, Electric, and Gas and Electric Public Utilities (See Instructions)
     1. Total depreciation claimed in arriving at Schedule A, Part II, line 1 ~~~~~~~~~~~~~~~~~~~~~~                             1.
     2. Federal depreciation for assets placed in service after January 1, 1998 ~~~~~~~~~~~~~~~~~~~~                             2.
     3. Net - Subtract line 2 from line 1    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             3.
     4. New Jersey depreciation allowable on the Single Asset Account (Assets placed in service prior to
        January 1, 1998)
        a.   Total adjusted federal depreciable basis as of December 31, 1997           ~~~~~~~~~~~~~~~~~~~~                   4a.
        b. Excess book depreciable basis over federal tax basis as of December 31, 1997 ~~~~~~~~~~~~~~                         4b.
        c.   Less accumulated federal basis for all Single Asset Account property sold, retired or disposed of to date    ~    4c.
        d. Total (line 4a plus line 4b less line 4c) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4d.
     5. New Jersey Depreciation - Divide line 4d by 30 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          5.
     6. New Jersey Adjustment
        a.   Depreciation adjustment for assets placed in service prior to Jan. 1, 1998 - Subtract line 5 from line 3 ~~~      6a.
        b. Special bonus depreciation adjustment from Schedule S, Part I, line 15 (see instructions) ~~~~~~~~~                 6b.
     7. Total Adjustment - Add lines 6a and 6b and enter the result. (If line 7 is positive, enter at Schedule A,
        Part II, line 9. If line 7 is negative, enter as a positive number at Schedule A, Part II, line 12)            7.




   266632 02-10-23
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   EATSTREET, INC.                                                                                                      ***-***-***/***
   New Jersey Depreciation Worksheet I (See instructions)
                 (A)                       (B)                     (C)                  (D)             (E)             (F)                (G)
          Classification of Property         Basis for            Bonus            Convention        Method           Federal          New Jersey
                                                               Depreciation                                         Depreciation      Depreciation
                                            Depreciation                                                                             Deduction (See
                                                               (30% or 50%)                                          Deduction
                                                                                                                                      Instructions)
     1. 3-year property
     2. 5-year property                     14,764.                               VARIOUS          VARIOUS            2,953.               2,953.
     3. 7-year property
     4. 10-year property
     5. 15-year property
     6. 20-year property
     7. 25-year property
     8. Residential rental property
     9. Nonesidential rental property
   10. Total Column G (Enter amount on Schedule S, Part I, line 9)                                         2,953.

   New Jersey Depreciation Worksheet II - Disposal of Recovery Property (See Instructions)

                             (A)                               (B)                  (C)              (D)               (E)                 (F)
                  Description of Property                Date Acquired:         Date Sold:         Federal         New Jersey      Excess/Deficiency
                                                         month, day, year     month, day, year   Depreciation      Depreciation
     1.
     2.
     3.
     4.
     5.
     6.
     7.
     8.
     9.
   10.
   11.
   12.
   13.
   14.
   15.
   16. Total Column F 




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   EATSTREET, INC.                                                                                                              ***-***-***/***
                              Computation of the 2022 Post Allocation Net Operating Loss (NOL) and
    Form 500
                          Prior Net Operating Loss Conversion Carryover (PNOL) Deductions (See Instructions)
   Does the taxpayer have any Prior Net Operating Loss Conversion Carryovers? X Yes. Begin Form 500 at Section A, line 1. OR                       No. Enter zero
   on Schedule A, Part II, line 23 and continue with Section B.
   Section A - Computation of Prior Net Operating Losses (PNOL) Deduction from periods ending PRIOR to July 31, 2019
   Complete this section only if the allocated entire net income/(loss) before net operating loss deductions and dividend exclusion on Schedule A, Part
   II, line 22 is positive (income).
    1. Prior Net Operating Loss Conversion Carryover (PNOL) - Enter the total of Worksheet 500-P, Part II,
        column 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               1.      1,200,477.
                                                                                  STMT 7
    2. Enter the portion of line 1 previously deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           2.         52,574.
    3. Enter the portion of line 1 that expired ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              3.
    4. Enter any discharge of indebtedness excluded from federal taxable income in the current tax period
        pursuant to subparagraph (A), (B), or (C) of paragraph (1) of subsection (a) of IRC ¤ 108*     ~~~~~~~~~~~                4.
    5. PNOL available in the current tax year - Subtract lines 2, 3, and 4 from line 1 (if zero or less, enter zero)   ~~~~       5.      1,147,903.
    6. Enter the allocated net income from Schedule A, Part II, line 22                                                           6.              0.
    7. Current tax year's PNOL deduction - Enter the lesser of line 5 or line 6 here and on Schedule A,
       Part II, line 23                                                           7.                        0.
   * If the allocated discharge of indebtedness exceeds the amount of PNOL that is available and the taxpayer has post allocation net operating loss
     carryover in Form 500 Section B, carry the remaining balance to line 5 of Section B.
   Section B - Post Allocation Net Operating Losses (NOLs) For Tax Years Ending ON AND AFTER July 31, 2019
    Check the box next to each period if the unused, unexpired, post allocation NOL carryovers are from a tax period in which the taxpayer was a
    taxable member on a New Jersey combined return. Otherwise, leave the box blank.
    1. Allocated Net Operating Loss Carryover - See instructions.
        a. Return Period Ending        12/31/2019                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1a.           150,841.
        b. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1b.
        c. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1c.
        d. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1d.
        e. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1e.
        f. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1f.
        g. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1g.
        h. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 1h.
        i. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1i.
        j. Return Period Ending                                    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1j.
    2. Total Post Allocation Net Operating Losses (NOLs) - Add lines 1a through 1j        ~~~~~~~~~~~~~~~~~                       2.          150,841.
    3. Portion of line 2 previously deducted ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                3.
    4. Portion of line 2 that expired (after 20 privilege periods) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   4.
    5. Enter the amount of any adjustments required under provisions of the federal Internal Revenue Code
        (see instructions)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      5.
    6. NOLs available for current tax year - Subtract lines 3, 4, and 5 from line 2 ~~~~~~~~~~~~~~~~~~~                           6.          150,841.
    7. Enter Allocated Entire Net Income Before Post Allocation Net Operating Loss Deduction from
        Schedule A, Part II, line 24 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7.                        0.
    8. Current tax year's NOL deduction - Enter the lesser of line 6 or line 7 here and on Schedule A,
       Part II, line 25                                                           8.                        0.




   266411 01-09-23
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   EATSTREET, INC.                                                                                                                  ***-***-***/***
   WORKSHEET                                                   NEW JERSEY CORPORATION BUSINESS TAX
   500-P                                                 Prior Net Operating Loss Conversion Worksheet
                                                     Use this worksheet to calculate the converted prior net operating losses for use
                                                            for tax years ending on and after July 31, 2019. (See Instructions)
   NOTE:     This is used to calculate your converted prior net operating losses from pre-allocated net operating loss carryovers to post-allocated net
             operating loss carryovers for the last tax periods ending before July 31, 2019. Use the allocation factor calculated on Schedule J in the last
             tax period ending prior to July 31, 2019, for Part I, line 1. This is the taxpayer's base year allocation factor for the last tax period ending before
             July 31, 2019, pursuant to N.J.S.A. 54:10A-4(u). Submit a copy of this worksheet to substantiate calculations and to determine usable
             amounts for future years. If more space is needed, enclose a rider listing the information.

   Part I


    1. Allocation Factor For The Last Tax Period Ending Prior to July 31, 2019 (from Schedule J)                                           .047670
   Part II
                         Column 1                                             Column 2                                              Column 3
                                                                                                                         Converted Prior Net Operating
                                                                     Prior Net Operating Losses                              Loss Carryover Multiply
                     Tax Period Ending                                    (see instructions)                       line I, Part I by amount in column 2, Part II


    2.               12/31/2016                                                          7,403,886.                                                352,943.

    3.               12/31/2017                                                        10,997,873.                                                 524,269.

    4.               12/31/2018                                                          6,781,312.                                                323,265.

    5.


    6.


    7.


    8.


    9.


   10.


   11.


   12.


   13.


   14.


   15.


   16.


   17.


   18.


   19.


   20.
   266412 01-09-23                                            Enclose a Copy with Tax Return
                                                                            15
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ CBT-100                    OTHER FEDERAL INCOME               STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  OTHER INCOME                                                                       753,000.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE A, LINE 10                                                       753,000.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ CBT-100                  OTHER FEDERAL DEDUCTIONS             STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  AMORTIZATION                                                                       639,683.
  BANK CHARGES                                                                       744,663.
  COMPUTER EXPENSE                                                                 2,594,502.
  CONSULTING EXPENSE                                                                 764,395.
  CREDIT CARD PROCESSING                                                           2,468,550.
  CUSTOMER EXPENSE                                                                    99,838.
  DEFERRED COMPENSATION EXPENSE                                                      562,357.
  DRIVER EXPENSES                                                                     26,380.
  ENTERTAINMENT EXPENSES
  HIRING COSTS                                                                       446,303.
  INSURANCE                                                                        1,377,179.
  LEGAL AND ACCOUNTING                                                               606,054.
  MEALS                                                                               15,331.
  MEALS NOT SUBJECT TO LIMITATION                                                      7,416.
  MISCELLANEOUS EXPENSE                                                              792,528.
  OFFICE PARKING EXPENSE                                                                 488.
  OFFICE SUPPLIES                                                                    236,793.
  PARTNERSHIP FEES                                                                   130,422.
  PAYROLL SERVICE FEES                                                               332,001.
  PROFESSIONAL FEES                                                                  618,338.
  TRAVEL                                                                             185,139.
  UTILITIES AND TELEPHONE                                                            186,309.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE A, LINE 26                                                    12,834,669.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ CBT-100                      OTHER ADDITIONS                  STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  NJ DEPRECIATION                                                                      3,699.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE A, OTHER ADDITIONS                                                 3,699.
                                                                               ~~~~~~~~~~~~~~




                                               16                  STATEMENT(S) 1, 2, 3
13111109 144198 89475                       2022.05000 EATSTREET, INC.           89475__1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 247 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ CBT-100                      OTHER DEDUCTIONS                 STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  BASIS DIFFERENCE ON DISPOSED ASSETS                                                 68,154.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE A, OTHER DEDUCTIONS                                               68,154.
                                                                               ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE F             CORPORATE OFFICERS - INFORMATION          STATEMENT 5
                                 AND COMPENSATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                         DATES EMPLOYED   PERCENT STOCK         AMOUNT OF
  NAME, ADDRESS, TITLE, SSN               FROM      TO    COMMON   PREF        COMPENSATION
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}}}} }}}}}} }}}}}}        }}}}}}}}}}}}

  MATT HOWARD
  131 W. WILSON ST, STE 400,
  MADISON, WI 53703
  CEO               ***-**-6337         01/03/12              4.03%    .00%         369,273.

  STEVE ANASTASI
  131 W. WILSON ST, STE 400,
  MADISON, WI 53703
  CTO               ***-**-9640         04/08/19               .54%    .00%         317,865.

  MICHELLE DAMA
  1724 DUNWOODY LANE, WAUNAKEE,
  WI 53597
  CLO               ***-**-2689         10/05/20               .00%    .00%        208,405.
                                                                               }}}}}}}}}}}}
  TOTAL TO SCHEDULE F                                                              895,543.
                                                                               ~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NJ CBT-100               OTHER STATE AND FEDERAL TAXES           STATEMENT 6
  SCHEDULE H
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                      AMOUNT       TOTAL
  }}}}}}}}}}}                                                   }}}}}}}}}}}} }}}}}}}}}}}}
  TOTAL OTHER STATES OTHER TAXES                                     32,105.


                                                                                }}}}}}}}}}}}
  TOTAL TO CBT-100, SCHEDULE H, LINE 10(E)                                           32,105.
                                                                                ~~~~~~~~~~~~
                                                                }}}}}}}}}}}}




                                               17                  STATEMENT(S) 4, 5, 6
13111109 144198 89475                       2022.05000 EATSTREET, INC.           89475__1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 248 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 500           PRIOR NET OPERATING LOSS CARRYOVER DEDUCTED   STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

   YEAR ENDING                    TOTAL                  FACTOR                    AMOUNT
   }}}}}}}}}}}                }}}}}}}}}}}}}              }}}}}}}               }}}}}}}}}}}}}}
   12/31/2016                    1,102,884.       X      4.7670%      =               52,574.
                                                                               }}}}}}}}}}}}}}
   TOTAL TO SECTION A, LINE 2                                                         52,574.
                                                                               ~~~~~~~~~~~~~~




                                               18                               STATEMENT(S) 7
13111109 144198 89475                       2022.05000 EATSTREET, INC.                  89475__1
Case 3-24-12061-cjf           Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
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                           TAX RETURN FILING INSTRUCTIONS
                                               NEW YORK FORM CT-3

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $                175
                Less: payments and credits           $              3,298
                Plus: other amount                   $                  0
                Plus: interest and penalties         $                  0
                Overpayment                          $              3,123

Overpayment:

                Credit to your estimated tax         $              3,123
                Other amount                         $                  0
                Refunded to you                      $                  0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               NYS Corporation Tax
               Processing Unit
               P.O. Box 15181
               Albany, NY 12212-5181

Return Must be Mailed On or Before:
              Please mail as soon as possible.

Special Instructions:
                  Case 3-24-12061-cjf              Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                             Desc Main
                                                        Document    Page 250 of 326
                                             Department of Taxation and Finance
                                             Request for Six-Month Extension to File                                                                                                     CT-5
                                             (for franchise/business taxes, MTA surcharge, or both)


                                                                                                                    b 01-01-22                                       b 12-31-22
                                             Tax Law - Articles 9-A, 13, and 33                     All filers must enter tax period:



                             FOR YOUR RECORDS
                                                                                                    beginning                                              ending


  b **-***5093EATSTREET, INC.b AA6
      Employer identification number (EIN)                        File number      Business telephone number

                                                                                       866-654-8777



                                DO NOT FILE
      Legal name of corporation                                                                                Trade name/DBA



      Mailing address                                                                                          State or country of incorporation

      Care of (c/o)     STEVE ANASTASI                                                                          WI
      Number and street or PO box                                                                              Date of incorporation               Foreign corporations: date began business in NYS

        1574 W BROADWAY ST STE 200 #PMB1005                                                                     01-01-12                           01-01-15




                                                                                                                                                                              ------------
      City                                      U.S. state/Canadian province    ZIP/Postal code            Country (if not United States)          For office use only

        MADISON                                                         WI 53703
      If you need to update your address or phone information for corporation tax, or other tax types, you
      can do so online. See Business information in Form CT-1.
Request for extension of time to file the following forms: Mark box(es) for one article only. Submit only one Form CT-5 and mark an X in both boxes in
the appropriate article if you are requesting an extension for both the franchise tax and MTA surcharge returns. For example, mark an X in both the CT-3 box and the
CT-3-M box under Article 9-A if you are requesting an extension of time to file both returns.



              b                          b                 b                       b                               b                                   b                                       b
                        Article 9-A                Article 13                                                             Article 33
 CT-3             X        CT-3-M                CT-13                  CT-33                     CT-33-C                         CT-33-M                            CT-33-NL



 /                                                                                                                           b
                                                                                                                                                           Payment enclosed
 A.     Pay amount shown on line 11. Make payable to: New York State Corporation Tax
        Attach your payment here. Detach all check stubs. (See instructions for details.)                                        A.
Certain corporations filing as part of a combined group: Typically, taxpayers filing a combined return use Form CT-5.3. However,
if for the tax year for which you are requesting an extension to file, you are either becoming a member of a new combined group, or
being added to an existing group, you must also file Form CT-5. Complete the business information section above and line B. Then,
mark an X in the box on either line C or D (see Corporations filing a combined franchise tax return only in the instructions).

Do not complete line A and lines 1 through 16.


B. Enter the EIN of the combined group's designated agent (CT-3-A filers), or parent (CT-33-A filers) ~~~~~~~
      Note: Failure to include the EIN of the designated agent (or parent) may delay processing of
                                                                                                                                                   b   B


             your extension request, and may result in penalties and interest.




                                                                                                                                                                                              b
C. If this extension request is for the first tax year that you are being included in a new combined group filing




                             FOR YOUR RECORDS
       a combined return, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     C




                                                                                                                                                                                              b
D. If this extension request is for the first tax year that you are being added to an existing combined group filing
       a combined return, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     D



 1
 2                              DO NOT FILE
Computation of estimated franchise tax
                                          b
        Franchise tax from the Worksheet for lines 1 and 6 in Form CT-5-I ~~~~~~~~~~~~~                                           1                                                           500.



                                                                                                                             b
 3
                                                                                                                                                                                             3,298.

                                                                                                                             b
 4      Prepayments of franchise tax (from line 16, column A) ~~~~~~~~~~~~~~~~~~~                                                 4
 5      Balance due - franchise tax (subtract line 4 from line 1; do not enter less than zero) ~~~~~                              5                                                              0.



                                                                                                                             b
Computation of estimated MTA surcharge
 6      MTA surcharge from the Worksheet for lines 1 and 6 in Form CT-5-I ~~~~~~~~~~~~                                            6
 7


                                                                                                                             b
 8


                                                                                                                             b
 9           Prepayments of MTA surcharge (from line 16, column B) ~~~~~~~~~~~~~~~~~                                              9
10           Balance due - MTA surcharge (subtract line 9 from line 6; do not enter less than zero)                           10
11      Total balance due (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        11                                                                   0.



                                                                   268511
                                                                   01-03-23
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Page 2 of 2 CT-5 (2022)
 EATSTREET, INC.                                                                       **-***5093

Composition of prepayments - Use this worksheet to determine the prepayments of franchise tax on line 4 and the prepayments of the


                     FOR YOUR RECORDS
MTA surcharge on line 9. See instructions.                            Date paid          A. Franchise tax               B. MTA surcharge
 12 Mandatory first installment from Form CT-300 ~          12       03-15-22                            375.
13a Second installment from Form CT-400 ~~~~               13a




                        DO NOT FILE
13b Third installment from Form CT-400 ~~~~~~              13b
13c Fourth installment from Form CT-400 ~~~~~            13c
 14 Overpayment credited from prior years                           14                 2,923.
 15 Overpayment credited from Form CT-                 Period                     15
 16 Total prepayments (total all entries in column A and column B)             16                 3,298.


                                                        b
             Firm's name (or yours if self-employed)                                             Firm's EIN             Preparer's PTIN or SSN
             BAKER TILLY US, LLP                                                                 **-***9910            P00543528
                                       RETURN MUST BE E-FILED.
   Paid
 preparer Signature of individual preparing this document
                                                           Address                        City                       State        ZIP code
   use
             DANIEL T. O'CONNOR, PO BOX       7398     MADISON                                                       WI           53707-7398
                     This form cannot be paper filed - this
   only


                                                                      b        b
(see instr.) Email address of individual preparing this document                             Preparer's NYTPRIN   or Excl. code      Date

           DANIEL.OCONNOR@BAKERTILLY.COM                                          03                                               04-17-23
                    copy is for informational                      purposes
                                  See instructions for where to file.       only.




                     FOR YOUR RECORDS
                        DO NOT FILE


                                                         268512
                                                         02-02-23
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                                                    Document    Page 252 of 326
                                    Department of                                                                                            284641 04-01-22
                                    Taxation and Finance
                Office of Processing and Taxpayer Services
                W A Harriman Campus, Albany NY 12227


Taxpayer ID:       **-***5093

Taxpayer name:     EATSTREET, INC.




You must file this New York State corporation tax return electronically.


                    Individual taxpayers and paid preparers who use software to prepare
               their returns or their clients' returns, but file on paper, are subject to penalties.


E-filing has many advantages:
¥   It is fast, easy, and secure.
¥   There are no additional costs. Once you've paid for your New York State tax preparation software, you can e-file your New York State
    return for free.


                                      90% of New Yorkers enjoy the benefits of e-filing.

If you are a corporation:
Because you prepared this New York State tax return using software, you must file it electronically.



If you are a paid preparer:
Because you prepared this return using software, you must e-file it. If you file a paper New York State tax return, you will be in violation of
New York State law and subject to penalties.



If you are a corporation that used a paid preparer:
Since your preparer used software to prepare this return, it must be e-filed. If your tax return preparer gave you a paper New York State tax
return with instructions to mail it, contact them and request that they file it electronically.



There is no charge for e-filing:
New York State Tax Law prohibits your tax preparer from charging you a separate or additional fee for e-filing your New York State
tax return.



If you cannot e-file you must include Form CT-2:
If an individual corporation or a paid preparer does not meet the requirements to e-file, a software-generated Form CT-2, Corporation Tax
Return Summary, must be included with the paper return to ensure the return is considered processible.



Questions?
Visit our website for more information about New York's e-file mandate.

                                                                                                                                                      CT3
                                                                                                                                                         1019


TR-573-CT (9/16)                                                                                                                          www.tax.ny.gov
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                           CT-2          Department of Taxation and Finance

                                         Corporation Tax Return Summary
                                                                                                                             THIS FORM MUST
                                                                                                                              BE FILED WITH
                                                                                                                              YOUR RETURN

 1   Legal name of corporation

                                                                                                     Payment
          1.    EATSTREET, INC.                                                                      enclosed    2.


 3   Return type                                                                                                              3.             CT3
 4   Employer ID number (EIN)                                                                                           4.    **   - ***5093
 5   File number (FCC)                                                                                                                5.     AA6
 6   Period beginning date ( mm-dd-yy)                                                                                     6.     01   - 01   - 22
 7   Period ending date (mm-dd-yy)                                                                                         7.     12   - 31   - 22
 8   Amended (Y=1; N=0)                                                                                                                    8.    0
 9   Final (Y=1; N=0)                                                                                                                      9.    0
10   NAICS code                                                                                                                10.    722300
11   MTA indicator (None = 0; Y =1; N = 2; Both = 3)                                                                                      11. 2
12   Federal 1120-H filed (Y = 1; N = 0)                                                                                                  12. 0
13   REIT/RIC indicator (Y =1; N = 0)                                                                                                     13. 0
14   Tax due/MTA surcharge                                                                                      14.                   175.00
15   Mandatory first installment (MFI) - no extension filed and tax due is over $1,000                          15.
16   Balance due                                                                                                16.
17   Amount of overpayment credited to next period - NYS                                                        17.                  3,123.00
18   Refund of overpayment                                                                                      18.
19   Refund of unused tax credits                                                                               19.
20   Tax credits to be credited as an overpayment to next year's return                                         20.
21   Amount of overpayment credited to next period - MTA                                                        21.
22   Amount of MTA surcharge retaliatory tax credit to be refunded                                              22.
23   Fixed dollar minimum                                                                                        23.
24   Designated agent's (Article 9-A) or combined parent's (Article 33) EIN                         24.         -
25   New York receipts                                                                                          25.
26   Have you been convicted of an offense (NYS Penal Law, Art. 200 or 496, or section 195.20)?                                        26. 0
27   Paid preparer's EIN                                                                                               27.     ** - ***9910
28   Preparer's NYTPRIN                                                                                                        28.
29   Excl. code                                                                                                                          29.   03




                                                                              For office use only
                                                       284951
                                                       11-16-22   1019
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                                                              Department of Taxation and Finance
                                                              General Business Corporation                                                                                                           CT-3
                                                              Franchise Tax Return
                                                              Tax Law - Article 9-A


Caution: This form must be used only for tax periods beginning on or after January 1, 2022. If you use it for any prior periods, the
return will not be processed and will not be considered timely filed. As a result, penalties and interest may be incurred.



                         b                                          b                                                            b                                                    b 12-31-22
See instructions, Form CT-3-I, before completing return.                                                            All filers must enter tax period:
 Final return                             Amended return                                                            beginning          01-01-22                         ending


b                                                       b
     Employer identification number (EIN)                    File number              Business telephone number
                                                                                                                                      If you claim an overpayment,
            **-***5093                                        AA6                     866-654-8777                                    mark an X in the box                                      X
     Legal name of corporation                                                                                               Trade name / DBA

     EATSTREET, INC.
     Mailing address                                                                                                         State or country of incorporation

     Care of (c/o) STEVE ANASTASI                                                                                            WI
     Number and street or PO Box                                                                                             Date of incorporation                    Foreign corporations: date began
                                                                                                                                                                      business in NYS
     1574 W BROADWAY ST STE 200 #PMB1005                                                                                     01-01-12                                      01-01-15
     City                                                          U.S. state/Canadian province   ZIP/Postal code            Country (if not United States)
                                                                                                                                                                      For office use only
     MADISON                                                                             WI         53713


                                                                                                                           b 722300
     Principal business activity in NYS                                                                                      NAICS business code number
                                                                                                                             (from NYS Pub 910)
     INTERNET SALES
     If you need to update your address or phone information for corporation tax, or other tax types, you can do so
     online. See Business information in Form CT-1.




      /                                                                                                                                                       b
 A. Pay amount shown on Part 2, line 19c. Make payable to: New York State Corporation Tax                                                                                       Payment enclosed
      Attach your payment here. (Detach all check stubs; see instructions for details.)                                                                           A


                                                                                                                                                                                            b               bX
 B. Are you subject to the metropolitan transportation business tax (MTA surcharge)? (see instructions;
      mark an X in the appropriate box) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            B       Yes                No
 C. If you are disclaiming tax liability in New York State based on Public Law 86-272, mark an X
      in the box (see instructions)                                                                                                                 ¥ C
 D. Do you have an interest in any partnerships? (mark an X in the appropriate box) ~~~~~~~~~~~~~~~~~~ D Yes ¥                                                                                         No ¥ X
            If Yes, enter the name(s) and EIN(s) on Form CT-60 and attach it to your return.
                                                             Designee's name (print)                                                                                       Designee's phone number
 Third - party                        X                       DANIEL T. O'CONNOR, C                                                                                     608-249-6622
                             Yes                No
      designee
                             Designee's email address                                                                                                                                       PIN
    (see instructions)
                                                                                                                                                                                                54321
Certification: I certify that this return and any attachments are to the best of my knowledge and belief true, correct, and complete.
            Printed name of authorized person                Signature of authorized person                   Official title
Authorized         STEVE ANASTASI                                                                                                                  CEO
 person            Email address of authorized person                                                                                              Telephone number                             Date
                   STEVE.ANASTASI@EATSTREET.COM                                                                                                    866-654-8777                                 11-09-23


                                                                                                                                 b **-***9910
                                                                                                                                      Firm's EIN                                Preparer's PTIN or SSN
                   Firm's name (or yours if self-employed)
   Paid            BAKER TILLY US, LLP                                                                                                                                              P00543528
 preparer
   use             Signature of individual preparing this return            Address                                            City                                         State         ZIP code
   only            DANIEL T. O'CONNOR, PO BOX 7398                                                                             MADISON                                     WI             53707-7398


                                                                                                                                 b                                     b
(see instr.)       Email address of individual preparing this return                                                                  Preparer's NYTPRIN         or         Excl. code       Date
                   DANIEL.OCONNOR@BAKERTILLY.COM                                                                                                                           03               11-09-23
See instructions for where to file.

Content of Form CT-3
 Part 1 - General corporate information                                                                    Part 5 - Computation of investment capital for the current tax year
 Part 2 - Computation of balance due or overpayment                                                        Part 6 - Computation of business apportionment factor
 Part 3 - Computation of tax on business income base                                                       Part 7 - Summary of tax credits claimed
 Part 4 - Computation of tax on capital base




                                                                                  268751 12-14-22
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  EATSTREET, INC.                                     Document    Page 255 of 326         XX-XXXXXXX
Page 2 of 8 CT-3 (2022)

Part 1 - General corporate information
Section A - Qualification for preferential tax rates - If you are a corporation as identified in this section and qualify for
preferential tax rates, mark an X in the boxes that apply to you (see instructions).
  1 A qualified emerging technology company (QETC) eligible for the lower business income base tax rate, 0% capital
      base tax rate, and lower fixed dollar minimum tax amounts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥        1
  2 A qualified New York manufacturer based on the principally engaged test eligible for the 0% business income
      base tax rate and lower fixed dollar minimum tax amounts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥        2
  3 A qualified New York manufacturer based on the principally engaged test eligible for the 0% capital base
      tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              ¥        3
  4 A qualified New York manufacturer based on the significant employment and property test eligible for the 0% business
      income base tax rate, 0% capital base tax rate, and lower fixed dollar minimum tax amounts ~~~~~~~~~~~~~~~~~                      ¥        4
  5 A cooperative housing corporation eligible for the 0% capital base tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~                             ¥        5
  6 A small business taxpayer eligible for the 0% capital base tax rate ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 ¥        6
        If you marked this box, complete line 6a below and Section B, line 1.
    6a Total capital contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 6a
  7 A qualified entity of a New York State innovation hot spot that operates solely within such New York State innovation
      hot spot, and you have elected to be subject only to the fixed dollar minimum tax base ~~~~~~~~~~~~~~~~~~~                        ¥        7


Section B - New York State information (see instructions)
  1 Number of New York State employees ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               ¥    1                 2
  2 Wages paid to New York State employees ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 2                                                         246,501.
  3 Number of business establishments in New York State ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 3
  4 If you have an interest in, or have rented, real property in New York State, mark an X in the box ~~~~~~~~~~~~~~~~~ ¥                        4
  5 If you are claiming an exception to the related member expense addback under Tax Law ¤208.9(o)(2)(B),
       mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        ¥       5
      5a If you marked the line 5 box, use line 5a to report the applicable exception                             Number           Amount
            number (1-4) and the amount of royalty payments ~~~~~~~~~~~~~~~~~                        5a    ¥        ¥
  6 If you are not protected by Public Law 86-272 and are subject to tax solely as a result of deriving receipts in
       New York State, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                      6


Section C - Filing information
  1 Federal return filed - you must mark an X in one box and attach a complete copy of your federal return


                                                                                    b                                                        b
                                                       1120-REIT
      1120 ¥     X            1120 consolidated      ¥ or 1120-RIC               1120S ¥                1120F ¥              1120H
  2 Amended return - If you marked the amended return box on page 1, then for any item(s) that apply, mark an X in the box
     and attach documentation:                                                 Failure to meet investment capital holding period   ¥
      Final federal                      Date of determination      NOL                     Capital loss
      determination       ¥          ¥                              carryback   ¥           carryback ~ ¥                 1139 ¥   1120X ¥


      2a Enter the tax due amount from your most recently filed New York State return for this tax period ~~ ¥             2a


  3 Required attachments - For all forms, other than tax credit claim forms, that are attached to this return, mark an X in the applicable box(es)
    CT-3.1 ¥        CT-3.2 ¥           CT-3.3 ¥           CT-3.4 ¥ X         CT-60 ¥          CT-225 ¥ X          CT-227 ¥


      Other (identify):                   ¥
  4 If you are claiming tax credits, enter the number of tax credit forms attached to this return. Where multiple forms
       are filed for the same credit, count each form filed ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 4
  5 If you filed federal Form 1120F and you have effectively connected income (ECI), mark an X in the box ~~~~~~~~~~~~~ ¥       5
  6 If you are a foreign corporation computing your tax taking into account only your distributive shares from multiple limited
       partnerships, mark an X in the box and file Form CT-60 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥
  7 Revoking a commonly owned group election (only applies in the first year you revoke the election) - If you were
        previously the designated agent of a combined group (and are no longer filing as part of a combined group) that made
        the commonly owned group election and have completed seven tax years (not including short tax years) under it, but
        now want to revoke the election, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥




                                                                 268752
                                                                 12-14-22
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 EATSTREET, INC.                                                Document    Page 256 of 326    **-***5093
                                                                                                                      CT-3 (2022) Page 3 of 8
Part 2 - Computation of balance due or overpayment
Largest of three tax bases, minus credits
 1a Business income base tax (from Part 3, line 20) ~~~~~~~~~~ ¥                         1a               0.
 1b Capital base tax (from Part 4, line 15; see instructions) ~~~~~~~ ¥                  1b               0.
                                                           New York receipts

 1c Fixed dollar minimum tax (see instr) ¥                 453,094.              ¥ 1c                     175.
  2 Tax due   (enter the amount  from  line 1a, 1b, or 1c, whichever is largest; see instructions) ~~~~~~~~~ ¥   2                   175.


                                                                                                             b
  3 Tax credits used (from Part 7, line 2; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                         3
  4 Tax due after credits (subtract line 3 from line 2; if line 3 is more than line 2, enter 0)        4                   175.
Penalties and interest
  5 Estimated tax penalty (see instructions; if Form CT-222 is
        attached, mark an X in the box) ~~~~~~~~~~~~~ ¥              ¥ 5
  6 Interest on late payment (see instructions) ~~~~~~~~~~~~~ ¥ 6
  7 Late filing and late payment penalties (see instructions) ~~~~~~ ¥ 7
  8 Total penalties and interest (add lines 5, 6, and 7)                          ¥   8
Voluntary gifts/contributions
   9 Total voluntary gifts/contributions (from Form CT-227, Part 2, line 1)                    9
 10 Total amount due (add lines 4, 8, and 9)                                 ¥   10                  175.
Prepayments
 11 Mandatory first installment from Form CT-300 (see instructions) ~~~                  11           375.
 12 Second installment (from Form CT-400) ~~~~~~~~~~~~~~~                                12
 13 Third installment (from Form CT-400) ~~~~~~~~~~~~~~~~                                13
 14 Fourth installment (from Form CT-400) ~~~~~~~~~~~~~~~                                14
 15 Payment with extension request (from Form CT-5, line 5)                        15
 16   Overpayment credited from prior years (see instr.)
                                                             Period
                                                                           12-21         16       2,923.
                                                             Period
 17 Overpayment credited from CT-3-M                                    17
 18 Total prepayments (add lines 11 through 17; see instructions)                       ¥   18               3,298.
Payment due or overpayment to be credited/refunded (see instructions)
19a Underpayment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥ 19a


                                                                                                             b
19b Additional amount for 2023 MFI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥ 19b
19c Balance due ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  19c
20a Excess prepayments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥ 20a                3,123.
20b Amount previously credited to 2023 MFI ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   ¥ 20b
                                                                                                                                  3,123.

                                                                                                             b
20c Overpayment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥ 20c
 21 Amount of overpayment to be credited to next period ~~~~~~~~~~~~~~~~~~~~~~~~~                                21               3,123.
 22 Balance of overpayment available (subtract line 21 from line 20c) ~~~~~~~~~~~~~~~~~~~~                   ¥   22                   0.


                                                                                                             b
 23 Amount of overpayment to be credited to Form CT-3-M ~~~~~~~~~~~~~~~~~~~~~~~~                             ¥   23
                                                                                                                                         0.

                                                                                     b
 24 Balance of overpayment to be refunded (subtract line 23 from line 22)                       24


                                                                                     b
 25 Unused tax credits to be refunded ~~~~~~~~~~~~~~~~                                   25
 26 Unused tax credits applied to next period                               26




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  EATSTREET, INC.                                                                                         **-***5093

Part 3 - Computation of tax on business income base                      (see instructions)
   1 Federal taxable income (FTI) before net operating loss (NOL) and special deductions (see instructions) ~ ¥         1          -5,131,799.
   2 Additions to FTI (from Form CT-225, line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                       2              49,594.
   3 Add lines 1 and 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                    3          -5,082,205.
   4 Subtractions from FTI (from Form CT-225, line 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                    4              68,154.
   5 Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                              5          -5,150,359.
   6 Subtraction modification for qualified banks (from Form CT-3.2, Schedule A, line 1; see instructions) ~~ ¥         6
   7 Entire net income (ENI) (subtract line 6 from line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                7          -5,150,359.
   8 Investment and other exempt income (from Form CT-3.1, Schedule D, line 1) ~~~~~~~~~~~~~~ ¥                         8
  9 Subtract line 8 from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥     9          -5,150,359.
 10 Excess interest deductions attributable to investment income, investment capital, and other
      exempt income (from Form CT-3.1, Schedule D, line 2) ~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    10
 11 Business income (add lines 9 and 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        ¥    11          -5,150,359.
 12 Addback of income previously reported as investment income (from Form CT-3.1, Schedule F,
     line 6; if zero, enter 0; see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  ¥    12
 13 Business income after addback (add lines 11 and 12) ~~~~~~~~~~~~~~~~~~~~~~~~~                                 ¥    13          -5,150,359.
 14 Business apportionment factor (from Part 6, line 56) ~~~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    14            0.015681
 15 Apportioned business income after addback (multiply line 13 by line 14) ~~~~~~~~~~~~~~~~                      ¥    15             -80,763.
 16 Prior net operating loss conversion subtraction (from Form CT-3.3, Schedule C, line 4) ~~~~~~~~~              ¥    16
 17 Subtract line 16 from line 15 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥    17                   -80,763.
 18 NOL deduction (from Form CT-3.4, line 6) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥    18
 19 Business income base (subtract line 18 from line 17) ~~~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    19                   -80,763.
 20 Business income base tax (multiply line 19 by the appropriate business income tax rate from the tax
     rates schedule in Form CT-3-I; enter here and on Part 2, line 1a; see instructions)               ¥    20                        0.

Note: If you make any entry on line 2, 4, 6, 8, 10, 12, 16, or 18, you must complete and file the appropriate attachment form, or any tax
benefit claimed may be disallowed, or there may be a delay in receiving such benefit. In addition, all amounts entered on these lines
must be entered as positive numbers.




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 EATSTREET, INC.                                                                                                    **-***5093
Part 4 - Computation of tax on capital base (see instructions)
                                                                           A                                   B                                    C
                                                                    Beginning of year                      End of year                         Average value

  1 Total assets from federal return ~~~~ ¥               1           13,892,454. ¥                          4,487,013. ¥                         9,189,734.
  2 Real property and marketable securities                                                                                             ¥
         included on line 1 ~~~~~~~~~                     2
  3 Subtract line 2 from line 1 ~~~~~~~                   3           13,892,454.                            4,487,013. ¥                         9,189,734.
  4 Real property and marketable securities                                                                                             ¥
       at fair market value ~~~~~~~~                  4
  5 Adjusted total assets (add lines 3 and 4)         5           13,892,454.        4,487,013. ¥                                                9,189,734.
  6 Total liabilities ~~~~~~~~~~~~                    6           18,465,738.       18,111,288. ¥                                               18,288,513.
  7 Total net assets (subtract line 6, column C, from line 5, column C) ~~~~~~~~~~~~~~~~~~~ ¥   7                                               -9,098,779.
  8 Investment capital (from Part 5, line 19; if zero or less, enter 0) ~~~~~~~~~~~~~~~~~~~~~ ¥                                         8
  9 Business capital (subtract line 8 from line 7) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                                     9       -9,098,779.
 10 Addback of capital previously reported as investment capital (from Part 5, line 20, column C; if zero or less, enter 0) ¥       10
 11 Total business capital (add lines 9 and 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥    11          -9,098,779.
 12 Business apportionment factor (from Part 6, line 56) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            ¥    12            0.015681
 13 Apportioned business capital (multiply line 11 by line 12)                                         ¥    13            -142,678.
 14
 15 Capital base tax (multiply line 13 by the appropriate capital base tax rate from the tax rates schedule in
     Form CT-3-I; enter here and on Part 2, line 1b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              ¥    15                              0.

Part 5 - Computation of investment capital for the current tax year                                (see instructions)
                                                                            A                                     B                                   C
                                                                       Average fair                  Liabilities attributable to              Net average value
                                                                       market value                     column A amount                     (column A - column B)
 16 Total capital that generates income                                                        ¥                                        ¥
      claimed to not be taxable by New York
        under the U.S. Constitution
        (from Form CT-3.1, Schedule E, line 1)      ¥    16
 17 Total of stocks actually held for more than                                                ¥                                        ¥
      one year (from Form CT-3.1, Schedule E,
      line 2) ~~~~~~~~~~~~~~~~ ¥                         17
 18 Total of stocks presumed held for more                                                     ¥                                        ¥
      than one year (from Form CT-3.1,
      Schedule E, line 3) ~~~~~~~~~                ¥ 18
 19 Total investment capital for the current year (Add column C lines 16, 17, and 18; enter the result here
      and on Part 4, line 8. If zero or less, enter 0. ) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      ¥       19


Addback of capital previously reported as investment capital
                                                                            A                                     B                                C
                                                                  Average fair market          Liabilities attributable to column A  Net average value as previously
                                                              value as previously reported       amount as previously reported      reported (column  A - column B)
 20 Total of stocks previously presumed held                                                   ¥                                        ¥
     for more than one year, but did not meet
     the holding period (from Form CT-3.1,
        Schedule F, line 1; enter here and on
        Part 4, line 10)                ¥    20




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 EATSTREET, INC.                                                      **-***5093
Part 6 - Computation of business apportionment factor (see instructions)
Mark an X in this box only if you have no receipts required to be included in the denominator of the apportionment factor (see instr.)  ¥
                                                                                              A - New York State               B - Everywhere
Section 210-A.2                                                                                                     ¥
  1 Sales of tangible personal property ~~~~~~~~~~~~~~~~~~                      ¥    1
  2 Sales of electricity ~~~~~~~~~~~~~~~~~~~~~~~~~~                             ¥    2                              ¥
  3 Net gains from sales of real property                      ¥    3                              ¥
Section 210-A.3                                                                                                     ¥
  4 Rentals of real and tangible personal property ~~~~~~~~~~~~~                ¥    4
  5 Royalties from patents, copyrights, trademarks, and similar intangible                                          ¥
     personal property ~~~~~~~~~~~~~~~~~~~~~~~~~~                               ¥    5
  6 Sales of rights for certain closed-circuit and cable TV transmissions                                           ¥
     of an event                                   ¥    6
Section 210-A.4                                                                                                     ¥
  7 Sale, licensing, or granting access to digital products            ¥        7
Section 210-A.5(a)(1) - Fixed percentage method for qualified financial instruments (QFIs)
  8 To make this irrevocable election, mark an X in the box (see instructions)  ¥                              8
Section 210-A.5(a)(2) - Mark an X in each box that is applicable (see line 8 instructions)
Section 210-A.5(a)(2)(A)                                                                                            ¥
 9 Interest from loans secured by real property ~~~~~~~~~~~~~~                  ¥    9
 10 Net gains from sales of loans secured by real property              ¥   10                              ¥
 11 Interest from loans not secured by real property (QFI ¥  )             ¥   11                              ¥
12 Net gains from sales of loans not secured by real property (QFI ¥       )    ¥   12                              ¥
Section 210-A.5(a)(2)(B) (QFI ¥  )                                                                                  ¥
 13 Interest from federal debt ~~~~~~~~~~~~~~~~~~~~~~~                          ¥   13
 14
 15 Interest from NYS and its political subdivisions debt ~~~~~~~~~~ ¥              15                              ¥
 16 Net gains from federal, NYS, and NYS political subdivisions debt ~~~ ¥          16                              ¥
 17 Interest from other states and their political subdivisions debt ~~~~~ ¥        17                              ¥
 18 Net gains from other states and their political subdivisions debt ~~~~ ¥        18                              ¥
Section 210-A.5(a)(2)(C) (QFI ¥  )                                                                                  ¥
19 Interest from asset-backed securities and other government agency debt       ¥   19
 20 Net gains from government agency debt or asset-backed securities                                                ¥
     sold through an exchange ~~~~~~~~~~~~~~~~~~~~~                             ¥   20
 21 Net gains from all other asset-backed securities ~~~~~~~~~~~~               ¥   21                              ¥
Section 210-A.5(a)(2)(D) (QFI ¥ )                                                                                   ¥
22 Interest from corporate bonds ~~~~~~~~~~~~~~~~~~~~                           ¥   22
 23 Net gains from corporate bonds sold through broker/dealer or                                                    ¥
     licensed exchange ~~~~~~~~~~~~~~~~~~~~~~~~~                                ¥   23
 24 Net gains from other corporate bonds     ~~~~~~~~~~~~~~~~                   ¥   24                              ¥
Section 210-A.5(a)(2)(E)                                                                                            ¥
25 Net interest from reverse repurchase and securities borrowing agreements ~~~ ¥   25
Section 210-A.5(a)(2)(F)                                                                                            ¥
26 Net interest from federal funds ~~~~~~~~~~~~~~~~~~~~                         ¥   26
Section 210-A.5(a)(2)(I) (QFI ¥ )                                                                                   ¥
27 Net income from sales of physical commodities ~~~~~~~~~~~~                   ¥   27
Section 210-A.5(a)(2)(J) (QFI ¥ )                                                                                   ¥
28 Marked to market net gains ~~~~~~~~~~~~~~~~~~~~~~                            ¥   28
Section 210-A.5(a)(2)(H) (QFI ¥    )                                                                                ¥
        210-A.5(a)(2)(G) (QFI ¥    )
 29 Interest from other financial instruments ~~~~~~~~~~~~~~~                   ¥   29
 30 Net gains and other income from other financial instruments ~~~~~           ¥   30                              ¥




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  EATSTREET, INC.                                                                            **-***5093

Part 6 - Computation of business apportionment factor (continued)
                                                                                                 A - New York State                B - Everywhere
Section 210-A.5(b)                                                                                                       ¥
 31 Brokerage commissions       ~~~~~~~~~~~~~~~~~~~~~~~                          ¥      31
 32 Margin interest earned on behalf of brokerage accounts ~~~~~~~~ ¥                   32                               ¥
 33 Fees for advisory services for underwriting or management of underwriting ~~~ ¥     33                               ¥
 34 Receipts from primary spread of selling concessions ~~~~~~~~~                ¥      34                               ¥
 35 Receipts from account maintenance fees ~~~~~~~~~~~~~~~                       ¥      35                               ¥
 36 Fees for management or advisory services ~~~~~~~~~~~~~~                      ¥      36                               ¥
 37 Interest from an affiliated corporation                     ¥      37                               ¥
Section 210-A.5(c)                                                                                                       ¥
 38 Interest, fees, and penalties from credit cards ~~~~~~~~~~~~~                ¥      38
 39 Service charges and fees from credit cards ~~~~~~~~~~~~~~                    ¥      39                               ¥
 40 Receipts from merchant discounts ~~~~~~~~~~~~~~~~~~                          ¥      40                               ¥
 41 Receipts from credit card authorizations and settlement processing ~~ ¥             41                               ¥
 42 Other credit card processing receipts  ¥                           42                               ¥
Section 210-A.5(d)                                                                                                       ¥
 43 Receipts from certain services to investment companies        ¥              43
Section 210-A.5-a                                                                                                        ¥
 44 Global intangible low-taxed income                               44                        0.00
Section 210-A.6                                                                                                          ¥
 45 Receipts from railroad and trucking business                    ¥      45
Section 210-A.6-a                                                                                                        ¥
 46 Receipts from the operation of vessels                       ¥      46
Section 210-A.7                                                                                                          ¥
 47 Receipts from air freight forwarding ~~~~~~~~~~~~~~~~~~                      ¥      47
 48 Receipts from other aviation services                       ¥      48                               ¥
Section 210-A.8                                                                                                          ¥
 49 Advertising in newspapers or periodicals ~~~~~~~~~~~~~~~                     ¥      49
 50 Advertising on television or radio ~~~~~~~~~~~~~~~~~~~                       ¥      50                               ¥
 51 Advertising via other means                             ¥      51                               ¥
Section 210-A.9                                                                                                          ¥
 52 Transportation or transmission of gas through pipes                ¥      52
Section 210-A.10                                                                                                         ¥
 53 Receipts from other services/activities not specified              ¥      53              453,094.                    28,893,995.
Section 210-A.11                                                                                                         ¥
 54 Discretionary adjustments                              ¥      54
Total receipts                                                                                                           ¥
 55 Add lines 1 through 54 in columns A and B                      ¥      55              453,094.                    28,893,995.
Calculation of business apportionment factor
 56 New York State business apportionment factor (divide line 55, column A by line 55, column B and enter the resulting
       decimal here; round to the sixth decimal place after the decimal point; see instructions) ~~~~~~~~~~~~~ ¥               56          .015681


Enter line 56 on Part 3, Computation of tax on business income base, line 14; and on Part 4, Computation of tax on capital base,
line 12.




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Part 7- Summary of tax credits claimed


                                                                                                                                    b
  1 Have you been convicted of an offense, or are you an owner of an entity convicted of an offense, defined in New York State
     Penal Law, Article 200 or 496, or section 195.20? (see Form CT-1; mark an X in one box) ~~~~~~~~~~                1    Yes                No   X

Enter in the appropriate box below the amount of each tax credit used to reduce the tax due shown on Part 2, line 2, and attach the
corresponding properly completed claim form. The amount of credit to enter is computed on each credit form and carried to this section.

CT-37 ~~~ ¥                                       CT-607 ~~~ ¥                                      CT-651 ~~~~ ¥
CT-40 ~~~ ¥                                       CT-611 ~~~ ¥                                      CT-652 ~~~~
                                                                                                           ~~~  ¥
CT-41 ~~~ ¥                                       CT-611.1 ~~ ¥                                     CT-654 ~~~~ ¥
CT-43 ~~~ ¥                                       CT-611.2 ~~ ¥                                     CT-655 ~~~~ ¥
CT-44 ~~~ ¥                                       CT-612    ~~ ¥                                    CT-656 ~~~~ ¥
CT-46 ~~~ ¥                                       CT-613 ~~~ ¥                                      CT-657 ~~~~ ¥
CT-47 ~~~ ¥                                       CT-631 ~~~ ¥                                      CT-658 ~~~~ ¥
CT-236 ~~~ ¥                                      CT-633 ~~~ ¥                                      DTF-621 ~~~ ¥
CT-238 ~~~ ¥                                      CT-634 ~~~ ¥                                      DTF-622 ~~~ ¥
CT-239 ~~~ ¥                                      CT-635 ~~~ ¥                                      DTF-624 ~~~ ¥
CT-241 ~~~ ¥                                      CT-636 ~~~ ¥                                      DTF-630 ~~~ ¥
CT-242 ~~~ ¥                                      CT-637 ~~~ ¥                                      Other credits ~ ¥
CT-246 ~~~ ¥                                      CT-638 ~~~ ¥
CT-248 ~~~ ¥                                      CT-640 ~~~ ¥
CT-249 ~~~ ¥                                      CT-641 ~~~ ¥
CT-250 ~~~ ¥                                      CT-642 ~~~ ¥
CT-261 ~~~ ¥                                      CT-643 ~~~ ¥
CT-501 ~~~ ¥                                      CT-644 ~~~ ¥
CT-601 ~~~ ¥                                      CT-645 ~~~ ¥
CT-602 ~~~ ¥                                      CT-646 ~~~ ¥
CT-603 ~~~ ¥                                      CT-647 ~~~ ¥
CT-604 ~~~ ¥                                      CT-648 ~~~ ¥
CT-605 ~~~ ¥                                      CT-649 ~~~ ¥
CT-606 ~~~ ¥                                      CT-650 ~~~ ¥


  2 Total tax credits claimed above (enter here and on Part 2, line 3; attach appropriate form for each credit
      claimed) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    ¥    2
  3 Total tax credits claimed that are refund eligible (see instructions) ~~~~~~~~~~~~~~~~~~~                    ¥    3


 4a If you claimed the QEZE tax reduction credit and you had a 100% zone allocation factor, mark an X in the box ~~~~~~~~~~ ¥                  4a


 4b If you claimed the tax-free NY area tax elimination credit, and you had a 100% area allocation factor, mark an X
       in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               ¥   4b
 4c If you claimed the tax-free NY area excise tax on telecommunications credit and you had a 100% area allocation
       factor, mark an X in the box ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      ¥   4c




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                                        Net Operating Loss Deduction (NOLD)                                                          CT-3.4

Legal name of corporation                                                                    Employer identification number (EIN)

    EATSTREET, INC.                                                                                 **-***5093

Attach to Form CT-3 or CT-3-A; see Form CT-3.4-I before completing.

A       If you are making the election to waive carryback of the current-year NOL, mark an X in the box ( see Election to waive
        carryback in instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                ¥


    1    Multiply Form CT-3 or CT-3-A, Part 3, line 17, by your appropriate business income base tax rate
           for the current year from the Tax rates schedule in Form CT-3-I or CT-3-A-I (see instructions) ~~~~~ ¥       1                     0.
    2    Enter the greater of the capital base tax or the fixed dollar minimum tax for the current tax year
            (from Form CT-3 or CT-3-A, Part 2, line 1b or 1c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                           ¥    2                 175.
    3    Subtract line 2 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       ¥    3                   0.
    4    NOLD that is required to be utilized, if available (divide line 3 by the same business income base tax
            rate used for line 1; do not enter less than zero) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                         ¥    4                     0.
Computation of net operating loss (NOL) to be used (see instructions)
5a       NOL carryforward from prior year's Form CT-3.4 ~~~~~~~~~~            ¥   5a           2,419,859.
5b       NOL carryforwards from new members who entered the group
            during the current tax year ~~~~~~~~~~~~~~~~~~~                   ¥   5b
NOL carryback (see instructions)
                        Loss year                               C
                  A                    B                 Amount allowed
            Beginning date        Ending date           to be carried back
            (mm-dd-yyyy)         (mm-dd-yyyy)




5c       Total NOL carryback (add column C amounts ) ~~~~~~~~~~~ ¥ 5c
5d       Subtotal (add lines 5a, 5b, and 5c)                                     ¥   5d           2,419,859.
5e       NOL carryforwards that have expired ~~~~~~~~~~~~~~~                  ¥   5e
5f       NOL carryforwards unavailable for use in the current tax year ~~~ ¥           5f
5g       Add lines 5e and 5f   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           ¥   5g
    5    Total NOLs available to be used in the current tax year (subtract line 5g from line 5d)         ¥    5           2,419,859.
 6 NOL to be used in the current tax year ~~~~~~~~~~~~~~ ¥      6                                                 0.
Computation of NOL carryforward (see instructions)
7a NOL incurred in the current tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ ¥                                            7a              80,763.
                                                                         STMT 1 ¥
7b Net NOLs available (add lines 5, 5f, and 7a)                                          7b           2,500,622.
7c       NOL carryforwards from members who left the group during the
           current tax year ~~~~~~~~~~~~~~~~~~~~~~~~ ¥ 7c
7d       Add lines 6 and 7c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             ¥   7d
    7    NOL available to be carried forward (subtract line 7d from 7b) ~~~~~~~~~~~~~~~~~~~~~                      ¥    7           2,500,622.




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Schedule A - Apportioned business income or loss (must be completed for each tax period; see instructions).

                 A                               B                                                           C
     Tax period beginning and       Amount from Form CT-3 or                      When column B is not a loss, enter the ending dates
           ending dates            CT-3-A, Part 3, line 17 for the                 of the tax period(s) that generated an NOL used to
                                       period in column A                      reduce the amount in column B (see instr.; if necessary)
01-01-22          12-31-22                    -80,763.
01-01-21          12-31-21                   -223,843.
01-01-20          12-31-20                     72,786. 12-31-15
01-01-19          12-31-19                   -227,637.
01-01-18          12-31-18                   -322,642.
01-01-17          12-31-17                   -739,640.
01-01-16          12-31-16                   -524,678.
01-01-15          12-31-15                   -431,127.




                                Note: You must complete and attach Form CT-3.4 to Form CT-3 or CT-3-A each tax year.




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       EATSTREET, INC.                                                                                    **-***5093
Schedule B - New members included in the combined group for the current tax period;
Form CT-3-A filers only (see instructions)

                         A                                     B                        C                          D                  E           F
                        Name                                  EIN               NOL available at              Beginning         Ending date   Subject
                                                                                the beginning of              date of this         of this     to IRC
                                                                                 this tax period              tax period         tax period   ¤¤ 381-
                                                                                                             (mm-dd-yy)        (mm-dd-yy)
                                                                                                                                               384 or
                                                                                                                                               SRLY




Schedule C - Former members not included in the combined group at the end of the current
tax period; Form CT-3-A filers only (see instructions)

                         A                                           B                            C                    Former member's tax period
                        Name                                        EIN               NOL available upon leaving           in combined group
                                                                                        the combined group                 D                E
                                                                                                                     Beginning date    Ending date
                                                                                                                      (mm-dd-yy)      (mm-dd-yy)




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                                                                                                                              CT-225
                                            Department of Taxation and Finance

                                            New York State Modifications
                                            Tax Law - Articles 9-A, 22, and 33


 Legal name of corporation                                                                                Employer identification number (EIN)

  EATSTREET, INC.                                                                                             XX-XXXXXXX
File this form with Form CT-3, CT-3-S, or CT-33.

Complete all parts that apply to you. See Form CT-225-I, Instructions for Form CT-225.


Schedule A - Certain New York State additions to federal income

Part 1 - For certain additions to federal income that did not flow through from a partnership, estate, or trust

  1 New York State additions (see instructions)
       Modification                                                          Modification
                                     Amount                                                     Amount
         number                                                               number
  1a   ¥ A- 507         ¥                 3,699 00                  1i   ¥ A-               ¥            00            STATEMENT 2
  1b   ¥ A- 505         ¥                45,895 00                  1j   ¥ A-               ¥            00
  1c   ¥ A-             ¥                               00          1k   ¥ A-               ¥            00
  1d   ¥ A-             ¥                               00          1l   ¥ A-               ¥            00
  1e   ¥ A-             ¥                               00         1m ¥ A-                  ¥            00
  1f   ¥ A-             ¥                               00         1n ¥ A-                  ¥            00
  1g   ¥ A-             ¥                               00          1o   ¥ A-               ¥            00
  1h   ¥ A-             ¥                               00          1p   ¥ A-               ¥            00
 Total from additional Form(s) CT-225, if any                                00
  2 Total (add lines 1a through 1p and the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥ 2                             49,594 00

Part 2 - Corporation's share of certain additions to federal income from a partnership, estate, or trust

  3 New York State additions (see instructions)
       Modification                                                          Modification
                                     Amount                                                     Amount
         number                                                               number
  3a   ¥ EA-            ¥                               00          3i   ¥ EA-              ¥            00
  3b   ¥ EA-            ¥                               00          3j   ¥ EA-              ¥            00
  3c   ¥ EA-            ¥                               00          3k   ¥ EA-              ¥            00
  3d   ¥ EA-            ¥                               00          3l   ¥ EA-              ¥            00
  3e   ¥ EA-            ¥                               00         3m ¥ EA-                 ¥            00
  3f   ¥ EA-            ¥                               00         3n ¥ EA-                 ¥            00
  3g   ¥ EA-            ¥                               00          3o   ¥ EA-              ¥            00
  3h   ¥ EA-            ¥                               00          3p   ¥ EA-              ¥            00
 Total from additional Form(s) CT-225, if any                                00
  4 Total (add lines 3a through 3p and the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥ 4                                             00
  5 Total additions (add lines 2 and 4; see instructions)  ¥ 5                                       49,594 00




                                                                  268661
                                                                  12-14-22
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EATSTREET, INC.                                                                             **-***5093

Schedule B - Certain New York State subtractions from federal income

Part 1 - For certain subtractions from federal income that did not flow through from a partnership, estate, or trust

 6 New York State subtractions (see instructions)
      Modification                                                   Modification
                                   Amount                                               Amount
        number                                                        number
 6a    ¥ S- 507       ¥                68,154 00               6i   ¥ S-            ¥               00        STATEMENT 3
 6b    ¥ S-           ¥                             00         6j   ¥ S-            ¥               00
 6c    ¥ S-           ¥                             00        6k    ¥ S-            ¥               00
 6d    ¥ S-           ¥                             00         6l   ¥ S-            ¥               00
 6e    ¥ S-           ¥                             00        6m ¥ S-               ¥               00
  6f   ¥ S-           ¥                             00        6n ¥ S-               ¥               00
 6g    ¥ S-           ¥                             00        6o    ¥ S-            ¥               00
 6h    ¥ S-           ¥                             00        6p    ¥ S-            ¥               00
Total from additional Form(s) CT-225, if any                                   0 00
 7 Total  (add  lines 6a through  6p and   the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥ 7               68,154 00

Part 2 - Corporation's share of certain subtractions from federal income from a partnership, estate, or trust

 8 New York State subtractions (see instructions)
      Modification                                                   Modification
                                   Amount                                               Amount
        number                                                        number
 8a    ¥ ES-          ¥                             00         8i   ¥ ES-           ¥               00
 8b    ¥ ES-          ¥                             00         8j   ¥ ES-           ¥               00
 8c    ¥ ES-          ¥                             00        8k    ¥ ES-           ¥               00
 8d    ¥ ES-          ¥                             00         8l   ¥ ES-           ¥               00
 8e    ¥ ES-          ¥                             00        8m ¥ ES-              ¥               00
  8f   ¥ ES-          ¥                             00        8n ¥ ES-              ¥               00
 8g    ¥ ES-          ¥                             00        8o    ¥ ES-           ¥               00
 8h    ¥ ES-          ¥                             00        8p    ¥ ES-           ¥               00
Total from additional Form(s) CT-225, if any                                   0 00
  9 Total (add  lines 8a through  8p and   the total from additional Form(s) CT-225) ~~~~~~~~~~~~~~~ ¥    9                 0 00
 10 Total subtractions (add lines 7 and 9; see instructions)              ¥ 10              68,154 00




                                                         268662
                                                         12-14-22
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  EATSTREET, INC.                  Document    Page 267 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY                   NET OPERATING LOSS INCURRED AFTER 2014      STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                    LOSS
                                 PREVIOUSLY         LOSS          AVAILABLE
  TAX YEAR    LOSS SUSTAINED       APPLIED        REMAINING       THIS YEAR
  }}}}}}}}    }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  12/31/15          431,127.          49,708.         381,419.         381,419.
  12/31/16          524,678.                0.        524,678.         524,678.
  12/31/17          739,640.                0.        739,640.         739,640.
  12/31/18          322,642.                0.        322,642.         322,642.
  12/31/19          227,637.                0.        227,637.         227,637.
  12/31/21          223,843.                0.        223,843.         223,843.
  12/31/22           80,763.                0.         80,763.          80,763.
                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}}
   TOTAL NOLD AFTER 2014                            2,500,622.       2,500,622.
   NOLD USED THIS YEAR - FORM CT-3.4, LINE 6                0.
                                                }}}}}}}}}}}}}}
   NOLD CARRIED FORWARD - FORM CT-3.4, LINE 7       2,500,622.
                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY FORM CT-225                OTHER ADDITIONS                    STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   MODIFICATION
      NUMBER                      DESCRIPTION                          AMOUNT
   }}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}
   A-507        FEDERAL DEPRECIATION FROM FORM CT                         3,699.
   A-505        STATE & LOCAL TAXES DEDUCTED ON FEDERAL RETURN           45,895.
                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM CT-225, PAGE 1                                           49,594.
                                                                  ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  NY FORM CT-225                OTHER SUBTRACTIONS                 STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
   MODIFICATION
      NUMBER                      DESCRIPTION                          AMOUNT
   }}}}}}}}}}}} }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}
   S-507        ALLOWABLE NEW YORK STATE DEPRECIATION                    68,154.
                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM CT-225, PAGE 2                                           68,154.
                                                                  ~~~~~~~~~~~~~~




                                               18                  STATEMENT(S) 1, 2, 3
13111109 144198 89475                       2022.05000 EATSTREET, INC.           89475__1
Case 3-24-12061-cjf           Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                 Desc Main
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                           TAX RETURN FILING INSTRUCTIONS
                                               OREGON FORM OR-20

                                        FOR THE YEAR ENDING
                                                December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              Not applicable

Amount of Tax:

                Total tax                            $                      150
                Less: payments and credits           $                      300
                Plus: other amount                   $                        0
                Plus: interest and penalties         $                        0
                Overpayment                          $                      150

Overpayment:

                Credit to your estimated tax         $                        0
                Other amount                         $                        0
                Refunded to you                      $                      150

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               The Oregon return has been prepared for electronic filing. No further action is required.

Return Must be Mailed On or Before:
              Return to us by November 15, 2023.

Special Instructions:
                Case 3-24-12061-cjf                      Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                      Desc Main
                                                                  FOR OREGON
                                                              Document    Page ONLY
                                                                               269 of 326
   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                     Name                                                                                                                                 Identifying number


   Print             EATSTREET, INC.                                                                                                                         **-***5093
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
   Type              44 E. MIFFLIN ST, STE 400
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     MADISON, WI 53703
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  12
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year 2022 , or tax year beginning                                                          , and ending
     b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                         150.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                         300.

   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)




   219741 04-01-22
                                                                                         1
13111109 144198 89475                                                                 2022.05000 EATSTREET, INC.                                                               89475__1
            Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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              2022 Form OR-20                                                                                            Oregon Department of Revenue
              Oregon Corporation Excise Tax Return

              Page 1 of 7     ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.
Fiscal year beginning (MM/DD/YYYY)                   Fiscal year ending (MM/DD/YYYY)




See instructions for checkboxes (check all that apply)


        New name                            X      New address                                OR-FCG-20                          X      Extension


        Form OR-37                                 REIT/RIC                                   Amended                                   Form OR-24


        IC-DISC                                    Ag co-op                                   Federal Form 8886                         GILTI included on federal form


        Accounting period change                   Alternative apportionment
                                                   request included


Corporation legal name


EATSTREET, INC.
Federal employer identification number (FEIN)


**-***5093
Doing business as (DBA) or assumed business name (ABN)




Attn: or c/o, first name                                      Initial    Attn: or c/o, last name


STEVE                                                                    ANASTASI
Corporation current address


1574 W BROADWAY ST STE 200 #PMB1005
City                                                                                                       State           ZIP code


MADISON                                                                                                    WI             53713

Contact first name                                            Initial    Contact last name


STEVE                                                                    ANASTASI
Contact phone


866-654-8777
Email


STEVE.ANASTASI@EATSTREET.COM




                                                                                                                                               Continued on next page




              150-102-020
N.            (Rev. 08-04-22, ver. 01)             273201 11-01-22
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                2022 Form OR-20                                                                                                 Oregon Department of Revenue



                Page 2 of 7     ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.
Only complete questions A through C if this is your first return, or the answer changed during this tax year.
A. Incorporated in (state)                    Incorporated on (date) (MM/DD/YYYY)




B. State of commercial domicile            C. Date business activity began in Oregon (MM/DD/YYYY)              D. NAICS code




E.            (1) Consolidated federal return                  (2) Consolidated Oregon return                       (3) Corporations included in consolidated federal
                                                                                                                       return, but not in Oregon return
F. Parent corporation name, if applicable




     Parent corporation FEIN, if applicable                G. Number of Oregon corporations




H. List the tax years for which federal waivers of the statute of limitations are in effect and dates on which waivers expire




I. List the tax years for which your federal taxable income was changed by an IRS audit or by an amended federal return filed during this tax year




J. If first return, indicate:              New business                 Successor to previous business
     Previous business name




     FEIN




K. If final return, indicate:              Withdrawn                    Dissolved                         Merged or reorganized


     Merged or reorganized corporation name




     FEIN




L.            Utility or telecommunications companies (see instructions)                 M.          PL86-272 protected affiliate(s) (see instructions)



N. Fill in the amount of your total Oregon sales ~~~~~~~~~~~~~~                            N.                                                         24,569.00
                                                                                                                                                     Continued on next page


                                                   273202 11-01-22

                150-102-020
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           2022 Form OR-20                                                                                           Oregon Department of Revenue



           Page 3 of 7    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


 1. Taxable income from U.S. corporation income tax return (see
     instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     1.                                               -5,131,799.00

 2. Total additions from Schedule OR-ASC-CORP, Section A (see
     instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     2.                                                        32,501.00


 3. Income after additions (line 1 plus line 2)    ~~~~~~~~~~~~~                   3.                                               -5,099,298.00

 4. Total subtractions from Schedule OR-ASC-CORP, Section B (see
     instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     4.
 5. Income before net loss deduction (line 3 minus line 4). If income is
     derived from sources both in Oregon and other states, carry
     amount from line 5 to Schedule OR-AP, part 2, line 1 ~~~~~~                   5.                                               -5,099,298.00

 6. Net loss deduction if not apportioned (include schedule, enter as a
     positive number) ~~~~~~~~~~~~~~~~~~~~~~~~~                                    6.


 7. Net capital loss deduction if not apportioned (include schedule,
     enter as a positive number) ~~~~~~~~~~~~~~~~~~~~                              7.
 8. Enter the apportionment percentage from Schedule OR-AP, part 1,
     line 23; enter 100.0000 if you don't apportion income. You must
     include Schedule OR-AP to apportion income ~~~~~~~~~~                         8.                             .0850 %

 9. Oregon taxable income (line 5 minus lines 6 and 7, or
     Schedule OR-AP, part 2, line 12) ~~~~~~~~~~~~~~~~~                            9.                                                        -4,334.00


Tax
 10. Calculated excise tax (see instructions) ~~~~~~~~~~~~~~ 10.                                                                                      0.00


11. Schedule OR-FCG-20 adjustment (include schedule) ~~~~~~~~ 11.



12. Total calculated excise tax (line 10 minus line 11) ~~~~~~~~~ 12.



13. Minimum tax (see instructions) ~~~~~~~~~~~~~~~~~~ 13.                                                                                            150.00


14. Tax (greater of line 12 or line 13)   ~~~~~~~~~~~~~~~~~ 14.                                                                                      150.00


15. Tax adjustments (see instructions, include schedule)         ~~~~~~~ 15.



16. Tax before credits (line 14 plus line 15) ~~~~~~~~~~~~~~ 16.                                                                                     150.00

                                                                                                                                           Continued on next page



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           (Rev. 08-04-22, ver. 01)            273203 11-01-22
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            2022 Form OR-20                                                                                           Oregon Department of Revenue



            Page 4 of 7    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


Credits
 17. Total standard credits from Schedule OR-ASC-CORP, Section C ~~ 17.


18. Tax after standard credits (line 16 minus line 17, not less than
      minimum tax) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18.                                                                                                    150.00


19. Total carryforward credits from Schedule OR-ASC-CORP, Section D 19.



Excise tax
 20. Excise tax after standard and carryforward credits (line 18 minus
      line 19, not below minimum tax; see instructions) ~~~~~~~~~ 20.                                                                                 150.00


21. LIFO benefit recapture subtraction (see instructions) ~~~~~~~~ 21.



22. Net excise tax (line 20 minus line 21) ~~~~~~~~~~~~~~~ 22.                                                                                        150.00
23. Estimated tax payments, other prepayments, and refundable
      credits from Schedule ES line 8. Include payments made with
      extension ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 23.                                                                                                     300.00

24. Withholding payments made on your behalf from pass-through entity
      or real estate income (include schedule) ~~~~~~~~~~~~~~ 24.


25. Tax due. Is line 22 more than line 23 plus line 24? If so,
    line 22 minus lines 23 and 24 ~~~~~~~~~~~~~~ Tax due 25.


26. Overpayment. Is line 22 less than line 23 plus line 24?
    If so, line 23 plus line 24, minus line 22 ~~~~~~ Overpayment 26.                                                                                 150.00


27. Penalty due with this return ~~~~~~~~~~~~~~~~~~~~ 27.



28. Interest due with this return ~~~~~~~~~~~~~~~~~~~~ 28.



29. Interest on underpayment of estimated tax (include Form OR-37) ~~ 29.



30. Total penalty and interest (add lines 27 through 29) ~~~~~~~~ 30.




                                                                                                                                            Continued on next page




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            (Rev. 08-04-22 ver. 01)               273204 11-01-22
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              2022 Form OR-20                                                                                           Oregon Department of Revenue



              Page 5 of 7    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.



 31. Total due (line 25 plus line 30) ~~~~~~~~~~~~~~ Total due 31.



 32. Refund available (line 26 minus line 30) ~~~~~~~~~~ Refund 32.                                                                                     150.00


 33. Amount of refund to be credited to your open estimated tax account 33.



 34. Net refund (line 32 minus line 33) ~~~~~~~~~~~ Net refund 34.                                                                                      150.00


Schedule ES - Estimated tax payments, other prepayments, and refundable credits
1. Quarter 1
Payer name




Payer FEIN                                          Date paid




  1. Amount paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1.



2. Quarter 2
Payer name




Payer FEIN                                          Date paid




  2. Amount paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          2.



3. Quarter 3
Payer name




Payer FEIN                                          Date paid




  3. Amount paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          3.

                                                                                                                                              Continued on next page


                                                  273205 11-01-22

              150-102-020
              (Rev. 08-04-22, ver. 01)
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              2022 Form OR-20                                                                                           Oregon Department of Revenue



              Page 6 of 7    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


4. Quarter 4
Payer name




Payer FEIN                                          Date paid




  4. Amount paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4.



Schedule ES
  5. Overpayment of another year's tax applied as a credit against this
      year's tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 5.                                                                                                      300.00

  6. Payments made with extension or other prepayments for this tax year 6.
      Date paid (MM/DD/YYYY)




  7. Total refundable credits from Schedule OR-ASC-CORP, Section E ~~7.



  8. Total prepayments and refundable credits (carry to line 23 on page 4) 8.                                                                           300.00




                                                                                                                                              Continued on next page




              150-102-020
              (Rev. 08-04-22, ver. 01)                    273206 11-01-22
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                 2022 Form OR-20                                                                                           Oregon Department of Revenue



                 Page 7 of 7    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


Under penalty of false swearing, I declare that the information in this return and any enclosures are true, correct, and complete.
    Officer signature


X
Date (MM/DD/YYYY)




Officer first name                                              Initial     Officer last name


STEVE                                                                       ANASTASI
Officer title


CEO

    Preparer signature other than taxpayer


X       DANIEL T. O'CONNOR, CPA
Date (MM/DD/YYYY)                                      Phone                                                         Preparer license number


11/09/2023                                             608-249-6622                                                  P00543528
Preparer first name                                             Initial     Preparer last name


DANIEL                                                          T           O'CONNOR CPA
Preparer address


PO BOX 7398
City                                                                                                         State           ZIP code


MADISON                                                                                                      WI              53707-7398


Mail refund returns and no tax due returns to:                        Mail tax-to-pay returns with payment to:
Refund, PO Box 14777, Salem OR 97309-0960                             Oregon Department of Revenue, PO Box 14790, Salem OR 97309-0470

Do not include a payment voucher with your return. Include a complete copy of your federal Form 1120 and schedules.




                 150-102-020
                 (Rev. 08-04-22, ver. 01)           273207 11-01-22
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                 2022 Schedule OR-AP                                                                                        Oregon Department of Revenue

                 Apportionment of Incom e for Corporations and Partnerships
                 Page 1 of 4     ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.
   Taxpayer legal name (as shown on your Oregon return)


   EATSTREET, INC.
   Federal employer identification number (FEIN)


   **-***5093

   Describe the nature and provide the location(s) of your Oregon business activities:




   Part 1 - Apportionment information
   Property/real estate income and interest factor                                                                    (Don't enter an amount less than zero)

   Oregon
    1a. Inventories ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1a.



    2a. Buildings and other depreciable assets ~~~~~~~~~~~~~~ 2a.                                                                                           0.00


    3a. Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3a.



    4a. Other assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4a.



    5a. Minus: Construction in progress            ~~~~~~~~~~~~~~~~~ 5a.



    6a. Rented property (capitalize at 8 times the rental rate paid) ~~~~~ 6a.                                                                              0.00


    7a. Net income from real property (insurance only)            ~~~~~~~~~~ 7a.



    8a. Interest received on loans secured by real property
          (insurance only) ~~~~~~~~~~~~~~~~~~~~~~~~~~ 8a.



    9a. Total property or real estate income and interest (Oregon) ~~~~~ 9a.                                                                                0.00




                                                                                                                                                 Continued on next page




                 150-102-171
                 (Rev. 08-04-22, ver. 01)   273931 06-12-23   1019
                                                                                     9
13111109 144198 89475                                                             2022.05000 EATSTREET, INC.                                                   89475__1
            Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                           Desc Main
                                                        Document    Page 278 of 326

              2022 Schedule OR-AP                                                                                        Oregon Department of Revenue




              Page 2 of 4     ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


   Everywhere
   1b. Inventories ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1b.



   2b. Buildings and other depreciable assets ~~~~~~~~~~~~~~ 2b.                                                                          1,225,937.00


   3b. Land ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3b.



   4b. Other assets ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4b.



   5b. Minus: Construction in progress        ~~~~~~~~~~~~~~~~~ 5b.



   6b. Rented property (capitalize at 8 times the rental rate paid) ~~~~~ 6b.                                                             4,130,968.00


   7b. Net income from real property (insurance only)          ~~~~~~~~~~ 7b.


   8b. Interest received on loans secured by real property
        (insurance only) ~~~~~~~~~~~~~~~~~~~~~~~~~~ 8b.



   9b. Total property or real estate income and interest (Everywhere) ~~~ 9b.                                                             5,356,905.00


   Payroll factor (wage and commission)

   Oregon
   10a. Compensation of officers ~~~~~~~~~~~~~~~~~~~~                               10a.



   11a. Other wages, salaries, and commissions             ~~~~~~~~~~~~             11a.



   12a. Total wages and compensation (Oregon) ~~~~~~~~~~~~                          12a.



   Everywhere
   10b. Compensation of officers ~~~~~~~~~~~~~~~~~~~~                               10b.



   11b. Other wages, salaries, and commissions             ~~~~~~~~~~~~             11b.



   12b. Total wages and compensation (Everywhere) ~~~~~~~~~~                        12b.

                                                                                                                                              Continued on next page




              150-102-171
              (Rev. 08-04-22, ver. 01)   273932 10-31-22    1019
                                                                                10
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                                                    89475__1
            Case 3-24-12061-cjf                     Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                          Desc Main
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              2022 Schedule OR-AP                                                                                        Oregon Department of Revenue



              Page 3 of 4     ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.

   Sales factor

   Oregon
   13. Shipped from outside Oregon ~~~~~~~~~~~~~~~~~~~ 13.



   14. Shipped from inside Oregon          ~~~~~~~~~~~~~~~~~~~ 14.



   15. Shipped from Oregon to the United States government ~~~~~~ 15.


   16. Shipped from Oregon to purchasers where corporation
        isn't taxable ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 16.



   17. Partnership sales (from Schedule OR-PI)              ~~~~~~~~~~~~~ 17.



   18. Other business receipts ~~~~~~~~~~~~~~~~~~~~~~ 18. STATEMENT                                            1                                24,569.00


   19. Direct premiums (insurance only) ~~~~~~~~~~~~~~~~~ 19.



   20. Annuity considerations (insurance only) ~~~~~~~~~~~~~~ 20.



   21. Finance and service charge (insurance only) ~~~~~~~~~~~~ 21.



   22a. Total sales (Oregon) ~~~~~~~~~~~~~~~~~~~~~~~                                22a.                                                        24,569.00


   Everywhere
   22b. Total sales (Everywhere)         ~~~~~~~~~~~~~~~~~~~~                       22b.                                                28,893,995.00


   23. Oregon apportionment percentage (See Instructions) (Enter the      STATEMENT                            2
       amount from the worksheet) (Round to four decimal places) ~~~~ 23.                                            .0850 %




                                                                                                                                              Continued on next page




              150-102-171
              (Rev. 08-04-22, ver. 01)    273933 10-31-22    1019
                                                                                11
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                                                    89475__1
            Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                           Desc Main
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              2022 Schedule OR-AP                                                                                        Oregon Department of Revenue




              Page 4 of 4     ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.

   Part 2 - Taxable income computation

    1. Income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1.                                                -5,099,298.00

    2. Subtract: Net nonapportionable income included in line 1.
        Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                                    2.


    3. Subtract: Gains from prior year installment sales included in line 1.
        Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                                    3.



    4. Total net income subject to apportionment ~~~~~~~~~~~~                         4.                                                -5,099,298.00

    5. Oregon apportionment percentage (from part 1, line 23)
        (Round to four decimal places) ~~~~~~~~~~~~~~~~~~                             5.                             .0850 %


    6. Income apportioned to Oregon (line 4 times line 5) ~~~~~~~~~                   6.                                                        -4,334.00

    7. Add: Net nonapportionable income allocated entirely to Oregon.
        Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                                    7.


    8. Add: Gain from prior year installment sales apportioned to Oregon.
        Include schedule ~~~~~~~~~~~~~~~~~~~~~~~~~                                    8.



    9. Total of lines 6, 7, and 8 ~~~~~~~~~~~~~~~~~~~~~~                              9.                                                        -4,334.00


  10a. Oregon apportioned net loss from prior years. Include schedule ~ 10a. STATEMENT                         3                                         0.00


  10b. Net capital loss from other years. See instructions.
        Include schedule      ~~~~~~~~~~~~~~~~~~~~~~~ 10b.



   11. Total loss (line 10a plus line 10b) ~~~~~~~~~~~~~~~~~ 11.



   12. Oregon taxable income (line 9 minus line 11) ~~~~~~~~~~~ 12.                                                                             -4,334.00




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              (Rev. 08-04-22, ver. 01)   273934 10-31-22   1019
                                                                                12
13111109 144198 89475                                                        2022.05000 EATSTREET, INC.                                                   89475__1
              Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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                2022 Schedule OR-ASC-CORP                                                                                 Oregon Department of Revenue

                Oregon Adjustments for Corporations

                Page 1 of 4    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


   Use this form to claim additions, subtractions, or credits that aren't specifically included on your corporation or insurance return.
   Use codes from the appendices in the Form OR-20, OR-20-INC, OR-20-INS, or OR-20-S instructions.

   Corporation legal name (as shown on your Oregon return)


   EATSTREET, INC.
   Federal employer identification number (FEIN)


   **-***5093

   Section A: Additions                                        Code                           Amount


                                                      A1.               151          A2.                                                          32,501.00


                                                      A3.                            A4.



                                                      A5.                            A6.



                                                      A7.                            A8.



                                                      A9.                            A10.



                                                      A11.                           A12.



                                                      A13.                           A14.



                                                      A15.                           A16.



                                                      A17.                           A18.



                                                      A19                            A20.


   A21. Enter total of section. Enter this amount on Form OR-20, line 2;
         Form OR-20-INC, line 2; Form OR-20-INS, line 8; or
         Form OR-20-S, line 2 ~~~~~~~~~~~~~~~~~~~                              Total A21.                                                         32,501.00




                                                                                                                                                Continued on next page




                150-102-033
                (Rev. 08-04-22, ver. 01)              273761 11-01-22
                                                                                  13
13111109 144198 89475                                                          2022.05000 EATSTREET, INC.                                                    89475__1
            Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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                                                                                                                         Oregon Department of Revenue
               2022 Schedule OR-ASC-CORP

               Page 2 of 4    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.

   Section B: Subtractions                                    Code                            Amount


                                                     B1.                              B2.



                                                     B3.                              B4.



                                                     B5.                              B6.



                                                     B7.                              B8.



                                                     B9.                              B10.



                                                     B11.                             B12.



                                                     B13.                             B14.



                                                     B15.                             B16.



                                                     B17.                             B18.



                                                     B19.                             B20.


   B21. Enter total of section. Enter this amount on Form OR-20, line 4;
         Form OR-20-INC, line 4; Form OR-20-INS, line 10; or
         Form OR-20-S, line 3 ~~~~~~~~~~~~~~~~~~~                                Total B21.                                                              0.00

   Section C: Standard credits                                Code                            Amount


                                                     C1.                              C2.



                                                     C3.                              C4.



                                                     C5.                              C6.



   C7.   Enter total of section. Enter this amount on Form OR-20, line 17;
         Form OR-20-INC, line 11; or Form OR-20-INS, line 20 ~~~~ Total C7.                                                                              0.00

                                                                                                                                               Continued on next page




               150-102-033
               (Rev. 08-04-22, ver. 01)                        273762 11-01-22
                                                                                    14
13111109 144198 89475                                                            2022.05000 EATSTREET, INC.                                                 89475__1
          Case 3-24-12061-cjf                  Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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           2022 Schedule OR-ASC-CORP

           Page 3 of 4    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.

   Section D: Carryforward credits                        Code                           Amount from prior year


                                                 D1.                            D2.
                                                                                         Amount awarded this year


                                                                                D3.
                                                                                         Total used this year


                                                                                D4.


                                                          Code                           Amount from prior year


                                                 D5.                            D6.
                                                                                         Amount awarded this year


                                                                                D7.
                                                                                         Total used this year


                                                                                D8.


                                                          Code                           Amount from prior year


                                                 D9.                            D10.
                                                                                         Amount awarded this year


                                                                                D11.
                                                                                         Total used this year


                                                                                D12.


                                                          Code                           Amount from prior year


                                                 D13.                           D14.
                                                                                         Amount awarded this year


                                                                                D15.
                                                                                         Total used this year


                                                                                D16.


                                                          Code                           Amount from prior year


                                                 D17.                           D18.
                                                                                         Amount awarded this year


                                                                                D19.
                                                                                         Total used this year


                                                                                D20.
                                                                                                                                           Continued on next page



                                                        273763 11-01-22
           150-102-033
           (Rev. 08-04-22, ver. 01)
                                                                             15
13111109 144198 89475                                                     2022.05000 EATSTREET, INC.                                                    89475__1
             Case 3-24-12061-cjf                   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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                                                                                                                         Oregon Department of Revenue
               2022 Schedule OR-ASC-CORP

               Page 4 of 4    ¥ Use UPPERCASE letters. ¥ Use blue or black ink. ¥ Print actual size (100%). ¥ Don't submit photocopies or use staples.


   D21. Enter the total of the amounts of "Total used this year" in this section.
         Enter this amount on Form OR-20, line 19; Form OR-20-INC, line 13;
         Form OR-20-INS, line 22; or Form OR-20-S, line 15 ~~~~~ Total D21.                                                                              0.00


   Section E: Refundable credits                              Code                           Amount


                                                       E1.                            E2.



   E3.   Enter total of section. Enter this amount on Form OR-20, line 7;
         Form OR-20-INC, line 7; or Form OR-20-INS, line 7 ~~~~~~ Total E3.                                                                              0.00


   You must include this form with your Oregon corporation or insurance tax return.




                                                          273764 11-01-22
               150-102-033
               (Rev. 08-04-22, ver. 01)
                                                                                 16
13111109 144198 89475                                                         2022.05000 EATSTREET, INC.                                                  89475__1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44    Desc Main
  EATSTREET, INC.                  Document    Page 285 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE OR-AP          OTHER BUSINESS GROSS RECEIPTS            STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      OREGON
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  OTHER RECEIPTS                                                                      24,569.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE OR-AP-1, LINE 18                                                  24,569.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE OR-AP                    APPORTIONMENT                  STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  OREGON STANDARD APPORTIONMENT METHOD

                                                       (A)            (B)             (C) =
                                                                                   (A/B) X 100
  1. TOTAL SALES AND OTHER RECEIPTS
     (SCHEDULE OR-AP-1, LINE 22)                        24,569.    28,893,995.

  2. OREGON APPORTIONMENT PERCENTAGE
     (ENTER ON SCHEDULE OR-AP-1, LINE 23)                                                   .0850%




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE OR-AP-2     OREGON NET OPERATING LOSS DEDUCTION         STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                           LOSS
  LOSS TAX YEAR       ORIGINAL          PREVIOUSLY           LOSS              LOSS AVAILABLE
     ENDING        LOSS SUSTAINED         APPLIED          REMAINING             THIS YEAR
  }}}}}}}}}}}}     }}}}}}}}}}}}}}     }}}}}}}}}}}}}}     }}}}}}}}}}}}}}        }}}}}}}}}}}}}}
    12/31/21              13,428.                  0.           13,428.               13,428.
                                                                               }}}}}}}}}}}}}}
  TOTAL NOL AVAILABLE ON SCH OR-AP-2, LINE 10A                                        13,428.
                                                                               ~~~~~~~~~~~~~~




                                               17                  STATEMENT(S) 1, 2, 3
13111109 144198 89475                       2022.05000 EATSTREET, INC.           89475__1
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                           TAX RETURN FILING INSTRUCTIONS
                                        PENNSYLVANIA FORM RCT-101

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $                            0
                Less: payments and credits          $                            0
                Plus: other amount                  $                            0
                Plus: interest and penalties        $                            0
                No payment required                 $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               This return has been prepared for electronic filing. If you wish to have it transmitted to the
               PADOR, please sign, date and return Form PA-8879-C to our office. We will then submit
               the return to the PADOR. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:
              Return Form PA-8879-C to us by November 15, 2023.

Special Instructions:
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                        FOR YOUR RECORDS
                           DO NOT FILE




275511 01-05-23   CCH
                        FOR YOUR RECORDS
                          PLEASE READ THE INSTRUCTIONS BEFORE COMPLETING THIS COUPON.



                           DO NOT FILE
                        DETACH HERE BEFORE MAILING
cut here
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
                   pennsylvania            REV-853 (SU) 11-21 (I)
                                                                          PA CORPORATE NET INCOME TAX                 DEPT USE ONLY
                   DEPARTMENT OF REVENUE
                                                       REV-853 ANNUAL EXTENSION REQUEST
    File Period Begin     File Period End         Revenue ID
    01012022              12312022                1001046936
    Corporation Name
    EATSTREET, INC                                                                                              USE WHOLE DOLLARS ONLY
    State of Incorporation          EIN
    WI                              *********                                                       1. CNI TAX PAYMENT    $           0 .00
    Street Address
    44 E MIFFLIN ST STE 40
    City                                               State        ZIP
    MADISON                                            WI           53703

                        Signature                                              Title                              Date
                                                                               CEO
                        Email                                                                       Telephone
                        STEVE.ANASTASI@EATSTREET.COM                                                6125987469
              Case 3-24-12061-cjf                 Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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                                                                          1010022139


                                                                                                          DEPARTMENT USE ONLY

                                                                                                     2022
                      RCT-101 07-22 PAGE 1 OF 4
                      PA CORPORATE NET INCOME TAX REPORT
STEP A:
Tax Year Beginning                        01012022             Tax Year Ending               12312022


STEP B:
Economic Nexus                            N
Revenue ID                                1001046936
Federal EIN                               454385093      Parent Corporation EIN
NAICS code                                722300
Corporation Name                          EATSTREET, INC
Address Line 1                            1574 W BROADWAY ST STE
Address Line 2
City                                      MADISON
State                                     WI
ZIP                                       53713
Province
Country Code
Foreign Postal Code
Address Change                            Y


IRS Filing Type                 A = 1120      B = 1120S      C = Other        A


STEP C:
                 N       Initial Report                                                          N        S Corp filing as C Corp
                 N       Final Report (must include REV-861 and REV-181, where applicable)       N        KOZ/SDA CREDIT
                 N       Amended Report                                                          N        Royalty/Related Interest Add-Back (Act 52 of 2013)
                                                                                                 N        S Corp Taxable Built-in Gains
                 N       File Period Change                                                      N        Section 381/382/Merger NOLs
                 N       Change Fed Group                                                        N        Alternative Apportionment
                 N       52-53 Week Filer                                                        N        Claiming P.L. 86-272 Protection



SECTION A: GENERAL INFORMATION QUESTIONNAIRE

1. State of Incorporation:                                WI
2. Date of Incorporation: (MMDDYYYY)                      01012012
3. Date Commenced Doing Business in PA:
4. Describe corporate activity in PA:                     FOOD DELIVERY OPERATIONS
5. Describe corporate activity outside PA:                FOOD DELIVERY PLATFORM AND OPERATIONS
6. Other states in which taxpayer has activity:           AZ, CA, CT, DE, IA, IL, IN, MI, NY, NJ, NC, VA, WI

7. Does this corporation own all or a majority of stock in other corporations?                   N        If yes, include the REV-798, Schedule X.



8. Has the federal government changed taxable income as originally                               N        If yes, file the RCT-128C.
   reported for any period for which reports of change have not been filed?




                                                                                        274301 12-16-22   CCH                1010022139
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                                                                               1010022239


                     REVENUE ID                      1001046936
                     TAX YEAR END                    12312022                     NAME          EATSTREET, INC
RCT-101 07-22               PAGE 2 OF 4                    PA CORPORATE NET INCOME TAX REPORT 2022
SECTION B: SCHEDULE C-1: Apportionment Schedule For Corporate Net Income Tax (Include RCT-106.) *

Sales Factor                                                                                               Special Apportionment
Sales - PA           1A                      326139                                                        Numerator         2A                         0
Sales - Total        1B                    28893995                                                        Denominator      2B                          0

Sales Factor         1C                    0.011287                                                        Special          2C                           0
                                                                                                           Apportionment



                                                                                                                                     USE WHOLE DOLLARS ONLY
SECTION C: PA CORPORATE NET INCOME TAX
1. Income or loss from federal return on a separate-company basis.                                                            1              -5131799

2.     DEDUCTIONS:
       2A. Corporate dividends received (from REV-798, Schedule C-2, Line 7).                                               2A                        0
       2B. Interest on U.S. securities (GROSS INTEREST minus EXPENSES).                                                     2B                        0
       2C. Current yr. addtl. PA deprec. plus adjust. for sale (REV-1834, Sched. C-8, Line 8).                              2C                        0
       2D. Other (from REV-860, Schedule OD) See instructions.                                                              2D                    68154
       TOTAL DEDUCTIONS - Add Lines 2A through 2D and enter the result on Line 2.                                            2                    68154

3.     ADDITIONS:
       3A. Taxes imposed on or measured by net income (from REV-860, Schedule C-5, Line 6).                                 3A                    32501
       3B. Current year bonus depreciation (REV-1834, Sched. C-8, Line 3).                                                  3B                        0
       3C. Intangible expense or related interest expense (REV-802, Sched. C-6; must include REV-802).                      3C                        0
       3D. Other (from REV-860, Schedule OA) See instructions.                                                              3D                     3699
       TOTAL ADDITIONS - Add Lines 3A through 3D and enter the result on Line 3.                                             3                    36200

4.     Income or loss with Pennsylvania adjustments (Line 1 minus Line 2 plus Line 3).                                       4               -5163753
5.     Total nonbusiness income or loss (from REV-934, Column C, Total; must include REV-934).                               5                      0
6.     Income or loss to be apportioned (Line 4 minus Line 5).                                                               6               -5163753
7.     Apportionment (from Schedule C-1, 1C, or 2C if using Special Apportionment).                                          7               0.011287
8.     Income or loss apportioned to PA (Line 6 times Line 7).                                                               8                 -58283
9.     Nonbusiness income or loss allocated to PA (from REV-934, Column A, Total; must include REV-934).                     9                      0
10.    PA taxable income or loss after apportionment (Line 8 plus Line 9).                                                  10                 -58283
11.    Total net operating loss deduction (from RCT-103, Part A, Line 4).                                                   11                      0
12.    PA taxable income or loss (Line 10 minus Line 11).                                                                   12                 -58283
13.    Qualified Manufacturing Innovation and Reinvestment Deduction (cannot reduce tax liability                           13                      0
       by more than 50%).
14.    PA corporate net income tax ((Line 12 - Line 13) times 0.0999). If line 12 is less than zero , enter "0".            14                          0
15.    Credit for tax paid by affiliate(s) for intangible expense or related interest expense                               15                          0
       (from REV-803, Sched. C-7; must include REV-803).
16.    Tax Liability (Line 14 minus Line 15).                                                                               16                          0
17.    Credit for CNI Tax Withholding (from PA Schedule CP, line 16).                                                       17                          0
18.    Estimated Payments & Credits on Deposit.                                                                             18                          0
19.    Restricted Credits (cannot exceed line 16).                                                                          19                          0
20.    Total Due/Overpayment (Line 16 minus lines 17, 18 and 19).                                                           20                          0

274302 12-11-22   CCH




                                                                                                                                   1010022239
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                                                                                  1010022339


                      REVENUE ID                      1001046936
                      TAX YEAR END                    12312022                     NAME             EATSTREET, INC
RCT-101 07-22                 PAGE 3 OF 4                  PA CORPORATE NET INCOME TAX REPORT 2022
SECTION D: TRANSFER/REFUND METHOD
1.      Transfer (Amount to be credited to the next tax year after offsetting all unpaid liabilities).                         1                            0
2.      Refund (Amount to be refunded after offsetting all unpaid liabilities).                                                2                            0


DIRECT DEPOSIT: Banking rules do not permit direct deposit to bank accounts outside the U.S. If your bank account is outside the U.S.,
do not complete the direct deposit field or bank routing and account number information below in this case, and you will receive a check from
the Department. If your refund will be going to a bank account within the U.S., you have the option to have your refund directly deposited.


            Direct Deposit                                 Routing #                                               Account #
            C = Checking      S = Savings



SECTION E: BULK SALE
*Schedule of Disposition of Assets, REV-861, must be completed and filed with this report.
Has the corporation sold or transferred in bulk, 51 percent or more of any class of assets? (See instructions.)                                      N
If yes, enter the following information. (Include a separate schedule if additional space is needed.)


Purchaser Name
Address Line 1
Address Line 2
City
State
ZIP
Province
Country Code
Foreign Postal Code



SECTION F: SCHEDULE OF REAL PROPERTY IN PA (Include a separate schedule if additional space is needed.)

did you own or rent property in pa titled to the corporation or any Single Member LLC during this filing period?                                 N
If yes, the below section must be completed.
          O = Own
           R = Rent               Street Address                                             City                          County             KOZ/KOEZ




                                                                                           274311 12-16-22   CCH                   1010022339
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                                                                              1010022439


                      REVENUE ID                    1001046936
                      TAX YEAR END                  12312022                     NAME          EATSTREET, INC
RCT-101 07-22               PAGE 4 OF 4                  PA CORPORATE NET INCOME TAX REPORT 2022
SECTION G: CORPORATE OFFICER (Must sign affirmation below.)

CORPORATE OFFICERS
(See instructions.)                                         SSN                                   Last Name                                       First Name                  MI
Must provide requested information
for all filled officer positions.
President/Managing Partner                          *********                    ANASTASI                                               STEVE
Vice President
Secretary
Treasurer/Tax Manager



NAME                  STEVE ANASTASI
PHONE                 8666548777
EMAIL                 STEVE.ANASTASI@EATSTREET.COM


  I affirm under penalties prescribed by law, this report, including any accompanying schedules and statements, has been examined by me and to the best of my
  knowledge and belief is a true, correct and complete report. If this report is an amended report, the taxpayer hereby consents to the extension of the assessment
  period for this tax year to one year from the date of filing of this amended report or three years from the filing of the original report, whichever period last expires,
  and agrees to retain all required records pertaining to that tax and tax period until the end of the extended assessment period, regardless of any statutory
  provision providing for a shorter period of retention. For purposes of this extension, an original report filed before the due date is deemed filed on the due date.
  I am authorized to execute this consent to the extension of the assessment period.
  Corporate Officer Signature                                                                                                                           Date




PREPARER'S INFORMATION

Firm Federal EIN                                    390859910
Firm Name                                           BAKER TILLY US, LLP
Preparer's Name                                     DANIEL T OCONNOR CPA
Preparer's SSN/PTIN                                 P00543528
Address Line 1                                      PO BOX 7398
Address Line 2
City                                                MADISON
State                                               WI
ZIP                                                 537077398
Province
Country Code                                                                                                                                 FORM                      1019
Foreign Postal Code                                                                                                                          BARCODE                   0000


  I affirm under penalties prescribed by law, this report, including any accompanying schedules and statements, has been prepared by me and
  to the best of my knowledge and belief is a true, correct and complete report.
  Tax Preparer's Signature                                                                                                                              Date


  DANIEL T. O'CONNOR, CPA                                                                                                                                  11 09 23




                                                                                         274312 12-16-22    CCH                       1010022439
           Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                      Desc Main
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                    RCT-103 04-22 NET OPERATING LOSS SCHEDULE
                    (File with RCT-101.)
                                                                                                                  2022
                          Tax Year Beginning            01012022                              Revenue ID        1001046936
                          Tax Year Ending               12312022
                          Corporation Name              EATSTREET, INC

Part A
1. Taxable income from RCT-101, Section C, Line 10.                                                               1                       0
2. Total net operating loss carryforward to current period. (Total, Column C below.)                              2                 1014392
3. Line 1 multiplied by   0.400000             percent. (See Instructions in the REV-1200.)                       3                       0
4. Net operating loss deduction allowed for current tax period. (Carry to RCT-101, Page 2, Line 11.)              4                       0


Part B          A. Tax Period           B. Tax Period                     C. Net Loss                      D. Amount Deducted            E. Net Loss
                 Beginning                 Ending                   Carryforward to Current                  (Current Period)          Carryforward to
                                                                            Period                                                      Next Period


  1          01012016                 12312016                                  242649                                          0             242649
  2          01012017                 12312017                                  411002                                          0             411002
  3          01012018                 12312018                                  201630                                          0             201630
  4          01012019                 12312019                                  159111                                          0             159111
  5
  6
  7
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 10


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16
17
18
19
20

                   CURRENT TAX YEAR                                                                                                   LOSS ONLY

             01012022                 12312022                                                                                                  58283

 TOTAL (Columns C and D Lines 1-20 ONLY)                                     1014392                                            0




 275401
 12-06-22 CCH




                                                                                                                                1030022139
           Case 3-24-12061-cjf                    Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                       **-***5093
                                                                                                                                      Desc Main
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                                                                         1060022101
                                pennsylvania
                                DEPARTMENT OF REVENUE


                    RCT-106 (SU) 08-22
                    DETERMINATION OF
                    APPORTIONMENT PERCENTAGE
                    INSERT SHEET
                    FILE WITH RCT-101
Corporation Name
  EATSTREET, INC
Revenue ID                                 FEIN                                    Tax Year Beginning                      Tax Year Ending
  1001046936                               454385093                               01012022                                12312022

SALES FACTOR                                 Description                                Inside PA                               Inside and Outside PA

1. Sales (net of returns and allowances) ~~~~~~~~~~~~                                                             0                                     0
2. Interest, Rents, Royalties     ~~~~~~~~~~~~~~~~~                                                               0                                     0
3. Gross Receipts from the Sale of Other Business Assets
   (except securities, unless you are a securities dealer) ~~~~                                              0                                        0
4. Other Sales (receipts only) ~~~~~~~~~~~~~~~~~                                                        326139                                 28893995
5. Partner's Share of Sales from Partnerships ~~~~~~~~~                                                      0                                        0
6. Total Sales ~~~~~~~~~~~~~~~~~~~~~~~~                                  (A)                            326139 (B)                             28893995

                                                                                                        Carry (A), (B) and (C) to RCT-101,
(C) Sales Factor (Divide A by B; calculate to six decimal places.)     (C)     .011287
                                                                               ¥                        Schedule C-1, Lines 1A, 1B and 1C.


SPECIAL APPORTIONMENT
Special apportionment to be completed only by railroad, truck, bus, airline or qualified air freight forwarding companies; pipeline or natural gas
companies; water transportation companies; or satellite television services providers. Refer to instructions.
(A) NUMERATOR
                                                                                                        Carry (A), (B) and (C) to RCT-101,
                                                                     = (C)     ¥                        Schedule C-1, Lines 2A, 2B and 2C.
(B) DENOMINATOR

(C) Special Apportionment (Divide A by B; calculate to six decimal places.)




  274361 11-08-22   CCH




                                                                                                                        1060022101
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                           pennsylvania
                        DEPARTMENT OF REVENUE   (SU) 09-22



                        REV-860
                                                      SCHEDULE C-5 - SCHEDULE OF TAXES
Corporation Name
EATSTREET, INC
Revenue ID                               FEIN                           Tax Year Beginning            Tax Year Ending
1001046936                               454385093                      01012022                      12312022

 1.   PA Corporate Net Income Tax        ~~~~~~~~~~~~~~~~~~~~~~~~~                               6500
 2.   Philadelphia Business Income and Receipts Tax (BIRT)
      - Net Income Portion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           0
 3.   Income Taxes - Other States ~~~~~~~~~~~~~~~~~~~~~~~~~~                                    26001
 4.   Local Income Taxes    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          0
 5.   Other Income Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             0
 6.   Total Income Taxes (Add Lines 1 through 5)
      Carry to RCT-101, Page 2, Line 3A                                                  32501
 7.   PA Capital Stock/Foreign Franchise Tax
      (Not applicable for tax years beginning on or after Jan. 1, 2016) ~~~~~~~~~
 8.   Philadelphia Business Income and Receipts Tax (BIRT)
      - Gross Receipts Portion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        0
 9.   Payroll Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       2199826
10.   Real Estate Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           0
11.   Sales and Use Tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            0
12.   Business Privilege Tax - Other than Income ~~~~~~~~~~~~~~~~~~~                               0
13.   Occupancy Tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              0
14.   Local Taxes - Not Based on Income ~~~~~~~~~~~~~~~~~~~~~~~                                    0
15.   Other Taxes - Not Based on Income ~~~~~~~~~~~~~~~~~~~~~~~                                45499
16.   Total Taxes Not Imposed on or Measured by Income
      (Add Lines 7 through 15) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                2245325
17.   Total Tax Expense Reported on Federal Income Tax Return
      (Add Lines 6 and 16) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  2277826


                                                         SCHEDULE OA - OTHER ADDITIONS

                                     DESCRIPTION                                             AMOUNT

            Tax Preference Items
           DEPRECIATION ADJUSTMENT                                                                                      3699


            Total Carry to RCT-101, Section C, Line 3D                                                                  3699


                                                       SCHEDULE OD - OTHER DEDUCTIONS

                                     DESCRIPTION                                             AMOUNT

             Federal Wages Disallowed as a Result of Tax
             Credits Under IRC Sec 45B or IRC Sec 51
           BASIS DIFFERENCE ON DISPOSED
           ASSETS                                                                                                   68154


            Total Carry to RCT-101, Section C, Line 2D                                                              68154




274491 11-08-22   CCH                                                   STATEMENT 1
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 295 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  PA REV-860                      OTHER DEDUCTIONS                 STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                         AMOUNT
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}} }}}}}}}}}}}}}}
  BASIS DIFFERENCE ON DISPOSED ASSETS                                    68,154.
                                                                  }}}}}}}}}}}}}}
  TOTAL TO FORM REV-860 SCH OD AND RCT-101, SECTION C, LINE 2D           68,154.
                                                                  ~~~~~~~~~~~~~~




                                               9                               STATEMENT(S) 1
13111109 144198 89475                       2022.05000 EATSTREET, INC.                 89475__1
                                      Case 3-24-12061-cjf         Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
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2022 DEPRECIATION AND AMORTIZATION REPORT

OTHER DEPRECIATION                                                                                   OTHER
                                                                         C                                                      *
  Asset                                         Date                     o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.                  Description           Acquired   Method   Life   n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                                         v
                                                                                                      Excl                                                 Depreciation   Expense                  Depreciation


      1 R&D EXPENSES                          07/01/22 174        60M        42 2,699,574.                                                2,699,574.                                 269,958.       269,958.

      2 R&D EXPENSES - OFFSHORE      07/01/22 174                 180M       42       288,907.                                               288,907.                                   9,630.         9,630.
        * TOTAL OTHER DEPRECIATION &
        AMORT                                                                     2,988,481.                                              2,988,481.                0.               279,588.       279,588.



          CURRENT YEAR ACTIVITY

             BEGINNING BALANCE                                                                0.                     0.             0.               0.             0.                                      0.

                  ACQUISITIONS                                                    2,988,481.                         0.             0. 2,988,481.                   0.                              279,588.

                  DISPOSITIONS/RETIRED                                                        0.                     0.             0.               0.             0.                                      0.

             ENDING BALANCE                                                       2,988,481.                         0.             0. 2,988,481.                   0.                              279,588.




228111 04-01-22
                                                                                    (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
           Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                Desc Main
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     pennsylvania
     DEPARTMENT OF REVENUE
                                       e-file Signature Authorization for
                                 RCT-101, PA Corporate Net Income Tax Report                                                                              2022
PA-8879 C (SU) 09-22
See instructions.
For calendar year 2022 or tax year beginning                                         , 2022, ending                                                , 20     .
Name of Corporation                                                                                               Federal Employer Identification Number (FEIN)
EATSTREET, INC                                                                                                                  **-***5093
Corporation Address                                              City                                    State       ZIP Code                      Revenue ID Number
1574 W BROADWAY ST STE                MADISON                                                             WI          53713                        1001046936
SECTION I TAX REPORT INFORMATION (Whole dollars only.)

  1. Income or Loss from Federal Return on a Separate Company Basis (From RCT-101, Section C, Line 1)                         1.                          -5131799

  2. PA Taxable Income or Loss (From RCT-101, Section C, Line 12)                                                             2.                                -58283

  3. PA Corporate Net Income Tax Due (From RCT-101, Section C, Line 20)                                                       3.
SECTION II DECLARATION AND SIGNATURE AUTHORIZATION OF OFFICER                                                    (Keep a copy of the corporation's tax report.)
Under penalties of perjury, I declare I am an officer of the above-named corporation and I examined a copy of the corporation's 2022 electronic tax
report, accompanying schedules and statements, and to the best of my knowledge and belief they are true, correct and complete. I further declare
the amounts in Section I above are the amounts shown on the copy of the corporation's electronic tax report. I consent to allow my electronic return
originator (ERO) and/or transmitter to send the corporation's report to the PA Department of Revenue and receive from the PA Department of
Revenue an acknowledgement of receipt or reason for rejection of the transmission. If applicable, I authorize the PA Department of Revenue and its
designated financial institution to initiate an electronic funds withdrawal entry to the financial institution account indicated in the tax preparation
software for payment of the corporation's state taxes owed on this report, and I authorize the financial institution to debit the entry to this account. To
revoke a payment, I must contact my financial institution account indicated in the tax preparation software for payment of the corporation
state taxes. I also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information
necessary to answer inquiries and resolve issues related to the payment. I selected a federal self-select PIN as my signature for the corporation's
electronic tax report and, if applicable, the corporation's consent to electronic funds withdrawal.

Officer's Federal Self-Select PIN (Check one box only.):

  X I authorize BAKER TILLY US, LLP                                                             to enter my federal self-select PIN           12345                  as my
                                                 ERO firm name                                                                             Do not enter all zeros.


      signature on the corporation's electronically filed tax report.


      As an officer of the corporation, I will enter my federal self-select PIN as my signature on the corporation's electronically filed tax report.



Signature of Officer                                               Date                 Title                                          Social Security number
                                                                                       CEO                                            **-*******
Address                                                            City                                                  State         ZIP Code
1574 W BROADWAY ST STE                 MADISON                                                                            WI            53713
SECTION III CERTIFICATION AND AUTHENTICATION

ERO's EFIN/PIN (Enter your six-digit EFIN followed by your five-digit federal self-select PIN.):                      39095054321
                                                                                                                         Do not enter all zeros.


As a participant in the Practitioner PIN Program, I certify the above numeric entry is my federal self-select PIN, which is my signature on the tax year
2022 electronically filed PA corporate net income tax report for the taxpayer(s) indicated above. I confirm I am participating in the Practitioner PIN
Program in accordance with the requirements established for this program.


ERO's Signature |        DANIEL T. O'CONNOR, CPA                                                                    Date |         11 09 23




       Electronic Return Originators (EROs) must retain this form and supporting documents for three years.
      DO NOT SUBMIT THIS FORM TO THE PA DEPARTMENT OF REVENUE UNLESS REQUESTED TO DO SO.
274065 01-25-23   CCH
           Case 3-24-12061-cjf                 Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                  Desc Main
                                                    Document    Page 298 of 326
     pennsylvania
     DEPARTMENT OF REVENUE


                                                                                                            Appendix for PA-8879 C
PA-8879 C APP (SU) 09-22                                       e-file Signature Authorization for RCT-101, PA Corporate Net Income Tax Report


ELECTRONIC SIGNATURE SPECIFICATIONS                                                   institution account indicated in the tax preparation software
Below, find the Perjury Statement, Consent to Disclosure and                          for payment of the corporation state taxes.
Electronic Funds Withdrawal Consent used to develop jurat
language statements for electronic filing tax preparation
software where the practitioner federal self-select PIN                               OFFICER'S SIGNATURE
method is selected. The software must provide the capability                          I am signing this tax return/report and Electronic Funds
to incorporate these elements into the appropriate text for                           Withdrawal Consent, if applicable, by entering my federal
presentation to a taxpayer for his or her review.                                     self select PIN below.

PERJURY STATEMENT                                                                      Officer's PIN:    12345
Under penalties of perjury, I declare I am an officer of
the above-named corporation; I have examined a copy of                                         Date:
the corporation's 2022 electronic RCT-101, PA Corporate
Net Income Tax Report, accompanying schedules and                                     ERO DECLARATION
statements; and to the best of my knowledge and belief                                I declare the information in this electronic tax return/report
they are true, correct and complete.                                                  is the information furnished to me by the corporation. If the
                                                                                      corporation furnished me a completed tax return/report, I
CONSENT TO DISCLOSURE                                                                 declare that the information contained in this electronic tax
I consent to allow my electronic return originator (ERO) or                           return/report is identical to that contained in the
transmitter to send the corporation's return/report to the                            return/report provided by the corporation. If the furnished
Internal Revenue Service (IRS) and subsequently by the                                return/report was signed by a paid preparer, I declare I
IRS to the PA Department of Revenue.                                                  entered the paid preparer's identifying information in the
                                                                                      appropriate portion of this electronic return/report. If I am
ELECTRONIC FUNDS WITHDRAWAL CONSENT                                                   the paid preparer, under penalties of perjury, I declare I
I authorize the PA Department of Revenue and its designated                           examined this electronic return/report, and to the best of my
financial institution to initiate an electronic funds withdrawal                      knowledge and belief it is true, correct and complete.
entry to my financial institution account designated in the
electronic payment portion of my 2022 RCT-101 for payment                             ERO SIGNATURE
of my Pennsylvania taxes owed; and my financial institution                           I am signing this tax return/report by entering my federal
to debit the entry to my account. I also authorize the financial                      self select PIN below.
institutions involved in the processing of my electronic
payment of taxes to receive confidential information neces-                           ERO's EFIN:       390950 (EFIN)
sary to answer inquiries and resolve issues related to my
payment. To revoke a payment, I must contact my financial                                and PIN:       54321 (PIN)




www.revenue.pa.gov                                                                                                                          PA-8879 C   1
274066 01-25-23   CCH
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                           TAX RETURN FILING INSTRUCTIONS
                                TEXAS FORM 05-158-A/05-158-B AND 05-102

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              Not applicable

Amount of Tax:

                Total tax                           $                      0.00
                Less: payments and credits          $                  2,500.00
                Plus: other amount                  $                      0.00
                Plus: interest and penalties        $                      0.00
                Overpayment                         $                  2,500.00

Overpayment:

                Credit to your estimated tax        $                      0.00
                Other amount                        $                      0.00
                Refunded to you                     $                  2,500.00

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               The Texas return has been prepared for electronic filing. No further action is required.

Return Must be Mailed On or Before:
              Return to us by November 15, 2023.

Special Instructions:
             Case 3-24-12061-cjf                            Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                             Desc Main
144198 C 280761                                                  Document    Page 300 of 326
TX2023             05-164                                          Texas Franchise Tax Extension Request
Ver. 14.0          (Rev.5-22/10)

                   n
                Tcode                 13258 ANNUAL
n Taxpayer number                                                            n Report year


                             FOR YOUR RECORDS
                                                                                                           Due date

  *********                                                                    2023                           05/15/2023

                       EATSTREET, INC.


                                DO NOT FILE
 Taxpayer name                                                                                                                                                       Secretary of State file number
                                                                                                                                                                     or Comptroller file number
 Mailing address
  44 E. MIFFLIN ST, STE 400
 City                                                        State                             Country                             ZIP code plus 4                   Check box if the          n
  MADISON                                                      WI                               USA                                 53703                            address has changed

 Check box if this is a combined report




  If an online extension payment is made, the taxable entity should NOT submit a paper Extension Request (Form 05-164).

                            If this extension is for a combined group, you must also complete and submit Form 05-165.

                                             Note to mandatory Electronic Fund Transfer (EFT) payers:
                                   When requesting a second extension do not submit an Affiliate List Form 05-165.




1. Extension payment (Dollars and cents)                                                     1. n                                                                                  2500.00




 Print or type name                                                                                                                                  Area code and phone number
  STEVE ANASTASI                                                                                                                                           ( 612 ) 598 17469
 I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief.                                   Mail original to:
                                                                                                                                                          Texas Comptroller of Public Accounts


         =
 sign                                                                                                        Date                                                  P.O. Box 149348
 here                                                                                                                                                            Austin, TX 78714-9348



                             FOR YOUR RECORDS
               Instructions for each report year are online at www.comptroller.texas.gov/taxes/franchise/forms/. If you have any questions, call 1-800-252-1381.




                                DO NOT FILE
               Taxpayers who paid $10,000 or more during the preceding fiscal year (Sept. 1 thru Aug. 31) are required to electronically pay their franchise tax.
                                      For more information visit www.comptroller.texas.gov/taxes/franchise/filing-requirements.php.




                                                                             Texas Comptroller Official Use Only


                                                                                                                                                      VE/DE
                                                                                                                                                      PM Date




                                                                                                                                                                       1019
              Case 3-24-12061-cjf                             Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                                    Desc Main
144198 C 280701                                                    Document    Page 301 of 326
TX2023              05-102                                    Texas Franchise Tax Public Information Report
Ver. 14.0           (Rev.9-15/33)           To be filed by Corporations, Limited Liability Companies (LLC), Limited Partnerships (LP),
                                                                   Professional Associations (PA) and Financial Institutions
             n Tcode                 13196
n Taxpayer number                                                                       n Report year                                                  You have certain rights under Chapter 552 and 559,
                                                                                                                                                   Government Code, to review, request and correct information
  *********                                                                               2023                                                         we have on file about you. Contact us at 1-800-252-1381.

 Taxpayer name EATSTREET, INC.                                                                                                          n X          Check box if the mailing address has changed.

 Mailing address                                                                                                                                                 Secretary of State (SOS) file number or
  1574 W BROADWAY ST STE 200 #PMB1005                                                                                                                            Comptroller file number

 City MADISON                         State                                     WI                               ZIP code plus 4   53713

     Check box if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, B and C.

 Principal office     1574 W BROADWAY ST STE 200 #PMB1005, MADISON, WI 53713
 Principal place of business 1574 W BROADWAY ST STE 200 #PMB1005, MADISON, WI 53713

You must report officer, director, member, general partner and manager information as of the date you complete this report.
Please sign below!
                       This report must be signed to satisfy franchise tax requirements.                                                                                   0454385093023
SECTION A Name, title and mailing address of each officer, director, member, general partner or manager.
 Name                                                                                 Title                                         Director                               m m d            d     y    y
                                                                                                                                           YES           Term
  MATT HOWARD                                                                        CEO                                                                 expiration

 Mailing address 131 W. WILSON ST, STE 400                                            City    MADISON                                                    State     WI                  ZIP Code       53703
 Name                                                                                 Title                                         Director                               m m d            d     y    y
                                                                                                                                           YES           Term
  STEVE ANASTASI                                                                     CTO                                                                 expiration

 Mailing address 131 W. WILSON ST, STE 400                                            City    MADISON                                                    State     WI                  ZIP Code       53703
 Name                                                                                 Title                                         Director                               m m d            d     y    y
                                                                                                                                           YES           Term
  MICHELLE DAMA                                                                      CLO                                                                 expiration

 Mailing address                                                                      City                                                               State                         ZIP Code
  1724 DUNWOODY LANE                                                                 WAUNAKEE                                                              WI                           53597
SECTION B Enter information for each corporation, LLC, LP, PA or financial institution, if any, in which this entity owns an interest of 10 percent or more.
 Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution                            State of formation                    Texas SOS file number, if any      Percentage of ownership



 Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution                            State of formation                    Texas SOS file number, if any      Percentage of ownership



SECTION C Enter information for each corporation, LLC, LP, PA or financial institution, if any, that owns an interest of 10 percent or more in this entity.
 Name of owned (parent) corporation, LLC, LP, PA or financial institution                                State of formation                    Texas SOS file number, if any      Percentage of ownership



 Registered agent and registered office currently on file (see instructions if you need to make changes)                              You must make a filing with the Secretary of State to change registered
                                                                                                                                      agent, registered office or general partner information.
 Agent:
 Office:                                                                                                            City                                                State               ZIP Code
The information on this form is required by Section 171.203 of the Tax Code for each corporation, LLC, LP, PA or financial institution that files a Texas Franchise Tax Report. Use additional

sheets for Sections A, B and C, if necessary. The information will be available for public inspection.

 I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has

 been mailed to each person named in this report who is an officer, director, member, general partner or manager and who is not currently employed by this or a related corporation,




           =
 LLC, LP, PA or financial institution.
 sign                                                                                            Title                              Date                                  Area code and phone number
 here                                                                                           CEO                                                                       ( 866 ) 654 18777
                                                                                Texas Comptroller Official Use Only
                                                                                                                                                           VE/DE                   PIR IND




                                                                                                                                                                                1019
               Case 3-24-12061-cjf                             Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                    Desc Main
144198 C 280711                                                     Document    Page 302 of 326
TX2023           05-158-A

Ver.    14.0     (Rev.9-16/9)                                            Texas Franchise Tax Report - Page 1

                    n Tcode          13250 ANNUAL
n Taxpayer number                                                                   n Report year                   Due date

  *********                                                                           2023                          05/15/2023
 Taxpayer name                                                                                                                                                  Secretary of State file number
  EATSTREET, INC.                                                                                                                                               or Comptroller file number

 Mailing address 1574 W BROADWAY ST STE 200 #PMB1005
 City                                                         State                                 Country                         ZIP code plus 4             Check box if the          nX
  MADISON                                                   WI                                     USA                              53713                       address has changed

 Check box if this is a combined report                       Check box if Total Revenue is adjusted for

                                                 n            Tiered Partnership Election, see instructions
                                                                                                                          n
 Is this entity a corporation, limited liability company, professional association, limited partnership or financial institution?                 X Yes          No
** If not twelve months, see instructions for annualized revenue
Accounting year m m d d y y                       Accounting year                                  m m d            d     y     y              SIC code                  NAICS code
begin date** n              0 1 0 1 2 2                               end date            n        1 2 3 1 2 2                       n                      n
REVENUE (Whole dollars only)


1. Gross receipts or sales                                                                            1.n                                                             28834297. 00
2. Dividends                                                                                          2.n                                                                    0. 00

3. Interest                                                                                           3.n                                                                     15864. 00
4. Rents (can be negative amount)                                                                     4.n                                                                         0. 00

5. Royalties                                                                                          5.n                                                                                0. 00
6. Gains/losses (can be negative amount)                                                              6.n                                                                                0. 00

7. Other income (can be negative amount)                                                              7.n                                                               753000. 00
8. Total gross revenue (Add items 1 thru 7)                                            8.n                                                                            29603161. 00

9. Exclusions from gross revenue (see instructions)                                    9.n                                                                                   0. 00
10. TOTAL REVENUE         (item 8 minus item 9 if                                    10.n                                                                             29603161. 00
                                         less than zero, enter 0)
COST OF GOODS SOLD (Whole dollars only)
11. Cost of goods sold                                                               11.n                                                                                                0. 00
12. Indirect or administrative overhead costs                                        12.n                                                                                                0. 00
    (Limited to 4%)
13. Other (see instructions)                                                         13.n                                                                                                0. 00

14. TOTAL COST OF GOODS SOLD (Add items 11 thru 13)                                  14.n                                                                                                0. 00
COMPENSATION (Whole dollars only)


15. Wages and cash compensation                                                      15.n                                                                             18271740. 00
16. Employee benefits                                                                16.n                                                                              1633659. 00

17. Other (see instructions)                                                         17.n                                                                                                0. 00

18. TOTAL COMPENSATION (Add items 15 thru 17)                                        18.n                                                                             19905399. 00
                                                                                 Texas Comptroller Official Use Only


                                                                                                                                                  VE/DE


                                                                                                                                                  PM Date




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Ver. 14.0      (Rev.9-16/9)

                  n Tcode          13251 ANNUAL
n Taxpayer number                                                           n Report year                  Due date                     Taxpayer name

  *********                                                                    2023                        05/15/2023 EATSTREET, INC.
MARGIN (Whole dollars only)
19. 70% revenue (item 10 X .70)                                                19. n                                                                                 20722213. 00

20. Revenue less COGS (item 10 - item 14)                                      20. n                                                                                 29603161. 00

21. Revenue less compensation (item 10 - item 18)                              21. n                                                                                    9697762. 00

22. Revenue less $1 million (item 10 - $1,000,000)                             22. n                                                                                 28603161. 00

23. MARGIN (see instructions)                                                  23. n                                                                                    9697762. 00
APPORTIONMENT FACTOR
24. Gross receipts in Texas (Whole dollars only)                               24. n                                                                                        216638. 00

25. Gross receipts everywhere (Whole dollars only)                             25. n                                                                                 29603161. 00

26. APPORTIONMENT FACTOR (Divide item 24 by item 25, round to 4 decimal places)                                                                          26. n                 0.0073
TAXABLE MARGIN (Whole dollars only)
27. Apportioned margin (Multiply item 23 by item 26)                           27. n                                                                                         70794. 00

28. Allowable deductions (see instructions)                                    28. n                                                                                             0. 00

29. TAXABLE MARGIN (item 27 minus item 28)                                     29. n                                                                                         70794. 00
TAX DUE
30. Tax rate (see instructions for determining the appropriate tax rate)                                                X           X   X     30. n                          0.007500

31. Tax due (Multiply item 29 by the tax rate in item 30) (Dollars and cents) 31. n                                                                                            530.95
TAX ADJUSTMENTS (Dollars and cents) (Do not include prior payments)
32. Tax credits (item 23 from Form 05-160 )                                                  32. n                                                                                0.00

33. Tax due before discount (item 31 minus item 32)                                          33. n                                                                             530.95

34. Discount (see instructions, applicable to report years 2008 and 2009)                    34. n                                                                                0.00
TOTAL TAX DUE (Dollars and cents)
35. TOTAL TAX DUE (item 33 minus item 34)                                  35. n                                                                      530.95
   Do not include payment if item 35 is less than $1,000 or if annualized total revenue is less than the no tax due threshold (see instructions). If the entity
                          makes a tiered partnership election, ANY amount in item 35 is due. Complete Form 05-170 if making a payment.
 Print or type name                                                                                                                            Area code and phone number
  STEVE ANASTASI                                                                                                                               ( 866 ) 654 18777
  I declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief.                          Mail original to:
                                                                                                                                                  Texas Comptroller of Public Accounts


         =
 sign                                                                                               Date                                                   P.O. Box 149348
 here                                                                                                                                                    Austin, TX 78714-9348

              Instructions for each report year are online at www.comptroller.texas.gov/taxes/franchise/forms/. If you have any questions, call 1-800-252-1381.


                                                                            Texas Comptroller Official Use Only


                                                                                                                                                      VE/DE


                                                                                                                                                      PM Date




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                           TAX RETURN FILING INSTRUCTIONS
                                               VIRGINIA FORM 500

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              The appropriate corporate officer(s).

Amount of Tax:

                Total tax                           $                            0
                Less: payments and credits          $                            0
                Plus: other amount                  $                            0
                Plus: interest and penalties        $                            0
                No payment required                 $

Overpayment:
                Not applicable

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               This return has been prepared for electronic filing. If you wish to have it transmitted to the
               VADOT, please sign, date and return VA-8879C to our office. We will then submit the
               return to the VADOT. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:
              Return VA-8879C to us by November 15, 2023.

Special Instructions:
             Case 3-24-12061-cjf                            Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                         Desc Main
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Form 500                                                2022 Virginia Corporation
Virginia Department of Taxation
P.O. Box 1500                                              Income Tax Return
Richmond, VA 23218-1500
Attention: Return must be filed electronically. Use this form only if you have an approved waiver.                                                                       Official Use Only
         Do not file this form to carry back a net operating loss. Use Form 500NOLD.
FISCAL or
SHORT Year Filer: Beginning Date                             ,2022; Ending Date
         Short Year Return                       Change in Accounting Period
 FEIN                                              Name                                                                                              Check all that apply:
  **-***5093                                        EATSTREET, INC.                                                                                          Initial Filer
 Mailing Address
                                                                                                                                                             Name Change
  1574 W BROADWAY ST STE 200 #PMB1005                                                                                                                   X Mailing Address Change
 City or Town                                                                                   State                ZIP Code                           X Physical Address Change
  MADISON                                                                                               WI               53713
 Physical Address (if different from Mailing Address)                                                                                                 Entity Type Code


 Physical City or Town                                                                          State                ZIP Code                         NAICS Code

                                                                                                                                                      722300
 Date Incorporated                          State or Country of Incorporation                     Description of Business Activity

  01/01/2012                                   WISCONSIN                                            INTERNET SALES
 Check Applicable Boxes                                           Final Return                                                       Corporate Telecommunications Company
         Consolidated - Sch. 500AC Enclosed                               Final Return - Check here and applicable                   Enter amount from Form 500T, Line 7:
                                                                          boxes below.
         Combined - Sch. 500AC Enclosed                                                                                                                                                      .00
         Combined / Consolidated Filers -                                       Withdrawn
                                                                                                                                     Noncorporate Telecommunications Company
         Enter number of affiliates:
                                                                                Dissolved - No longer liable for tax.                Check box and enter amount from Form 500T, Line 10:
         Change in Filing Status
  X Sch. 500A Enclosed                                                          Dissolved Date:                                                                                              .00
         Sch. 500AB Enclosed                                                                                                         Electric Supplier Company
                                                                                Merged                                               Enter amount from Sch. 500EL, Line 7 or 14:
         Nonprofit Corporation
                                                                                Merger Date:                                                                                                 .00
         Certified Company Apportionment -                                                                                           Home Service Contract Provider
         Sch. 500AP Enclosed                                                    Merged FEIN:
                                                                                                                                     Enter amount from Form 500HS, Line 10:

         Amended Return (See instructions)                                      S Corp Effective:                                              Check box if a noncorporate HSCP.
         Enter reason code:                                                                                                                                                                  .00

 Questions and Related Information
 A. Have you made any payments to an affiliated corporation, a related individual, or other related entity for interest, royalties or other
    expenses related to intangible property (patents, trademarks, copyrights, and similar intangible property)? If yes, complete and
    enclose Schedule 500AB.
                                     Enter exception amount from Schedule 500AB, Line 8.                  A.                                                                                 .00


 B. RESERVED FOR FUTURE USE                                                                                                               B.
 C. If a net operating loss deduction was claimed in computing federal                                       (1) Year of Loss
    taxable income on the U.S. Corporation Income Tax Return, provide
    the requested information. If a NOL resulted from a merger, enter the                                    (2) Federal NOL
    FEIN of the company generating the NOL prior to the merger date.
                                                                                                             (3) Percent of federal
        FEIN                                                                             NOL used this year                                                                                  %
        (If there are NOLs for more than one year, enclose a schedule for each year with the information requested in Section C.)
 D. If pass-through entity withholding is claimed, enter the number of Schedules VK-1 and
    complete and enclose Schedule 500ADJ, Page 2.                                                                                         D.
 E. Has your federal income tax liability been redetermined with the                                                             Year     E.
    IRS and finalized for any prior year(s) that has not previously been
        reported to the Department? If yes, provide the year(s).                                                                 Year
                                                                                                                                 Year
 F. Location of corporation's books                     1574 W BROADWAY ST STE 200 #

        Contact for corporation's books STEVE                       ANASTASI                                  Contact Phone Number             866-654-8777
Va. Dept. of Taxation 2601004-W     Rev. 07/22
                                                    283401 12-07-22             1019
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2022 Virginia
Form 500                                          FEIN
                                                   **-***5093
Page 2

 INCOME

 1. Federal taxable income (from enclosed federal return) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    1.           -5131799                  .00
 2. Total additions from Schedule 500ADJ, Section A, Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    2.              36200                  .00
 3. Total (add Lines 1 and 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                  3.           -5095599                  .00
 4. Total subtractions from Schedule 500ADJ, Section B, Line 10 ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  4.             914153                  .00
 5. Balance (subtract Line 4 from Line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            5.           -6009752                  .00
 6. Savings and Loan Association's Bad Debt Deduction (see instructions)                                     ~~~~~~~~~~~~~~~~~~~                                          6.                                     .00
 7. Virginia taxable income (subtract Line 6 from Line 5) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    7.           -6009752 .00


 TAX COMPUTATION

 8. Apportionable Income (Schedule 500A Filers) - Complete Lines 8(a) through 8(d). See instructions.
     (a) Income subject to Virginia tax from Schedule 500A, Section B, Line 3(j)                                  ~~~~~~~~~~~~~~~~~                                   8(a).                -48631 .00
     (b) Apportionment factor percentage from Schedule 500A, Section B, Line 1 or Line 2(f)                                            ~~~~~~~~~~ 8(b).                                   .809204 %
     (c) Nonapportionable investment function income from Schedule 500A, Section B, Line 3(c)                                               ~~~~~~~~ 8(c).                                                       .00
     (d) Nonapportionable investment function loss from Schedule 500A, Section B, Line 3(e)                                            ~~~~~~~~~~ 8(d).                                                          .00


 9. Income tax (6% of Line 7 or 6% of Line 8(a)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        9.                               0 .00
 PAYMENTS AND CREDITS

10. Nonrefundable tax credits: Enter the amount from Schedule 500CR, Section 2, Part 1, Line 1B ~~~~~~~~                                                                10.                                      .00
11. Adjusted corporate tax (subtract Line 10 from Line 9) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  11.                                      .00
12. 2022 estimated Virginia income tax payments including overpayment credit from 2021 ~~~~~~~~~~~~                                                                     12.                                      .00
13. Extension payment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                     13.                                      .00
14. Refundable tax credits from Schedule 500CR, Section 4, Part 1, Line 1A ~~~~~~~~~~~~~~~~~~                                                                           14.                                      .00
15. Pass-through entity total withholding from Schedule 500ADJ, Section D ~~~~~~~~~~~~~~~~~~~                                                                           15.                                      .00
16. Total payments and credits (add Lines 12 through 15) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    16.                                      .00

 REFUND OR TAX DUE

17. Tax owed (if Line 11 is greater than Line 16, subtract Line 16 from Line 11)                                  ~~~~~~~~~~~~~~~~~                                     17.                                      .00
18. Penalty (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               18.                                      .00
19. Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              19.                                      .00
20. Additional charge from Form 500C, Line 17 (enclose Form 500C)                                   ~~~~~~~~~~~~~~~~~~~~~~                                              20.                                      .00
21. Total due (add Lines 17 through 20)                     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        21.                                      .00
22. Overpayment (if Line 16 is greater than Line 11, subtract Line 11 from Line 16) ~~~~~~~~~~~~~~~~                                                                    22.                                      .00
23. Amount to be credited to 2023 estimated tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        23.                                      .00
24. Amount to be refunded (subtract Line 23 from Line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   24.                                      .00

I, the undersigned president, vice-president, treasurer, assistant treasurer, chief accounting officer, or other officer duly authorized to act on behalf of the corporation for which this return is made, declare
under the penalties provided by law that this return (including any accompanying schedules and statements) has been examined by me and is, to the best of my knowledge and belief, a true, correct, and
complete return, made in good faith, for the taxable year stated, pursuant to the income tax laws of the Commonwealth of Virginia. If prepared by a person other than the taxpayer, this declaration is
based on all information of which he or she has any knowledge.



By checking the box to the right, I (we) authorize the Department to discuss this return with the undersigned preparer.
 Date                          Signature of Officer                                                                                         Title
                                                                                                                                                                                     ) X
                                                                                                                                            CEO
 Printed Name of Officer                                                                                                                    Phone Number
STEVE ANASTASI                                                                                                                              866-654-8777
 Print Preparer's Name and Firm Name DANIEL T. O'CONNOR, CPA                                                                                Preparer Phone Number
BAKER TILLY US, LLP                                                                                                                      608.249.6622
 Date                          Individual or Firm, Signature of Preparer                                            Address of Preparer PO BOX 7398
11/09/23                       DANIEL T. O'CONNOR, CPA                                                               MADISON, WI 53707-7398
 Preparer's FEIN, PTIN, or SSN                                                                                      Approved Vendor Code
**-***9910                                                                                                                                                        1019
                             IMPORTANT: INCLUDE A COPY OF YOUR FEDERAL RETURN WITH THIS RETURN
283402 12-07-22
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2022 Virginia                                                 Corporation Schedule
Schedule 500ADJ                                                  of Adjustments

 Name as shown on Virginia return   EATSTREET, INC.                                                                        FEIN   **-***5093
Use Schedule 500ADJS in addition to the Schedule 500ADJ if you are claiming more additions or subtractions than the Schedule
500ADJ allows. Refer to the Form 500 Instructions for addition and subtraction codes.
Check this box and enclose Schedule 500ADJS with your return ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
 Section A - Additions to Federal Taxable Income

1. Fixed date conformity addition - Depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     1.                       3699 .00
2. Fixed date conformity addition - Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         2.                             .00
3. Taxable addition from Schedule 500AB, Line 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      3.                             .00
4. Net income tax and other taxes that are based on, measured by, or computed with reference
    to net income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    4.                      32501 .00
5. Interest on state obligations other than Virginia ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  5.                             .00
6. Other Additions
                                                           Code
   See instructions for addition codes.
                                                                   6a.                    ~~~~~~~~~~~~~~~~~~                          6a.                            .00
                                                                   6b.                    ~~~~~~~~~~~~~~~~~~                          6b.                            .00
                                                    6c.                     ~~~~~~~~~~~~~~~~~~                                        6c.                            .00
7. Total Additions. Add Lines 1-5 and 6a-6c. Enter here and on Form 500, Line 2 ~~~~~~~~~~~~~~~~                                        7.                    36200 .00
 Section B - Subtractions from Federal Taxable Income

1. Fixed date conformity subtraction - Depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    1.                             .00
2. Fixed date conformity subtraction - Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       2.                             .00
3. Income from obligations or securities of the U.S. exempt from state income taxes,
   but not from federal income taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            3.                             .00
4. Foreign dividend gross-up (IRC ¤ 78) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          4.                             .00
5. Refund or credit of income taxes included in federal taxable income ~~~~~~~~~~~~~~~~~~~~~                                          5.                             .00
6. Subpart F income (IRC ¤ 951) and/or Global Intangible Low-Taxed Income (IRC ¤ 951A)                    ~~~~~~~~~~~                 6.                             .00


7. Foreign source income subtraction allowed by Va. Code ¤ 58.1-402 C 8 ~~~~~~~~~~~~~~~~~~~                                           7.                             .00
8. Dividends received from corporations in which the recipient owns 50% or more
    of the voting stock, to the extent remaining in federal taxable income           ~~~~~~~~~~~~~~~~~~~~                             8.                             .00
9. Other Subtractions. See instructions for subtraction codes.

                         Certification Number                                Code

          9a.                                                                 99           STATEMENT 1
                                                                                          ~~~~~~~~~~~~~~~~~~                          9a.                68154 .00
          9b.                                                                 65          ~~~~~~~~~~~~~~~~~~                          9b.               845999 .00
          9c.                                                                             ~~~~~~~~~~~~~~~~~~                          9c.                            .00
10. Total Subtractions. Add Lines 1-8 and 9a-9c. Enter here and on Form 500, Line 4 ~~~~~~~~~~~~~~                                    10.               914153 .00
 Section C - Amended Return
If you are filing an amended return, complete Section C to determine if you will receive an additional refund or if you need to make an additional payment.

1. Add amount paid with original return plus additional tax paid after it was filed.
   (Do not include amount paid from Form 500, Line 20.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1.                             .00
2. Add Line 1 from above and Line 16 from Form 500 and enter the total here ~~~~~~~~~~~~~~~~~                                         2.                             .00
3. Overpayment, if any, as shown on original return or as previously adjusted ~~~~~~~~~~~~~~~~~~                                      3.                             .00
4. Subtract Line 3 from Line 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              4.                             .00
5. If Line 4 above is less than Line 11 on amended Form 500, subtract Line 4 above from
    Line 11 on amended Form 500. This is the tax you owe                    ~~~~~~~~~~~~~~~~~~~~~~~~~~                                5.                             .00
6. Refund. If Line 11 on amended Form 500 is less than Line 4 above, subtract Line 11
   on amended Form 500 from Line 4 above. This is the tax you overpaid ~~~~~~~~~~~~~~~~~~~                                            6.                             .00

EXPLANATION OF CHANGES TO INCOME AND MODIFICATIONS
Enclose an explanation for amending return. Provide the line reference from the Form 500 for which a change is reported and give the reason
for each change. Show any computation in detail and enclose any applicable schedules.



283691 12-07-22    1019        Va. Dept. of Taxation 2601001-W Rev. 07/22
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  EATSTREET, INC.                  Document    Page 308 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  VA 500ADJ            SUBTRACTIONS FROM TAXABLE INCOME            STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  CODE AND DESCRIPTION                          CERTIFICATE NUMBER                 AMOUNT
  }}}}}}}}}}}}}}}}}}}}                          }}}}}}}}}}}}}}}}}}             }}}}}}}}}}}}}}
  99 BASIS DIFFERENCE ON DISPOSED
     ASSETS                                                                           68,154.
  65                                                                                 845,999.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 500ADJ - SUBTRACTIONS                                                914,153.
                                                                               ~~~~~~~~~~~~~~




                                               4                                STATEMENT(S) 1
13111109 144198 89475                       2022.05000 EATSTREET, INC.                  89475__1
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2022 Virginia                                         Corporation Schedule of
Schedule 500FED                                         Federal Line Items

                               Enclose Schedule 500FED with your Virginia Corporation Income Tax Return, Form 500.
                    Schedule 500FED does not replace the requirement to enclose a complete federal Form 1120 with your Virginia return.

 Name as shown on Virginia return   EATSTREET, INC.                                                          FEIN   **-***5093
 Form 1120 - Deductions and Taxable Income

 1. Federal Taxable Income before NOL and Special Deductions ~~~~~~~~~~~~~~~~~~~~~~~~                                  1.        -5131799 .00
 2. Net Operating Loss Deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               2.                      .00
 3. Special Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3.                      .00
 4. Federal Taxable Income after NOL and Special Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~                                  4.        -5131799 .00
 Form 1120, Schedule C - Dividends and Special Deductions
 5. Subpart F Income and/or Global Intangible Low-Taxed Income ~~~~~~~~~~~~~~~~~~~~~~~                                 5.                      .00
 6. Gross-Up for Foreign Taxes Deemed Paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6.                      .00

 Form 1120, Schedule K or M-1
 7. Tax Exempt Interest             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       7.                      .00

 Form 5884 - Work Opportunity Credit

 8. Salaries and Wages not deducted due to the WOTC                         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~               8.                      .00
 Form 4562 - Special Depreciation Allowance and Other Depreciation

 9. Special depreciation allowance for qualified property placed in service during the
    taxable year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      9.                      .00
10. Property subject to 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10.                      .00
11. Other depreciation ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  11.                 5226 .00
 Form 1118, Schedule A - Income or Loss Before Adjustments - Gross Income or Loss

12. Total: Dividends (Exclude Gross-up) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12.                      .00
13. Total: Dividends (Gross-up) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             13.                      .00
14. Total: Inclusions (Exclude Gross-up) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        14.                      .00
15. Total: Inclusions (Gross-up) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            15.                      .00
16. Total: Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   16.                      .00
17. Total: Gross Rents, Royalties, and License Fees ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    17.                      .00
18. Total: Gross Income from Performance of Services ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    18.                      .00
19. Total: Other ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     19.                      .00
20. Total: Total Gross Income or Loss from Outside the US ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 20.                      .00
 Form 1118, Schedule A - Income or Loss Before Adjustments - Deductions

21. Total: Allocable - Rental, Royalty, and Licensing Expenses -
    Depreciation, Depletion, and Amortization ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      21.                      .00
22. Total: Allocable - Rental, Royalty, and Licensing Expenses - Other Expenses ~~~~~~~~~~~~~~~~~                     22.                      .00
23. Total: Allocable - Expenses Related to Gross Income from Performance of Services ~~~~~~~~~~~~~                    23.                      .00
24. Total: Allocable - Other Allocable Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    24.                      .00
25. Total: Total Allocable Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          25.                      .00
26. Total: Apportioned Share of Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        26.                      .00
27. Total: Net Operating Loss Deduction ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          27.                      .00
28. Total: Total Deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               28.                      .00

 Form 1118, Schedule A - Income or Loss Before Adjustments - Total Income
29. Total: Total Income or (Loss) Before Adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   29.                      .00




283701 12-07-22    1019        Va. Dept. of Taxation 2601002-W Rev. 07/22
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2022 Virginia                               Corporation Allocation and
Schedule 500A                               Apportionment of Income

 Name as shown on Form 500                                                                                            FEIN
          EATSTREET, INC.                                                                                            **-***5093
Check if you are -          Filing a consolidated or combined return.
                            A certified company conducting business in certain disadvantaged localities electing to use a modified
                            apportionment method (enclose Schedule 500AP).
                            A property information and analytics firm that has entered into a memorandum of understanding with VEDP and
                            meets the criteria outlined in Va. Code ¤ 58.1-422.4.
 Section A - Apportionment Method
                                                                               7. Manufacturer's Modified Apportionment Method
1. Motor Carrier Mileage Factor ~~~~~~~~~~~~~~~                                   Sales Factor ~~~~~~~~~~~~~~~~~~~~~~~~~
   If an exception applies, check the applicable box below
                  Exception 1              Exception 2                              (a)   Enter beginning date of election year
                                                                                    (b)   Wage and employment certification required each year:
2. Financial Corporation Cost of Performance Factor ~~~~                                  Check to certify that the average weekly wages of the
3. Construction Corporation                                                               full-time employees is greater than the lower of the state
                                                                                          or local average weekly wages for its industry, and that
    Completed Contract Basis Sales Factor              ~~~~~~~~~
                                                                                          the average annual number of full-time employees of the
                                                                                          manufacturing company is at least 90% of the base year
4. Railway Company Revenue Car Miles ~~~~~~~~~~~                                          employment ~~~~~~~~~~~~~~~~~~~~~~~~

5. Retail Company Apportionment ~~~~~~~~~~~~~~                                 8.    Enterprise Data Center Operation ~~~~~~~~~~~~~~


6. Debt Buyers Apportionment            ~~~~~~~~~~~~~~~                        9.    Multi-Factor Formula With Double-Weighted Sales      ~~~~~        X

 Section B - Apportionment Computation
                                                                                     Column A                  Column B                 Column C
1. Single Factor Computation                                                           Total                    Virginia               Percentage
    Motor carriers, financial corporations, construction corporations,
    railway companies, retail companies, debt buyers, manufacturers
    who elected the modified apportionment method in Section A,
    and certain enterprise data center operations ~~~~~~~~                 1                         .00                     .00                       %

2. Multi-Factor Computation

    (a)    Property Factor ~~~~~~~~~~~~~~~~~~~~ 2(a)                                 5356905 .00                      0 .00             .000000 %
    (b)    Payroll Factor ~~~~~~~~~~~~~~~~~~~~~ 2(b)                                23299723 .00                  60557 .00             .259904 %
    (c)    Sales Factor ~~~~~~~~~~~~~~~~~~~~~~ 2(c)                                 28893995 .00                 430074 .00            1.488455 %

    (d)    Double-Weighted Sales Factor Apportionment: Multiply the sales factor from Line 2(c) by 2 ~~~~~~~~~ 2(d)                    2.976910 %
    (e)    Sum of Percentages. Add Lines 2(a), 2(b), and 2(d)          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 2(e)                               3.236814 %
    (f)    Multi-Factor Percentage (Double-Weighted Sales): Divide Line 2(e) by 4, reduced by the number of
           factors, if any, having no denominator ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        2(f)       .809204 %

3. Income Subject to Virginia Tax

    (a)    Virginia Taxable Income from Form 500, Line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3(a)                                          -6009752 .00
    (b)    Total Dividends (total amount of allocable income) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3(b)                                                       .00


    (c)    Nonapportionable Investment Function Income. Enter on Form 500, Line 8(c) ~~~~~~~~~~~~~~~~ 3(c)                                             .00
    (d)    Add Lines 3(b) and 3(c)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3(d)                                                                  .00
    (e)    Nonapportionable Investment Function Loss. Enter on Form 500, Line 8(d) ~~~~~~~~~~~~~~~~~ 3(e)                                              .00


    (f)    Total Nonapportionable Income. Line 3(d) minus Line 3(e)       ~~~~~~~~~~~~~~~~~~~~~~~~~                          3(f)                      .00
    (g)    Income Subject to Apportionment. Line 3(a) minus Line 3(f) ~~~~~~~~~~~~~~~~~~~~~~~~~ 3(g)                                   -6009752 .00
    (h)    Income Apportioned to Virginia. Multiply the percentage from Line 1 or Line 2(f) by Line 3(g) ~~~~~~~~~ 3(h)                  -48631 .00
    (i)    Dividends Allocated to Virginia. Portion of dividends reported on Line 3(b) ~~~~~~~~~~~~~~~~~~                    3(i)                      .00


    (j)    Income Subject to Virginia Tax. Add Lines 3(h) and 3(i). Enter on Form 500, Line 8(a)    ~~~~~~~~~~~~ 3(j)                     -48631 .00
283421 12-07-22   1019    Va. Dept. of Taxation 2601006-W Rev. 07/22
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   VA-8879C                     Virginia Corporation Income Tax e-file Signature
                                                                                                                                                       Tax Year
 Virginia Department
                                                 Authorization                                                                                          2022
      of Taxation

   DO NOT SEND THIS VA-8879C TO THE VIRGINIA DEPARTMENT OF TAXATION OR THE IRS.
                       IT MUST BE MAINTAINED IN YOUR FILES!

 Corporation Name                                                                                                             Federal ID Number

EATSTREET, INC.                                                                                                                   **-***5093
 Part I Tax Return Information
  1. Federal Taxable Income (Form 500, Page 2, Line 1)                                                                               1.       -5,131,799.
  2. Virginia Taxable Income (Form 500, Page 2, Line 7)                                                                              2.       -6,009,752.
  3. Income tax (Form 500, Page 2, Line 9)                                                                                           3.
  4. Total payments and credits (Form 500, Page 2, Line 16)                                                                          4.
  5. Total due (Form 500, Page 2, Line 21)                                                                                           5.
  6. Amount to be refunded (Form 500, Page 2, Line 24)                                                                               6.
  Part II Declaration and Signature Authorization of Officer
  Under penalties of perjury, I declare to be the officer of the above corporation and that I have examined a copy of the corporation's 2022 electronic
  return and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct and complete. I further declare
  that the information provided to my Electronic Return Originator (ERO), Transmitter, or Intermediate Service Provider including the amounts shown
  in Part I above agrees with the information and amounts shown on the corresponding lines of the corporate electronic income tax return. If filing a
  balance due return, I authorize the Virginia Department of Taxation (Virginia Tax) and its designated Financial Agent to initiate an ACH electronic
  funds withdrawal entry to the financial institution account indicated on the 2022 Virginia income tax return for payment of state taxes owed on this
  return. I also authorize the financial institutions involved in the processing of the electronic payment of taxes to receive confidential information
  necessary to answer inquiries and resolve issues related to the payment. I certify that the transaction does not directly involve a financial institution
  outside of the territorial jurisdiction of the United States at any point in the process.

  I understand that if Virginia Tax does not receive full and timely payment of the tax liability, the corporation will remain liable for the tax liability and
  all applicable interest and penalties. I authorize my ERO, Transmitter or Intermediate Service Provider to transmit the complete return to Virginia Tax.
  I have selected a personal identification number (PIN) as my signature for the corporation's electronic income tax return.


  Officer's e-File PIN: check one box only
   X      I authorize the ERO named below to enter my e-File PIN         12345                  as my signature on the corporation's 2022 electronic Virginia
                                                                       Do not enter all zeros
           corporation income tax return.
           BAKER TILLY US, LLP
                                                                           ERO Firm Name
           I will enter my e-File PIN as my signature on the corporation's 2022 electronic Virginia corporation income tax return. Check this box only
           if you are entering your own e-File PIN and the return is filed using the Practitioner PIN method. The ERO must complete Part III below.


  Your Signature                                                                                                                     Date

  Part III Certification and Authentication
  ERO's EFIN/PIN: Enter your six digit EFIN followed by your five digit self-selected PIN.              39095054321
                                                                                                         Do not enter all zeros
  I certify that the above numeric entry is my ERO EFIN/PIN, which is my signature for the 2022 Virginia corporation income tax return for the
  corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of the Practitioner PIN method and
  have followed all other requirements as specified by Virginia Tax. EROs may sign the form using a rubber stamp, mechanical device, such as
  a signature pen, or computer software program.


  ERO's Signature        DANIEL T. O'CONNOR, CPA                                                                                     Date     11/09/23

                                                                                                                                      Form VA-8879C (REV 9/22)




283481 11-17-22   1019
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                              Electronic Filing PDF Attachment




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               Case 3-24-12061-cjf                Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                   Desc Main
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                                            Limitation on Business Interest Expense
   Form   8990
   (Rev. December 2022)
                                                      Under Section 163(j)                                                             OMB No. 1545-0123
                                                                       Attach to your tax return.
   Department of the Treasury
   Internal Revenue Service           Go to www.irs.gov/Form8990 for instructions and the latest information.
   Taxpayer name(s) shown on tax return                                                                                  Identification number
          EATSTREET, INC.                                                                                                 XX-XXXXXXX
      A     If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
                 Name of foreign entity
                 Employer identification number, if any
                 Reference ID number
      B     Is the foreign entity a CFC group member? See instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              Yes         No
      C     Is this Form 8990 filed by the specified group parent for an entire CFC group? See instructions ~~~~~~~~~~~~                Yes         No
      D     Has a CFC or a CFC group made a safe harbor election? If yes, see instructions for which lines of Form 8990
            to complete                                                            Yes         No
    Part I        Computation of Allowable Business Interest Expense
    Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
    taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

   Section I - Business Interest Expense
      1      Current year business interest expense (not including floor plan
             financing interest expense), before the section 163(j) limitation ~~~~~~~               1      2,819,995.
      2      Disallowed business interest expense carryforwards from prior
             years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                             2
      3      Partner's excess business interest expense treated as paid or
             accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~                    3
      4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                               4
      5      Total business interest expense. Add lines 1 through 4                                  5       2,819,995.
   Section II - Adjusted Taxable Income

                                                                          Tentative Taxable Income

      6      Tentative taxable income. See instructions                                        6      -5,147,663.

                                    Additions (adjustments to be made if amounts are taken into account on line 6)

      7      Any item of loss or deduction that is not properly allocable to a trade or
             business of the taxpayer. See instructions    ~~~~~~~~~~~~~~~~                          7                        ALL ADJUSTMENTS
      8      Any business interest expense not from a pass-through entity. See instr.        ~       8                         ARE INCLUDED
      9      Amount of any net operating loss deduction under section 172        ~~~~~~              9                          IN LINE 6
    10       Amount of any qualified business income deduction allowed under                                                   SEE FORM 8990
             section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           10                           ADJUSTED
    11       Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~                                     11                        TAXABLE INCOME
    12       Amount of any loss or deduction items from a pass-through entity.                                                   WORKPAPER
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         12
    13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                                13
    14       Total current year partner's excess taxable income (Schedule A, line
             44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14
    15       Total current year S corporation shareholder's excess taxable
             income (Schedule B, line 46, column (c))     ~~~~~~~~~~~~~~~~~                         15
    16       Total. Add lines 7 through 15                                             16

                                    Reductions (adjustments to be made if amounts are taken into account on line 6)

    17       Any item of income or gain that is not properly allocable to a trade
             or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                          17 (                  )
    18       Any business interest income not from a pass-through entity. See instructions          18 (                  )
    19       Amount of any income or gain items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19 (                  )
    20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                              20 (                  )
    21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          21 (                         )
    22       Adjusted taxable income. Combine lines 6, 16, and 21. See instructions                          22
   LHA For Paperwork Reduction Act Notice, see the instructions.                          223211 01-25-23                       Form 8990 (Rev. 12-2022)
                                                                                1
09471107 144198 89475                                                        2022.05000 EATSTREET, INC.                                          89475__1
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   Form 8990 (Rev. 12-2022)                                                                                                                              Page 2

   Section III - Business Interest Income
    23      Current year business interest income. See instructions ~~~~~~~~~~                  23
    24      Excess business interest income from pass-through entities (total of
            Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
    25      Total. Add lines 23 and 24                                                    25

   Section IV - Section 163(j) Limitation Calculations

                                                         Limitation on Business Interest Expense

    26      Multiply the adjusted taxable income from line 22 by the applicable
            percentage. See instructions ~~~~~~~~~~~~~~~~~~~~~~~                                26
    27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27
    28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
    29      Total. Add lines 26, 27, and 28                                                 29

                                                           Allowable Business Interest Expense

    30      Total current year business interest expense deduction. See instructions                              30

                                                                         Carryforward

    31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31          2,819,995.
    Part II     Partnership Pass-Through Items
    Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
    and are not carried forward by the partnership. See the instructions for more information.

                                                             Excess Business Interest Expense

    32      Excess business interest expense. Enter amount from line 31                                     32

                                  Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

    33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
    34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
    35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
    36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                             Excess Business Interest Income

    37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       37
    Part III S Corporation Pass-Through Items
    Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
    See the instructions for more information.

                                                                   Excess Taxable Income

    38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
    39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
    40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
    41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                             Excess Business Interest Income

    42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       42
                                                                                                                                    Form 8990 (Rev. 12-2022)




   223212 01-25-23
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                           TAX RETURN FILING INSTRUCTIONS
                                               WISCONSIN FORM 4

                                        FOR THE YEAR ENDING
                                               December 31, 2022

Prepared For:

                EatStreet, Inc.
                1574 W Broadway st Ste 200 #PMB1005
                Madison, WI 53713

Prepared By:
                Baker Tilly US, LLP
                PO Box 7398
                Madison, WI 53707-7398


To Be Signed and Dated By:
              Not applicable

Amount of Tax:

                Total tax                           $                        25
                Less: payments and credits          $                        50
                Plus: other amount                  $                         0
                Plus: interest and penalties        $                         0
                Overpayment                         $                        25

Overpayment:

                Credit to your estimated tax        $                        25
                Other amount                        $                         0
                Refunded to you                     $                         0

Make Check Payable to:
             Not applicable

Mail Tax Return and Check (if applicable) to:
               The Wisconsin return has been prepared for electronic filing. No further action is
               required.

Return Must be Mailed On or Before:
              Return to us by November 15, 2023.

Special Instructions:
                                                    Case 3-24-12061-cjf                             Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                            Desc Main
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                       Form
                                                  4
                                                       Wisconsin Non-Combined Corporation
                                                       Franchise or Income Tax Return                                                                                                                                         2022
                         For calendar year 2022 or tax year beginning                                                                          and ending
                                                                                                       MM DD YYYY                                              MM DD YYYY

                         Complete form using BLACK INK.                                                           Due Date: Generally the 15th day of 4th month following close of taxable year. See instructions.
                         Corporation Name
                                             EATSTREET, INC.
DO NOT STAPLE OR BIND




                         Number and Street                                                                                                                                                                        Suite Number
                                             1574 W BROADWAY ST STE 200 #PMB1005
                         City                                                                                                        State        ZIP (+ 4 digit suffix if known)       A Federal Employer ID Number
                                             MADISON                                                                                   WI          53713                                ** ***5093
                                                                                                                                                                                        B Business Activity (NAICS) Code
                         D Check U if applicable and attach explanation:                                                                                                                722300
                         1                        Amended return (Include Schedule AR)                                  4        Short period - change in accounting period             C State of Incorporation            and    Year
                         2                        First return - new corporation or entering Wisconsin                  5        Short period - stock purchase or sale
                                                                                                                                                                                                   Enter abbreviation of
                                                                                                                                                                                                   state in box, or if a          2012
                                                                                                                                                                                          WI       foreign country, enter
                                                                                                                                                                                                   below.
                                                                                                                                                                                                                                   YYYY

                         3                        Final return - corporation dissolved or withdrew

                         Check U if applicable and see instructions:

                         E                    X   If you have an extension of time to file. Enter federal extended due date              11 15 2023
                                                                                                                                          MM DD YYYY
                         F                        If no business was transacted in Wisconsin during the taxable year,
                                                  attach a complete copy of your federal return.


                         G                        If you have related entity expenses and are required to file Schedule RT with this return.

                         H                        If this return is for an insurance company.

                         I                        IRS adjustments became final during the year. Years adjusted              |


                         J                        If you filed a federal consolidated return, enter Parent Company's FEIN            |

                         DO NOT USE THIS FORM IF FILING AS A COMBINED GROUP                                                                                                         IF NO ENTRY ON A LINE, LEAVE BLANK

                                                             ENTER NEGATIVE NUMBERS LIKE THIS
                                                                                                                            )       -1000 NOT LIKE THIS
                                                                                                                                                                 )        (1000)                       NO COMMAS; NO CENTS


                                             1 Enter the amount from Form 1120, line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         1                            -5131799 .
                                             2 Additions (from Schedule 4V, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          2                               39908 .
                                             3 Add lines 1 and 2 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                    3                            -5091891 .

                                                                                                                                                                                                                        5598087 .
      PAPER CLIP check or money order here




                                             4 Subtractions (from Schedule 4W, line 16) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         4
                                             5 Subtract line 4 from line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              5                      -10689978 .

                                             6 Total company net nonapportionable and separately apportioned income
                                               (from Form(s) N, line 8) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               6                                .
                                             7 Subtract line 6 from line 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              7                      -10689978 .

                                             8 Wisconsin apportionment percentage. Enter the apportionment schedule used:   A     01                                                           8                      62.0430             %
                                               If 100% apportionment, check ( U) the space after the arrow ~~~~~~~~~~~~~~~~~     J
                                               If using separate accounting, check ( U) the space after the arrow ~~~~~~~~~~~~~~ J


                               9 Multiply line 7 by line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            9                            -6632383 .
                              10 Wisconsin net nonapportionable and separately apportioned income
                                               (from Form N, line 14) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                10                                          .

                              11 Add lines 9 and 10 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                11                            -6632383 .
                              12 Loss adjustment for insurance companies (from Schedule 4I, line 20) ~~~~~~~~~~~~~~~~~                                                                        12                                     .

                              13 Add lines 11 and 12. This is the Wisconsin income before net business loss carryforwards ~~~~~~                                                              13                            -6632383 .
                              14 Wisconsin net business loss carryforward from Form 4BL, line 30(f). Do not enter more than
                                               line 13 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                       14                                          .
                              15 Subtract line 14 from line 13. This is Wisconsin net income or loss.
                                 Check if excess inclusion income from real estate mortgage investment conduit                                              ~~~~~~~                 J         15                            -6632383 .
                         IC-040 (R. 7-22)                   287481 11-04-22       CCH
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                  EATSTREET, INC.                     Document    Page 317 of 326          ** ***5093
2022 Form 4                                                                                                                  Page 2 of 3

16   Enter 7.9% (0.079) of Wisconsin net income on line 15. This is tentative gross tax ~~~~~~~~~~~                  16                .

17   Tax adjustment for insurance companies (from Schedule 4I, line 26)           ~~~~~~~~~~~~~~~~~                  17                .
18   Gross tax (subtract line 17 from line 16)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    18                .

19   Nonrefundable credits (from Schedule CR) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19                .
20   Subtract line 19 from line 18. If line 19 is more than line 18, enter zero (0). This is net tax   ~~~~~~~       20                .

21   Economic development surcharge (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~                                     21           25 .
22   Endangered resources donation (decreases refund or increases amount owed) ~~~~~~~~~~~~                          22              .

23   Veterans trust fund donation (decreases refund or increases amount owed) ~~~~~~~~~~~~~~                         23              .
24   Add lines 20 through 23 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 24           25 .
25   Estimated tax payments and 2021 credit carryforward,
     less refund from Form 4466W ~~~~~~~~~~~~~~~~                            25                               50 .

26   Wisconsin tax withheld (see instructions) ~~~~~~~~~~~                   26                                  .
27   Refundable credits (from Schedule CR)        ~~~~~~~~~~~                27                                  .

28   Amended Return Only - amount previously paid         ~~~~~~~            28                                  .
29   Add lines 25 through 28 ~~~~~~~~~~~~~~~~~~~                             29                               50 .

30   Amended Return Only - amount previously refunded ~~~~~
                                                   30                                                            .
31   Subtract line 30 from 29 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                31           50 .
32   Interest, penalty, and late fee due (from Form U, line 17 or 26)
     If you annualized income on Form U, check ( U) the space after the arrow ~~~~~~~~~~                  |          32                .

33   Amount Due. If the total of lines 24 and 32 is larger than 31, subtract line 31 from the total
     of lines 24 and 32 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   33                .
34   Overpayment. If line 31 is larger than the total of lines 24 and 32, subtract the total of lines
     24 and 32 from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 34           25 .

35   Enter amount from line 34 you want credited to
     2023 estimated tax ~~~~~~~~~~~~~~~~~~~~~                        35              25 .
36   Subtract line 35 from line 34. This is your refund      ~~~~~~~~~~~~~~~~~~~~~~~~~~   36                                       .
37   Enter total gross receipts from all activities (see instructions) ~~~~~~~~~~~~~~~~~~~~~                         37   30233563 .

38   Enter total assets from federal Form 1120 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        38    4487013 .
39   Total Wisconsin tangible property (see instructions)      ~~~~~~~~~~~~~~~~~~~~~~~~~                             39     344257 .

40   Total tangible property (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      40     344257 .
41   Total Wisconsin payroll (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      41   18035074 .

42   Total payroll (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           42   23299723 .
43   Total Wisconsin sales, receipts, or premiums included in apportionment ratio (see instructions)      ~~~~       43   35853402 .

44   Total sales, receipts, or premiums included in apportionment ratio (see instructions)        ~~~~~~~~~          44   57787990 .




287482 11-04-22   CCH
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2022 Form 4                                                                                                                                           Page 3 of 3

45   Is the corporation the sole owner of any limited liability companies?
           Yes        X No      If yes, prepare and submit Schedule DE with this return.


46   Did you include the income of the LLCs listed for item 45 in this return?
           Yes            No


47   Did you purchase, license, lease or rent any taxable tangible personal property, certain coins and stamps, certain leased property
     affixed to real estate, certain digital goods, or taxable services, for storage, use or consumption in Wisconsin without paying a
     state sales or use tax?
           Yes        X No
48   Person to contact concerning this return:


     Last name:          ANASTASI                                                     First name:         STEVE

     Phone #:            8666548777                                                   Fax #:              N/A

49   City and state where books and records are located for audit purposes:                  City   MADISON                                        State    WI
50   List the locations of Wisconsin operations:           MADISON

51         Yes        X No       Are any manufacturing facilities located in Wisconsin?


52   Did you file federal Schedule UTP - Uncertain Tax Position Statement with the Internal Revenue Service?
           Yes        X No      If yes, enclose federal Schedule UTP with your Wisconsin tax return.


53   Did you file federal Form 8886 - Reportable Transaction Disclosure Statement with the Internal Revenue Service?


           Yes        X No      If yes, enclose federal Form 8886 with your Wisconsin tax return.




                  Do you want to allow another person to discuss this return with the department?       X Yes Complete the following.            No
Third
Party                Print
                     Designee's                                                           Phone Number L                     Personal Identification Number (PIN) L
Designee             Name J BAKER           TILLY US, LLP                  608 249 6622                                         43763


Under penalties of law, I declare that this return and all attachments are true, correct, and complete to the best of my knowledge and belief.
  Signature of Officer                                            Title                                                             Date


=                                                                  CEO

= DANIEL T. O'CONNOR, CPA
  Preparer's Signature                                            Preparer's Federal Employer ID Number                             Date
                                                                   ** ***9910                                                           11092023

You must file a copy of your federal return with Form 4, even if no Wisconsin activity.


If you are not filing your return electronically, make your check payable to and mail your return to:

Wisconsin Department of Revenue
PO Box 8908
Madison WI 53708-8908




287483 11-04-22    CCH
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Schedule                           Wisconsin Single Sales Factor Apportionment
         A-01                           Data for Nonspecialized Industries
                                                File with Wisconsin Form 1NPR, 2, 3, 4, 4T, 5S, or 6
                                                                                                                           2022
        Wisconsin
  Department of Revenue                            Read instructions before filling in this schedule

Name                                                                                                      Identifying Number

  EATSTREET, INC.                                                                                             ** ***5093
Round amount to nearest dollar


                                                                                           Wisconsin                  Total Company
  1 Sales of tangible personal property delivered or shipped to
    Wisconsin purchasers:

      a Shipped from outside Wisconsin ~~~~~~~~~~~~~~~~ 1a                                                .

    b Shipped from within Wisconsin ~~~~~~~~~~~~~~~~~ 1b                                                  .
  2 Sales of tangible personal property shipped from Wisconsin to:


      a The federal government within Wisconsin ~~~~~~~~~~~~ 2a                                           .
      b The federal government in a state where the
           taxpayer would not be taxable under P.L. 86-272 ~~~~~~~~ 2b                                    .

      c Purchasers in a state where the taxpayer would not be
        taxable under P.L. 86-272 ~~~~~~~~~~~~~~~~~~~~                       2c                           .
  3 Double throwback sales ~~~~~~~~~~~~~~~~~~~~~~                            3                            .

  4 Total sales of tangible personal property (for Wisconsin
    column, add lines 1a through 3) ~~~~~~~~~~~~~~~~~~ 4                                                  .    4                        .
  5 Gross receipts from the use of computer software if the
      purchaser or licensee used the software in Wisconsin   ~~~~~~~ 5                          17926701 .

  6 Total gross receipts from the use of computer software ~~~~~~~~~~~~~~~~~~~~~~~~~                           6               28893995 .
  7 Gross receipts from services provided to a purchaser who
      received the benefit of the service in Wisconsin   ~~~~~~~~~~ 7                                     .

  8 Total gross receipts from services ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    8                        .

  9 Other apportionable gross receipts:
    a Sales, leases, rentals or licensing of real property ~~~~~~~~ 9a                                    .    9a                       .

      b Sales of intangible property ~~~~~~~~~~~~~~~~~~~ 9b                                               .    9b                       .
      c Royalties, licensing, or allowing the use of intangible property ~~ 9c                            .    9c                       .

      d Other apportionable gross receipts not identified above ~~~~~ 9d                        17926701 .     9d              28893995 .
      e Total (for both columns add lines 9a through 9d) ~~~~~~~~ 9e                            17926701 .     9e              28893995 .

10 For Wisconsin column, add lines 4, 5, 7, and 9e.
   For Total Company column, add lines 4, 6, 8, and 9e ~~~~~~~~ 10                              35853402 . 10                  57787990 .


Separate return filers and pass-through entities:


11 Divide Wisconsin column, line 10 by Total Company Column,
   line 10 and multiply by 100. This is the Wisconsin apportionment
      percentage ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                11                62.0430 %




CCH
287721
11-04-22
IC-043 (R. 8-22)
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2022 Schedule A-01        Name   EATSTREET, INC.                         ID Number   ** ***5093              Page 2 of 2

Combined return filers:
                                                                         Wisconsin                Total Company

12 Enter sales included above, that are
   intercompany sales between combined group members ~~~~~~ 12                           . 12                          .
13 Enter sales included above, that are not included
   in the computation of combined unitary income ~~~~~~~~~~ 13                           . 13                          .

14 Add lines 12 and 13 for each column ~~~~~~~~~~~~~~~ 14                                . 14                          .
15 Subtract line 14 from line 10 for each column ~~~~~~~~~~~ 15                          . 15                          .

16 Enter intercompany sales previously excluded from the sales
   factor due to the deferral of income, if the deferred income is
      included in combined unitary income on this return   ~~~~~~~~ 16                   . 16                          .
17 Add lines 15 and 16 for each column. Enter Wisconsin column
   amount on Form 6, Part III, line 1a. Total Company column
      amount on Form 6, Part III, line 1b ~~~~~~~~~~~~~~~~~ 17                           . 17                          .




CCH
287722
11-04-22
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   Form
              4BL                                Wisconsin Net Business Loss Carryforward
         Wisconsin
   Department of Revenue
                                                     for Separate Entity Corporations                                                   2022
                                                                   File with Wisconsin Form 4
   Name                                                                                                    Federal Employer ID Number
     EATSTREET, INC.                                                                                        ** ***5093
                                                                                           (see instructions)
    Separate Entity Corporati ons

               (a)                 (b)                      (c)                      (d)                       (e)                      (f)
              Year        Loss for Tax Year in     Income for Tax Year in    Loss Used/Expired          Years Losses in            Remaining
                              Column (a)                Column (a)             for Tax Year in         Column (d) Incurred        Loss Available
                                                                                 Column (a)

      1      1992
      2      1993
      3      1994
      4      1995
      5      1996
      6      1997
      7      1998
      8      1999
      9      2000
    10       2001
    11       2002
    12       2003
    13       2004
    14       2005
    15       2006
    16       2007
    17       2008
    18       2009
    19       2010
    20       2011
    21       2012                463075                                                                                                   463075
    22       2013               1598378                                                                                                  2061453
    23       2014               5290209                                                                                                  7351662
    24       2015                980550                                                                                                  8332212
    25       2016               1052729                                                                                                  9384941
    26       2017               1973359                                                                                                 11358300
    27       2018               1884423                                                                                                 13242723
    28       2019               2362395                                                                                                 15605118
    29       2020                                         1472537                -1472537             2012,2013                         14132581
    30       2021               6334914                                                                                                 20467495




   IC-047 (R. 6-22) CCH
   287641 11-04-22
                                                                           6
13111109 144198 89475                                                   2022.05000 EATSTREET, INC.                                           89475__1
             Case 3-24-12061-cjf               Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                            Desc Main
                                                    Document    Page 322 of 326
  Schedule
                   4V                                     Wisconsin Additions to
                                                             Federal Income
      Wisconsin
Department of Revenue
                                                                  File with Wisconsin Form 4
                                                        Read instructions before filling in this schedule
                                                                                                                                             2022
Corporation Name                                                                                            Federal Employer ID Number
  EATSTREET, INC.                                                                                           ** ***5093

  1     Interest income from state and municipal obligations    ~~~~~~~~~~~~~~~~~~~~~~~~                                  1                           .
  2     State taxes accrued or paid ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 2                     32501 .

  3     Related entity expenses (from Schedule RT, Part I, Sch. 2K-1, and Sch. 3K-1)      ~~~~~~~~~~~~                    3                           .
  4     Actual distributions of previously taxed income ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       4                           .

  5     Expenses related to nontaxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5                           .
  6                                                                                         STMT 1
        Basis, section 179, depreciation, amortization difference (attach schedule) ~~~~~~~~~~~~~~                        6                      3699 .
  7     Amount by which the federal basis of assets disposed of exceeds the Wisconsin
        basis (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7                           .

  8     Total additions for certain credits computed (see instructions):
  8a Business development credit ~~~~~~~~~~~~~~~~                          8a                                         .

  8b Community rehabilitation program credit ~~~~~~~~~~                    8b                                         .
  8c Development zones credits ~~~~~~~~~~~~~~~~~                           8c                                         .

  8d Economic development credit ~~~~~~~~~~~~~~~                           8d                                         .
  8e Electronics and information technology manufacturing
        zone credit ~~~~~~~~~~~~~~~~~~~~~~~~~                              8e                                         .
  8f    Employee college savings account contribution credit ~~~~ 8f                                                  .

  8g Enterprise zone jobs credit ~~~~~~~~~~~~~~~~~                         8g                                         .
  8h Farmland preservation credit ~~~~~~~~~~~~~~~~                         8h                                         .

  8i    Jobs tax credit ~~~~~~~~~~~~~~~~~~~~~~~                            8i                                         .
  8j    Manufacturing investment credit ~~~~~~~~~~~~~~                 8j                                             .
  8k Manufacturing and agriculture credit (computed in 2021)        ~~ 8k                                             .

  8l    Research credits ~~~~~~~~~~~~~~~~~~~~~~                            8l                                         .
  8m Reserved for future use ~~~~~~~~~~~~~~~~~~~                           8m                                         .

  8n Total credits (add lines 8a through 8m) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              8n                          .
  9 Special additions for insurance companies (from Schedule 4l, line 4) ~~~~~~~~~~~~~~~~~                                9                           .
10      Other (list):             SEE STATEMENT 2

                         a                                                                                            .
                         b                                                                                            .

                         c                                                                                            .
                         d                                                                                            .

                         e                                                                                            .
                         f                                                                                            .

                         g                                                                                            .
                         h                                                                                            .
                         i   Add lines 10a through 10h ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10i                                                         3708 .

11      Total (enter on Form 4, page 1, line 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      11                        39908 .
IC-023 (R. 7-22)



287601 11-04-22    CCH
             Case 3-24-12061-cjf            Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                    Desc Main
                                                 Document    Page 323 of 326
  Schedule                                      Wisconsin Subtractions From
           4W                                         Federal Income
                                                                                                                                     2022
      Wisconsin                                               File with Wisconsin Form 4
Department of Revenue                               Read instructions before filling in this schedule
Corporation Name                                                                                        Federal Employer ID Number
  EATSTREET, INC.                                                                                       ** ***5093

 1 Wisconsin subtraction modification for dividends (from Schedule 4Y, line 4) ~~~~~~~~~~~~                     1                            .

 2 Related entity expenses eligible for subtraction (from Schedule RT, Part II,
   Sch. 2K-1, and Sch. 3K-1) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2                            .

 3 Income from related entities whose expenses were disallowed
   (obtain Schedule RT-1 from related entity and submit with your return) ~~~~~~~~~~~~~~~                       3                            .
 4 Subpart F and 965(a) income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              4                            .

 5 Global intangible low-taxed income (GILTI) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      5                            .
 6 Gross-up of foreign dividend income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6                            .

 7 Nontaxable income (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          7                            .
 8 Foreign taxes (do not include deemed taxes) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      8                            .

 9 Cost depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    9                            .

10 Basis, section 179, depreciation/amortization (attach schedule) ~~~~~~~~~~~~~~~~~~ 10                                                     .
11 Amount by which the Wisconsin basis of assets disposed of exceeds the federal
   basis (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11                                                                   68154 .

12 Federal wage credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                12                            .
13 Federal research credit expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          13                            .

14 Other (list, but do not include any adjustment for nontaxable income from life insurance
   operations)


     a      STATEMENT 3                                                                                    .

     b                                                                                                     .
     c                                                                                                     .

     d                                                                                                     .

     e                                                                                                     .
     f                                                                                                     .

     g                                                                                                     .
     h                                                                                                     .

     i     Add lines 14a through 14h ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 14i                                                          5529933 .

15 Nontaxable income from life insurance operations (from Schedule 4l, line 13) ~~~~~~~~~~~~ 15                                              .
16 Total (enter on Form 4, page 1, line 4) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 16                                                        5598087 .




CCH
IC-024 (R. 7-22)

287611 11-04-22
            Case 3-24-12061-cjf                  Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                               Desc Main
                                                      Document    Page 324 of 326




                        FOR YOUR RECORDS                   EXTENSION PAYMENT



                           DO NOT FILE




                        FOR YOUR RECORDS
                                    L cut here L


                           DO NOT FILE
287551 10-31-22
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
CCH                Wisconsin Corporation Estimated Tax Voucher
                                                                                                                                       Make check payable to and mail to:
       2022                                           Use this form only if your taxable year begins in 2022
                                                                                                                                       Wisconsin Department of Revenue
                                                                              STEVE ANASTASI                                           PO Box 3028
  Form Corp-ES
                                      Person to contact regarding payment:
                                                                                                                                       Milwaukee WI 53201-3028
                                                           Phone number:      8666548777
                                                                                                  This estimated tax payment is for:
 Federal Employer ID Number                                                                        X 2022 calendar year
  ** ***5093                                                                                            Fiscal year beginning
 Entity Name                                                                                            Short taxable year beginning                                        ;
                                                                                                        ending
  EATSTREET, INC.                                                                                 Payments are due by the 15th day of the 4th, 6th, 9th, and 12th
                                                                                                  months of the taxable year and, for corporations receiving extensions,
 Number and Street                                                                                by the 15th day of the 4th month after the end of the taxable year.
  1574 W BROADWAY ST STE 200 #PMB1005                                                             Exception: For fiscal years beginning in April, the first estimated tax
                                                                                                  payment is due June 15.
 City                                    State       ZIP Code
  MADISON                                 WI         53713                                                Amount of Payment $                                       50 .
Please do not staple your payment to this voucher.
DC-045 (R. 11-20)


                                                       **************************************************
        Case 3-24-12061-cjf   Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44   Desc Main
  EATSTREET, INC.                  Document    Page 325 of 326        **-***5093
  }}}}}}}}}}}}}}}                                                     }}}}}}}}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   WI SCHEDULE 4V         FEDERAL DEPRECIATION\AMORTIZATION        STATEMENT 1
                               IN EXCESS OF WISCONSIN
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
          WISCONSIN             FEDERAL               FEDERAL AMOUNT
            AMOUNT               AMOUNT                  IN EXCESS
       }}}}}}}}}}}}}}}       }}}}}}}}}}}}}}           }}}}}}}}}}}}}}
             137,772.              141,471.                   3,699.



  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  WI SCHEDULE 4V                 OTHER ADDITIONS                   STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  DISALLOWED AMOUNT OF IRS 100% BUSINESS MEALS EXPENSE                                 3,708.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE 4V, LINE 10                                                        3,708.
                                                                               ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  WI SCHEDULE 4W                OTHER SUBTRACTIONS                 STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                       AMOUNT
  }}}}}}}}}}}                                                                   }}}}}}}}}}}}}}
  ENTERTAINMENT EXPENSES                                                                1,044.
  SECTION 174 R&D COSTS                                                             2,708,894.
  DISALLOWED BUSINESS INTEREST EXPENSE FROM FED FORM 8990                           2,819,995.
                                                                                }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE 4W, LINE 13                                                     5,529,933.
                                                                                ~~~~~~~~~~~~~~




                                               10                  STATEMENT(S) 1, 2, 3
13111109 144198 89475                       2022.05000 EATSTREET, INC.           89475__1
                Case 3-24-12061-cjf                      Doc 1 Filed 10/11/24 Entered 10/11/24 11:59:44                                                      Desc Main
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   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.




                                FOR YOUR RECORDS
                     Name                                                                                                                                 Identifying number


   Print             EATSTREET, INC.                                                                                                                         **-***5093
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
                     1574 W BROADWAY ST STE 200 #PMB1005


                                   DO NOT FILE
   Type
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     MADISON, WI                   53713
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  12
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |




                                FOR YOUR RECORDS
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.




                                   DO NOT FILE
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year 2022 , or tax year beginning                                                          , and ending
     b Short tax year. If this tax year is less than 12 months, check the reason:                         Initial return               Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                                  0.

   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)




   219741 04-01-22
                                                                                         11
13111109 144198 89475                                                                 2022.05000 EATSTREET, INC.                                                               89475__1
